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                                                                       EXHIBIT A - SOUND RECORDINGS

                         Artist                                              Track                     Registration Number                  Plaintiff
  1   Alabama                                   Mountain Music                                        SR0000045289           Arista Music
  2   Alan Jackson                              Drive (For Daddy Gene)                                SR0000311615           Arista Music
  3   Alan Jackson                              It's Five O' Clock Somewhere                          SR0000340026           Arista Music
  4   Alan Jackson                              Where Were You (When the World Stopped Turning)       SR0000311615           Arista Music
  5   Alan Jackson                              www.memory                                            SR0000289367           Arista Music
  6   Alicia Keys                               Butterflyz                                            SR0000299410           Arista Music
  7   Alicia Keys                               Caged Bird                                            SR0000299410           Arista Music
  8   Alicia Keys                               Diary                                                 SR0000346869           Arista Music
  9   Alicia Keys                               Dragon Days                                           SR0000346869           Arista Music
 10   Alicia Keys                               Fallin                                                PA0001328763           Arista Music
 11   Alicia Keys                               Feeling U, Feeling Me (Interlude)                     SR0000346869           Arista Music
 12   Alicia Keys                               Girlfriend                                            SR0000299410           Arista Music
 13   Alicia Keys                               Goodbye                                               SR0000299410           Arista Music
 14   Alicia Keys                               Harlem's Nocturne                                     SR0000346869           Arista Music
 15   Alicia Keys                               Heartburn                                             SR0000346869           Arista Music
 16   Alicia Keys                               If I Ain't Got You                                    SR0000346869           Arista Music
 17   Alicia Keys                               If I Was Your Woman / Walk On By                      SR0000346869           Arista Music
 18   Alicia Keys                               Jane Doe                                              SR0000299410           Arista Music
 19   Alicia Keys                               Karma                                                 SR0000346869           Arista Music
 20   Alicia Keys                               Lesson Learned                                        SR0000627148           Arista Music
 21   Alicia Keys                               Lovin U                                               SR0000299410           Arista Music
 22   Alicia Keys                               Never Felt This Way                                   SR0000299410           Arista Music
 23   Alicia Keys                               Nobody Not Really (Interlude)                         SR0000346869           Arista Music
 24   Alicia Keys                               Piano & I                                             SR0000299410           Arista Music
 25   Alicia Keys                               Rock Wit U                                            SR0000299410           Arista Music
 26   Alicia Keys                               Samsonite Man                                         SR0000346869           Arista Music
 27   Alicia Keys                               Slow Down                                             SR0000346869           Arista Music
 28   Alicia Keys                               Streets Of New York                                   SR0000379937           Arista Music
 29   Alicia Keys                               The Life                                              SR0000299410           Arista Music
 30   Alicia Keys                               Troubles                                              SR0000299410           Arista Music
 31   Alicia Keys                               Waiting For Your Love                                 SR0000627148           Arista Music
 32   Alicia Keys                               Wake Up                                               SR0000346869           Arista Music
 33   Alicia Keys                               When You Really Love Someone                          SR0000346869           Arista Music
 34   Alicia Keys                               Why Do I Feel So Sad                                  SR0000299410           Arista Music
 35   Alicia Keys                               You Don't Know My Name                                SR0000346869           Arista Music
 36   Alicia Keys                               Mr. Man                                               SR0000299410           Arista Music
 37   Alicia Keys feat. Lellow                  So Simple                                             SR0000346869           Arista Music
 38   Angie Stone feat. Alicia Keys & Eve       Brotha Part II                                        SR0000303830           Arista Music
 39   Brad Paisley                              All I Wanted Was a Car                                SR0000610946           Arista Music
 40   Brad Paisley                              Better Than This                                      SR0000610946           Arista Music
 41   Brad Paisley                              I'm Still A Guy                                       SR0000610946           Arista Music
 42   Brad Paisley                              If Love Was a Plane                                   SR0000610946           Arista Music
 43   Brad Paisley                              It Did                                                SR0000610946           Arista Music
 44   Brad Paisley                              Letter To Me                                          SR0000610946           Arista Music
 45   Brad Paisley                              Mr. Policeman                                         SR0000610946           Arista Music
 46   Brad Paisley                              Oh Love                                               SR0000610946           Arista Music
 47   Brad Paisley                              Online                                                SR0000610946           Arista Music
 48   Brad Paisley                              Outtake #2                                            SR0000610946           Arista Music
 49   Brad Paisley                              Previously                                            SR0000610946           Arista Music
 50   Brad Paisley                              Some Mistakes                                         SR0000610946           Arista Music
 51   Brad Paisley                              Throttleneck                                          SR0000610946           Arista Music
 52   Brad Paisley                              Ticks                                                 SR0000610946           Arista Music
 53   Brad Paisley                              Waitin' On a Woman                                    SR0000366007           Arista Music
 54   Brad Paisley                              When We All Get to Heaven                             SR0000610946           Arista Music
 55   Brad Paisley                              With You, Without You                                 SR0000610946           Arista Music
      Brad Paisley feat. The Kung Pao
 56                                             Bigger Fish to Fry                                    SR0000610946           Arista Music
      Buckaroos
 57   Brooks & Dunn                             Boot Scootin' Boogie                                  SR0000140290           Arista Music
 58   Citizen Cope                              Bullet And A Target                                   SR0000355314           Arista Music
 59   Citizen Cope                              Deep                                                  SR0000355314           Arista Music
 60   Citizen Cope                              Fame                                                  SR0000355314           Arista Music
 61   Citizen Cope                              Hurricane Waters                                      SR0000355314           Arista Music
 62   Citizen Cope                              My Way Home                                           SR0000355314           Arista Music
 63   Citizen Cope                              Nite Becomes Day                                      SR0000355314           Arista Music
 64   Citizen Cope                              Pablo Picasso                                         SR0000355314           Arista Music
 65   Citizen Cope                              Penitentiary                                          SR0000355314           Arista Music
 66   Citizen Cope                              Sideways                                              SR0000355314           Arista Music
 67   Citizen Cope                              Son's Gonna Rise                                      SR0000355314           Arista Music
 68   Diamond Rio                               Beautiful Mess                                        SR0000319527           Arista Music




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                         Artist                                                 Track                    Registration Number                  Plaintiff
 69    Etta James                                Crawlin' King Snake                                    SR0000356724           Arista Music
 70    Etta James                                I'll Be Seeing You                                     SR0000187947           Arista Music
 71    Etta James                                I've Been Lovin' You Too Long                          SR0000279857           Arista Music
 72    Etta James                                If I Had Any Pride Left At All                         SR0000279857           Arista Music
 73    Etta James                                It's a Man's Man's Man's World                         SR0000386246           Arista Music
 74    Etta James                                Strongest Weakness                                     SR0000339597           Arista Music
 75    Etta James                                The Blues Is My Business                               SR0000339597           Arista Music
 76    Etta James                                The Man I Love                                         SR0000187947           Arista Music
 77    Etta James                                The Very Thought Of You                                SR0000187947           Arista Music
 78    Etta James                                Try a Little Tenderness                                SR0000270247           Arista Music
 79    Hurricane Chris                           Beat In My Trunk                                       SR0000620403           Arista Music
 80    Hurricane Chris                           Do Something                                           SR0000620403           Arista Music
 81    Hurricane Chris                           Doin' My Thang                                         SR0000620403           Arista Music
 82    Hurricane Chris                           Leaving You                                            SR0000620403           Arista Music
 83    Hurricane Chris                           New Fashion                                            SR0000620403           Arista Music
 84    Hurricane Chris                           Touch Me                                               SR0000620403           Arista Music
 85    Hurricane Chris                           Walk Like That                                         SR0000620403           Arista Music
       Hurricane Chris featuring Big Poppa of
 86                                              Bang                                                   SR0000620403           Arista Music
       Ratchet City & Bigg Redd
 87    Hurricane Chris featuring Boxie           Playas Rock                                            SR0000620403           Arista Music
 88    Hurricane Chris featuring Nicole Wray     Getting Money                                          SR0000620403           Arista Music
 89    Hurricane Chris featuring Nicole Wray     Momma                                                  SR0000620403           Arista Music
       Hurricane Chris featuring The Game, Lil
 90    Boosie, Baby, E-40, Angie Locc of Lava    A Bay Bay                                              SR0000719410           Arista Music
       House & Jadakiss
  91   Kenny Chesney                             All I Need To Know                                     SR0000208984           Arista Music
  92   Kenny Chesney                             Back Where I Come From                                 SR0000277700           Arista Music
  93   Kenny Chesney                             Baptism                                                SR0000263302           Arista Music
  94   Kenny Chesney                             Because Of Your Love                                   SR0000277700           Arista Music
  95   Kenny Chesney                             Don't Happen Twice                                     SR0000277700           Arista Music
  96   Kenny Chesney                             Fall In Love                                           SR0000208984           Arista Music
  97   Kenny Chesney                             For The First Time                                     SR0000277700           Arista Music
  98   Kenny Chesney                             How Forever Feels                                      SR0000263302           Arista Music
  99   Kenny Chesney                             I Lost It                                              SR0000277700           Arista Music
 100   Kenny Chesney                             Me And You                                             SR0000208984           Arista Music
 101   Kenny Chesney                             She Thinks My Tractor's Sexy                           SR0000263302           Arista Music
 102   Kenny Chesney                             She's Got It All                                       SR0000238371           Arista Music
 103   Kenny Chesney                             That's Why I'm Here                                    SR0000238371           Arista Music
 104   Kenny Chesney                             The Tin Man                                            SR0000208984           Arista Music
 105   Kenny Chesney                             When I Close My Eyes                                   SR0000238371           Arista Music
 106   Kenny Chesney                             You Had Me From Hello                                  SR0000263302           Arista Music
 107   Luther Vandross                           I'd Rather                                             SR0000298047           Arista Music
 108   Luther Vandross                           Take You Out                                           SR0000298047           Arista Music
 109   Mario                                     Let Me Love You                                        SR0000363091           Arista Music
 110   SWV                                       Anything                                               SR0000146905           Arista Music
 111   SWV                                       Blak Pudd'n                                            SR0000146905           Arista Music
 112   SWV                                       Can We                                                 SR0000249300           Arista Music
 113   SWV                                       Come And Get Some                                      SR0000249300           Arista Music
 114   SWV                                       Coming Home                                            SR0000146905           Arista Music
 115   SWV                                       Downtown                                               SR0000146905           Arista Music
 116   SWV                                       Gettin' Funky                                          SR0000249300           Arista Music
 117   SWV                                       Give It To Me                                          SR0000146905           Arista Music
 118   SWV                                       Give It Up                                             SR0000249300           Arista Music
 119   SWV                                       Here For You                                           SR0000249300           Arista Music
 120   SWV                                       I'm so into You                                        SR0000146905           Arista Music
 121   SWV                                       It's About Time                                        SR0000146905           Arista Music
 122   SWV                                       Lose Myself                                            SR0000249300           Arista Music
 123   SWV                                       Love Like This                                         SR0000249300           Arista Music
 124   SWV                                       Rain                                                   SR0000249300           Arista Music
 125   SWV                                       Release Some Tension                                   SR0000249300           Arista Music
 126   SWV                                       Right Here                                             SR0000146905           Arista Music
 127   SWV                                       SWV (In The House)                                     SR0000146905           Arista Music
 128   SWV                                       That's What I Need                                     SR0000146905           Arista Music
 129   SWV                                       Think You're Gonna Like It                             SR0000146905           Arista Music
 130   SWV                                       Weak                                                   SR0000146905           Arista Music
 131   SWV                                       Weak (A Cappella)                                      SR0000146905           Arista Music
 132   SWV                                       When U Cry                                             SR0000249300           Arista Music
 133   SWV                                       You're Always On My Mind                               SR0000146905           Arista Music
 134   SWV                                       You're The One                                         PA0001288814           Arista Music




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                        Artist                                                Track                        Registration Number                  Plaintiff
 135   SWV featuring Puff Daddy                 Someone                                                   SR0000249300           Arista Music
 136   SWV featuring Redman                     Lose My Cool                                              SR0000249300           Arista Music
 137   Usher                                    Bad Girl                                                  SR0000354784           Arista Music
 138   Usher                                    Burn                                                      SR0000354784           Arista Music
 139   Usher                                    Can U Handle It?                                          SR0000354784           Arista Music
 140   Usher                                    Caught Up                                                 SR0000354784           Arista Music
 141   Usher                                    Confessions                                               SR0000354784           Arista Music
 142   Usher                                    Confessions Part II                                       SR0000354784           Arista Music
 143   Usher                                    Do It To Me                                               SR0000354784           Arista Music
 144   Usher                                    Follow Me                                                 SR0000354784           Arista Music
 145   Usher                                    Simple Things                                             SR0000354784           Arista Music
 146   Usher                                    Superstar                                                 SR0000354784           Arista Music
 147   Usher                                    Take Your Hand                                            SR0000354784           Arista Music
 148   Usher                                    That's What It's Made For                                 SR0000354784           Arista Music
 149   Usher                                    Throwback                                                 SR0000354784           Arista Music
 150   Usher                                    Truth Hurts                                               SR0000354784           Arista Music
 151   Usher                                    Yeah!                                                     SR0000354784           Arista Music
 152   Waylon Jennings                          Luckenbach, Texas (Back to the Basics of Love)            RE0000919768           Arista Music
 153   Whitney Houston                          Cantique De Noël (O Holy Night)                           SR0000353688           Arista Music
 154   Whitney Houston                          Deck the Halls / Silent Night                             SR0000353688           Arista Music
 155   Whitney Houston                          Have Yourself a Merry Little Christmas                    SR0000353688           Arista Music
 156   Whitney Houston                          I'll Be Home for Christmas                                SR0000353688           Arista Music
 157   Whitney Houston                          Little Drummer Boy                                        SR0000353688           Arista Music
 158   Whitney Houston                          O Come O Come Emanuel                                     SR0000353688           Arista Music
 159   Whitney Houston                          One Wish (For Christmas)                                  SR0000353688           Arista Music
 160   Whitney Houston                          The Christmas Song (Chestnuts Roasting on an Open Fire)   SR0000353688           Arista Music
 161   Whitney Houston                          The First Noel                                            SR0000353688           Arista Music
 162   Whitney Houston                          Who Would Imagine A King                                  SR0000353688           Arista Music
       Whitney Houston with The Georgia Mass
 163                                            Joy To The World                                          SR0000353688           Arista Music
       Choir
 164   Alan Jackson                             Chasin' That Neon Rainbow                                 SR0000120465           Arista Records LLC
 165   Alan Jackson                             Chattahoochee                                             SR0000147716           Arista Records LLC
 166   Alan Jackson                             Don't Rock The Jukebox                                    SR0000138302           Arista Records LLC
 167   Alan Jackson                             Everything I Love                                         SR0000227719           Arista Records LLC
 168   Alan Jackson                             Gone Country                                              SR0000202090           Arista Records LLC
 169   Alan Jackson                             Here In The Real World                                    SR0000120465           Arista Records LLC
 170   Alan Jackson                             It Must Be Love                                           SR0000303828           Arista Records LLC
 171   Alan Jackson                             Little Bitty                                              SR0000227719           Arista Records LLC
 172   Alan Jackson                             Little Man                                                SR0000295185           Arista Records LLC
 173   Alan Jackson                             Livin' On Love                                            SR0000202090           Arista Records LLC
 174   Alan Jackson                             Midnight In Montgomery                                    SR0000138302           Arista Records LLC
 175   Alan Jackson                             Pop A Top                                                 SR0000303828           Arista Records LLC
 176   Alan Jackson                             Right On the Money                                        SR0000295185           Arista Records LLC
 177   Alan Jackson                             She's Got the Rhythm (And I Got the Blues)                SR0000147716           Arista Records LLC
 178   Alan Jackson                             Tall, Tall Trees                                          SR0000216936           Arista Records LLC
 179   Alan Jackson                             Who's Cheatin' Who                                        SR0000227719           Arista Records LLC
 180   Brandy                                   Sittin' Up In My Room                                     SR0000219539           Arista Records LLC
 181   John Williams                            March from 1941                                           SR0000019891           Arista Records LLC
 182   Monica featuring OutKast                 Gone Be Fine                                              SR0000263982           Arista Records LLC
 183   OutKast                                  Da Art of Storytellin' (Pt. 1)                            SR0000264092           Arista Records LLC
 184   OutKast                                  Da Art of Storytellin' (Pt. 2)                            SR0000264092           Arista Records LLC
 185   OutKast                                  Funkin' Around                                            SR0000326671           Arista Records LLC
 186   OutKast                                  Movin' Cool (The After Party)                             SR0000326671           Arista Records LLC
 187   P!nk                                     Eventually                                                SR0000326672           Arista Records LLC
 188   P!nk                                     God Is A DJ                                               SR0000345431           Arista Records LLC
 189   P!nk                                     Trouble                                                   SR0000344428           Arista Records LLC
 190   Paula DeAnda                             Breathe                                                   SR0000393631           Arista Records LLC
 191   Paula DeAnda                             Doing Too Much                                            SR0000393631           Arista Records LLC
 192   Paula DeAnda                             Easy                                                      SR0000393631           Arista Records LLC
 193   Paula DeAnda                             Footprints On My Heart                                    SR0000393631           Arista Records LLC
 194   Paula DeAnda                             Good Girl                                                 SR0000393631           Arista Records LLC
 195   Paula Deanda                             I'll Be Down For You                                      SR0000393631           Arista Records LLC
 196   Paula DeAnda                             Overloved                                                 SR0000393631           Arista Records LLC
 197   Paula DeAnda                             So Cold                                                   SR0000393631           Arista Records LLC
 198   Paula DeAnda                             When It Was Me                                            SR0000393631           Arista Records LLC
 199   Paula DeAnda feat. The Dey               Walk Away (Remember Me)                                   SR0000393631           Arista Records LLC
 200   Paula DeAnda featuring Ak'Sent           Clap Ta This                                              SR0000393631           Arista Records LLC
 201   Paula DeAnda featuring P.B.              Let's Go Out Tonight                                      SR0000393631           Arista Records LLC
 202   Paula DeAnda featuring V Nice            Wanna Be With You                                         SR0000393631           Arista Records LLC




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                                                                      EXHIBIT A - SOUND RECORDINGS

                         Artist                                                Track                  Registration Number                  Plaintiff
 203   Run D.M.C.                               Beats to the Rhyme                                   SR0000124365           Arista Records LLC
 204   Run D.M.C.                               Down With The King                                   SR0000291221           Arista Records LLC
 205   Run D.M.C.                               Faces                                                SR0000124852           Arista Records LLC
 206   Run D.M.C.                               Hit It Run                                           SR0000124846           Arista Records LLC
 207   Run D.M.C.                               I'm Not Going Out Like That                          SR0000124365           Arista Records LLC
 208   Run D.M.C.                               It's Like That                                       SR0000044959           Arista Records LLC
 209   Run D.M.C.                               It's Tricky                                          SR0000124846           Arista Records LLC
 210   Run D.M.C.                               King Of Rock                                         SR0000124851           Arista Records LLC
 211   Run D.M.C.                               Mary, Mary                                           SR0000124365           Arista Records LLC
 212   Run D.M.C.                               My Adidas                                            SR0000124846           Arista Records LLC
 213   Run D.M.C.                               Run's House                                          SR0000124365           Arista Records LLC
 214   Run D.M.C.                               What's It All About                                  SR0000124852           Arista Records LLC
 215   Run D.M.C.                               You Be Illin'                                        SR0000124846           Arista Records LLC
 216   Run D.M.C.                               You Talk Too Much                                    SR0000124851           Arista Records LLC
 217   Whitney Houston                          Didn't We Almost Have It All                         SR0000089966           Arista Records LLC
 218   Whitney Houston                          Exhale                                               SR0000219539           Arista Records LLC
 219   Whitney Houston                          Greatest Love Of All                                 SR0000060716           Arista Records LLC
 220   Whitney Houston                          How Will I Know                                      SR0000060716           Arista Records LLC
 221   Whitney Houston                          I Have Nothing                                       SR0000152583           Arista Records LLC
 222   Whitney Houston                          I Wanna Dance With Somebody                          SR0000089966           Arista Records LLC
 223   Whitney Houston                          I Will Always Love You                               SR0000152583           Arista Records LLC
 224   Whitney Houston                          I'm Every Woman                                      SR0000152583           Arista Records LLC
 225   Whitney Houston                          I'm Your Baby Tonight                                SR0000129257           Arista Records LLC
 226   Whitney Houston                          One Moment In Time                                   SR0000097640           Arista Records LLC
 227   Whitney Houston                          Run To You                                           SR0000152583           Arista Records LLC
 228   Whitney Houston                          Saving All My Love For You                           SR0000060716           Arista Records LLC
 229   Whitney Houston                          So Emotional                                         SR0000089966           Arista Records LLC
 230   Whitney Houston                          Where Do Broken Hearts Go                            SR0000089966           Arista Records LLC
 231   3OH!3                                    StarStrukk                                           SR0000652637           Atlantic Recording Corporation
 232   Brandy                                   (Everything I Do) I Do It For You                    SR0000256701           Atlantic Recording Corporation
 233   Brandy                                   Afrodisiac                                           SR0000370673           Atlantic Recording Corporation
 234   Brandy                                   All In Me                                            SR0000345858           Atlantic Recording Corporation
 235   Brandy                                   Almost Doesn't Count                                 SR0000256701           Atlantic Recording Corporation
 236   Brandy                                   Always On My Mind                                    SR0000202696           Atlantic Recording Corporation
 237   Brandy                                   Angel In Disquise                                    SR0000256701           Atlantic Recording Corporation
 238   Brandy                                   Anybody                                              SR0000345858           Atlantic Recording Corporation
 239   Brandy                                   Apart                                                SR0000345858           Atlantic Recording Corporation
 240   Brandy                                   As Long As You're Here                               SR0000202696           Atlantic Recording Corporation
 241   Brandy                                   B Rocka Intro                                        SR0000345858           Atlantic Recording Corporation
 242   Brandy                                   Baby                                                 SR0000202696           Atlantic Recording Corporation
 243   Brandy                                   Best Friend                                          SR0000202696           Atlantic Recording Corporation
 244   Brandy                                   Brokenhearted (feat. Wanya Morris)                   SR0000373291           Atlantic Recording Corporation
 245   Brandy                                   Can We                                               SR0000345858           Atlantic Recording Corporation
 246   Brandy                                   Come A Little Closer                                 SR0000345858           Atlantic Recording Corporation
 247   Brandy                                   Come As You Are                                      SR0000370673           Atlantic Recording Corporation
 248   Brandy                                   Die Without You                                      SR0000345858           Atlantic Recording Corporation
 249   Brandy                                   Finally                                              SR0000370673           Atlantic Recording Corporation
 250   Brandy                                   Focus                                                SR0000370673           Atlantic Recording Corporation
 251   Brandy                                   Full Moon                                            SR0000345858           Atlantic Recording Corporation
 252   Brandy                                   Give Me You                                          SR0000202696           Atlantic Recording Corporation
 253   Brandy                                   Happy                                                SR0000256701           Atlantic Recording Corporation
 254   Brandy                                   Have You Ever                                        SR0000256701           Atlantic Recording Corporation
 255   Brandy                                   He Is                                                SR0000345858           Atlantic Recording Corporation
 256   Brandy                                   How I Feel                                           SR0000370673           Atlantic Recording Corporation
 257   Brandy                                   I Dedicate (Part I)                                  SR0000202696           Atlantic Recording Corporation
 258   Brandy                                   I Dedicate (Part II)                                 SR0000202696           Atlantic Recording Corporation
 259   Brandy                                   I Dedicate (Part III)                                SR0000202696           Atlantic Recording Corporation
 260   Brandy                                   I Thought                                            SR0000345858           Atlantic Recording Corporation
 261   Brandy                                   I Tried                                              SR0000370673           Atlantic Recording Corporation
 262   Brandy                                   I Wanna Be Down                                      SR0000202696           Atlantic Recording Corporation
 263   Brandy                                   I'm Yours                                            SR0000202696           Atlantic Recording Corporation
 264   Brandy                                   In The Car Interlude                                 SR0000256701           Atlantic Recording Corporation
 265   Brandy                                   Intro                                                SR0000256701           Atlantic Recording Corporation
 266   Brandy                                   It's Not Worth It                                    SR0000345858           Atlantic Recording Corporation
 267   Brandy                                   Learn The Hard Way                                   SR0000256701           Atlantic Recording Corporation
 268   Brandy                                   Like This                                            SR0000345858           Atlantic Recording Corporation
 269   Brandy                                   Love Is On My Side                                   SR0000202696           Atlantic Recording Corporation
 270   Brandy                                   Love Wouldn't Count Me Out                           SR0000345858           Atlantic Recording Corporation
 271   Brandy                                   Movin' On                                            SR0000202696           Atlantic Recording Corporation




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                         Artist                                           Track                     Registration Number                  Plaintiff
 272   Brandy                                   Necessary                                          SR0000370673           Atlantic Recording Corporation
 273   Brandy                                   Never Say Never                                    SR0000256701           Atlantic Recording Corporation
 274   Brandy                                   Nothing                                            SR0000345858           Atlantic Recording Corporation
 275   Brandy                                   One Voice                                          SR0000256701           Atlantic Recording Corporation
 276   Brandy                                   Put That On Everything                             SR0000256701           Atlantic Recording Corporation
 277   Brandy                                   Sadiddy                                            SR0000370673           Atlantic Recording Corporation
 278   Brandy                                   Say You Will                                       SR0000370673           Atlantic Recording Corporation
 279   Brandy                                   Should I Go                                        SR0000370673           Atlantic Recording Corporation
 280   Brandy                                   Sunny Day                                          SR0000202696           Atlantic Recording Corporation
 281   Brandy                                   Talk About Our Love                                SR0000370673           Atlantic Recording Corporation
 282   Brandy                                   Tomorrow                                           SR0000256701           Atlantic Recording Corporation
 283   Brandy                                   Top Of The World                                   SR0000256701           Atlantic Recording Corporation
 284   Brandy                                   Truthfully                                         SR0000256701           Atlantic Recording Corporation
 285   Brandy                                   Turn It Up                                         SR0000370673           Atlantic Recording Corporation
 286   Brandy                                   U Dont Know Me (Like U Used To)                    SR0000256701           Atlantic Recording Corporation
 287   Brandy                                   What About Us?                                     SR0000345858           Atlantic Recording Corporation
 288   Brandy                                   When You Touch Me                                  SR0000345858           Atlantic Recording Corporation
 289   Brandy                                   Where You Wanna Be                                 SR0000370673           Atlantic Recording Corporation
 290   Brandy                                   Who I Am                                           SR0000370673           Atlantic Recording Corporation
 291   Brandy                                   Who Is She 2 U                                     SR0000370673           Atlantic Recording Corporation
 292   Brandy                                   Wow                                                SR0000345858           Atlantic Recording Corporation
 293   Brandy & Monica                          The Boy Is Mine                                    SR0000256110           Atlantic Recording Corporation
 294   Brandy & Ray J                           Another Day In Paradise                            SR0000373291           Atlantic Recording Corporation
 295   Bruno Mars                               Gorilla                                            SR0000715738           Atlantic Recording Corporation
 296   Bruno Mars                               Locked Out of Heaven                               SR0000715738           Atlantic Recording Corporation
 297   Bruno Mars                               Treasure                                           SR0000715738           Atlantic Recording Corporation
 298   Carolina Liar                            All That Sh** Is Gone                              SR0000637774           Atlantic Recording Corporation
 299   Carolina Liar                            Better Alone                                       SR0000637774           Atlantic Recording Corporation
 300   Carolina Liar                            California Bound                                   SR0000637774           Atlantic Recording Corporation
 301   Carolina Liar                            Coming To Terms                                    SR0000637774           Atlantic Recording Corporation
 302   Carolina Liar                            Done Stealin'                                      SR0000637774           Atlantic Recording Corporation
 303   Carolina Liar                            I'm Not Over                                       SR0000637774           Atlantic Recording Corporation
 304   Carolina Liar                            Last Night                                         SR0000637774           Atlantic Recording Corporation
 305   Carolina Liar                            Show Me What I'm Looking For                       SR0000637774           Atlantic Recording Corporation
 306   Carolina Liar                            Simple Life                                        SR0000637774           Atlantic Recording Corporation
 307   Carolina Liar                            Something To Die For                               SR0000637774           Atlantic Recording Corporation
 308   Carolina Liar                            When You Are Near                                  SR0000637774           Atlantic Recording Corporation
 309   Christina Perri                          arms                                               SR0000704080           Atlantic Recording Corporation
 310   Christina Perri                          bang bang bang                                     SR0000704080           Atlantic Recording Corporation
 311   Christina Perri                          bluebird                                           SR0000704080           Atlantic Recording Corporation
 312   Christina Perri                          interlude                                          SR0000704080           Atlantic Recording Corporation
 313   Christina Perri                          miles                                              SR0000704080           Atlantic Recording Corporation
 314   Christina Perri                          mine                                               SR0000704080           Atlantic Recording Corporation
 315   Christina Perri                          penguin                                            SR0000704080           Atlantic Recording Corporation
 316   Christina Perri                          sad song                                           SR0000704080           Atlantic Recording Corporation
 317   Christina Perri                          the lonely                                         SR0000704080           Atlantic Recording Corporation
 318   Christina Perri                          tragedy                                            SR0000704080           Atlantic Recording Corporation
 319   Clean Bandit                             Rather Be                                          SR0000767823           Atlantic Recording Corporation
 320   Flo Rida                                 21                                                 SR0000672870           Atlantic Recording Corporation
 321   Flo Rida                                 Ack Like You Know                                  SR0000629161           Atlantic Recording Corporation
 322   Flo Rida                                 All My Life                                        SR0000629161           Atlantic Recording Corporation
 323   Flo Rida                                 American Superstar                                 SR0000629161           Atlantic Recording Corporation
 324   Flo Rida                                 Available                                          SR0000658178           Atlantic Recording Corporation
 325   Flo Rida                                 Be On You                                          SR0000658178           Atlantic Recording Corporation
 326   Flo Rida                                 Don't Know How To Act                              SR0000629161           Atlantic Recording Corporation
 327   Flo Rida                                 Elevator                                           SR0000629161           Atlantic Recording Corporation
 328   Flo Rida                                 Finally Here                                       SR0000658178           Atlantic Recording Corporation
 329   Flo Rida                                 Freaky Deaky                                       SR0000629161           Atlantic Recording Corporation
 330   Flo Rida                                 Gotta Get It (Dancer)                              SR0000658178           Atlantic Recording Corporation
 331   Flo Rida                                 In My Mind (Part 2)                                SR0000754532           Atlantic Recording Corporation
 332   Flo Rida                                 In The Ayer                                        SR0000629161           Atlantic Recording Corporation
 333   Flo Rida                                 Low                                                SR0000629161           Atlantic Recording Corporation
 334   Flo Rida                                 Me & U                                             SR0000629161           Atlantic Recording Corporation
 335   Flo Rida                                 Mind On My Money                                   SR0000658178           Atlantic Recording Corporation
 336   Flo Rida                                 Money Right                                        SR0000629161           Atlantic Recording Corporation
 337   Flo Rida                                 Ms. Hangover                                       SR0000629161           Atlantic Recording Corporation
 338   Flo Rida                                 Never                                              SR0000658178           Atlantic Recording Corporation
 339   Flo Rida                                 On and On                                          SR0000672870           Atlantic Recording Corporation
 340   Flo Rida                                 Priceless                                          SR0000629161           Atlantic Recording Corporation




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                        Artist                                               Track                    Registration Number                  Plaintiff
 341   Flo Rida                                 R.O.O.T.S.                                           SR0000658178           Atlantic Recording Corporation
 342   Flo Rida                                 Respirator                                           SR0000672870           Atlantic Recording Corporation
 343   Flo Rida                                 Rewind                                               SR0000658178           Atlantic Recording Corporation
 344   Flo Rida                                 Right Round                                          SR0000658178           Atlantic Recording Corporation
 345   Flo Rida                                 Roll                                                 SR0000629161           Atlantic Recording Corporation
 346   Flo Rida                                 Shone                                                SR0000658178           Atlantic Recording Corporation
 347   Flo Rida                                 Still Missin                                         SR0000629161           Atlantic Recording Corporation
 348   Flo Rida                                 Sugar                                                SR0000658178           Atlantic Recording Corporation
 349   Flo Rida                                 Touch Me                                             SR0000658178           Atlantic Recording Corporation
 350   Flo Rida                                 Turn Around (5,4,3,2,1)                              SR0000672870           Atlantic Recording Corporation
 351   Flo Rida                                 Who Dat Girl                                         SR0000672870           Atlantic Recording Corporation
 352   Flo Rida                                 Why You Up In Here                                   SR0000672870           Atlantic Recording Corporation
 353   Flo Rida                                 Wild Ones                                            SR0000754532           Atlantic Recording Corporation
 354   Genesis                                  Congo                                                SR0000239424           Atlantic Recording Corporation
 355   Genesis                                  I Know What I Like (In Your Wardrobe)                N10834                 Atlantic Recording Corporation
 356   Genesis                                  Mama                                                 SR0000047558           Atlantic Recording Corporation
 357   Genesis                                  The Carpet Crawlers                                  N19639                 Atlantic Recording Corporation
 358   Gnarls Barkley                           Crazy                                                SR0000398345           Atlantic Recording Corporation
 359   Gnarls Barkley                           Feng Shui                                            SR0000398345           Atlantic Recording Corporation
 360   Gnarls Barkley                           Go-Go Gadget Gospel                                  SR0000398345           Atlantic Recording Corporation
 361   Gnarls Barkley                           Gone Daddy Gone                                      SR0000398345           Atlantic Recording Corporation
 362   Gnarls Barkley                           Just A Thought                                       SR0000398345           Atlantic Recording Corporation
 363   Gnarls Barkley                           Necromancer                                          SR0000398345           Atlantic Recording Corporation
 364   Gnarls Barkley                           Online                                               SR0000398345           Atlantic Recording Corporation
 365   Gnarls Barkley                           Smiley Faces                                         SR0000398345           Atlantic Recording Corporation
 366   Gnarls Barkley                           St. Elsewhere                                        SR0000398345           Atlantic Recording Corporation
 367   Gnarls Barkley                           The Boogie Monster                                   SR0000398345           Atlantic Recording Corporation
 368   Gnarls Barkley                           The Last Time                                        SR0000398345           Atlantic Recording Corporation
 369   Gnarls Barkley                           Transformer                                          SR0000398345           Atlantic Recording Corporation
 370   Gnarls Barkley                           Who Cares?                                           SR0000398345           Atlantic Recording Corporation
 371   Grouplove                                Betty's a Bombshell                                  SR0000704081           Atlantic Recording Corporation
 372   Grouplove                                Chloe                                                SR0000704081           Atlantic Recording Corporation
 373   Grouplove                                Close Your Eyes and Count to Ten                     SR0000704081           Atlantic Recording Corporation
 374   Grouplove                                Colours                                              SR0000707748           Atlantic Recording Corporation
 375   Grouplove                                Cruel and Beautiful World                            SR0000704081           Atlantic Recording Corporation
 376   Grouplove                                Don't Say Oh Well                                    SR0000707748           Atlantic Recording Corporation
 377   Grouplove                                Get Giddy                                            SR0000707748           Atlantic Recording Corporation
 378   Grouplove                                Getaway Car                                          SR0000707748           Atlantic Recording Corporation
 379   Grouplove                                Goldcoast                                            SR0000707748           Atlantic Recording Corporation
 380   Grouplove                                Itchin' On A Photograph                              SR0000704081           Atlantic Recording Corporation
 381   Grouplove                                Love Will Save Your Soul                             SR0000704081           Atlantic Recording Corporation
 382   Grouplove                                Lovely Cup                                           SR0000704081           Atlantic Recording Corporation
 383   Grouplove                                Naked Kids                                           SR0000704081           Atlantic Recording Corporation
 384   Grouplove                                Slow                                                 SR0000704081           Atlantic Recording Corporation
 385   Grouplove                                Spun                                                 SR0000704081           Atlantic Recording Corporation
 386   Grouplove                                Tongue Tied                                          SR0000704081           Atlantic Recording Corporation
 387   Gucci Mane                               Haterade                                             SR0000665931           Atlantic Recording Corporation
 388   Hootie & The Blowfish                    Be The One                                           SR0000223661           Atlantic Recording Corporation
 389   Hootie & The Blowfish                    Hey Hey What Can I Do?                               SR0000311807           Atlantic Recording Corporation
 390   Hootie & The Blowfish                    Hold My Hand                                         SR0000193960           Atlantic Recording Corporation
 391   Hootie & The Blowfish                    I Go Blind                                           SR0000230125           Atlantic Recording Corporation
 392   Hootie & The Blowfish                    I Will Wait                                          SR0000246482           Atlantic Recording Corporation
 393   Hootie & The Blowfish                    Innocence                                            SR0000334892           Atlantic Recording Corporation
 394   Hootie & The Blowfish                    Let Her Cry                                          SR0000193960           Atlantic Recording Corporation
 395   Hootie & The Blowfish                    Not Even The Trees                                   SR0000193960           Atlantic Recording Corporation
 396   Hootie & The Blowfish                    Old Man & Me                                         SR0000223661           Atlantic Recording Corporation
 397   Hootie & The Blowfish                    Only Lonely                                          SR0000246482           Atlantic Recording Corporation
 398   Hootie & The Blowfish                    Only Wanna Be With You                               SR0000193960           Atlantic Recording Corporation
 399   Hootie & The Blowfish                    Sad Caper                                            SR0000223661           Atlantic Recording Corporation
 400   Hootie & The Blowfish                    Space                                                SR0000334892           Atlantic Recording Corporation
 401   Hootie & The Blowfish                    Time                                                 SR0000193960           Atlantic Recording Corporation
 402   Hootie & The Blowfish                    Tucker's Town                                        SR0000223661           Atlantic Recording Corporation
 403   Hootie & The Blowfish                    Use Me                                               SR0000311807           Atlantic Recording Corporation
 404   Hunter Hayes                             I Want Crazy (Encore)                                SR0000748751           Atlantic Recording Corporation
 405   Jason Mraz                               I Won't Give Up                                      SR0000704463           Atlantic Recording Corporation
 406   Kid Rock                                 All Summer Long                                      SR0000622796           Atlantic Recording Corporation
 407   Kid Rock                                 Amen                                                 SR0000622796           Atlantic Recording Corporation
 408   Kid Rock                                 Blue Jeans And A Rosary                              SR0000622796           Atlantic Recording Corporation
 409   Kid Rock                                 Don't Tell Me You Love Me                            SR0000622796           Atlantic Recording Corporation




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                         Artist                                               Track                    Registration Number                  Plaintiff
 410   Kid Rock                                 Half Your Age                                         SR0000622796           Atlantic Recording Corporation
 411   Kid Rock                                 Lowlife (Living The Highlife)                         SR0000622796           Atlantic Recording Corporation
 412   Kid Rock                                 New Orleans                                           SR0000622796           Atlantic Recording Corporation
 413   Kid Rock                                 Rock N Roll Jesus                                     SR0000622796           Atlantic Recording Corporation
 414   Kid Rock                                 Roll On                                               SR0000622796           Atlantic Recording Corporation
 415   Kid Rock                                 So Hott                                               SR0000622796           Atlantic Recording Corporation
 416   Kid Rock                                 Sugar                                                 SR0000622796           Atlantic Recording Corporation
 417   Kid Rock                                 When U Love Someone                                   SR0000622796           Atlantic Recording Corporation
 418   Led Zeppelin                             Achilles Last Stand                                   N31545                 Atlantic Recording Corporation
 419   Led Zeppelin                             All My Love                                           SR0000013105           Atlantic Recording Corporation
 420   Led Zeppelin                             D'yer Mak'er                                          N5660                  Atlantic Recording Corporation
 421   Led Zeppelin                             Houses Of The Holy                                    N21799                 Atlantic Recording Corporation
 422   Led Zeppelin                             In The Evening                                        SR0000013105           Atlantic Recording Corporation
 423   Led Zeppelin                             Kashmir                                               N21799                 Atlantic Recording Corporation
 424   Led Zeppelin                             No Quarter                                            N5660                  Atlantic Recording Corporation
 425   Led Zeppelin                             Nobody's Fault But Mine                               N31545                 Atlantic Recording Corporation
 426   Led Zeppelin                             Over The Hills And Far Away                           N5660                  Atlantic Recording Corporation
 427   Led Zeppelin                             The Song Remains The Same                             N5660                  Atlantic Recording Corporation
 428   Led Zeppelin                             Trampled Underfoot                                    N21799                 Atlantic Recording Corporation
 429   Lupe Fiasco                              All Black Everything                                  SR0000704469           Atlantic Recording Corporation
 430   Lupe Fiasco                              Beautiful Lasers (2 Ways)                             SR0000704469           Atlantic Recording Corporation
 431   Lupe Fiasco                              BREAK THE CHAIN                                       SR0000704469           Atlantic Recording Corporation
 432   Lupe Fiasco                              Coming Up                                             SR0000704469           Atlantic Recording Corporation
 433   Lupe Fiasco                              I Don't Wanna Care Right Now                          SR0000704469           Atlantic Recording Corporation
 434   Lupe Fiasco                              Letting Go                                            SR0000704469           Atlantic Recording Corporation
 435   Lupe Fiasco                              Never Forget You                                      SR0000704469           Atlantic Recording Corporation
 436   Lupe Fiasco                              Out Of My Head                                        SR0000704469           Atlantic Recording Corporation
 437   Lupe Fiasco                              State Run Radio                                       SR0000704469           Atlantic Recording Corporation
 438   Lupe Fiasco                              The Show Goes On                                      SR0000704469           Atlantic Recording Corporation
 439   Lupe Fiasco                              Till I Get There                                      SR0000704469           Atlantic Recording Corporation
 440   Lupe Fiasco                              Words I Never Said                                    SR0000704469           Atlantic Recording Corporation
 441   Matchbox Twenty                          English Town                                          SR0000714896           Atlantic Recording Corporation
 442   Matchbox Twenty                          How Long                                              SR0000714896           Atlantic Recording Corporation
 443   Matchbox Twenty                          I Will                                                SR0000714896           Atlantic Recording Corporation
 444   Matchbox Twenty                          Like Sugar                                            SR0000714896           Atlantic Recording Corporation
 445   Matchbox Twenty                          Our Song                                              SR0000714896           Atlantic Recording Corporation
 446   Matchbox Twenty                          Overjoyed                                             SR0000714896           Atlantic Recording Corporation
 447   Matchbox Twenty                          Put Your Hands Up                                     SR0000714896           Atlantic Recording Corporation
 448   Matchbox Twenty                          Radio                                                 SR0000714896           Atlantic Recording Corporation
 449   Matchbox Twenty                          She's So Mean                                         SR0000714896           Atlantic Recording Corporation
 450   Matchbox Twenty                          Sleeping At The Wheel                                 SR0000714896           Atlantic Recording Corporation
 451   Meek Mill                                Amen                                                  SRu001109021           Atlantic Recording Corporation
 452   Musiq Soulchild                          backagain                                             SR0000706644           Atlantic Recording Corporation
 453   Musiq Soulchild                          dearjohn                                              SR0000706644           Atlantic Recording Corporation
 454   Musiq Soulchild                          deserveumore                                          SR0000706644           Atlantic Recording Corporation
 455   Musiq Soulchild                          ifuleave                                              SR0000706644           Atlantic Recording Corporation
 456   Musiq Soulchild                          iwannabe                                              SR0000706644           Atlantic Recording Corporation
 457   Musiq Soulchild                          loveofmylife                                          SR0000706644           Atlantic Recording Corporation
 458   Musiq Soulchild                          moneyright                                            SR0000706644           Atlantic Recording Corporation
 459   Musiq Soulchild                          Radio                                                 SR0000706644           Atlantic Recording Corporation
 460   Musiq Soulchild                          sobeautiful                                           SR0000706644           Atlantic Recording Corporation
 461   Musiq Soulchild                          someone                                               SR0000706644           Atlantic Recording Corporation
 462   Musiq Soulchild                          special                                               SR0000706644           Atlantic Recording Corporation
 463   Musiq Soulchild                          until                                                 SR0000706644           Atlantic Recording Corporation
 464   Omarion                                  Bo$$                                                  SR0000789927           Atlantic Recording Corporation
 465   Omarion                                  Deeper                                                SR0000789927           Atlantic Recording Corporation
 466   Omarion                                  You Like It                                           SR0000789927           Atlantic Recording Corporation
 467   P.O.D.                                   Youth Of The Nation                                   SR0000303757           Atlantic Recording Corporation
 468   Paramore                                 (One Of Those) Crazy Girls                            SR0000724441           Atlantic Recording Corporation
 469   Paramore                                 Anklebiters                                           SR0000724441           Atlantic Recording Corporation
 470   Paramore                                 Be Alone                                              SR0000724441           Atlantic Recording Corporation
 471   Paramore                                 Born For This                                         SR0000631909           Atlantic Recording Corporation
 472   Paramore                                 crushcrushcrush                                       SR0000631909           Atlantic Recording Corporation
 473   Paramore                                 Daydreaming                                           SR0000724441           Atlantic Recording Corporation
 474   Paramore                                 Fast In My Car                                        SR0000724441           Atlantic Recording Corporation
 475   Paramore                                 Fences                                                SR0000631909           Atlantic Recording Corporation
 476   Paramore                                 For A Pessimist, I'm Pretty Optimistic                SR0000631909           Atlantic Recording Corporation
 477   Paramore                                 Future                                                SR0000724441           Atlantic Recording Corporation
 478   Paramore                                 Grow Up                                               SR0000724441           Atlantic Recording Corporation




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                        Artist                                              Track                     Registration Number                  Plaintiff
 479   Paramore                                 Hallelujah                                           SR0000631909           Atlantic Recording Corporation
 480   Paramore                                 Hate To See Your Heart Break                         SR0000724441           Atlantic Recording Corporation
 481   Paramore                                 Interlude: Holiday                                   SR0000724441           Atlantic Recording Corporation
 482   Paramore                                 Interlude: I'm Not Angry Anymore                     SR0000724441           Atlantic Recording Corporation
 483   Paramore                                 Interlude: Moving On                                 SR0000724441           Atlantic Recording Corporation
 484   Paramore                                 Last Hope                                            SR0000724441           Atlantic Recording Corporation
 485   Paramore                                 Let The Flames Begin                                 SR0000631909           Atlantic Recording Corporation
 486   Paramore                                 Miracle                                              SR0000631909           Atlantic Recording Corporation
 487   Paramore                                 Now                                                  SR0000724441           Atlantic Recording Corporation
 488   Paramore                                 Part II                                              SR0000724441           Atlantic Recording Corporation
 489   Paramore                                 Proof                                                SR0000724441           Atlantic Recording Corporation
 490   Paramore                                 That's What You Get                                  SR0000631909           Atlantic Recording Corporation
 491   Paramore                                 We Are Broken                                        SR0000631909           Atlantic Recording Corporation
 492   Paramore                                 When It Rains                                        SR0000631909           Atlantic Recording Corporation
 493   Plies                                    1 Mo Time                                            SR0000612286           Atlantic Recording Corporation
 494   Plies                                    100 Years                                            SR0000612286           Atlantic Recording Corporation
 495   Plies                                    Friday                                               SR0000612286           Atlantic Recording Corporation
 496   Plies                                    Goons Lurkin                                         SR0000612286           Atlantic Recording Corporation
 497   Plies                                    Hypnotized                                           SR0000612286           Atlantic Recording Corporation
 498   Plies                                    I Am The Club                                        SR0000612286           Atlantic Recording Corporation
 499   Plies                                    I Kno U Workin                                       SR0000612286           Atlantic Recording Corporation
 500   Plies                                    Kept It Too Real                                     SR0000612286           Atlantic Recording Corporation
 501   Plies                                    Money Straight                                       SR0000612286           Atlantic Recording Corporation
 502   Plies                                    Murkin Season                                        SR0000612286           Atlantic Recording Corporation
 503   Plies                                    On My D**k                                           SR0000612286           Atlantic Recording Corporation
 504   Plies                                    Runnin' My Momma Crazy                               SR0000612286           Atlantic Recording Corporation
 505   Plies                                    The Real Testament Intro                             SR0000612286           Atlantic Recording Corporation
 506   Plies                                    You                                                  SR0000612286           Atlantic Recording Corporation
 507   Plies                                    Shawty                                               SR0000612286           Atlantic Recording Corporation
 508   Shinedown                                45                                                   SR0000342566           Atlantic Recording Corporation
 509   Shinedown                                All I Ever Wanted                                    SR0000342566           Atlantic Recording Corporation
 510   Shinedown                                Better Version                                       SR0000342566           Atlantic Recording Corporation
 511   Shinedown                                Breaking Inside                                      SR0000673788           Atlantic Recording Corporation
 512   Shinedown                                Burning Bright                                       SR0000342566           Atlantic Recording Corporation
 513   Shinedown                                Call Me                                              SR0000673788           Atlantic Recording Corporation
 514   Shinedown                                Cry For Help                                         SR0000673788           Atlantic Recording Corporation
 515   Shinedown                                Crying Out                                           SR0000342566           Atlantic Recording Corporation
 516   Shinedown                                Cyanide Sweet Tooth Suicide                          SR0000673788           Atlantic Recording Corporation
 517   Shinedown                                Fly From The Inside                                  SR0000342566           Atlantic Recording Corporation
 518   Shinedown                                I Own You                                            SR0000673788           Atlantic Recording Corporation
 519   Shinedown                                If You Only Knew                                     SR0000673788           Atlantic Recording Corporation
 520   Shinedown                                In Memory                                            SR0000342566           Atlantic Recording Corporation
 521   Shinedown                                Lacerated                                            SR0000342566           Atlantic Recording Corporation
 522   Shinedown                                Left Out                                             SR0000342566           Atlantic Recording Corporation
 523   Shinedown                                Lost In The Crowd                                    SR0000342566           Atlantic Recording Corporation
 524   Shinedown                                No More Love                                         SR0000342566           Atlantic Recording Corporation
 525   Shinedown                                Second Chance                                        SR0000673788           Atlantic Recording Corporation
 526   Shinedown                                Sin With A Grin                                      SR0000673788           Atlantic Recording Corporation
 527   Shinedown                                Son Of Sam                                           SR0000673788           Atlantic Recording Corporation
 528   Shinedown                                Sound Of Madness                                     SR0000673788           Atlantic Recording Corporation
 529   Shinedown                                Stranger Inside                                      SR0000342566           Atlantic Recording Corporation
 530   Shinedown                                The Crow & The Butterfly                             SR0000673788           Atlantic Recording Corporation
 531   Shinedown                                The Energy                                           SR0000673788           Atlantic Recording Corporation
 532   Shinedown                                What A Shame                                         SR0000673788           Atlantic Recording Corporation
 533   Trey Songz                               2 Reasons                                            SR0000715080           Atlantic Recording Corporation
 534   Trey Songz                               Alone                                                SR0000671697           Atlantic Recording Corporation
 535   Trey Songz                               Bad Decisions                                        SR0000715080           Atlantic Recording Corporation
 536   Trey Songz                               Blind                                                SR0000671697           Atlantic Recording Corporation
 537   Trey Songz                               Bottoms Up                                           SR0000671697           Atlantic Recording Corporation
 538   Trey Songz                               Can't Be Friends                                     SR0000671697           Atlantic Recording Corporation
 539   Trey Songz                               Chapter V                                            SR0000715080           Atlantic Recording Corporation
 540   Trey Songz                               Check Me Out                                         SR0000715080           Atlantic Recording Corporation
 541   Trey Songz                               Dive In                                              SR0000715080           Atlantic Recording Corporation
 542   Trey Songz                               Don't Be Scared                                      SR0000715080           Atlantic Recording Corporation
 543   Trey Songz                               Doorbell                                             SR0000671697           Atlantic Recording Corporation
 544   Trey Songz                               Forever Yours                                        SR0000715080           Atlantic Recording Corporation
 545   Trey Songz                               Fumble                                               SR0000715080           Atlantic Recording Corporation
 546   Trey Songz                               Hail Mary                                            SR0000715080           Atlantic Recording Corporation
 547   Trey Songz                               Heart Attack                                         SR0000715080           Atlantic Recording Corporation




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                         Artist                                             Track                       Registration Number                  Plaintiff
 548   Trey Songz                               Inside Interlewd                                       SR0000715080           Atlantic Recording Corporation
 549   Trey Songz                               Interlude4U                                            SR0000715080           Atlantic Recording Corporation
 550   Trey Songz                               Love Faces                                             SR0000671697           Atlantic Recording Corporation
 551   Trey Songz                               Made To Be Together                                    SR0000671697           Atlantic Recording Corporation
 552   Trey Songz                               Massage                                                SR0000671697           Atlantic Recording Corporation
 553   Trey Songz                               Never Again                                            SR0000715080           Atlantic Recording Corporation
 554   Trey Songz                               Pain (Interlude)                                       SR0000671697           Atlantic Recording Corporation
 555   Trey Songz                               Panty Droppa (Intro)                                   SR0000797222           Atlantic Recording Corporation
 556   Trey Songz                               Panty Wetter                                           SR0000715080           Atlantic Recording Corporation
 557   Trey Songz                               Passion (Interlude)                                    SR0000671697           Atlantic Recording Corporation
 558   Trey Songz                               Playin' Hard                                           SR0000715080           Atlantic Recording Corporation
 559   Trey Songz                               Please Return My Call                                  SR0000671697           Atlantic Recording Corporation
 560   Trey Songz                               Pleasure (Interlude)                                   SR0000671697           Atlantic Recording Corporation
 561   Trey Songz                               Pretty Girl's Lie                                      SR0000715080           Atlantic Recording Corporation
 562   Trey Songz                               Red Lipstick                                           SR0000671697           Atlantic Recording Corporation
 563   Trey Songz                               Simply Amazing                                         SR0000715080           Atlantic Recording Corporation
 564   Trey Songz                               Unfortunate                                            SR0000671697           Atlantic Recording Corporation
 565   Trey Songz                               Unusual                                                SR0000671697           Atlantic Recording Corporation
 566   Trey Songz                               Without A Woman                                        SR0000715080           Atlantic Recording Corporation
 567   Trey Songz                               You Just Need Me                                       SR0000671697           Atlantic Recording Corporation
 568   Ty Dolla $ign                            Or Nah                                                 SR0000743306           Atlantic Recording Corporation
 569   Uncle Kracker                            Smile                                                  SR0000657108           Atlantic Recording Corporation
 570   Waka Flocka Flame                        Bang                                                   SR0000672357           Atlantic Recording Corporation
 571   Waka Flocka Flame                        Bricksquad                                             SR0000672357           Atlantic Recording Corporation
 572   Waka Flocka Flame                        Bustin' At 'Em                                         SR0000672357           Atlantic Recording Corporation
 573   Waka Flocka Flame                        F**k The Club Up                                       SR0000672357           Atlantic Recording Corporation
 574   Waka Flocka Flame                        F**k This Industry                                     SR0000672357           Atlantic Recording Corporation
 575   Waka Flocka Flame                        For My Dawgs                                           SR0000672357           Atlantic Recording Corporation
 576   Waka Flocka Flame                        G Check                                                SR0000672357           Atlantic Recording Corporation
 577   Waka Flocka Flame                        Grove St. Party                                        SR0000672357           Atlantic Recording Corporation
 578   Waka Flocka Flame                        Homies                                                 SR0000672357           Atlantic Recording Corporation
 579   Waka Flocka Flame                        Karma                                                  SR0000672357           Atlantic Recording Corporation
 580   Waka Flocka Flame                        Live By The Gun                                        SR0000672357           Atlantic Recording Corporation
 581   Waka Flocka Flame                        No Hands                                               SR0000672357           Atlantic Recording Corporation
 582   Waka Flocka Flame                        O Let's Do It                                          SR0000672357           Atlantic Recording Corporation
 583   Waka Flocka Flame                        Smoke, Drank                                           SR0000672357           Atlantic Recording Corporation
 584   Waka Flocka Flame                        Snake In The Grass                                     SR0000672357           Atlantic Recording Corporation
 585   Waka Flocka Flame                        TTG (Trained To Go)                                    SR0000672357           Atlantic Recording Corporation
 586   Wale & Meek Mill                         Bag Of Money                                           SR0000718581           Atlantic Recording Corporation
 587   Wiz Khalifa                              Bluffin                                                SR0000715951           Atlantic Recording Corporation
 588   Wiz Khalifa                              Fall Asleep                                            SR0000715951           Atlantic Recording Corporation
 589   Wiz Khalifa                              Got Everything                                         SR0000715951           Atlantic Recording Corporation
 590   Wiz Khalifa                              Initiation                                             SR0000715951           Atlantic Recording Corporation
 591   Wiz Khalifa                              Intro                                                  SR0000715951           Atlantic Recording Corporation
 592   Wiz Khalifa                              It's Nothin                                            SR0000715951           Atlantic Recording Corporation
 593   Wiz Khalifa                              Let It Go                                              SR0000715951           Atlantic Recording Corporation
 594   Wiz Khalifa                              Medicated                                              SR0000715951           Atlantic Recording Corporation
 595   Wiz Khalifa                              No Limit                                               SR0000715951           Atlantic Recording Corporation
 596   Wiz Khalifa                              Paperbond                                              SR0000715951           Atlantic Recording Corporation
 597   Wiz Khalifa                              Remember You                                           SR0000715951           Atlantic Recording Corporation
 598   Wiz Khalifa                              Rise Above                                             SR0000715951           Atlantic Recording Corporation
 599   Wiz Khalifa                              The Bluff                                              SR0000715951           Atlantic Recording Corporation
 600   Wiz Khalifa                              The Plan                                               SR0000715951           Atlantic Recording Corporation
 601   Wiz Khalifa                              Time                                                   SR0000715951           Atlantic Recording Corporation
 602   Wiz Khalifa                              Up In It                                               SR0000715951           Atlantic Recording Corporation
 603   Wiz Khalifa                              Work Hard, Play Hard                                   SR0000715951           Atlantic Recording Corporation
 604   Zac Brown Band                           Day That I Die                                         SR0000726685           Atlantic Recording Corporation
 605   Zac Brown Band                           Goodbye In Her Eyes                                    SR0000726685           Atlantic Recording Corporation
 606   Zac Brown Band                           Island Song                                            SR0000726685           Atlantic Recording Corporation
 607   Zac Brown Band                           Lance's Song                                           SR0000726685           Atlantic Recording Corporation
 608   Zac Brown Band                           Last But Not Least                                     SR0000726685           Atlantic Recording Corporation
 609   Zac Brown Band                           Natural Disaster                                       SR0000726685           Atlantic Recording Corporation
 610   Zac Brown Band                           Overnight                                              SR0000726685           Atlantic Recording Corporation
 611   Zac Brown Band                           Sweet Annie                                            SR0000726685           Atlantic Recording Corporation
 612   Zac Brown Band                           The Wind                                               SR0000726685           Atlantic Recording Corporation
 613   Zac Brown Band                           Uncaged                                                SR0000726685           Atlantic Recording Corporation
 614   Gorilla Zoe                              Lost                                                   SR0000663781           Bad Boy Records LLC
 615   The Notorious B.I.G.                     Notorious Thugs                                        SR0000220411           Bad Boy Records LLC
 616   Yung Joc                                 Bottle Poppin'                                         SR0000622799           Bad Boy Records LLC




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                        Artist                                             Track                     Registration Number                  Plaintiff
 617   Yung Joc                                 Brand New                                           SR0000622799           Bad Boy Records LLC
 618   Yung Joc                                 BYOB                                                SR0000622799           Bad Boy Records LLC
 619   Yung Joc                                 Chevy Smile                                         SR0000622799           Bad Boy Records LLC
 620   Yung Joc                                 Coffee Shop                                         SR0000622799           Bad Boy Records LLC
 621   Yung Joc                                 Cut Throat                                          SR0000622799           Bad Boy Records LLC
 622   Yung Joc                                 Getting to da Money                                 SR0000622799           Bad Boy Records LLC
 623   Yung Joc                                 Hell Yeah                                           SR0000622799           Bad Boy Records LLC
 624   Yung Joc                                 Hustlemania (Skit)                                  SR0000622799           Bad Boy Records LLC
 625   Yung Joc                                 Hustlenomics                                        SR0000622799           Bad Boy Records LLC
 626   Yung Joc                                 I'm A G                                             SR0000622799           Bad Boy Records LLC
 627   Yung Joc                                 Livin' The Life                                     SR0000622799           Bad Boy Records LLC
 628   Yung Joc                                 Momma                                               SR0000622799           Bad Boy Records LLC
 629   Yung Joc                                 Pak Man                                             SR0000622799           Bad Boy Records LLC
 630   Yung Joc                                 Play Your Cards                                     SR0000622799           Bad Boy Records LLC
 631   5 Seconds Of Summer                      Heartache On The Big Screen                         SR0000741298           Capitol Records, LLC
 632   5 Seconds Of Summer                      She Looks So Perfect                                SR0000741298           Capitol Records, LLC
 633   5 Seconds Of Summer                      The Only Reason                                     SR0000741298           Capitol Records, LLC
 634   5 Seconds Of Summer                      What I Like About You                               SR0000764151           Capitol Records, LLC
 635   Avant                                    Break Ya Back                                       SR0000648878           Capitol Records, LLC
 636   Avant                                    French Pedicure                                     SR0000648878           Capitol Records, LLC
 637   Avant                                    Involve Yourself                                    SR0000648878           Capitol Records, LLC
 638   Avant                                    Material Things                                     SR0000648878           Capitol Records, LLC
 639   Avant                                    Out of Character                                    SR0000648878           Capitol Records, LLC
 640   Avant                                    Perfect Gentleman                                   SR0000648878           Capitol Records, LLC
 641   Avant                                    Sailing                                             SR0000648878           Capitol Records, LLC
 642   Avant                                    Sensuality                                          SR0000648878           Capitol Records, LLC
 643   Avant                                    When It Hurts                                       SR0000649607           Capitol Records, LLC
 644   Avant                                    Y.O.U.                                              SR0000648878           Capitol Records, LLC
 645   Avant featuring Snoop Dogg               Attention                                           SR0000648878           Capitol Records, LLC
 646   Blind Melon                              2X4                                                 SR0000262682           Capitol Records, LLC
 647   Blind Melon                              All That I Need                                     SR0000336269           Capitol Records, LLC
 648   Blind Melon                              Car Seat (God's Presents)                           SR0000262682           Capitol Records, LLC
 649   Blind Melon                              Change                                              SR0000384161           Capitol Records, LLC
 650   Blind Melon                              Dear Ol' Dad                                        SR0000384161           Capitol Records, LLC
 651   Blind Melon                              Deserted                                            SR0000384161           Capitol Records, LLC
 652   Blind Melon                              Drive                                               SR0000384161           Capitol Records, LLC
 653   Blind Melon                              Dumptruck                                           SR0000262682           Capitol Records, LLC
 654   Blind Melon                              Galaxie                                             SR0000262682           Capitol Records, LLC
 655   Blind Melon                              Glitch                                              SR0000336269           Capitol Records, LLC
 656   Blind Melon                              Hell                                                SR0000336269           Capitol Records, LLC
 657   Blind Melon                              Holyman                                             SR0000384161           Capitol Records, LLC
 658   Blind Melon                              I Wonder                                            SR0000384161           Capitol Records, LLC
 659   Blind Melon                              John Sinclair                                       SR0000336269           Capitol Records, LLC
 660   Blind Melon                              Lemonade                                            SR0000262682           Capitol Records, LLC
 661   Blind Melon                              Letters From A Porcupine                            SR0000336269           Capitol Records, LLC
 662   Blind Melon                              Life Ain't So Shitty                                SR0000336269           Capitol Records, LLC
 663   Blind Melon                              Mouthful Of Cavities                                SR0000262682           Capitol Records, LLC
 664   Blind Melon                              New Life                                            SR0000262682           Capitol Records, LLC
 665   Blind Melon                              No Rain                                             SR0000384161           Capitol Records, LLC
 666   Blind Melon                              No Rain (Ripped Away Version)                       SR0000377592           Capitol Records, LLC
 667   Blind Melon                              Paper Scratcher                                     SR0000384161           Capitol Records, LLC
 668   Blind Melon                              Pull                                                SR0000336269           Capitol Records, LLC
 669   Blind Melon                              Seed To A Tree                                      SR0000384161           Capitol Records, LLC
 670   Blind Melon                              Skinned                                             SR0000262682           Capitol Records, LLC
 671   Blind Melon                              Sleepyhouse                                         SR0000384161           Capitol Records, LLC
 672   Blind Melon                              Soak The Sin                                        SR0000384161           Capitol Records, LLC
 673   Blind Melon                              Soul One                                            SR0000377592           Capitol Records, LLC
 674   Blind Melon                              Soup                                                SR0000377592           Capitol Records, LLC
 675   Blind Melon                              St. Andrew's Fall                                   SR0000262682           Capitol Records, LLC
 676   Blind Melon                              St. Andrew's Hall                                   SR0000336269           Capitol Records, LLC
 677   Blind Melon                              Swallowed                                           SR0000336269           Capitol Records, LLC
 678   Blind Melon                              The Duke                                            SR0000262682           Capitol Records, LLC
 679   Blind Melon                              The Pusher                                          SR0000336269           Capitol Records, LLC
 680   Blind Melon                              Time                                                SR0000384161           Capitol Records, LLC
 681   Blind Melon                              Toes Across The Floor                               SR0000262682           Capitol Records, LLC
 682   Blind Melon                              Tones Of Home                                       SR0000384161           Capitol Records, LLC
 683   Blind Melon                              Vernie                                              SR0000262682           Capitol Records, LLC
 684   Blind Melon                              Walk                                                SR0000377592           Capitol Records, LLC
 685   Blind Melon                              Wilt                                                SR0000262682           Capitol Records, LLC




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                          Artist                                               Track                 Registration Number                  Plaintiff
 686   Capital Cities                           Center Stage                                        SR0000725325           Capitol Records, LLC
 687   Capital Cities                           Chartreuse                                          SR0000725325           Capitol Records, LLC
 688   Capital Cities                           Chasing You                                         SR0000725325           Capitol Records, LLC
 689   Capital Cities                           Farrah Fawcett Hair                                 SR0000725325           Capitol Records, LLC
 690   Capital Cities                           I Sold My Bed, But Not My Stereo                    SR0000725325           Capitol Records, LLC
 691   Capital Cities                           Kangaroo Court                                      SR0000725325           Capitol Records, LLC
 692   Capital Cities                           Lazy Lies                                           SR0000725325           Capitol Records, LLC
 693   Capital Cities                           Love Away                                           SR0000725325           Capitol Records, LLC
 694   Capital Cities                           Origami                                             SR0000725325           Capitol Records, LLC
 695   Capital Cities                           Patience Gets Us Nowhere Fast                       SR0000725325           Capitol Records, LLC
 696   Capital Cities                           Safe and Sound                                      SR0000725325           Capitol Records, LLC
 697   Capital Cities                           Tell Me How To Live                                 SR0000725325           Capitol Records, LLC
 698   Darius Rucker                            Heartbreak Road                                     SR0000724693           Capitol Records, LLC
 699   Darius Rucker                            Leavin' The Light On                                SR0000724693           Capitol Records, LLC
 700   Darius Rucker                            Lie To Me                                           SR0000724693           Capitol Records, LLC
 701   Darius Rucker                            Lost In You                                         SR0000724693           Capitol Records, LLC
 702   Darius Rucker                            Miss You                                            SR0000724693           Capitol Records, LLC
 703   Darius Rucker                            Radio                                               SR0000724693           Capitol Records, LLC
 704   Darius Rucker                            Shine                                               SR0000724693           Capitol Records, LLC
 705   Darius Rucker                            Take Me Home                                        SR0000724693           Capitol Records, LLC
 706   Darius Rucker                            True Believers                                      SR0000724693           Capitol Records, LLC
 707   Darius Rucker                            Wagon Wheel                                         SR0000724693           Capitol Records, LLC
 708   Darius Rucker/Mallary Hope               I Will Love You Still                               SR0000724693           Capitol Records, LLC
 709   Darius Rucker/Sheryl Crow                Love Without You                                    SR0000724693           Capitol Records, LLC
 710   Katy Perry                               Circle The Drain                                    SR0000662268           Capitol Records, LLC
 711   Katy Perry                               Dressin' Up                                         SR0000695553           Capitol Records, LLC
 712   Katy Perry                               E.T.                                                SR0000681293           Capitol Records, LLC
 713   Katy Perry                               Firework                                            SR0000662268           Capitol Records, LLC
 714   Katy Perry                               Hummingbird Heartbeat                               SR0000662268           Capitol Records, LLC
 715   Katy Perry                               Last Friday Night (T.G.I.F.)                        SR0000662268           Capitol Records, LLC
 716   Katy Perry                               Last Friday Night (T.G.I.F.) (Remix)                SR0000695549           Capitol Records, LLC
 717   Katy Perry                               Not Like The Movies                                 SR0000662268           Capitol Records, LLC
 718   Katy Perry                               Part Of Me                                          SR0000695742           Capitol Records, LLC
 719   Katy Perry                               Peacock                                             SR0000662268           Capitol Records, LLC
 720   Katy Perry                               Pearl                                               SR0000662268           Capitol Records, LLC
 721   Katy Perry                               Teenage Dream                                       SR0000662268           Capitol Records, LLC
 722   Katy Perry                               Teenage Dream (Kaskade Club Remix)                  SR0000662268           Capitol Records, LLC
 723   Katy Perry                               The One That Got Away                               SR0000662268           Capitol Records, LLC
 724   Katy Perry                               The One That Got Away                               SR0000662268           Capitol Records, LLC
 725   Katy Perry                               The One That Got Away (Acoustic)                    SR0000695553           Capitol Records, LLC
 726   Katy Perry                               Tommie Sunshine's Megasix Smash-Up                  SR0000695553           Capitol Records, LLC
 727   Katy Perry                               Who Am I Living For?                                SR0000662268           Capitol Records, LLC
 728   Katy Perry featuring Snoop Dogg          California Gurls                                    SR0000662264           Capitol Records, LLC
 729   Katy Perry featuring Snoop Dogg          California Gurls (Armand Van Helden Remix)          SR0000669922           Capitol Records, LLC
 730   Katy Perry featuring Snoop Dogg          California Gurls (Passion Pit Main Mix)             SR0000662268           Capitol Records, LLC
 731   Lady Antebellum                          All For Love                                        SR0000724696           Capitol Records, LLC
 732   Lady Antebellum                          And The Radio Played                                SR0000724696           Capitol Records, LLC
 733   Lady Antebellum                          As You Turn Away                                    SR0000686148           Capitol Records, LLC
 734   Lady Antebellum                          Better Man                                          SR0000724696           Capitol Records, LLC
 735   Lady Antebellum                          Better Off Now (That You're Gone)                   SR0000724696           Capitol Records, LLC
 736   Lady Antebellum                          Can't Stand The Rain                                SR0000724696           Capitol Records, LLC
 737   Lady Antebellum                          Cold As Stone                                       SR0000686148           Capitol Records, LLC
 738   Lady Antebellum                          Compass                                             SR0000750709           Capitol Records, LLC
 739   Lady Antebellum                          Dancin' Away With My Heart                          SR0000686147           Capitol Records, LLC
 740   Lady Antebellum                          Downtown                                            SR0000721174           Capitol Records, LLC
 741   Lady Antebellum                          Friday Night                                        SR0000686148           Capitol Records, LLC
 742   Lady Antebellum                          Generation Away                                     SR0000723786           Capitol Records, LLC
 743   Lady Antebellum                          Get To Me                                           SR0000724696           Capitol Records, LLC
 744   Lady Antebellum                          Golden                                              SR0000741953           Capitol Records, LLC
 745   Lady Antebellum                          Heart Of The World                                  SR0000686148           Capitol Records, LLC
 746   Lady Antebellum                          I Run To You                                        SR0000732681           Capitol Records, LLC
 747   Lady Antebellum                          It Ain't Pretty                                     SR0000724696           Capitol Records, LLC
 748   Lady Antebellum                          Just A Kiss                                         SR0000679267           Capitol Records, LLC
 749   Lady Antebellum                          Life As We Know It                                  SR0000724696           Capitol Records, LLC
 750   Lady Antebellum                          Long Teenage Goodbye                                SR0000724696           Capitol Records, LLC
 751   Lady Antebellum                          Love I've Found In You                              SR0000686148           Capitol Records, LLC
 752   Lady Antebellum                          Nothin' Like The First Time                         SR0000724696           Capitol Records, LLC
 753   Lady Antebellum                          Singing Me Home                                     SR0000686148           Capitol Records, LLC
 754   Lady Antebellum                          Somewhere Love Remains                              SR0000686148           Capitol Records, LLC




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                       Artist                                                 Track                Registration Number                   Plaintiff
 755   Lady Antebellum                          Wanted You More                                   SR0000686145           Capitol Records, LLC
 756   Lady Antebellum                          We Owned The Night                                SR0000686144           Capitol Records, LLC
 757   Lady Antebellum                          When You Were Mine                                SR0000686148           Capitol Records, LLC
 758   Luke Bryan                               Beer In The Headlights                            SR0000728445           Capitol Records, LLC
 759   Luke Bryan                               Better Than My Heart                              SR0000728445           Capitol Records, LLC
 760   Luke Bryan                               Blood Brothers                                    SR0000722027           Capitol Records, LLC
 761   Luke Bryan                               Crash My Party                                    SR0000722027           Capitol Records, LLC
 762   Luke Bryan                               Dirt Road Diary                                   SR0000722027           Capitol Records, LLC
 763   Luke Bryan                               Drink A Beer                                      SR0000728445           Capitol Records, LLC
 764   Luke Bryan                               Goodbye Girl                                      SR0000728445           Capitol Records, LLC
 765   Luke Bryan                               Out Like That                                     SR0000728445           Capitol Records, LLC
 766   Luke Bryan                               Play It Again                                     SR0000728445           Capitol Records, LLC
 767   Luke Bryan                               Roller Coaster                                    SR0000728445           Capitol Records, LLC
 768   Luke Bryan                               Shut It Down                                      SR0000728445           Capitol Records, LLC
 769   Luke Bryan                               Sunburnt Lips                                     SR0000728445           Capitol Records, LLC
 770   Luke Bryan                               That's My Kind Of Night                           SR0000728445           Capitol Records, LLC
 771   Luke Bryan                               We Run This Town                                  SR0000728445           Capitol Records, LLC
 772   Luke Bryan                               What Is It With You                               SR0000728445           Capitol Records, LLC
 773   Luke Bryan                               Your Mama Should've Named You Whiskey             SR0000728445           Capitol Records, LLC
 774   Maze                                     Before I Let Go                                   SR0000034187           Capitol Records, LLC
 775   Maze                                     Changing Times                                    SR0000034187           Capitol Records, LLC
 776   Maze                                     Dee's Song (Live)                                 SR0000337846           Capitol Records, LLC
 777   Maze                                     Feel That You're Feelin'                          SR0000034187           Capitol Records, LLC
 778   Maze                                     Feel That You're Feelin' (Live)                   SR0000337846           Capitol Records, LLC
 779   Maze                                     Golden Time Of Day                                SR0000007973           Capitol Records, LLC
 780   Maze                                     I Wanna Thank You (Live)                          SR0000337846           Capitol Records, LLC
 781   Maze                                     I Want To Feel Wanted (Live)                      SR0000337846           Capitol Records, LLC
 782   Maze                                     Introduction                                      SR0000034187           Capitol Records, LLC
 783   Maze                                     Joy & Pain                                        SR0000034187           Capitol Records, LLC
 784   Maze                                     Joy And Pain                                      SR0000034187           Capitol Records, LLC
 785   Maze                                     Lady Of Magic                                     SR0000048450           Capitol Records, LLC
 786   Maze                                     Reason                                            SR0000034187           Capitol Records, LLC
 787   Maze                                     Running Away                                      SR0000034187           Capitol Records, LLC
 788   Maze                                     Running Away (Live)                               SR0000337846           Capitol Records, LLC
 789   Maze                                     We Are One (Live)                                 SR0000337846           Capitol Records, LLC
 790   Maze                                     You (Live)                                        SR0000337846           Capitol Records, LLC
 791   Maze Featuring Frankie Beverly           Ain't It Strange                                  SR0000008107           Capitol Records, LLC
 792   Maze Featuring Frankie Beverly           Back In Stride                                    SR0000337846           Capitol Records, LLC
 793   Maze Featuring Frankie Beverly           Back In Stride (Live)                             SR0000337846           Capitol Records, LLC
 794   Maze Featuring Frankie Beverly           Call On Me                                        SR0000008107           Capitol Records, LLC
 795   Maze Featuring Frankie Beverly           Feel That You're Feelin'                          SR0000007931           Capitol Records, LLC
 796   Maze Featuring Frankie Beverly           Freedom (South Africa) (Live)                     SR0000337846           Capitol Records, LLC
 797   Maze Featuring Frankie Beverly           Happy Feelings (Live)                             SR0000096013           Capitol Records, LLC
 798   Maze Featuring Frankie Beverly           I Need You                                        SR0000007973           Capitol Records, LLC
 799   Maze Featuring Frankie Beverly           I Wanna Thank You                                 SR0000046840           Capitol Records, LLC
 800   Maze Featuring Frankie Beverly           Lovely Inspiration (Instrumental)                 SR0000008107           Capitol Records, LLC
 801   Maze Featuring Frankie Beverly           Song For My Mother                                SR0000007973           Capitol Records, LLC
 802   Maze Featuring Frankie Beverly           Timin'                                            SR0000008107           Capitol Records, LLC
 803   Maze Featuring Frankie Beverly           Too Many Games (Live)                             SR0000337846           Capitol Records, LLC
 804   Maze Featuring Frankie Beverly           Welcome Home                                      SR0000008107           Capitol Records, LLC
 805   Maze Featuring Frankie Beverly           When You Love Someone (Live)                      SR0000337846           Capitol Records, LLC
 806   Maze Featuring Frankie Beverly           Woman Is a Wonder                                 SR0000008107           Capitol Records, LLC
 807   Maze Featuring Frankie Beverly           You                                               SR0000007973           Capitol Records, LLC
 808   Maze Featuring Frankie Beverly           You're Not The Same                               SR0000007973           Capitol Records, LLC
 809   Maze Featuring Frankie Beverly           Your Own Kind Of Way                              SR0000046840           Capitol Records, LLC
 810   Rolling Stones                           Harlem Shuffle                                    SR0000071259           Capitol Records, LLC
 811   CeeLo Green                              Bodies                                            SR0000673160           Elektra Entertainment Group Inc.
 812   CeeLo Green                              Bright Lights Bigger City                         SR0000673160           Elektra Entertainment Group Inc.
 813   CeeLo Green                              Cry Baby                                          SR0000673160           Elektra Entertainment Group Inc.
 814   CeeLo Green                              Fool For You                                      SR0000796589           Elektra Entertainment Group Inc.
 815   CeeLo Green                              Forget You                                        SR0000673158           Elektra Entertainment Group Inc.
 816   CeeLo Green                              I Want You                                        SR0000673160           Elektra Entertainment Group Inc.
 817   CeeLo Green                              It's OK                                           SR0000673160           Elektra Entertainment Group Inc.
 818   CeeLo Green                              Love Gun                                          SR0000673160           Elektra Entertainment Group Inc.
 819   CeeLo Green                              No One's Gonna Love You                           SR0000673160           Elektra Entertainment Group Inc.
 820   CeeLo Green                              Old Fashioned                                     SR0000673160           Elektra Entertainment Group Inc.
 821   CeeLo Green                              Satisfied                                         SR0000673160           Elektra Entertainment Group Inc.
 822   CeeLo Green                              The Lady Killer Theme (Intro)                     SR0000673160           Elektra Entertainment Group Inc.
 823   CeeLo Green                              The Lady Killer Theme (Outro)                     SR0000673160           Elektra Entertainment Group Inc.




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                        Artist                                               Track                    Registration Number                   Plaintiff
 824   CeeLo Green                              Wildflower                                           SR0000673160           Elektra Entertainment Group Inc.
 825   Fitz & The Tantrums                      6am                                                  SR0000724442           Elektra Entertainment Group Inc.
 826   Fitz & The Tantrums                      Break The Walls                                      SR0000724442           Elektra Entertainment Group Inc.
 827   Fitz & The Tantrums                      Fools Gold                                           SR0000724442           Elektra Entertainment Group Inc.
 828   Fitz & The Tantrums                      Get Away                                             SR0000724442           Elektra Entertainment Group Inc.
 829   Fitz & The Tantrums                      House On Fire                                        SR0000724442           Elektra Entertainment Group Inc.
 830   Fitz & The Tantrums                      Keepin Our Eyes Out                                  SR0000724442           Elektra Entertainment Group Inc.
 831   Fitz & The Tantrums                      Last Raindrop                                        SR0000724442           Elektra Entertainment Group Inc.
 832   Fitz & The Tantrums                      MerryGoRound                                         SR0000724442           Elektra Entertainment Group Inc.
 833   Fitz & The Tantrums                      Out Of My League                                     SR0000724442           Elektra Entertainment Group Inc.
 834   Fitz & The Tantrums                      Spark                                                SR0000724442           Elektra Entertainment Group Inc.
 835   Fitz & The Tantrums                      The End                                              SR0000724442           Elektra Entertainment Group Inc.
 836   Fitz & The Tantrums                      The Walker                                           SR0000724442           Elektra Entertainment Group Inc.
 837   George Jones                             Choices                                              SR0000178893           Elektra Entertainment Group Inc.
 838   Grover Washington, Jr.                   Just The Two Of Us                                   SR0000023451           Elektra Entertainment Group Inc.
 839   Keith Sweat                              (There You Go) Tellin' Me No Again                   SR0000150241           Elektra Entertainment Group Inc.
 840   Keith Sweat                              Come With Me                                         SR0000226496           Elektra Entertainment Group Inc.
 841   Keith Sweat                              Don't Stop Your Love                                 SR0000086761           Elektra Entertainment Group Inc.
 842   Keith Sweat                              Get Up On It                                         SR0000193836           Elektra Entertainment Group Inc.
 843   Keith Sweat                              How Deep Is Your Love                                SR0000086761           Elektra Entertainment Group Inc.
 844   Keith Sweat                              I Want Her                                           SR0000085227           Elektra Entertainment Group Inc.
 845   Keith Sweat                              I'll Give All My Love To You                         SR0000150379           Elektra Entertainment Group Inc.
 846   Keith Sweat                              Make It Last Forever                                 SR0000086761           Elektra Entertainment Group Inc.
 847   Keith Sweat                              Merry Go Round                                       SR0000150379           Elektra Entertainment Group Inc.
 848   Keith Sweat                              Right And A Wrong Way                                SR0000086761           Elektra Entertainment Group Inc.
 849   Keith Sweat                              Something Just Ain't Right                           SR0000086761           Elektra Entertainment Group Inc.
 850   Keith Sweat                              Why Me Baby?                                         SR0000150241           Elektra Entertainment Group Inc.
 851   Keith Sweat                              Yumi                                                 SR0000226496           Elektra Entertainment Group Inc.
 852   The Cure                                 10:15 Saturday Night                                 SR0000072309           Elektra Entertainment Group Inc.
 853   The Cure                                 A Night Like This                                    SR0000065872           Elektra Entertainment Group Inc.
 854   The Cure                                 Boys Don't Cry                                       SR0000075783           Elektra Entertainment Group Inc.
 855   The Cure                                 Charlotte Sometimes                                  SR0000192615           Elektra Entertainment Group Inc.
 856   The Cure                                 Closedown                                            SR0000104305           Elektra Entertainment Group Inc.
 857   The Cure                                 In Between Days                                      SR0000065872           Elektra Entertainment Group Inc.
 858   The Cure                                 Jumping Someone Else's Train                         SR0000072370           Elektra Entertainment Group Inc.
 859   The Cure                                 Killing An Arab                                      SR0000072370           Elektra Entertainment Group Inc.
 860   The Cure                                 The Hanging Garden                                   SR0000036019           Elektra Entertainment Group Inc.
 861   The Cure                                 Untitled                                             SR0000104305           Elektra Entertainment Group Inc.
 862   Third Eye Blind                          10 Days Late                                         SR0000278241           Elektra Entertainment Group Inc.
 863   Third Eye Blind                          1000 Julys                                           SR0000278241           Elektra Entertainment Group Inc.
 864   Third Eye Blind                          An Ode To Maybe                                      SR0000278241           Elektra Entertainment Group Inc.
 865   Third Eye Blind                          Anything                                             SR0000278241           Elektra Entertainment Group Inc.
 866   Third Eye Blind                          Burning Man                                          SR0000188673           Elektra Entertainment Group Inc.
 867   Third Eye Blind                          Camouflage                                           SR0000278241           Elektra Entertainment Group Inc.
 868   Third Eye Blind                          Darwin                                               SR0000278241           Elektra Entertainment Group Inc.
 869   Third Eye Blind                          Farther                                              SR0000278241           Elektra Entertainment Group Inc.
 870   Third Eye Blind                          God Of Wine                                          SR0000188673           Elektra Entertainment Group Inc.
 871   Third Eye Blind                          Good For You                                         SR0000188673           Elektra Entertainment Group Inc.
 872   Third Eye Blind                          Graduate                                             SR0000188673           Elektra Entertainment Group Inc.
 873   Third Eye Blind                          How's It Going To Be                                 SR0000188673           Elektra Entertainment Group Inc.
 874   Third Eye Blind                          I Want You                                           SR0000188673           Elektra Entertainment Group Inc.
 875   Third Eye Blind                          Jumper                                               SR0000188673           Elektra Entertainment Group Inc.
 876   Third Eye Blind                          London                                               SR0000188673           Elektra Entertainment Group Inc.
 877   Third Eye Blind                          Losing A Whole Year                                  SR0000188673           Elektra Entertainment Group Inc.
 878   Third Eye Blind                          Motorcycle Drive By                                  SR0000188673           Elektra Entertainment Group Inc.
 879   Third Eye Blind                          Narcolepsy                                           SR0000188673           Elektra Entertainment Group Inc.
 880   Third Eye Blind                          Never Let You Go                                     SR0000278241           Elektra Entertainment Group Inc.
 881   Third Eye Blind                          Semi-Charmed Life                                    SR0000188673           Elektra Entertainment Group Inc.
 882   Third Eye Blind                          Slow Motion                                          SR0000278241           Elektra Entertainment Group Inc.
 883   Third Eye Blind                          Thanks A Lot                                         SR0000188673           Elektra Entertainment Group Inc.
 884   Third Eye Blind                          The Background                                       SR0000188673           Elektra Entertainment Group Inc.
 885   Third Eye Blind                          The Red Summer Sun                                   SR0000278241           Elektra Entertainment Group Inc.
 886   Third Eye Blind                          Wounded                                              SR0000278241           Elektra Entertainment Group Inc.
 887   Cobra Starship                           Cobras Never Say Die                                 SR0000711457           Fueled By Ramen LLC
 888   Cobra Starship                           Fold Your Hands Child                                SR0000657140           Fueled By Ramen LLC
 889   Cobra Starship                           Good Girls Go Bad                                    SR0000657140           Fueled By Ramen LLC
 890   Cobra Starship                           Hot Mess                                             SR0000657140           Fueled By Ramen LLC
 891   Cobra Starship                           I May Be Rude But I'm The Truth                      SR0000711457           Fueled By Ramen LLC
 892   Cobra Starship                           Living In The Sky With Diamonds                      SR0000657140           Fueled By Ramen LLC




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                          Artist                                             Track                  Registration Number                 Plaintiff
 893   Cobra Starship                           Move Like You Gonna Die                            SR0000657140           Fueled By Ramen LLC
 894   Cobra Starship                           Nice Guys Finish Last                              SR0000657140           Fueled By Ramen LLC
 895   Cobra Starship                           Pete Wentz Is The Only Reason We're Famous         SR0000657140           Fueled By Ramen LLC
 896   Cobra Starship                           The Scene Is Dead; Long Live The Scene             SR0000657140           Fueled By Ramen LLC
 897   Cobra Starship                           The World Will Never Do                            SR0000657140           Fueled By Ramen LLC
 898   Cobra Starship                           Wet Hot American Summer                            SR0000657140           Fueled By Ramen LLC
 899   Cobra Starship                           You're Not In On The Joke                          SR0000657140           Fueled By Ramen LLC
 900   fun.                                     All Alone                                          SR0000704930           Fueled By Ramen LLC
 901   fun.                                     All Alright                                        SR0000704930           Fueled By Ramen LLC
 902   fun.                                     Carry On                                           SR0000704930           Fueled By Ramen LLC
 903   fun.                                     It Gets Better                                     SR0000704930           Fueled By Ramen LLC
 904   fun.                                     One Foot                                           SR0000704930           Fueled By Ramen LLC
 905   fun.                                     Out on the Town                                    SR0000704930           Fueled By Ramen LLC
 906   fun.                                     Some Nights                                        SR0000704930           Fueled By Ramen LLC
 907   fun.                                     Some Nights (Intro)                                SR0000704930           Fueled By Ramen LLC
 908   fun.                                     Stars                                              SR0000704930           Fueled By Ramen LLC
 909   fun.                                     We Are Young                                       SR0000704930           Fueled By Ramen LLC
 910   Gym Class Heroes                         The Fighter                                        SR0000704012           Fueled By Ramen LLC
 911   Travie McCoy                             Billionaire                                        SR0000706137           Fueled By Ramen LLC
 912   Young the Giant                          Anagram                                            SR0000746139           Fueled By Ramen LLC
 913   Young the Giant                          Camera                                             SR0000746139           Fueled By Ramen LLC
 914   Young the Giant                          Crystallized                                       SR0000746139           Fueled By Ramen LLC
 915   Young the Giant                          Daydreamer                                         SR0000746139           Fueled By Ramen LLC
 916   Young the Giant                          Eros                                               SR0000746139           Fueled By Ramen LLC
 917   Young the Giant                          Firelight                                          SR0000746139           Fueled By Ramen LLC
 918   Young the Giant                          In My Home                                         SR0000746139           Fueled By Ramen LLC
 919   Young the Giant                          Mind Over Matter                                   SR0000746139           Fueled By Ramen LLC
 920   Young the Giant                          Paralysis                                          SR0000746139           Fueled By Ramen LLC
 921   Young the Giant                          Slow Dive                                          SR0000746139           Fueled By Ramen LLC
 922   Young the Giant                          Teachers                                           SR0000746139           Fueled By Ramen LLC
 923   Young the Giant                          Waves                                              SR0000746139           Fueled By Ramen LLC
 924   Ciara                                    Go Girl                                            PA0001640177           LaFace Records LLC
 925   OutKast                                  E.T. (Extraterrestrial)                            SR0000233296           LaFace Records LLC
 926   OutKast                                  Hollywood Divorce                                  SR0000395944           LaFace Records LLC
 927   OutKast                                  Morris Brown                                       SR0000395944           LaFace Records LLC
 928   OutKast                                  So Fresh, So Clean                                 SR0000306741           LaFace Records LLC
 929   OutKast                                  The Whole World                                    SR0000309898           LaFace Records LLC
 930   OutKast                                  Wailin'                                            SR0000233296           LaFace Records LLC
 931   OutKast                                  You May Die                                        SR0000233296           LaFace Records LLC
 932   P!nk                                     Ave Mary A                                         SR0000619959           LaFace Records LLC
 933   P!nk                                     Crystal Ball                                       SR0000619959           LaFace Records LLC
 934   P!nk                                     Glitter In The Air                                 SR0000619959           LaFace Records LLC
 935   P!nk                                     It's All Your Fault                                SR0000619959           LaFace Records LLC
 936   P!nk                                     Mean                                               SR0000619959           LaFace Records LLC
 937   P!nk                                     Most Girls                                         SR0000279958           LaFace Records LLC
 938   P!nk                                     Nobody Knows                                       SR0000395942           LaFace Records LLC
 939   P!nk                                     One Foot Wrong                                     SR0000619959           LaFace Records LLC
 940   TLC                                      Can I Get a Witness-Interlude                      SR0000198743           LaFace Records LLC
 941   TLC                                      Case Of The Fake People                            SR0000198743           LaFace Records LLC
 942   TLC                                      CrazySexyCool-Interlude                            SR0000198743           LaFace Records LLC
 943   TLC                                      Creep                                              SR0000198743           LaFace Records LLC
 944   TLC                                      Diggin' on You                                     SR0000198743           LaFace Records LLC
 945   TLC                                      If I Was Your Girlfriend                           SR0000198743           LaFace Records LLC
 946   TLC                                      Intermission-lude                                  SR0000198743           LaFace Records LLC
 947   TLC                                      Intro-Iude                                         SR0000198743           LaFace Records LLC
 948   TLC                                      Kick Your Game                                     SR0000198743           LaFace Records LLC
 949   TLC                                      Let's Do It Again                                  SR0000198743           LaFace Records LLC
 950   TLC                                      Sexy-Interlude                                     SR0000198743           LaFace Records LLC
 951   TLC                                      Sumthin' Wicked This Way Comes                     SR0000198743           LaFace Records LLC
 952   TLC                                      Switch                                             SR0000198743           LaFace Records LLC
 953   TLC                                      Take Our Time                                      SR0000198743           LaFace Records LLC
 954   TLC                                      Waterfalls                                         SR0000198743           LaFace Records LLC
 955   Usher                                    Bedtime                                            SR0000257730           LaFace Records LLC
 956   Usher                                    Can U Help Me                                      SR0000307207           LaFace Records LLC
 957   Usher                                    Come Back                                          SR0000257730           LaFace Records LLC
 958   Usher                                    I Will                                             SR0000257730           LaFace Records LLC
 959   Usher                                    Just Like Me                                       SR0000257730           LaFace Records LLC
 960   Usher                                    Love In This Club, Part II                         SR0000620940           LaFace Records LLC
 961   Usher                                    My Way                                             SR0000257730           LaFace Records LLC




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                           Artist                                             Track                  Registration Number                  Plaintiff
962    Usher                                    Nice And Slow                                       SR0000257730           LaFace Records LLC
963    Usher                                    One Day You'll Be Mine                              SR0000257730           LaFace Records LLC
964    Usher                                    Twork It Out                                        SR0000307207           LaFace Records LLC
965    Usher                                    U Don't Have to Call                                SR0000307207           LaFace Records LLC
966    Usher                                    U Got It Bad                                        SR0000307207           LaFace Records LLC
967    Usher                                    U Remind Me                                         SR0000307207           LaFace Records LLC
968    Usher                                    You Make Me Wanna...                                SR0000257730           LaFace Records LLC
969    Usher feat. Monica                       Slow Jam                                            SR0000257730           LaFace Records LLC
970    Usher feat. will.i.am                    What's Your Name                                    SR0000620940           LaFace Records LLC
971    Wilco                                    Airline To Heaven                                   SR0000374907           Nonesuch Records Inc.
972    Casting Crowns                           Already There                                       SR0000689742           Provident Label Group, LLC
973    Casting Crowns                           City On The Hill                                    SR0000689742           Provident Label Group, LLC
974    Casting Crowns                           Courageous                                          SR0000689742           Provident Label Group, LLC
975    Casting Crowns                           Face Down                                           SR0000689742           Provident Label Group, LLC
976    Casting Crowns                           Jesus, Friend Of Sinners                            SR0000689742           Provident Label Group, LLC
977    Casting Crowns                           Just Another Birthday                               SR0000689742           Provident Label Group, LLC
978    Casting Crowns                           My Own Worst Enemy                                  SR0000689742           Provident Label Group, LLC
979    Casting Crowns                           So Far To Find You                                  SR0000689742           Provident Label Group, LLC
980    Casting Crowns                           Spirit Wind                                         SR0000689742           Provident Label Group, LLC
981    Casting Crowns                           The Well                                            SR0000689742           Provident Label Group, LLC
982    Casting Crowns                           Wedding Day                                         SR0000689742           Provident Label Group, LLC
983    George McCrae                            Rock Your Baby                                      SR0000072555           Rhino Entertainment Company
984    Nickelback                               Burn It To The Ground                               SR0000651954           Roadrunner Records, Inc.
985    Nickelback                               Gotta Be Somebody                                   SR0000651954           Roadrunner Records, Inc.
986    Nickelback                               I'd Come For You                                    SR0000651954           Roadrunner Records, Inc.
987    Nickelback                               If Today Was Your Last Day                          SR0000651954           Roadrunner Records, Inc.
988    Nickelback                               Just To Get High                                    SR0000651954           Roadrunner Records, Inc.
989    Nickelback                               Never Gonna Be Alone                                SR0000651954           Roadrunner Records, Inc.
990    Nickelback                               Next Go Round                                       SR0000651954           Roadrunner Records, Inc.
991    Nickelback                               S.E.X.                                              SR0000651954           Roadrunner Records, Inc.
992    Nickelback                               Shakin' Hands                                       SR0000651954           Roadrunner Records, Inc.
993    Nickelback                               Something In Your Mouth                             SR0000651954           Roadrunner Records, Inc.
994    Nickelback                               This Afternoon                                      SR0000651954           Roadrunner Records, Inc.
996    Slipknot                                 742617000027                                        SR0000301094           Roadrunner Records, Inc.
997    Slipknot                                 .execute.                                           SR0000656810           Roadrunner Records, Inc.
995    Slipknot                                 (515)                                               SR0000330440           Roadrunner Records, Inc.
998    Slipknot                                 (sic)                                               SR0000301094           Roadrunner Records, Inc.
999    Slipknot                                 All Hope Is Gone                                    SR0000656810           Roadrunner Records, Inc.
1000   Slipknot                                 Before I Forget                                     SR0000358238           Roadrunner Records, Inc.
1001   Slipknot                                 Dead Memories                                       SR0000656810           Roadrunner Records, Inc.
1002   Slipknot                                 Duality                                             SR0000358238           Roadrunner Records, Inc.
1003   Slipknot                                 Everything Ends                                     SR0000330440           Roadrunner Records, Inc.
1004   Slipknot                                 Eyeless                                             SR0000301094           Roadrunner Records, Inc.
1005   Slipknot                                 Gematria (The Killing Name)                         SR0000656810           Roadrunner Records, Inc.
1006   Slipknot                                 Iowa (Live Version)                                 SR0000390797           Roadrunner Records, Inc.
1007   Slipknot                                 Left Behind                                         SR0000330440           Roadrunner Records, Inc.
1008   Slipknot                                 My Plague                                           SR0000330440           Roadrunner Records, Inc.
1009   Slipknot                                 People = Shit                                       SR0000330440           Roadrunner Records, Inc.
1010   Slipknot                                 Prelude 3.0                                         SR0000358238           Roadrunner Records, Inc.
1011   Slipknot                                 Psychosocial                                        SR0000656810           Roadrunner Records, Inc.
1012   Slipknot                                 Snuff                                               SR0000656810           Roadrunner Records, Inc.
1013   Slipknot                                 Spit It Out                                         SR0000301094           Roadrunner Records, Inc.
1014   Slipknot                                 Sulfur                                              SR0000656810           Roadrunner Records, Inc.
1015   Slipknot                                 Surfacing                                           SR0000301094           Roadrunner Records, Inc.
1016   Slipknot                                 The Blister Exists                                  SR0000358238           Roadrunner Records, Inc.
1017   Slipknot                                 The Heretic Anthem                                  SR0000330440           Roadrunner Records, Inc.
1018   Slipknot                                 The Nameless                                        SR0000358238           Roadrunner Records, Inc.
1019   Slipknot                                 Til We Die                                          SR0000656810           Roadrunner Records, Inc.
1020   Slipknot                                 Vermilion                                           SR0000358238           Roadrunner Records, Inc.
1021   Slipknot                                 Vermilion Pt. 2                                     SR0000358238           Roadrunner Records, Inc.
1022   Slipknot                                 Wait And Bleed                                      SR0000301094           Roadrunner Records, Inc.
1023   Stone Sour                               Bother                                              SR0000330447           Roadrunner Records, Inc.
1024   Stone Sour                               Choose                                              SR0000330447           Roadrunner Records, Inc.
1025   Stone Sour                               Digital (Did You Tell)                              SR0000689549           Roadrunner Records, Inc.
1026   Stone Sour                               Get Inside                                          SR0000330447           Roadrunner Records, Inc.
1027   Stone Sour                               Home Again                                          SR0000689549           Roadrunner Records, Inc.
1028   Stone Sour                               Inhale                                              SR0000330447           Roadrunner Records, Inc.
1029   Stone Sour                               Kill Everybody                                      SR0000357276           Roadrunner Records, Inc.
1030   Stone Sour                               Nylon 6/6                                           SR0000689549           Roadrunner Records, Inc.




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                        Artist                                               Track                       Registration Number                 Plaintiff
1031   Stone Sour                               Orchids                                                 SR0000330447           Roadrunner Records, Inc.
1032   Stone Sour                               Pieces                                                  SR0000689549           Roadrunner Records, Inc.
1033   Stone Sour                               Road Hogs                                               SR0000357276           Roadrunner Records, Inc.
1034   Stone Sour                               Say You'll Haunt Me                                     SR0000689549           Roadrunner Records, Inc.
1035   Stone Sour                               Take A Number                                           SR0000330447           Roadrunner Records, Inc.
1036   Stone Sour                               The Bitter End                                          SR0000689549           Roadrunner Records, Inc.
1037   Stone Sour                               Threadbare                                              SR0000689549           Roadrunner Records, Inc.
1038   Stone Sour                               Tumult                                                  SR0000330447           Roadrunner Records, Inc.
1039   Adele                                    Don't You Remember                                      SR0000673074           Sony Music Entertainment
1040   Adele                                    He Won't Go                                             SR0000673074           Sony Music Entertainment
1041   Adele                                    I Found A Boy                                           SR0000673074           Sony Music Entertainment
1042   Adele                                    I'll Be Waiting                                         SR0000673074           Sony Music Entertainment
1043   Adele                                    Lovesong                                                SR0000673074           Sony Music Entertainment
1044   Adele                                    One And Only                                            SR0000673074           Sony Music Entertainment
1045   Adele                                    Rumour Has It                                           SR0000673074           Sony Music Entertainment
1046   Adele                                    Someone Like You                                        SR0000673074           Sony Music Entertainment
1047   Adele                                    Take It All                                             SR0000673074           Sony Music Entertainment
1048   Adele                                    Turning Tables                                          SR0000673074           Sony Music Entertainment
1049   Aerosmith                                Angel's Eye                                             SR0000294320           Sony Music Entertainment
1050   Aerosmith                                Baby, Please Don't Go                                   SR0000355804           Sony Music Entertainment
1051   Aerosmith                                Fly Away From Here                                      SR0000299932           Sony Music Entertainment
1052   Aerosmith                                Full Circle                                             SR0000246031           Sony Music Entertainment
1053   Aerosmith                                Hole In My Soul                                         SR0000246031           Sony Music Entertainment
1054   Aerosmith                                I Don't Want to Miss a Thing                            SR0000730819           Sony Music Entertainment
1055   Aerosmith                                Nine Lives                                              SR0000246031           Sony Music Entertainment
1056   Aerosmith                                Sedona Sunrise                                          SR0000400132           Sony Music Entertainment
1057   Aerosmith                                Sunshine                                                SR0000299932           Sony Music Entertainment
1058   Alicia Keys                              Dah Dee Dah (Sexy Thing)                                SR0000252535           Sony Music Entertainment
1059   Alicia Keys                              Empire State Of Mind (Part II) Broken Down              SR0000752597           Sony Music Entertainment
1060   Alicia Keys                              I Got A Little Something                                SR0000685875           Sony Music Entertainment
1061   Alicia Keys                              Juiciest                                                SR0000685875           Sony Music Entertainment
1062   Alicia Keys                              Un-thinkable (I'm Ready)                                SR0000752593           Sony Music Entertainment

1063 Barbra Streisand duet with Neil Diamond You Don't Bring Me Flowers                                 SR0000004765           Sony Music Entertainment
1064   Becky G                                  Shower                                                  SR0000760239           Sony Music Entertainment
1065   Beyoncé                                  ***Flawless                                             SR0000747291           Sony Music Entertainment
1066   Beyoncé                                  1+1                                                     SR0000683948           Sony Music Entertainment
1067   Beyoncé                                  Ave Maria                                               SR0000623449           Sony Music Entertainment
1068   Beyoncé                                  Best Thing I Never Had                                  SR0000683948           Sony Music Entertainment
1069   Beyoncé                                  Blow                                                    SR0000747291           Sony Music Entertainment
1070   Beyoncé                                  Broken-Hearted Girl                                     SR0000623449           Sony Music Entertainment
1071   Beyoncé                                  Check On It                                             SR0000395861           Sony Music Entertainment
1072   Beyoncé                                  Countdown                                               SR0000683948           Sony Music Entertainment
1073   Beyoncé                                  Crazy in Love                                           SR0000342236           Sony Music Entertainment
1074   Beyoncé                                  Dance For You                                           SR0000683948           Sony Music Entertainment
1075   Beyoncé                                  Disappear                                               SR0000623449           Sony Music Entertainment
1076   Beyoncé                                  Diva                                                    SR0000623449           Sony Music Entertainment
1077   Beyoncé                                  Ego                                                     SR0000623449           Sony Music Entertainment
1078   Beyoncé                                  End Of Time                                             SR0000683948           Sony Music Entertainment
1079   Beyoncé                                  Halo                                                    SR0000623449           Sony Music Entertainment
1080   Beyoncé                                  Haunted                                                 SR0000747291           Sony Music Entertainment
1081   Beyoncé                                  Heaven                                                  SR0000747291           Sony Music Entertainment
1082   Beyoncé                                  Hello                                                   SR0000623449           Sony Music Entertainment
1083   Beyoncé                                  I Care                                                  SR0000683948           Sony Music Entertainment
1084   Beyoncé                                  I Miss You                                              SR0000683948           Sony Music Entertainment
1085   Beyoncé                                  If I Were A Boy                                         SR0000718926           Sony Music Entertainment
1086   Beyoncé                                  Jealous                                                 SR0000747291           Sony Music Entertainment
1087   Beyoncé                                  Lay Up Under Me                                         SR0000683948           Sony Music Entertainment
1088   Beyoncé                                  Love On Top                                             SR0000683948           Sony Music Entertainment
1089   Beyoncé                                  No Angel                                                SR0000747291           Sony Music Entertainment
1090   Beyoncé                                  Partition                                               SR0000747291           Sony Music Entertainment
1091   Beyoncé                                  Party                                                   SR0000683948           Sony Music Entertainment
1092   Beyoncé                                  Pretty Hurts                                            SR0000747291           Sony Music Entertainment
1093   Beyoncé                                  Radio                                                   SR0000623449           Sony Music Entertainment
1094   Beyoncé                                  Rather Die Young                                        SR0000683948           Sony Music Entertainment
1095   Beyoncé                                  Rocket                                                  SR0000747291           Sony Music Entertainment
1096   Beyoncé                                  Run The World (Girls)                                   SR0000683948           Sony Music Entertainment
1097   Beyoncé                                  Satellites                                              SR0000623449           Sony Music Entertainment
1098   Beyoncé                                  Scared Of Lonely                                        SR0000623449           Sony Music Entertainment




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                         Artist                                              Track                    Registration Number                 Plaintiff
1099   Beyoncé                                  Schoolin' Life                                       SR0000683948           Sony Music Entertainment
1100   Beyoncé                                  Single Ladies (Put A Ring On It)                     SR0000723765           Sony Music Entertainment
1101   Beyoncé                                  Smash Into You                                       SR0000623449           Sony Music Entertainment
1102   Beyoncé                                  Start Over                                           SR0000683948           Sony Music Entertainment
1103   Beyoncé                                  Sweet Dreams                                         SR0000623449           Sony Music Entertainment
1104   Beyoncé                                  That's Why You're Beautiful                          SR0000623449           Sony Music Entertainment
1105   Beyoncé                                  Video Phone                                          SR0000623449           Sony Music Entertainment
1106   Beyoncé                                  XO                                                   SR0000747291           Sony Music Entertainment
1107   Beyoncé feat. Blue Ivy                   Blue                                                 SR0000747291           Sony Music Entertainment
1108   Beyoncé feat. Drake                      Mine                                                 SR0000747291           Sony Music Entertainment
1109   Beyoncé feat. Frank Ocean                Superpower                                           SR0000747291           Sony Music Entertainment
1110   Beyoncé feat. Jay-Z                      Drunk in Love                                        SR0000747291           Sony Music Entertainment
1111   Big Time Rush                            All Over Again                                       SR0000697856           Sony Music Entertainment
1112   Big Time Rush                            Cover Girl                                           SR0000697856           Sony Music Entertainment
1113   Big Time Rush                            Elevate                                              SR0000697856           Sony Music Entertainment
1114   Big Time Rush                            If I Ruled The World                                 SR0000697856           Sony Music Entertainment
1115   Big Time Rush                            Invisible                                            SR0000697856           Sony Music Entertainment
1116   Big Time Rush                            Love Me Love Me                                      SR0000697856           Sony Music Entertainment
1117   Big Time Rush                            Music Sounds Better                                  SR0000697856           Sony Music Entertainment
1118   Big Time Rush                            No Idea                                              SR0000697856           Sony Music Entertainment
1119   Big Time Rush                            Show Me                                              SR0000697856           Sony Music Entertainment
1120   Big Time Rush                            Superstar                                            SR0000697856           Sony Music Entertainment
1121   Big Time Rush                            Time Of Our Life                                     SR0000697856           Sony Music Entertainment
1122   Big Time Rush                            You're Not Alone                                     SR0000697856           Sony Music Entertainment
1123   Bill Withers                             I Don't Know                                         N1596                  Sony Music Entertainment
1124   Bill Withers                             I Don't Want You on My Mind                          N1596                  Sony Music Entertainment
1125   Bill Withers                             Kissing My Love                                      N1596                  Sony Music Entertainment
1126   Bill Withers                             Lean On Me                                           N1596                  Sony Music Entertainment
1127   Bill Withers                             Lonely Town, Lonely Street                           N1596                  Sony Music Entertainment
1128   Bill Withers                             Use Me                                               N1596                  Sony Music Entertainment
1129   Bill Withers                             Watching You Watching Me                             SR0000065774           Sony Music Entertainment
1130   Bone Thugs N Harmony                     1st Of Tha Month                                     SR0000225335           Sony Music Entertainment
1131   Bone Thugs N Harmony                     Buddah Lovaz                                         SR0000225335           Sony Music Entertainment
1132   Bone Thugs N Harmony                     Cleveland Is The City                                SR0000330830           Sony Music Entertainment
1133   Bone Thugs N Harmony                     Crept And We Came                                    SR0000225335           Sony Music Entertainment
1134   Bone Thugs N Harmony                     Da Introduction                                      SR0000225335           Sony Music Entertainment
1135   Bone Thugs N Harmony                     Die Die Die                                          SR0000225335           Sony Music Entertainment
1136   Bone Thugs N Harmony                     East 1999                                            SR0000225335           Sony Music Entertainment
1137   Bone Thugs N Harmony                     Ecstasy                                              SR0000274908           Sony Music Entertainment
1138   Bone Thugs N Harmony                     Eternal                                              SR0000225335           Sony Music Entertainment
1139   Bone Thugs N Harmony                     Get'Cha Thug On                                      SR0000260406           Sony Music Entertainment
1140   Bone Thugs N Harmony                     Home                                                 SR0000330830           Sony Music Entertainment
1141   Bone Thugs N Harmony                     Land Of Tha Heartless                                SR0000225335           Sony Music Entertainment
1142   Bone Thugs N Harmony                     Look Into My Eyes                                    SR0000260406           Sony Music Entertainment
1143   Bone Thugs N Harmony                     Mo'Murda                                             SR0000225335           Sony Music Entertainment
1144   Bone Thugs N Harmony                     Money, Money                                         SR0000330830           Sony Music Entertainment
1145   Bone Thugs N Harmony                     Mr. Bill Collector                                   SR0000225335           Sony Music Entertainment
1146   Bone Thugs N Harmony                     Mr. Quija 2                                          SR0000225335           Sony Music Entertainment
1147   Bone Thugs N Harmony                     No Shorts, No Losses                                 SR0000225335           Sony Music Entertainment
1148   Bone Thugs N Harmony                     Resurrection (Paper, Paper)                          SR0000274908           Sony Music Entertainment
1149   Bone Thugs N Harmony                     Shotz To Tha Double Glock                            SR0000225335           Sony Music Entertainment
1150   Bone Thugs N Harmony                     Tha Crossroads                                       SR0000225335           Sony Music Entertainment
1151   Bone Thugs N Harmony                     Thuggish Ruggish Bone                                SR0000223608           Sony Music Entertainment
1152   Bone Thugs N Harmony                     Weed Song                                            SR0000274908           Sony Music Entertainment
1153   Bone Thugs N Harmony feat. 2Pac          Thug Luv                                             SR0000260406           Sony Music Entertainment
       Bone Thugs N Harmony feat. Felecia
1154                                            Get Up & Get It                                      SR0000330830           Sony Music Entertainment
       Lindsey and 3LW
1155   Bone Thugs N Harmony with Eazy-E         For Tha Love Of $                                    SR0000223608           Sony Music Entertainment
1156   Boston                                   A Man I'll Never Be                                  SR0000004079           Sony Music Entertainment
1157   Boston                                   Don't Look Back                                      SR0000003614           Sony Music Entertainment
1158   Boston                                   Feelin' Satisfied                                    SR0000004079           Sony Music Entertainment
1159   Boston                                   Higher Power                                         SR0000239485           Sony Music Entertainment
1160   Boston                                   Higher Power (Kalodner Edit)                         SR0000239485           Sony Music Entertainment
1161   Boston                                   More Than A Feeling                                  N36238                 Sony Music Entertainment
1162   Boston                                   Party                                                SR0000004079           Sony Music Entertainment
1163   Boston                                   Tell Me                                              SR0000239485           Sony Music Entertainment
1164   Boston                                   The Star Spangled Banner, 4th of July Reprise        SR0000239485           Sony Music Entertainment
1165   Boys Like Girls                          Heels Over Head                                      SR0000724396           Sony Music Entertainment
1166   Boys Like Girls                          Hero/Heroine                                         SR0000724396           Sony Music Entertainment




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                                                                        EXHIBIT A - SOUND RECORDINGS

                          Artist                                               Track                    Registration Number                 Plaintiff
1167   Boys Like Girls featuring Taylor Swift    Two Is Better Than One                                SR0000639800           Sony Music Entertainment
1168   Brad Paisley                              A Man Don't Have to Die                               SR0000680360           Sony Music Entertainment
1169   Brad Paisley                              Be The Lake                                           SR0000680360           Sony Music Entertainment
1170   Brad Paisley                              Camouflage                                            SR0000680360           Sony Music Entertainment
1171   Brad Paisley                              I Do Now                                              SR0000680360           Sony Music Entertainment
1172   Brad Paisley                              New Favorite Memory                                   SR0000680360           Sony Music Entertainment
1173   Brad Paisley                              Old Alabama                                           SR0000680360           Sony Music Entertainment
1174   Brad Paisley                              One of Those Lives                                    SR0000680360           Sony Music Entertainment
1175   Brad Paisley                              This Is Country Music                                 SR0000680360           Sony Music Entertainment
1176   Brad Paisley                              Toothbrush                                            SR0000680360           Sony Music Entertainment
1177   Brad Paisley                              Working On A Tan                                      SR0000680360           Sony Music Entertainment
1178   Brad Paisley feat. Blake Shelton          Don't Drink the Water                                 SR0000680360           Sony Music Entertainment
1179   Brad Paisley feat. Clint Eastwood         Eastwood                                              SR0000680360           Sony Music Entertainment
1180   Brad Paisley feat. Don Henley             Love Her Like She's Leavin'                           SR0000680360           Sony Music Entertainment
       Brad Paisley feat. Marty Stuart, Sheryl
1181                                             Life's Railway to Heaven                              SR0000680360           Sony Music Entertainment
       Crow and Carl Jackson
1182   Brad Praisley                             Remind Me                                             SR0000680360           Sony Music Entertainment
1183   Brandi Carlile                            Again Today / Hiding My Heart                         SR0000609517           Sony Music Entertainment
1184   Brandi Carlile                            Cannonball                                            SR0000609517           Sony Music Entertainment
1185   Brandi Carlile                            Downpour                                              SR0000609517           Sony Music Entertainment
1186   Brandi Carlile                            Have You Ever                                         SR0000609517           Sony Music Entertainment
1187   Brandi Carlile                            Josephine                                             SR0000609517           Sony Music Entertainment
1188   Brandi Carlile                            Late Morning Lullaby                                  SR0000609517           Sony Music Entertainment
1189   Brandi Carlile                            Losing Heart                                          SR0000609517           Sony Music Entertainment
1190   Brandi Carlile                            My Song                                               SR0000609517           Sony Music Entertainment
1191   Brandi Carlile                            Shadow On The Wall                                    SR0000609517           Sony Music Entertainment
1192   Brandi Carlile                            Turpentine                                            SR0000609517           Sony Music Entertainment
1193   Brandi Carlile                            Until I Die                                           SR0000609517           Sony Music Entertainment
1194   Brandi Carlile                            Wasted                                                SR0000609517           Sony Music Entertainment
1195   Brandy                                    1st & Love                                            SR0000622255           Sony Music Entertainment
1196   Brandy                                    A Capella (Something's Missing)                       SR0000622255           Sony Music Entertainment
1197   Brandy                                    Camouflage                                            SR0000622255           Sony Music Entertainment
1198   Brandy                                    Can You Hear Me Now                                   SR0000710136           Sony Music Entertainment
1199   Brandy                                    Do You Know What You Have                             SR0000710136           Sony Music Entertainment
1200   Brandy                                    Fall                                                  SR0000622255           Sony Music Entertainment
1201   Brandy                                    Hardly Breathing                                      SR0000710136           Sony Music Entertainment
1202   Brandy                                    Human                                                 SR0000622255           Sony Music Entertainment
1203   Brandy                                    Let Me Go                                             SR0000710136           Sony Music Entertainment
1204   Brandy                                    Long Distance                                         SR0000622255           Sony Music Entertainment
1205   Brandy                                    Long Distance Interlude                               SR0000622255           Sony Music Entertainment
1206   Brandy                                    Music                                                 SR0000710136           Sony Music Entertainment
1207   Brandy                                    No Such Thing As Too Late                             SR0000710136           Sony Music Entertainment
1208   Brandy                                    Outro                                                 SR0000710136           Sony Music Entertainment
1209   Brandy                                    Paint This House                                      SR0000710136           Sony Music Entertainment
1210   Brandy                                    Piano Man                                             SR0000622255           Sony Music Entertainment
1211   Brandy                                    Scared Of Beautiful                                   SR0000710136           Sony Music Entertainment
1212   Brandy                                    Shattered Heart                                       SR0000622255           Sony Music Entertainment
1213   Brandy                                    Slower                                                SR0000710136           Sony Music Entertainment
1214   Brandy                                    So Sick                                               SR0000710136           Sony Music Entertainment
1215   Brandy                                    The Definition                                        SR0000622255           Sony Music Entertainment
1216   Brandy                                    Torn Down                                             SR0000622255           Sony Music Entertainment
1217   Brandy                                    True                                                  SR0000622255           Sony Music Entertainment
1218   Brandy                                    Warm It Up (With Love)                                SR0000622255           Sony Music Entertainment
1219   Brandy                                    What You Need                                         SR0000710136           Sony Music Entertainment
1220   Brandy                                    Wildest Dreams                                        SR0000710136           Sony Music Entertainment
1221   Brandy                                    Wish Your Love Away                                   SR0000710136           Sony Music Entertainment
1222   Brandy                                    Without You                                           SR0000710136           Sony Music Entertainment
1223   Brandy featuring Chris Brown              Put It Down                                           SR0000710136           Sony Music Entertainment
1224   Britney Spears                            Criminal                                              SR0000673693           Sony Music Entertainment
1225   Britney Spears                            Don't Keep Me Waiting                                 SR0000677693           Sony Music Entertainment
1226   Britney Spears                            Gasoline                                              SR0000673693           Sony Music Entertainment
1227   Britney Spears                            He About To Lose Me                                   SR0000677693           Sony Music Entertainment
1228   Britney Spears                            Hold It Against Me                                    SR0000673693           Sony Music Entertainment
1229   Britney Spears                            How I Roll                                            SR0000673693           Sony Music Entertainment
1230   Britney Spears                            I Wanna Go                                            SR0000673693           Sony Music Entertainment
1231   Britney Spears                            Inside Out                                            SR0000673693           Sony Music Entertainment
1232   Britney Spears                            Seal It With A Kiss                                   SR0000673693           Sony Music Entertainment
1233   Britney Spears                            Selfish                                               SR0000677693           Sony Music Entertainment
1234   Britney Spears                            Trip To Your Heart                                    SR0000673693           Sony Music Entertainment




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                         Artist                                              Track                   Registration Number                 Plaintiff
1235   Britney Spears                           Trouble For Me                                      SR0000673693           Sony Music Entertainment
1236   Britney Spears                           Up N' Down                                          SR0000677693           Sony Music Entertainment
1237   Britney Spears feat. Sabi                (Drop Dead) Beautiful                               SR0000673693           Sony Music Entertainment
1238   Britney Spears feat. will.i.am           Big Fat Bass                                        SR0000673693           Sony Music Entertainment
1239   Bruce Springsteen                        American Land                                       SR0000383238           Sony Music Entertainment
1240   Bruce Springsteen                        Death To My Hometown                                SR0000705192           Sony Music Entertainment
1241   Bruce Springsteen                        Easy Money                                          SR0000705192           Sony Music Entertainment
1242   Bruce Springsteen                        Jack Of All Trades                                  SR0000705192           Sony Music Entertainment
1243   Bruce Springsteen                        Land of Hope and Dreams                             SR0000705192           Sony Music Entertainment
1244   Bruce Springsteen                        Rocky Ground                                        SR0000705192           Sony Music Entertainment
1245   Bruce Springsteen                        Shackled And Drawn                                  SR0000705192           Sony Music Entertainment
1246   Bruce Springsteen                        Swallowed Up (In The Belly Of The Whale)            SR0000705192           Sony Music Entertainment
1247   Bruce Springsteen                        This Depression                                     SR0000705192           Sony Music Entertainment
1248   Bruce Springsteen                        We Are Alive                                        SR0000705192           Sony Music Entertainment
1249   Bruce Springsteen                        We Take Care Of Our Own                             SR0000705192           Sony Music Entertainment
1250   Bruce Springsteen                        Wrecking Ball                                       SR0000705192           Sony Music Entertainment
1251   Bruce Springsteen                        You've Got It                                       SR0000705192           Sony Music Entertainment
1252   Bullet For My Valentine                  A Place Where You Belong                            SR0000706395           Sony Music Entertainment
1253   Bullet For My Valentine                  Alone                                               SR0000706395           Sony Music Entertainment
1254   Bullet For My Valentine                  Ashes Of The Innocent                               SR0000619985           Sony Music Entertainment
1255   Bullet For My Valentine                  Begging For Mercy                                   SR0000706395           Sony Music Entertainment
1256   Bullet For My Valentine                  Bittersweet Memories                                SR0000706395           Sony Music Entertainment
1257   Bullet For My Valentine                  Breaking Out, Breaking Down                         SR0000706395           Sony Music Entertainment
1258   Bullet For My Valentine                  Deliver Us from Evil                                SR0000619985           Sony Music Entertainment
1259   Bullet For My Valentine                  Dignity                                             SR0000706395           Sony Music Entertainment
1260   Bullet For My Valentine                  Disappear                                           SR0000619985           Sony Music Entertainment
1261   Bullet For My Valentine                  End Of Days                                         SR0000619985           Sony Music Entertainment
1262   Bullet For My Valentine                  Eye Of The Storm                                    SR0000619985           Sony Music Entertainment
1263   Bullet For My Valentine                  Fever                                               SR0000706395           Sony Music Entertainment
1264   Bullet For My Valentine                  Forever And Always                                  SR0000619985           Sony Music Entertainment
1265   Bullet For My Valentine                  Hearts Burst Into Fire                              SR0000619985           Sony Music Entertainment
1266   Bullet For My Valentine                  Last To Know                                        SR0000619985           Sony Music Entertainment
1267   Bullet For My Valentine                  One Good Reason Why                                 SR0000619985           Sony Music Entertainment
1268   Bullet For My Valentine                  Pleasure And Pain                                   SR0000706395           Sony Music Entertainment
1269   Bullet For My Valentine                  Pretty On The Outside                               SR0000706395           Sony Music Entertainment
1270   Bullet For My Valentine                  Road To Nowhere                                     SR0000619985           Sony Music Entertainment
1271   Bullet For My Valentine                  Say Goodnight                                       SR0000619985           Sony Music Entertainment
1272   Bullet For My Valentine                  Scream Aim Fire                                     PA0001607594           Sony Music Entertainment
1273   Bullet For My Valentine                  Take It Out On Me                                   SR0000619985           Sony Music Entertainment
1274   Bullet For My Valentine                  The Last Fight                                      SR0000706395           Sony Music Entertainment
1275   Bullet For My Valentine                  Waking The Demon                                    SR0000619985           Sony Music Entertainment
1276   Bullet For My Valentine                  Watching Us Die Tonight                             SR0000619985           Sony Music Entertainment
1277   Bullet For My Valentine                  Your Betrayal                                       SR0000706395           Sony Music Entertainment
1278   Cage The Elephant                        2024                                                SR0000703665           Sony Music Entertainment
1279   Cage The Elephant                        Aberdeen                                            SR0000703665           Sony Music Entertainment
1280   Cage The Elephant                        Ain't No Rest for the Wicked                        SR0000615871           Sony Music Entertainment
1281   Cage The Elephant                        Always Something                                    SR0000703665           Sony Music Entertainment
1282   Cage The Elephant                        Around My Head                                      SR0000703665           Sony Music Entertainment
1283   Cage The Elephant                        Back Against The Wall                               SR0000631003           Sony Music Entertainment
1284   Cage The Elephant                        Back Stabbin' Betty                                 SR0000631003           Sony Music Entertainment
1285   Cage The Elephant                        Cover Me Again                                      SR0000631003           Sony Music Entertainment
1286   Cage The Elephant                        Drones In The Valley                                SR0000631003           Sony Music Entertainment
1287   Cage The Elephant                        Flow                                                SR0000703665           Sony Music Entertainment
1288   Cage The Elephant                        Free Love                                           SR0000631003           Sony Music Entertainment
1289   Cage The Elephant                        In One Ear                                          SR0000631003           Sony Music Entertainment
1290   Cage The Elephant                        Indy Kidz                                           SR0000703665           Sony Music Entertainment
1291   Cage The Elephant                        James Brown                                         SR0000631003           Sony Music Entertainment
1292   Cage The Elephant                        Japanese Buffalo                                    SR0000703665           Sony Music Entertainment
1293   Cage The Elephant                        Judas                                               SR0000631003           Sony Music Entertainment
1294   Cage The Elephant                        Lotus                                               SR0000631003           Sony Music Entertainment
1295   Cage The Elephant                        Right Before My Eyes                                SR0000703665           Sony Music Entertainment
1296   Cage The Elephant                        Rubber Ball                                         SR0000703665           Sony Music Entertainment
1297   Cage The Elephant                        Sabertooth Tiger                                    SR0000703665           Sony Music Entertainment
1298   Cage The Elephant                        Sell Yourself                                       SR0000703665           Sony Music Entertainment
1299   Cage The Elephant                        Shake Me Down                                       SR0000703665           Sony Music Entertainment
1300   Cage The Elephant                        Soil To The Sun                                     SR0000631003           Sony Music Entertainment
1301   Cage The Elephant                        Tiny Little Robots                                  SR0000631003           Sony Music Entertainment
1302   Carlos Santana                           Havana Moon                                         SR0000045295           Sony Music Entertainment
1303   Carrie Underwood                         Blown Away                                          SR0000700157           Sony Music Entertainment




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                         Artist                                             Track                        Registration Number                 Plaintiff
1304   Carrie Underwood                          Cupid's Got A Shotgun                                  SR0000700157           Sony Music Entertainment
1305   Carrie Underwood                          Do You Think About Me                                  SR0000700157           Sony Music Entertainment
1306   Carrie Underwood                          Forever Changed                                        SR0000700157           Sony Music Entertainment
1307   Carrie Underwood                          Good Girl                                              SR0000700157           Sony Music Entertainment
1308   Carrie Underwood                          Good In Goodbye                                        SR0000700157           Sony Music Entertainment
1309   Carrie Underwood                          Leave Love Alone                                       SR0000700157           Sony Music Entertainment
1310   Carrie Underwood                          Nobody Ever Told You                                   SR0000700157           Sony Music Entertainment
1311   Carrie Underwood                          One Way Ticket                                         SR0000700157           Sony Music Entertainment
1312   Carrie Underwood                          See You Again                                          SR0000700157           Sony Music Entertainment
1313   Carrie Underwood                          Thank God For Hometowns                                SR0000700157           Sony Music Entertainment
1314   Carrie Underwood                          Two Black Cadillacs                                    SR0000700157           Sony Music Entertainment
1315   Carrie Underwood                          Who Are You                                            SR0000700157           Sony Music Entertainment
1316   Carrie Underwood                          Wine After Whiskey                                     SR0000700157           Sony Music Entertainment
1317   Celene Dion                               Where Does My Heart Beat Now                           SR0000124245           Sony Music Entertainment
1318   Charlie Daniels                           the Devil Went Down To Georgia                         SR0000008973           Sony Music Entertainment
1319   Charlie Wilson                            Crying For You                                         SR0000679365           Sony Music Entertainment
1320   Charlie Wilson                            I Can't Let Go                                         SR0000679365           Sony Music Entertainment
1321   Charlie Wilson                            Life Of The Party                                      SR0000679365           Sony Music Entertainment
1322   Charlie Wilson                            Lotto                                                  SR0000679365           Sony Music Entertainment
1323   Charlie Wilson                            My Girl Is A Dime                                      SR0000679365           Sony Music Entertainment
1324   Charlie Wilson                            Never Got Enough                                       SR0000679365           Sony Music Entertainment
1325   Charlie Wilson                            One And Forever                                        SR0000679365           Sony Music Entertainment
1326   Charlie Wilson                            Where Would I Be                                       SR0000679365           Sony Music Entertainment
1327   Charlie Wilson                            You Are                                                SR0000679365           Sony Music Entertainment
1328   Charlie Wilson Featuring Fantasia         I Wanna Be Your Man                                    SR0000679365           Sony Music Entertainment
1329   Cher Lloyd                                Swagger Jagger                                         SR0000724733           Sony Music Entertainment
1330   Chevelle                                  Closure                                                SR0000324184           Sony Music Entertainment
1331   Chevelle                                  Comfortable Liar                                       SR0000324184           Sony Music Entertainment
1332   Chevelle                                  Forfeit                                                SR0000324184           Sony Music Entertainment
1333   Chevelle                                  Get Some                                               SR0000363500           Sony Music Entertainment
1334   Chevelle                                  I Get It                                               SR0000407044           Sony Music Entertainment
1335   Chevelle                                  Panic Prone                                            SR0000363500           Sony Music Entertainment
1336   Chevelle                                  Send The Pain Below                                    SR0000324184           Sony Music Entertainment
1337   Chevelle                                  Straight Jacket Fashion                                SR0000407044           Sony Music Entertainment
1338   Chevelle                                  The Clincher                                           SR0000363500           Sony Music Entertainment
1339   Chevelle                                  The Fad                                                SR0000407044           Sony Music Entertainment
1340   Chevelle                                  The Red                                                PA0001060682           Sony Music Entertainment
1341   Chevelle                                  Vitamin R (Leading Us Along)                           PA0001263996           Sony Music Entertainment
1342   Chipmunk Feat. Chris Brown                Champion                                               SR0000751658           Sony Music Entertainment
1343   Chris Brown                               2012                                                   SR0000711816           Sony Music Entertainment
1344   Chris Brown                               4 Years Old                                            SR0000711816           Sony Music Entertainment
1345   Chris Brown                               Bassline                                               SR0000711816           Sony Music Entertainment
1346   Chris Brown                               Biggest Fan                                            SR0000711816           Sony Music Entertainment
1347   Chris Brown                               Don't Judge Me                                         SR0000711816           Sony Music Entertainment
1348   Chris Brown                               Don't Wake Me Up                                       SR0000711816           Sony Music Entertainment
1349   Chris Brown                               Free Run                                               SR0000711816           Sony Music Entertainment
1350   Chris Brown                               Oh My Love                                             SR0000679366           Sony Music Entertainment
1351   Chris Brown                               Strip                                                  SR0000711816           Sony Music Entertainment
1352   Chris Brown                               Stuck On Stupid                                        SR0000711816           Sony Music Entertainment
1353   Chris Brown                               Sweet Love                                             SR0000711816           Sony Music Entertainment
1354   Chris Brown                               Tell Somebody                                          SR0000711816           Sony Music Entertainment
1355   Chris Brown                               Wait For You                                           SR0000711816           Sony Music Entertainment
1356   Chris Brown feat. Benny Benassi           Beautiful People                                       SR0000679366           Sony Music Entertainment
1357 Chris Brown feat. Big Sean & Wiz Khalifa Till I Die                                                SR0000711816           Sony Music Entertainment

1358   Chris Brown feat. Nas                     Mirage                                                 SR0000711816           Sony Music Entertainment
1359   Chris Brown feat. Nicki Minaj             Love More                                              SR0000726473           Sony Music Entertainment
1360   Chris Brown feat. Sabrina Antionette      Trumpet Lights                                         SR0000711816           Sony Music Entertainment
1361   Chris Brown feat. Sevyn                   Party Hard / Cadillac (Interlude)                      SR0000711816           Sony Music Entertainment
1362   Chris Brown feat. Sevyn                   Remember My Name                                       SR0000711816           Sony Music Entertainment
1363   Chris Brown feat. Sevyn                   Touch Me                                               SR0000711816           Sony Music Entertainment
1364   Chris Brown featuring Eva Simons          Pass Out                                               SR0000747286           Sony Music Entertainment
       Chris Brown featuring Lil Wayne & Busta
1365                                             Look At Me Now                                         SR0000677541           Sony Music Entertainment
       Rhymes
       Chris Brown featuring Lil Wayne & Swizz
1366                                             I Can Transform Ya                                     SR0000747284           Sony Music Entertainment
       Beatz
1367   Chris Young                               A.M.                                                   SR0000726878           Sony Music Entertainment
1368   Chris Young                               Aw Naw                                                 SR0000726910           Sony Music Entertainment
1369   Chris Young                               Forgiveness                                            SR0000726878           Sony Music Entertainment




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                          Artist                                            Track                     Registration Number                 Plaintiff
1370   Chris Young                              Goodbye                                              SR0000736687           Sony Music Entertainment
1371   Chris Young                              Hold You To It                                       SR0000726878           Sony Music Entertainment
1372   Chris Young                              Lighters In the Air                                  SR0000726878           Sony Music Entertainment
1373   Chris Young                              Nothin' But the Cooler Left                          SR0000726878           Sony Music Entertainment
1374   Chris Young                              Text Me Texas                                        SR0000726878           Sony Music Entertainment
1375   Chris Young                              We're Gonna Find It Tonight                          SR0000726878           Sony Music Entertainment
1376   Chris Young                              Who I Am With You                                    SR0000726878           Sony Music Entertainment
1377   Ciara                                    Ciara To The Stage                                   SR0000631011           Sony Music Entertainment
1378   Ciara                                    G Is For Girl (A-Z)                                  SR0000631011           Sony Music Entertainment
1379   Ciara                                    I Don't Remember                                     SR0000631011           Sony Music Entertainment
1380   Ciara                                    Keep Dancin' On Me                                   SR0000631011           Sony Music Entertainment
1381   Ciara                                    Like A Surgeon                                       SR0000631011           Sony Music Entertainment
1382   Ciara                                    Never Ever                                           SR0000631011           Sony Music Entertainment
1383   Ciara                                    Pucker Up                                            SR0000631011           Sony Music Entertainment
1384   Ciara                                    Tell Me What Your Name Is                            SR0000631011           Sony Music Entertainment
1385   Ciara feat. Chris Brown                  Turntables                                           SR0000631011           Sony Music Entertainment
1386   Ciara feat. Ludacris                     High Price                                           SR0000631011           Sony Music Entertainment
1387   Ciara feat. Nicki Minaj                  I'm Out                                              SR0000724534           Sony Music Entertainment
1388   Ciara feat. The-Dream                    Lover's Thing                                        SR0000631011           Sony Music Entertainment
1389   Ciara Featuring Justin Timberlake        Love Sex Magic                                       SR0000631011           Sony Music Entertainment
1390   Crossfade                                Cold                                                 SR0000697112           Sony Music Entertainment
1391   Crossfade                                Colors                                               SR0000354126           Sony Music Entertainment
1392   Crossfade                                Dead Skin                                            SR0000354126           Sony Music Entertainment
1393   Crossfade                                Death Trend Setta                                    SR0000354126           Sony Music Entertainment
1394   Crossfade                                Disco                                                SR0000354126           Sony Music Entertainment
1395   Crossfade                                No Giving Up                                         SR0000354126           Sony Music Entertainment
1396   Crossfade                                So Far Away                                          SR0000354126           Sony Music Entertainment
1397   Crossfade                                Starless                                             SR0000354126           Sony Music Entertainment
1398   Crossfade                                The Deep End                                         SR0000354126           Sony Music Entertainment
1399   Crossfade                                The Unknown                                          SR0000354126           Sony Music Entertainment
1400   Darren Hayes of Savage Garden            California                                           SR0000386428           Sony Music Entertainment
1401   Darren Hayes of Savage Garden            So Beautiful                                         SR0000386428           Sony Music Entertainment
1402   Daughtry                                 All These Lives                                      SR0000399960           Sony Music Entertainment
1403   Daughtry                                 Breakdown                                            SR0000399960           Sony Music Entertainment
1404   Daughtry                                 Crashed                                              SR0000399960           Sony Music Entertainment
1405   Daughtry                                 Feels Like Tonight                                   SR0000399960           Sony Music Entertainment
1406   Daughtry                                 Gone                                                 SR0000399960           Sony Music Entertainment
1407   Daughtry                                 Home                                                 SR0000399960           Sony Music Entertainment
1408   Daughtry                                 It's Not Over                                        SR0000399960           Sony Music Entertainment
1409   Daughtry                                 Over You                                             SR0000399960           Sony Music Entertainment
1410   Daughtry                                 There And Back Again                                 SR0000399960           Sony Music Entertainment
1411   Daughtry                                 Used To                                              SR0000399960           Sony Music Entertainment
1412   Daughtry                                 What About Now                                       SR0000399960           Sony Music Entertainment
1413   Daughtry                                 What I Want                                          SR0000399960           Sony Music Entertainment
1414   Dixie Chicks                             Am I the Only One (Who's Ever Felt This Way)         SR0000252000           Sony Music Entertainment
1415   Dixie Chicks                             Bitter End                                           SR0000391109           Sony Music Entertainment
1416   Dixie Chicks                             Cowboy Take Me Away                                  SR0000275086           Sony Music Entertainment
1417   Dixie Chicks                             Easy Silence                                         SR0000391109           Sony Music Entertainment
1418   Dixie Chicks                             Everybody Knows                                      SR0000391109           Sony Music Entertainment
1419   Dixie Chicks                             Give It Up Or Let Me Go                              SR0000252000           Sony Music Entertainment
1420   Dixie Chicks                             Goodbye Earl                                         SR0000275086           Sony Music Entertainment
1421   Dixie Chicks                             Heartbreak Town                                      SR0000275086           Sony Music Entertainment
1422   Dixie Chicks                             I Believe in Love                                    SR0000314722           Sony Music Entertainment
1423   Dixie Chicks                             I Can Love You Better                                SR0000252000           Sony Music Entertainment
1424   Dixie Chicks                             I'll Take Care of You                                SR0000252000           Sony Music Entertainment
1425   Dixie Chicks                             Landslide                                            SR0000314722           Sony Music Entertainment
1426   Dixie Chicks                             Let 'Er Rip                                          SR0000252000           Sony Music Entertainment
1427   Dixie Chicks                             Let Him Fly                                          SR0000275086           Sony Music Entertainment
1428   Dixie Chicks                             Lil' Jack Slade                                      SR0000314722           Sony Music Entertainment
1429   Dixie Chicks                             Loving Arms                                          SR0000252000           Sony Music Entertainment
1430   Dixie Chicks                             Lubbock or Leave It                                  SR0000391109           Sony Music Entertainment
1431   Dixie Chicks                             Lullaby                                              SR0000391109           Sony Music Entertainment
1432   Dixie Chicks                             Never Say Die                                        SR0000252000           Sony Music Entertainment
1433   Dixie Chicks                             Not Ready To Make Nice                               SR0000697321           Sony Music Entertainment
1434   Dixie Chicks                             Once You've Loved Somebody                           SR0000252000           Sony Music Entertainment
1435   Dixie Chicks                             Ready To Run                                         SR0000309667           Sony Music Entertainment
1436   Dixie Chicks                             Silent House                                         SR0000391109           Sony Music Entertainment
1437   Dixie Chicks                             Sin Wagon                                            SR0000275086           Sony Music Entertainment
1438   Dixie Chicks                             Some Days You Gotta Dance                            SR0000275086           Sony Music Entertainment




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                                                                      EXHIBIT A - SOUND RECORDINGS

                          Artist                                            Track                     Registration Number                 Plaintiff
1439   Dixie Chicks                             The Long Way Around                                  SR0000391109           Sony Music Entertainment
1440   Dixie Chicks                             There's Your Trouble                                 SR0000252000           Sony Music Entertainment
1441   Dixie Chicks                             Tonight the Heartache's on Me                        SR0000252000           Sony Music Entertainment
1442   Dixie Chicks                             Top of the World                                     SR0000314722           Sony Music Entertainment
1443   Dixie Chicks                             Travelin' Soldier                                    SR0000314722           Sony Music Entertainment
1444   Dixie Chicks                             Truth No. 2                                          SR0000314722           Sony Music Entertainment
1445   Dixie Chicks                             White Trash Wedding                                  SR0000314722           Sony Music Entertainment
1446   Dixie Chicks                             Wide Open Spaces                                     SR0000252000           Sony Music Entertainment
1447   Dixie Chicks                             Without You                                          SR0000275086           Sony Music Entertainment
1448   Dixie Chicks                             You Were Mine                                        SR0000252000           Sony Music Entertainment
1449   Eddie Money                              Baby Hold On                                         RE0000923174           Sony Music Entertainment
1450   Eddie Money                              I Wanna Go Back                                      SR0000071987           Sony Music Entertainment
1451   Eddie Money                              Looking Through The Eyes Of A Child                  SR0000109485           Sony Music Entertainment
1452   Eddie Money                              No Control                                           SR0000038050           Sony Music Entertainment
1453   Eddie Money                              Peace in Our Time                                    SR0000109485           Sony Music Entertainment
1454   Eddie Money                              Shakin'                                              SR0000038050           Sony Music Entertainment
1455   Eddie Money                              Stop Steppin' On My Heart                            SR0000109485           Sony Music Entertainment
1456   Eddie Money                              Think I'm In Love                                    SR0000038226           Sony Music Entertainment
1457   Eddie Money                              Two Tickets To Paradise                              RE0000923174           Sony Music Entertainment
1458   Eddie Money                              We Should Be Sleeping                                SR0000071987           Sony Music Entertainment
1459   Eddie Money                              Where's The Party?                                   SR0000050822           Sony Music Entertainment
1460   Electric Light Orchestra                 Across the Border                                    N46612                 Sony Music Entertainment
1461   Electric Light Orchestra                 Confusion                                            SR0000012943           Sony Music Entertainment
1462   Electric Light Orchestra                 Do Ya                                                N36991                 Sony Music Entertainment
1463   Electric Light Orchestra                 Don't Bring Me Down                                  SR0000012943           Sony Music Entertainment
1464   Electric Light Orchestra                 Evil Woman                                           N27257                 Sony Music Entertainment
1465   Electric Light Orchestra                 Four Little Diamonds                                 SR0000046784           Sony Music Entertainment
1466   Electric Light Orchestra                 Getting to the Point                                 SR0000070477           Sony Music Entertainment
1467   Electric Light Orchestra                 Here Is the News                                     SR0000030537           Sony Music Entertainment
1468   Electric Light Orchestra                 Illusions In G Major                                 N19100                 Sony Music Entertainment
1469   Electric Light Orchestra                 Last Train to London                                 SR0000012943           Sony Music Entertainment
1470   Electric Light Orchestra                 Livin' Thing                                         N36991                 Sony Music Entertainment
1471   Electric Light Orchestra                 Ma Ma Ma Belle                                       N11365                 Sony Music Entertainment
1472   Electric Light Orchestra                 Mr Blue Sky                                          N46612                 Sony Music Entertainment
1473   Electric Light Orchestra                 Nightrider                                           N27257                 Sony Music Entertainment
1474   Electric Light Orchestra                 Rockaria!                                            N36991                 Sony Music Entertainment
1475   Electric Light Orchestra                 Secret Messages                                      SR0000046784           Sony Music Entertainment
1476   Electric Light Orchestra                 Shine a Little Love                                  SR0000009161           Sony Music Entertainment
1477   Electric Light Orchestra                 Showdown                                             N11365                 Sony Music Entertainment
1478   Electric Light Orchestra                 So Serious                                           SR0000070477           Sony Music Entertainment
1479   Electric Light Orchestra                 Strange Magic                                        N27257                 Sony Music Entertainment
1480   Electric Light Orchestra                 Sweet Talkin' Woman                                  N46612                 Sony Music Entertainment
1481   Electric Light Orchestra                 Telephone Line                                       N36991                 Sony Music Entertainment
1482   Electric Light Orchestra                 The Diary Of Horace Wimp                             SR0000012943           Sony Music Entertainment
1483   Electric Light Orchestra                 The Way Life's Meant To Be                           SR0000030537           Sony Music Entertainment
1484   Electric Light Orchestra                 TICKET TO THE MOON                                   SR0000030537           Sony Music Entertainment
1485   Electric Light Orchestra                 Turn To Stone                                        N46612                 Sony Music Entertainment
1486   Electric Light Orchestra                 Twilight                                             SR0000030537           Sony Music Entertainment
1487   Electric Light Orchestra                 Wild West Hero                                       N46612                 Sony Music Entertainment
1488   Elle Varner                              Damn Good Friends                                    SR0000721189           Sony Music Entertainment
1489   Elle Varner                              Leaf                                                 SR0000721189           Sony Music Entertainment
1490   Elle Varner                              Not Tonight                                          SR0000721189           Sony Music Entertainment
1491   Elle Varner                              Oh What A Night                                      SR0000721189           Sony Music Entertainment
1492   Elle Varner                              Refill                                               SR0000721190           Sony Music Entertainment
1493   Elle Varner                              So Fly                                               SR0000721187           Sony Music Entertainment
1494   Elle Varner                              Sound Proof Room                                     SR0000721189           Sony Music Entertainment
1495   Elle Varner                              Stop The Clock                                       SR0000721189           Sony Music Entertainment
1496   Elle Varner                              Welcome Home                                         SR0000721189           Sony Music Entertainment
1497   Elle Varner Featuring J. Cole            Only Wanna Give It To You                            SR0000721192           Sony Music Entertainment
1498   Emblem3                                  3000 Miles                                           SR0000726978           Sony Music Entertainment
1499   Emblem3                                  Chloe (You're The One I Want)                        SR0000726979           Sony Music Entertainment
1500   Emblem3                                  Do It All Again                                      SR0000726978           Sony Music Entertainment
1501   Emblem3                                  Girl Next Door                                       SR0000726978           Sony Music Entertainment
1502   Emblem3                                  I Love LA                                            SR0000726978           Sony Music Entertainment
1503   Emblem3                                  I Wish                                               SR0000726978           Sony Music Entertainment
1504   Emblem3                                  Jaiden                                               SR0000726978           Sony Music Entertainment
1505   Emblem3                                  Just For One Day                                     SR0000726978           Sony Music Entertainment
1506   Emblem3                                  Nothing To Lose                                      SR0000726978           Sony Music Entertainment
1507   Emblem3                                  One Day                                              SR0000726978           Sony Music Entertainment




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                           Artist                                           Track                    Registration Number                 Plaintiff
1508   Emblem3                                  Reason                                              SR0000726978           Sony Music Entertainment
1509   Emblem3                                  Spaghetti                                           SR0000726978           Sony Music Entertainment
1510   Emblem3                                  Sunset Blvd                                         SR0000726978           Sony Music Entertainment
1511   Emblem3                                  Teenage Kings                                       SR0000726978           Sony Music Entertainment
1512   Emblem3                                  XO                                                  SR0000726978           Sony Music Entertainment
1513   Fifth Harmony                            BO$$                                                SR0000768358           Sony Music Entertainment
1514   Foo Fighters                             Ain't It The Life                                   SR0000285034           Sony Music Entertainment
1515   Foo Fighters                             All My Life (Edit)                                  SR0000325862           Sony Music Entertainment
1516   Foo Fighters                             Another Round                                       SR0000377762           Sony Music Entertainment
1517   Foo Fighters                             Aurora                                              SR0000285034           Sony Music Entertainment
1518   Foo Fighters                             Ballad Of The Beaconsfield Miners                   SR0000617325           Sony Music Entertainment
1519   Foo Fighters                             Best Of You                                         SR0000734391           Sony Music Entertainment
1520   Foo Fighters                             Breakout                                            SR0000285034           Sony Music Entertainment
1521   Foo Fighters                             But, Honestly                                       SR0000617325           Sony Music Entertainment
1522   Foo Fighters                             Cheer Up, Boys (Your Make Up Is Running)            SR0000617325           Sony Music Entertainment
1523   Foo Fighters                             Cold Day In The Sun                                 SR0000377762           Sony Music Entertainment
1524   Foo Fighters                             Come Alive                                          SR0000617325           Sony Music Entertainment
1525   Foo Fighters                             DOA                                                 SR0000377762           Sony Music Entertainment
1526   Foo Fighters                             Doll                                                SR0000297253           Sony Music Entertainment
1527   Foo Fighters                             End Over End                                        SR0000377762           Sony Music Entertainment
1528   Foo Fighters                             Enough Space                                        SR0000297253           Sony Music Entertainment
1529   Foo Fighters                             Everlong                                            SR0000297253           Sony Music Entertainment
1530   Foo Fighters                             February Stars                                      SR0000297253           Sony Music Entertainment
1531   Foo Fighters                             Free Me                                             SR0000377762           Sony Music Entertainment
1532   Foo Fighters                             Friend Of A Friend                                  SR0000377762           Sony Music Entertainment
1533   Foo Fighters                             Generator                                           SR0000285034           Sony Music Entertainment
1534   Foo Fighters                             Gimme Stitches                                      SR0000285034           Sony Music Entertainment
1535   Foo Fighters                             Headwires                                           SR0000285034           Sony Music Entertainment
1536   Foo Fighters                             Hell                                                SR0000377762           Sony Music Entertainment
1537   Foo Fighters                             Hey, Johnny Park!                                   SR0000297253           Sony Music Entertainment
1538   Foo Fighters                             Home                                                SR0000617325           Sony Music Entertainment
1539   Foo Fighters                             In Your Honor                                       SR0000377762           Sony Music Entertainment
1540   Foo Fighters                             Learn To Fly                                        SR0000285034           Sony Music Entertainment
1541   Foo Fighters                             Let It Die                                          SR0000617325           Sony Music Entertainment
1542   Foo Fighters                             Live-In Skin                                        SR0000285034           Sony Music Entertainment
1543   Foo Fighters                             Long Road To Ruin                                   SR0000617325           Sony Music Entertainment
1544   Foo Fighters                             M.I.A.                                              SR0000285034           Sony Music Entertainment
1545   Foo Fighters                             Marigold                                            SR0000396409           Sony Music Entertainment
1546   Foo Fighters                             Miracle                                             SR0000377762           Sony Music Entertainment
1547   Foo Fighters                             Monkey Wrench                                       SR0000297253           Sony Music Entertainment
1548   Foo Fighters                             My Hero                                             SR0000297253           Sony Music Entertainment
1549   Foo Fighters                             My Hero (Live)                                      SR0000396409           Sony Music Entertainment
1550   Foo Fighters                             My Poor Brain                                       SR0000297253           Sony Music Entertainment
1551   Foo Fighters                             New Way Home                                        SR0000297253           Sony Music Entertainment
1552   Foo Fighters                             Next Year                                           SR0000285034           Sony Music Entertainment
1553   Foo Fighters                             No Way Back                                         SR0000377762           Sony Music Entertainment
1554   Foo Fighters                             On The Mend                                         SR0000377762           Sony Music Entertainment
1555   Foo Fighters                             Once & For All (Demo)                               SR0000617325           Sony Music Entertainment
1556   Foo Fighters                             Over And Out                                        SR0000377762           Sony Music Entertainment
1557   Foo Fighters                             Razor                                               SR0000396409           Sony Music Entertainment
1558   Foo Fighters                             Resolve                                             SR0000377762           Sony Music Entertainment
1559   Foo Fighters                             See You                                             SR0000297253           Sony Music Entertainment
1560   Foo Fighters                             Skin And Bones                                      SR0000396409           Sony Music Entertainment
1561   Foo Fighters                             Stacked Actors                                      SR0000285034           Sony Music Entertainment
1562   Foo Fighters                             Statues                                             SR0000617325           Sony Music Entertainment
1563   Foo Fighters                             Still                                               SR0000377762           Sony Music Entertainment
1564   Foo Fighters                             Stranger Things Have Happened                       SR0000617325           Sony Music Entertainment
1565   Foo Fighters                             Summer's End                                        SR0000617325           Sony Music Entertainment
1566   Foo Fighters                             The Deepest Blues Are Black                         SR0000377762           Sony Music Entertainment
1567   Foo Fighters                             The Last Song                                       SR0000377762           Sony Music Entertainment
1568   Foo Fighters                             The Pretender                                       SR0000748786           Sony Music Entertainment
1569   Foo Fighters                             Up In Arms                                          SR0000297253           Sony Music Entertainment
1570   Foo Fighters                             Virginia Moon                                       SR0000377762           Sony Music Entertainment
1571   Foo Fighters                             Walking After You                                   SR0000297253           Sony Music Entertainment
1572   Foo Fighters                             What If I Do?                                       SR0000377762           Sony Music Entertainment
1573   Foo Fighters                             Wheels                                              SR0000636262           Sony Music Entertainment
1574   Foo Fighters                             Wind Up                                             SR0000297253           Sony Music Entertainment
1575   Foo Fighters                             Word Forward                                        SR0000636262           Sony Music Entertainment
1576   Foster The People                        Pumped Up Kicks                                     SR0000754312           Sony Music Entertainment




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                        Artist                                               Track                     Registration Number                 Plaintiff
1577   Fozzy                                    A Passed Life                                         SR0000726755           Sony Music Entertainment
1578   Fozzy                                    Blood Happens                                         SR0000726755           Sony Music Entertainment
1579   Fozzy                                    Dark Passenger                                        SR0000726755           Sony Music Entertainment
1580   Fozzy                                    Inside My Head                                        SR0000726755           Sony Music Entertainment
1581   Fozzy                                    Sandpaper                                             SR0000726755           Sony Music Entertainment
1582   Fozzy                                    She's My Addiction                                    SR0000726755           Sony Music Entertainment
1583   Fozzy                                    Shine Forever                                         SR0000726755           Sony Music Entertainment
1584   Fozzy                                    Sin and Bones                                         SR0000726755           Sony Music Entertainment
1585   Fozzy                                    Spider in My Mouth                                    SR0000726755           Sony Music Entertainment
1586   Fozzy                                    Storm the Beaches                                     SR0000726755           Sony Music Entertainment
1587   Fugees                                   Manifest/Outro                                        SR0000222005           Sony Music Entertainment
1588   Fugees                                   Mista Mista                                           SR0000222005           Sony Music Entertainment
1589   Fugees                                   No Woman No Cry                                       SR0000222005           Sony Music Entertainment
1590   Fugees                                   Ready Or Not                                          SR0000222005           Sony Music Entertainment
1591   Fugees                                   Red Intro                                             SR0000222005           Sony Music Entertainment
1592   Fugees                                   The Score                                             SR0000222005           Sony Music Entertainment
1593   Fugees                                   Zealots                                               SR0000222005           Sony Music Entertainment
1594   Future                                   Astronaut Chick                                       SR0000701457           Sony Music Entertainment
1595   Future                                   Neva End                                              SR0000701457           Sony Music Entertainment
1596   Future                                   Permanent Scar                                        SR0000701457           Sony Music Entertainment
1597   Future                                   Same Damn Time                                        SR0000701457           Sony Music Entertainment
1598   Future                                   Straight Up                                           SR0000701457           Sony Music Entertainment
1599   Future                                   Tony Montana                                          SR0000701457           Sony Music Entertainment
1600   Future                                   Truth Gonna Hurt You                                  SR0000701457           Sony Music Entertainment
1601   Future                                   Turn On The Lights                                    SR0000701457           Sony Music Entertainment
1602   Future                                   You Deserve It                                        SR0000701457           Sony Music Entertainment
1603 Future feat. Pharrell, Pusha T and Casino Move That Dope                                         SR0000762576           Sony Music Entertainment

1604   Future featuring Big Rube                The Future Is Now                                     SR0000701457           Sony Music Entertainment
1605   Future featuring Juicy J                 I'm Trippin                                           SR0000701457           Sony Music Entertainment
1606   Future featuring R. Kelly                Parachute                                             SR0000701457           Sony Music Entertainment
1607   Future featuring Snoop Dogg              Homicide                                              SR0000701457           Sony Music Entertainment
1608   Future featuring T.I.                    Magic                                                 SR0000701457           Sony Music Entertainment
1609   Future featuring Trae The Truth          Long Live The Pimp                                    SR0000701457           Sony Music Entertainment
1610   Garth Brooks                             All-American Kid                                      SR0000763853           Sony Music Entertainment
1611   Garth Brooks                             Cold Like That                                        SR0000763853           Sony Music Entertainment
1612   Garth Brooks                             Cowboys Forever                                       SR0000763853           Sony Music Entertainment
1613   Garth Brooks                             Dance, The                                            SR0000109121           Sony Music Entertainment
1614   Garth Brooks                             Fish                                                  SR0000763853           Sony Music Entertainment
1615   Garth Brooks                             Man Against Machine                                   SR0000763853           Sony Music Entertainment
1616   Garth Brooks                             Midnight Train                                        SR0000763853           Sony Music Entertainment
1617   Garth Brooks                             Mom                                                   SR0000763853           Sony Music Entertainment
1618   Garth Brooks                             People Loving People                                  SR0000763608           Sony Music Entertainment
1619   Garth Brooks                             Rodeo and Juliet                                      SR0000763853           Sony Music Entertainment
1620   Garth Brooks                             Send 'Em On Down the Road                             SR0000763607           Sony Music Entertainment
1621   Garth Brooks                             She's Tired of Boys                                   SR0000763853           Sony Music Entertainment
1622   Garth Brooks                             Tacoma                                                SR0000763853           Sony Music Entertainment
1623   Garth Brooks                             Wrong About You                                       SR0000763853           Sony Music Entertainment
1624   Garth Brooks                             You Wreck Me                                          SR0000763853           Sony Music Entertainment
1625   George Jones                             I Always Get Lucky With You                           SR0000045294           Sony Music Entertainment
1626   George Jones                             I'm A One Woman Man                                   SR0000101829           Sony Music Entertainment
1627   George Jones                             I've Aged Twenty Years In Five                        SR0000021788           Sony Music Entertainment
1628   George Jones                             If Drinkin' Don't Kill Me (Her Memory Will)           SR0000021788           Sony Music Entertainment
1629   George Jones                             Someday My Day Will Come                              SR0000010280           Sony Music Entertainment
1630   George Jones                             Still Doin' Time                                      SR0000030506           Sony Music Entertainment
1631   George Jones                             The Right Left Hand                                   SR0000078097           Sony Music Entertainment
1632   George Jones                             You've Still Got a Place In My Heart                  SR0000055734           Sony Music Entertainment
1633   George Michael                           An Easier Affair                                      SR0000618251           Sony Music Entertainment
1634   George Michael                           Cowboys and Angels                                    SR0000133600           Sony Music Entertainment
1635   George Michael                           Faith                                                 SR0000799379           Sony Music Entertainment
1636   George Michael                           Father Figure                                         SR0000092432           Sony Music Entertainment
1637   George Michael                           Freedom! '90                                          SR0000133600           Sony Music Entertainment
1638   George Michael                           I Want Your Sex                                       SR0000092432           Sony Music Entertainment
1639   George Michael                           Kissing A Fool                                        SR0000092432           Sony Music Entertainment
1640   George Michael                           One More Try                                          SR0000092432           Sony Music Entertainment
1641   George Michael                           Praying For Time                                      SR0000133600           Sony Music Entertainment
1642   George Michael                           They Won't Go When I Go                               SR0000133600           Sony Music Entertainment
1643   Gretchen Wilson                          All Jacked Up                                         PA0001259117           Sony Music Entertainment
1644   Gretchen Wilson                          California Girls                                      SR0000388036           Sony Music Entertainment




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                         Artist                                               Track                 Registration Number                 Plaintiff
1645   Gretchen Wilson                          I Don't Feel Like Loving You Today                 SR0000388036           Sony Music Entertainment
1646   Gretchen Wilson                          One Of The Boys                                    SR0000609494           Sony Music Entertainment
1647   Gretchen Wilson                          Politically Uncorrect                              SR0000388036           Sony Music Entertainment
1648   Hurricane Chris                          A Bay Bay                                          SR0000719410           Sony Music Entertainment
1649   In This Moment                           A Star-Crossed Wasteland                           SR0000669909           Sony Music Entertainment
1650   In This Moment                           Adrenalize                                         SR0000703747           Sony Music Entertainment
1651   In This Moment                           All For You                                        SR0000630468           Sony Music Entertainment
1652   In This Moment                           Aries                                              SR0000703747           Sony Music Entertainment
1653   In This Moment                           Ashes                                              SR0000610825           Sony Music Entertainment
1654   In This Moment                           Beast Within                                       SR0000703747           Sony Music Entertainment
1655   In This Moment                           Beautiful Tragedy                                  SR0000610825           Sony Music Entertainment
1656   In This Moment                           Blazin'                                            SR0000669909           Sony Music Entertainment
1657   In This Moment                           Blood                                              SR0000703747           Sony Music Entertainment
1658   In This Moment                           Burn                                               SR0000703747           Sony Music Entertainment
1659   In This Moment                           Circles                                            SR0000610825           Sony Music Entertainment
1660   In This Moment                           Comanche                                           SR0000703747           Sony Music Entertainment
1661   In This Moment                           Forever                                            SR0000630468           Sony Music Entertainment
1662   In This Moment                           From the Ashes                                     SR0000703747           Sony Music Entertainment
1663   In This Moment                           Gunshow                                            SR0000669909           Sony Music Entertainment
1664   In This Moment                           He Said Eternity                                   SR0000610825           Sony Music Entertainment
1665   In This Moment                           Her Kiss                                           SR0000630468           Sony Music Entertainment
1666   In This Moment                           Into The Light                                     SR0000630468           Sony Music Entertainment
1667   In This Moment                           Iron Army                                          SR0000669909           Sony Music Entertainment
1668   In This Moment                           Just Drive                                         SR0000669909           Sony Music Entertainment
1669   In This Moment                           Legacy of Odio                                     SR0000610825           Sony Music Entertainment
1670   In This Moment                           Lost At Sea                                        SR0000630468           Sony Music Entertainment
1671   In This Moment                           Mechanical Love                                    SR0000630468           Sony Music Entertainment
1672   In This Moment                           Next Life                                          SR0000610825           Sony Music Entertainment
1673   In This Moment                           Prayers                                            SR0000610829           Sony Music Entertainment
1674   In This Moment                           Rise With Me                                       SR0000703747           Sony Music Entertainment
1675   In This Moment                           Scarlet                                            SR0000703747           Sony Music Entertainment
1676   In This Moment                           Standing Alone                                     SR0000669909           Sony Music Entertainment
1677   In This Moment                           The Blood Legion                                   SR0000703747           Sony Music Entertainment
1678   In This Moment                           The Dream                                          SR0000630468           Sony Music Entertainment
1679   In This Moment                           The Great Divide                                   SR0000630468           Sony Music Entertainment
1680   In This Moment                           The Last Cowboy                                    SR0000669909           Sony Music Entertainment
1681   In This Moment                           The Rabbit Hole                                    SR0000630468           Sony Music Entertainment
1682   In This Moment                           The Road                                           SR0000669909           Sony Music Entertainment
1683   In This Moment                           This Moment                                        SR0000610825           Sony Music Entertainment
1684   In This Moment                           Violet Skies                                       SR0000630468           Sony Music Entertainment
1685   In This Moment                           When the Storm Subsides                            SR0000610825           Sony Music Entertainment
1686   In This Moment                           Whispers Of October                                SR0000610825           Sony Music Entertainment
1687   In This Moment                           Whore                                              SR0000703747           Sony Music Entertainment
1688   In This Moment                           World In Flames                                    SR0000669909           Sony Music Entertainment
1689   In This Moment                           You Always Believed                                SR0000630468           Sony Music Entertainment
1690   In This Moment                           You're Gonna' Listen                               SR0000703747           Sony Music Entertainment
1691   Incubus                                  Aqueous Transmission                               SR0000306181           Sony Music Entertainment
1692   Incubus                                  Are You In?                                        SR0000306181           Sony Music Entertainment
1693   Incubus                                  Battlestar Scralatchtica                           SR0000278818           Sony Music Entertainment
1694   Incubus                                  Blood on the Ground                                SR0000306181           Sony Music Entertainment
1695   Incubus                                  Circles                                            SR0000306181           Sony Music Entertainment
1696   Incubus                                  Clean                                              SR0000278818           Sony Music Entertainment
1697   Incubus                                  Consequence                                        SR0000278818           Sony Music Entertainment
1698   Incubus                                  Drive                                              SR0000278818           Sony Music Entertainment
1699   Incubus                                  Echo                                               SR0000306181           Sony Music Entertainment
1700   Incubus                                  Have You Ever                                      SR0000306181           Sony Music Entertainment
1701   Incubus                                  I Miss You                                         SR0000278818           Sony Music Entertainment
1702   Incubus                                  Just a Phase                                       SR0000306181           Sony Music Entertainment
1703   Incubus                                  Magic Medicine                                     SR0000249690           Sony Music Entertainment
1704   Incubus                                  Make Yourself                                      SR0000278818           Sony Music Entertainment
1705   Incubus                                  Mexico                                             SR0000306181           Sony Music Entertainment
1706   Incubus                                  Nice To Know You                                   SR0000306181           Sony Music Entertainment
1707   Incubus                                  Nowhere Fast                                       SR0000278818           Sony Music Entertainment
1708   Incubus                                  Out from Under                                     SR0000278818           Sony Music Entertainment
1709   Incubus                                  Privilege                                          SR0000278818           Sony Music Entertainment
1710   Incubus                                  Stellar                                            SR0000278818           Sony Music Entertainment
1711   Incubus                                  Summer Romance (Anti-Gravity Love Song)            SR0000249690           Sony Music Entertainment
1712   Incubus                                  The Warmth                                         SR0000278818           Sony Music Entertainment
1713   Incubus                                  Under My Umbrella                                  SR0000306181           Sony Music Entertainment




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                       Artist                                                Track                    Registration Number                 Plaintiff
1714 Incubus                                    Warning                                              SR0000306181           Sony Music Entertainment
1715 Incubus                                    When It Comes                                        SR0000278818           Sony Music Entertainment
1716 Incubus                                    Wish You Were Here                                   PA0001065849           Sony Music Entertainment
1717 Itzhak Perlman                             Theme from"Far and Away"                             SR0000247495           Sony Music Entertainment
1718 Itzhak Perlman;John Williams               Schindler's List: Theme                              SR0000247495           Sony Music Entertainment
1719 Jace Everett                               Bad Things                                           SR0000385664           Sony Music Entertainment
1720 Jack White                                 Blunderbuss                                          SR0000699383           Sony Music Entertainment
1721 Jack White                                 Freedom At 21                                        SR0000699383           Sony Music Entertainment
1722 Jack White                                 Hip (Eponymous) Poor Boy                             SR0000699383           Sony Music Entertainment
1723 Jack White                                 Hypocritical Kiss                                    SR0000699383           Sony Music Entertainment
1724 Jack White                                 I Guess I Should Go To Sleep                         SR0000699383           Sony Music Entertainment
1725 Jack White                                 I'm Shakin'                                          SR0000699383           Sony Music Entertainment
1726 Jack White                                 Love Interruption                                    SR0000699383           Sony Music Entertainment
1727 Jack White                                 Missing Pieces                                       SR0000699383           Sony Music Entertainment
1728 Jack White                                 On And On And On                                     SR0000699383           Sony Music Entertainment
1729 Jack White                                 Sixteen Saltines                                     SR0000699383           Sony Music Entertainment
1730 Jack White                                 Take Me With You When You Go                         SR0000699383           Sony Music Entertainment
1731 Jack White                                 Trash Tongue Talker                                  SR0000699383           Sony Music Entertainment
1732 Jack White                                 Weep Themselves To Sleep                             SR0000699383           Sony Music Entertainment
1733 Jake Owen                                  Alone With You                                       SR0000697851           Sony Music Entertainment
1734 Jake Owen                                  Anywhere With You                                    SR0000697851           Sony Music Entertainment
1735 Jake Owen                                  Apple Pie Moonshine                                  SR0000697851           Sony Music Entertainment
1736 Jake Owen                                  Barefoot Blue Jean Night                             SR0000697851           Sony Music Entertainment
1737 Jake Owen                                  Beachin'                                             SR0000737050           Sony Music Entertainment
1738 Jake Owen                                  Heaven                                               SR0000697851           Sony Music Entertainment
1739 Jake Owen                                  Keepin' It Country                                   SR0000697851           Sony Music Entertainment
1740 Jake Owen                                  Nobody Feelin' No Pain                               SR0000697851           Sony Music Entertainment
1741 Jake Owen                                  Settin' The World On Fire                            SR0000697851           Sony Music Entertainment
1742 Jake Owen                                  The Journey Of Your Life                             SR0000697851           Sony Music Entertainment
1743 Jake Owen                                  The One That Got Away                                SR0000697851           Sony Music Entertainment
1744 Jake Owen                                  Wide Awake                                           SR0000697851           Sony Music Entertainment
1745 James Taylor                               Only A Dream In Rio                                  SR0000068536           Sony Music Entertainment
1746 James Taylor                               Up On The Roof                                       SR0000009172           Sony Music Entertainment
1747 James Taylor                               Your Smiling Face                                    RE0000923126           Sony Music Entertainment
1748 Jamiroquai                                 Virtual Insanity                                     SR0000299909           Sony Music Entertainment
1749 Jennifer Hudson                            The Star-Spangled Banner                             SR0000674220           Sony Music Entertainment
1750 Jennifer Hudson                            What You Think                                       SR0000674220           Sony Music Entertainment
1751 Jennifer Hudson & Ne-Yo feat. Rick Ross    Think Like A Man                                     SR0000712017           Sony Music Entertainment
1752 Jennifer Lopez                             No Me Ames                                           SR0000267571           Sony Music Entertainment
1753 Jerrod Niemann                             Drink to That All Night                              SR0000738148           Sony Music Entertainment
1754 John Legend                                Cross The Line                                       SR0000619653           Sony Music Entertainment
1755 John Legend                                Everybody Knows                                      SR0000619653           Sony Music Entertainment
1756 John Legend                                Good Morning                                         SR0000742202           Sony Music Entertainment
1757 John Legend                                I Love, You Love                                     SR0000619653           Sony Music Entertainment
1758 John Legend                                If You're Out There                                  SR0000619653           Sony Music Entertainment
1759 John Legend                                Quickly                                              SR0000619653           Sony Music Entertainment
1760 John Legend                                Satisfaction                                         SR0000619653           Sony Music Entertainment
1761 John Legend                                Take Me Away                                         SR0000619653           Sony Music Entertainment
1762 John Legend                                This Time                                            SR0000619653           Sony Music Entertainment
1763 John Legend feat. Buju Banton              Can't Be My Lover                                    SR0000619653           Sony Music Entertainment
1764 John Legend feat. Estelle                  No Other Love                                        SR0000619653           Sony Music Entertainment
1765 John Legend featuring Kanye west           It's Over                                            SR0000619653           Sony Music Entertainment
1766 John Mayer                                 Crossroads                                           SR0000650569           Sony Music Entertainment
1767 John Mayer                                 Do You Know Me                                       SR0000650569           Sony Music Entertainment
1768 John Mayer                                 Edge Of Desire                                       SR0000650569           Sony Music Entertainment
1769 John Mayer                                 Friends, Lovers Or Nothing                           SR0000650569           Sony Music Entertainment
1770 John Mayer                                 Half Of My Heart                                     SR0000650569           Sony Music Entertainment
1771 John Mayer                                 Heartbreak Warfare                                   SR0000650569           Sony Music Entertainment
1772 John Mayer                                 Perfectly Lonely                                     SR0000650569           Sony Music Entertainment
1773 John Mayer                                 War Of My Life                                       SR0000650569           Sony Music Entertainment
1774 John Mayer                                 Who Says                                             SR0000650569           Sony Music Entertainment
1775 John Williams                              Bugler's Dream and Olympic Fanfare Medley            SR0000224437           Sony Music Entertainment
1776 John Williams                              Hook: Flight To Neverland                            SR0000233783           Sony Music Entertainment
1777 John Williams                              Summon The Heroes                                    SR0000224437           Sony Music Entertainment
1778 John Williams                              The Imperial March from The Empire Strikes Back      SR0000233783           Sony Music Entertainment
1779 John Williams                              Theme From Jurassic Park                             SR0000233783           Sony Music Entertainment
     John Williams;London Symphony
1780                                            Main Title (From "Star Wars")                        SR0000247474           Sony Music Entertainment
     Orchestra




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                                                                     EXHIBIT A - SOUND RECORDINGS

                         Artist                                           Track                            Registration Number               Plaintiff
                                             Close Encounters of the Third Kind/When You Wish Upon a Star
1781 John Williams;The Boston Pops Orchestra                                                              SR0000186141         Sony Music Entertainment
                                             Medley
                                             Scherzo for Motorcycle and Orchestra from Indiana Jones and
1782 John Williams;The Boston Pops Orchestra                                                              SR0000186141         Sony Music Entertainment
                                             the Last Crusade

1783 John Williams;The Boston Pops Orchestra Theme from "Sugarland Express"                             SR0000186141          Sony Music Entertainment
1784   Johnny Cash                              Cocaine Blues                                           SR0000011119          Sony Music Entertainment
1785   Johnny Cash                              The General Lee                                         SR0000035327          Sony Music Entertainment
1786   Josh Thompson                            A Name In This Town                                     SR0000652025          Sony Music Entertainment
1787   Josh Thompson                            Always Been Me                                          SR0000652025          Sony Music Entertainment
1788   Josh Thompson                            Back Around                                             SR0000652025          Sony Music Entertainment
1789   Josh Thompson                            Beer On The Table                                       SR0000652025          Sony Music Entertainment
1790   Josh Thompson                            Blame It On Waylon                                      SR0000652025          Sony Music Entertainment
1791   Josh Thompson                            I Won't Go Crazy                                        SR0000652025          Sony Music Entertainment
1792   Josh Thompson                            Sinner                                                  SR0000652025          Sony Music Entertainment
1793   Josh Thompson                            Way Out Here                                            SR0000652025          Sony Music Entertainment
1794   Josh Thompson                            Won't Be Lonely Long - On The Road                      SR0000652025          Sony Music Entertainment
1795   Josh Thompson                            You Ain't Seen Country Yet                              SR0000652025          Sony Music Entertainment
1796   Julio Iglesias duet with Willie Nelson   To all the Girls I've Loved Before                      SR0000058185          Sony Music Entertainment
1797   Justin Timberlake                        Blue Ocean Floor                                        SR0000717770          Sony Music Entertainment
1798   Justin Timberlake                        Body Count                                              SR0000717770          Sony Music Entertainment
1799   Justin Timberlake                        Don't Hold The Wall                                     SR0000717770          Sony Music Entertainment
1800   Justin Timberlake                        Dress On                                                SR0000717770          Sony Music Entertainment
1801   Justin Timberlake                        Let The Groove Get In                                   SR0000717770          Sony Music Entertainment
1802   Justin Timberlake                        Pusher Love Girl                                        SR0000717770          Sony Music Entertainment
1803   Justin Timberlake                        SexyBack                                                SR0000719411          Sony Music Entertainment
1804   Justin Timberlake                        Spaceship Coupe                                         SR0000717770          Sony Music Entertainment
1805   Justin Timberlake                        Strawberry Bubblegum                                    SR0000717770          Sony Music Entertainment
1806   Justin Timberlake                        Take Back The Night                                     SR0000743698          Sony Music Entertainment
1807   Justin Timberlake                        That Girl                                               SR0000717770          Sony Music Entertainment
1808   Justin Timberlake                        Tunnel Vision                                           SR0000717770          Sony Music Entertainment
1809   Justin Timberlake featuring JAY Z        Suit & Tie                                              SR0000714855          Sony Music Entertainment
1810   Karmin                                   Crash Your Party                                        SR0000719621          Sony Music Entertainment
1811   Kelly Clarkson                           Alone                                                   SR0000693113          Sony Music Entertainment
1812   Kelly Clarkson                           Breaking Your Own Heart                                 SR0000693113          Sony Music Entertainment
1813   Kelly Clarkson                           Dark Side                                               SR0000693113          Sony Music Entertainment
1814   Kelly Clarkson                           Einstein                                                SR0000693113          Sony Music Entertainment
1815   Kelly Clarkson                           Hello                                                   SR0000693113          Sony Music Entertainment
1816   Kelly Clarkson                           Honestly                                                SR0000693113          Sony Music Entertainment
1817   Kelly Clarkson                           I Forgive You                                           SR0000693113          Sony Music Entertainment
1818   Kelly Clarkson                           Mr. Know It All                                         SR0000715680          Sony Music Entertainment
1819   Kelly Clarkson                           Standing In Front Of You                                SR0000693113          Sony Music Entertainment
1820   Kelly Clarkson                           Stronger (What Doesn't Kill You)                        SR0000693113          Sony Music Entertainment
1821   Kelly Clarkson                           The Sun Will Rise                                       SR0000693113          Sony Music Entertainment
1822   Kelly Clarkson                           The War Is Over                                         SR0000693113          Sony Music Entertainment
1823   Kelly Clarkson                           Why Don't You Try                                       SR0000734929          Sony Music Entertainment
1824   Kelly Clarkson                           You Can't Win                                           SR0000693113          Sony Music Entertainment
1825   Kelly Clarkson                           You Love Me                                             SR0000693113          Sony Music Entertainment
1826   Kenny Chesney                            Always Gonna Be You                                     SR0000722762          Sony Music Entertainment
1827   Kenny Chesney                            El Cerrito Place                                        SR0000722762          Sony Music Entertainment
1828   Kenny Chesney                            I'm A Small Town                                        SR0000722762          Sony Music Entertainment
1829   Kenny Chesney                            Makes Me Wonder                                         SR0000722762          Sony Music Entertainment
1830   Kenny Chesney                            Sing 'Em Good My Friend                                 SR0000722762          Sony Music Entertainment
1831   Kenny Chesney                            Time Flies                                              SR0000722762          Sony Music Entertainment
1832   Kenny Chesney                            To Get To You (55th And 3rd)                            SR0000722762          Sony Music Entertainment
1833   Kenny Chesney                            Welcome To The Fishbowl                                 SR0000722762          Sony Music Entertainment
1834   Kenny Chesney                            While He Still Knows Who I Am                           SR0000722762          Sony Music Entertainment
1835   Kenny Chesney featuring Grace Potter     You And Tequila                                         SR0000722762          Sony Music Entertainment
       Kid Ink feat. A$AP Ferg & French
1836                                            Bossin' Up                                              SR0000761343          Sony Music Entertainment
       Montana
1837   Kings Of Leon                            Beautiful War                                           SR0000734388          Sony Music Entertainment
1838   Kings Of Leon                            Comeback Story                                          SR0000734388          Sony Music Entertainment
1839   Kings Of Leon                            Coming Back Again                                       SR0000734388          Sony Music Entertainment
1840   Kings Of Leon                            Don't Matter                                            SR0000734388          Sony Music Entertainment
1841   Kings Of Leon                            Family Tree                                             SR0000734388          Sony Music Entertainment
1842   Kings Of Leon                            Last Mile Home                                          SR0000734388          Sony Music Entertainment
1843   Kings Of Leon                            On the Chin                                             SR0000734388          Sony Music Entertainment
1844   Kings Of Leon                            Rock City                                               SR0000734388          Sony Music Entertainment
1845   Kings Of Leon                            Supersoaker                                             SR0000726617          Sony Music Entertainment




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                         Artist                                           Track                               Registration Number                 Plaintiff
1846   Kings Of Leon                            Temple                                                       SR0000734388           Sony Music Entertainment
1847   Kings Of Leon                            Tonight                                                      SR0000734388           Sony Music Entertainment
1848   Kings Of Leon                            Wait for Me                                                  SR0000734389           Sony Music Entertainment
1849   Kings Of Leon                            Work On Me                                                   SR0000734388           Sony Music Entertainment
1850   Korn                                     B.B.K.                                                       SR0000263749           Sony Music Entertainment
1851   Korn                                     Cameltosis                                                   SR0000263749           Sony Music Entertainment
1852   Korn                                     Children Of The Korn                                         SR0000263749           Sony Music Entertainment
1853   Korn                                     Dead Bodies Everywhere                                       SR0000263749           Sony Music Entertainment
1854   Korn                                     Earache My Eye                                               SR0000263749           Sony Music Entertainment
1855   Korn                                     Freak On A Leash                                             SR0000263749           Sony Music Entertainment
1856   Korn                                     Got The Life                                                 SR0000263749           Sony Music Entertainment
1857   Korn                                     It's On!                                                     SR0000263749           Sony Music Entertainment
1858   Korn                                     Justin                                                       SR0000263749           Sony Music Entertainment
1859   Korn                                     My Gift To You                                               SR0000263749           Sony Music Entertainment
1860   Korn                                     Pretty                                                       SR0000263749           Sony Music Entertainment
1861   Korn                                     Reclaim My Place                                             SR0000263749           Sony Music Entertainment
1862   Korn                                     Seed                                                         SR0000263749           Sony Music Entertainment
1863   L-Burna aka Layzie Bone                  Carole Of The Bones                                          SR0000291785           Sony Music Entertainment
1864   L-Burna aka Layzie Bone                  Still The Greatest                                           SR0000291785           Sony Music Entertainment
1865   Leona Lewis                              Better In Time                                               SR0000619647           Sony Music Entertainment
       London Symphony Orchestra;John
1866                                            Theme (From "Jaws")                                          SR0000247474           Sony Music Entertainment
       Williams
1867   Los Lonely Boys                          Crazy Dream                                                  SR0000352465           Sony Music Entertainment
1868   Los Lonely Boys                          Dime Mi Amor                                                 SR0000352465           Sony Music Entertainment
1869   Los Lonely Boys                          Heaven                                                       SR0000352465           Sony Music Entertainment
1870   Los Lonely Boys                          Hollywood                                                    SR0000352465           Sony Music Entertainment
1871   Los Lonely Boys                          La Contestacion                                              SR0000352465           Sony Music Entertainment
1872   Los Lonely Boys                          More Than Love                                               SR0000352465           Sony Music Entertainment
1873   Los Lonely Boys                          Nobody Else                                                  SR0000352465           Sony Music Entertainment
1874   Los Lonely Boys                          Onda                                                         SR0000352465           Sony Music Entertainment
1875   Los Lonely Boys                          Real Emotions                                                SR0000352465           Sony Music Entertainment
1876   Los Lonely Boys                          Senorita                                                     SR0000352465           Sony Music Entertainment
1877   Los Lonely Boys                          Tell Me Why                                                  SR0000352465           Sony Music Entertainment
1878   Los Lonely Boys                          Velvet Sky                                                   SR0000352465           Sony Music Entertainment
1879   Lou Rawls                                You'll Never Find Another Love Like Mine                     N33959                 Sony Music Entertainment
1880   Love and Theft                           Angel Eyes                                                   PA0001922065           Sony Music Entertainment
1881   Luther Vandross                          A House Is Not A Home                                        SR0000030527           Sony Music Entertainment
1882   Luther Vandross                          Any Love - Wembley Stadium 1989                              PA0000434017           Sony Music Entertainment
1883   Luther Vandross                          Give Me the Reason                                           SR0000071632           Sony Music Entertainment
1884   Luther Vandross                          Never Too Much                                               SR0000030497           Sony Music Entertainment
                                                Superstar/Until You Come Back To Me (That's What I'm Gonna
1885 Luther Vandross                                                                                         SR0000054317           Sony Music Entertainment
                                                Do)
1886   Macy Gray                                A Moment To Myself                                           SR0000267460           Sony Music Entertainment
1887   Macy Gray                                Blowin' Up Your Speakers                                     SR0000302804           Sony Music Entertainment
1888   Macy Gray                                Boo                                                          SR0000302804           Sony Music Entertainment
1889   Macy Gray                                Caligula                                                     SR0000267460           Sony Music Entertainment
1890   Macy Gray                                Come Together                                                SR0000336638           Sony Music Entertainment
1891   Macy Gray                                Do Something                                                 SR0000267460           Sony Music Entertainment
1892   Macy Gray                                Every Now And Then                                           SR0000336638           Sony Music Entertainment
1893   Macy Gray                                Forgiveness                                                  SR0000302804           Sony Music Entertainment
1894   Macy Gray                                Freak Like Me                                                SR0000302804           Sony Music Entertainment
1895   Macy Gray                                Gimme All Your Lovin' or I Will Kill You                     SR0000302804           Sony Music Entertainment
1896   Macy Gray                                Happiness                                                    SR0000336638           Sony Music Entertainment
1897   Macy Gray                                Harry                                                        SR0000302804           Sony Music Entertainment
1898   Macy Gray                                I Can't Wait To Meetchu                                      SR0000267460           Sony Music Entertainment
1899   Macy Gray                                I Try                                                        SR0000267460           Sony Music Entertainment
1900   Macy Gray                                I've Committed Murder                                        SR0000267460           Sony Music Entertainment
1901   Macy Gray                                Jesus For A Day                                              SR0000336638           Sony Music Entertainment
1902   Macy Gray                                My Fondest Childhood Memories                                SR0000336638           Sony Music Entertainment
1903   Macy Gray                                Oblivion                                                     SR0000302804           Sony Music Entertainment
1904   Macy Gray                                Relating To A Psychopath                                     SR0000302804           Sony Music Entertainment
1905   Macy Gray                                Screamin'                                                    SR0000336638           Sony Music Entertainment
1906   Macy Gray                                Sex-o-matic Venus Freak                                      SR0000267460           Sony Music Entertainment
1907   Macy Gray                                Sexual Revolution                                            SR0000302804           Sony Music Entertainment
1908   Macy Gray                                She Don't Write Songs About You                              SR0000336638           Sony Music Entertainment
1909   Macy Gray                                Speechless                                                   SR0000336638           Sony Music Entertainment
1910   Macy Gray                                Still                                                        SR0000267460           Sony Music Entertainment
1911   Macy Gray                                The Letter                                                   SR0000267460           Sony Music Entertainment
1912   Macy Gray                                Things That Made Me Change                                   SR0000336638           Sony Music Entertainment




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                                                                      EXHIBIT A - SOUND RECORDINGS

                      Artist                                                Track                     Registration Number               Plaintiff
1913 Macy Gray                                  When I See You                                       PA0001207765         Sony Music Entertainment
1914 Macy Gray                                  Why Didn't You Call Me                               SR0000267460         Sony Music Entertainment
1915 Macy Gray feat. Slick Rick                 Hey Young World, Pt. 2                               SR0000302804         Sony Music Entertainment
     Macy Gray featuring Angie Stone and
1916                                            My Nutmeg Phantasy                                   SR0000302804         Sony Music Entertainment
     Mos Def
1917 Macy Gray featuring Erykah Badu            Sweet Baby                                           PA0001074698         Sony Music Entertainment
1918 Macy Gray featuring Sunshine Anderson      Don't Come Around                                    SR0000302804         Sony Music Entertainment
1919 Manchester Orchestra                       Apprehension                                         SR0000680374         Sony Music Entertainment
1920 Manchester Orchestra                       April Fool                                           SR0000680374         Sony Music Entertainment
1921 Manchester Orchestra                       Deer                                                 SR0000680374         Sony Music Entertainment
1922 Manchester Orchestra                       Leaky Breaks                                         SR0000680374         Sony Music Entertainment
1923 Manchester Orchestra                       Leave It Alone                                       SR0000680374         Sony Music Entertainment
1924 Manchester Orchestra                       Mighty                                               SR0000680374         Sony Music Entertainment
1925 Manchester Orchestra                       Pale Black Eye                                       SR0000680374         Sony Music Entertainment
1926 Manchester Orchestra                       Pensacola                                            SR0000680374         Sony Music Entertainment
1927 Manchester Orchestra                       Simple Math                                          SR0000680374         Sony Music Entertainment
1928 Manchester Orchestra                       Virgin                                               SR0000680374         Sony Music Entertainment
1929 Marc Anthony                               Ahora Quien                                          SR0000355308         Sony Music Entertainment
1930 Marc Anthony                               Amigo                                                SR0000355308         Sony Music Entertainment
1931 Marc Anthony                               Escapémonos                                          SR0000355308         Sony Music Entertainment
1932 Marc Anthony                               Lamento Borincano                                    SR0000358132         Sony Music Entertainment
1933 Marc Anthony                               Se Esfuma Tu Amor                                    SR0000355308         Sony Music Entertainment
1934 Marc Anthony                               Tu Amor Me Hace Bien                                 SR0000355308         Sony Music Entertainment
1935 Marc Anthony                               Valio La Pena                                        SR0000355308         Sony Music Entertainment
1936 Marc Anthony                               Vivir Mi Vida                                        SR0000727153         Sony Music Entertainment
1937 Marc Anthony                               Volando Entre Tus Brazos                             SR0000355308         Sony Music Entertainment
1938 Mariah Carey                               Breakdown                                            SR0000244014         Sony Music Entertainment
1939 Marvin Gaye                                Sexual Healing                                       SR0000038850         Sony Music Entertainment
1940 Marvin Sapp                                Comfort Zone                                         PA0001749838         Sony Music Entertainment
1941 Marvin Sapp                                Don't Count Me Out                                   PA0001749838         Sony Music Entertainment
1942 Marvin Sapp                                Fresh Wind                                           PA0001749838         Sony Music Entertainment
1943 Marvin Sapp                                He Has His Hands On You                              PA0001749838         Sony Music Entertainment
1944 Marvin Sapp                                Here I Am                                            PA0001749838         Sony Music Entertainment
1945 Marvin Sapp                                I Came                                               PA0001749838         Sony Music Entertainment
1946 Marvin Sapp                                I Came (Intro)                                       PA0001749838         Sony Music Entertainment
1947 Marvin Sapp                                Keep Holding On                                      PA0001749838         Sony Music Entertainment
1948 Marvin Sapp                                More Than A Conqueror                                PA0001749838         Sony Music Entertainment
1949 Marvin Sapp                                Praise You Forever                                   PA0001749838         Sony Music Entertainment
1950 Marvin Sapp                                The Best In Me                                       PA0001749838         Sony Music Entertainment
1951 Marvin Sapp                                Wait                                                 PA0001749838         Sony Music Entertainment
1952 Mary Mary                                  Can't Give Up Now                                    SR0000711038         Sony Music Entertainment
1953 Mary Mary                                  Dirt                                                 SR0000711038         Sony Music Entertainment
1954 Mary Mary                                  Go Get It                                            SR0000711038         Sony Music Entertainment
1955 Mary Mary                                  God Bless                                            SR0000711038         Sony Music Entertainment
1956 Mary Mary                                  He Said                                              SR0000317087         Sony Music Entertainment
1957 Mary Mary                                  I'm Running                                          SR0000711038         Sony Music Entertainment
1958 Mary Mary                                  Little Girl                                          SR0000317087         Sony Music Entertainment
1959 Mary Mary                                  Sunday Morning                                       SR0000711038         Sony Music Entertainment
1960 Mary Mary feat. Kirk Franklin              And I                                                SR0000378079         Sony Music Entertainment
1961 Mary Mary featuring Destiny's Child        Good To Me                                           SR0000269994         Sony Music Entertainment
1962 Maxwell                                    Bad Habits                                           SR0000639738         Sony Music Entertainment
1963 Maxwell                                    Cold                                                 SR0000639738         Sony Music Entertainment
1964 Maxwell                                    Fistful Of Tears                                     SR0000639738         Sony Music Entertainment
1965 Maxwell                                    Help Somebody                                        SR0000639738         Sony Music Entertainment
1966 Maxwell                                    Love You                                             SR0000639738         Sony Music Entertainment
1967 Maxwell                                    Phoenix Rise                                         SR0000639738         Sony Music Entertainment
1968 Maxwell                                    Playing Possum                                       SR0000639738         Sony Music Entertainment
1969 Maxwell                                    Pretty Wings                                         SR0000639738         Sony Music Entertainment
1970 Maxwell                                    Stop The World                                       SR0000639738         Sony Music Entertainment
1971 Meat Loaf                                  Great Boleros of Fire                                SR0000293673         Sony Music Entertainment
1972 MGMT                                       Electric Feel                                        SR0000670166         Sony Music Entertainment
1973 Michael Jackson                            Baby Be Mine                                         SR0000041965         Sony Music Entertainment
1974 Michael Jackson                            Burn This Disco Out                                  SR0000011120         Sony Music Entertainment
1975 Michael Jackson                            Don't Stop 'Til You Get Enough                       SR0000011105         Sony Music Entertainment
1976 Michael Jackson                            Get On The Floor                                     SR0000011120         Sony Music Entertainment
1977 Michael Jackson                            Girlfriend                                           SR0000011120         Sony Music Entertainment
1978 Michael Jackson                            Human Nature                                         SR0000041965         Sony Music Entertainment
1979 Michael Jackson                            I Can't Help It                                      SR0000011105         Sony Music Entertainment
1980 Michael Jackson                            It's The Falling In Love                             SR0000011120         Sony Music Entertainment




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                          Artist                                             Track                    Registration Number                 Plaintiff
1981   Michael Jackson                          Off The Wall                                         SR0000011120           Sony Music Entertainment
1982   Michael Jackson                          P.Y.T. (Pretty Young Thing)                          SR0000041965           Sony Music Entertainment
1983   Michael Jackson                          The Lady In My Life                                  SR0000041965           Sony Music Entertainment
1984   Michael Jackson                          Working Day and Night                                SR0000011120           Sony Music Entertainment
1985   Miguel                                   Adorn                                                SR0000709268           Sony Music Entertainment
1986   Miguel                                   All I Want Is You                                    SR0000673073           Sony Music Entertainment
1987   Miguel                                   Girl With The Tattoo Enter.lewd                      SR0000673073           Sony Music Entertainment
1988   Miguel                                   Girls Like You                                       SR0000673073           Sony Music Entertainment
1989   Miguel                                   Hard Way                                             SR0000673073           Sony Music Entertainment
1990   Miguel                                   Hero                                                 SR0000673073           Sony Music Entertainment
1991   Miguel                                   How Many Drinks?                                     SR0000709268           Sony Music Entertainment
1992   Miguel                                   My Piece                                             SR0000673073           Sony Music Entertainment
1993   Miguel                                   Pay Me                                               SR0000673073           Sony Music Entertainment
1994   Miguel                                   Quickie                                              SR0000673073           Sony Music Entertainment
1995   Miguel                                   Sure Thing                                           SR0000673073           Sony Music Entertainment
1996   Miguel                                   Teach Me                                             SR0000673073           Sony Music Entertainment
1997   Miguel                                   To The Moon                                          SR0000673073           Sony Music Entertainment
1998   Miguel                                   Vixen                                                SR0000673073           Sony Music Entertainment
1999   Mike Posner                              Cooler Than Me                                       SR0000657938           Sony Music Entertainment
2000   Miley Cyrus                              #GETITRIGHT                                          SR0000735242           Sony Music Entertainment
2001   Miley Cyrus                              Adore You                                            SR0000735242           Sony Music Entertainment
2002   Miley Cyrus                              Do My Thang                                          SR0000735242           Sony Music Entertainment
2003   Miley Cyrus                              Drive                                                SR0000735242           Sony Music Entertainment
2004   Miley Cyrus                              Maybe You're Right                                   SR0000735242           Sony Music Entertainment
2005   Miley Cyrus                              On My Own                                            SR0000735242           Sony Music Entertainment
2006   Miley Cyrus                              Rooting for My Baby                                  SR0000735242           Sony Music Entertainment
2007   Miley Cyrus                              Someone Else                                         SR0000735242           Sony Music Entertainment
2008   Miley Cyrus                              We Can't Stop                                        SR0000726503           Sony Music Entertainment
2009   Miley Cyrus feat. Big Sean               Love Money Party                                     SR0000735242           Sony Music Entertainment
2010   Miley Cyrus feat. Britney Spears         SMS (Bangerz)                                        SR0000735242           Sony Music Entertainment
2011   Miley Cyrus feat. French Montana         FU                                                   SR0000735242           Sony Music Entertainment
2012   Miley Cyrus feat. Future                 My Darlin'                                           SR0000735242           Sony Music Entertainment
2013   Miley Cyrus feat. Ludacris               Hands in the Air                                     SR0000735242           Sony Music Entertainment
2014   Miley Cyrus feat. Nelly                  4x4                                                  SR0000735242           Sony Music Entertainment
2015   Miranda Lambert                          Airstream Song                                       SR0000641403           Sony Music Entertainment
2016   Miranda Lambert                          All Kinds of Kinds                                   PA0001805349           Sony Music Entertainment
2017   Miranda Lambert                          Automatic                                            SR0000738201           Sony Music Entertainment
2018   Miranda Lambert                          Baggage Claim                                        PA0001805349           Sony Music Entertainment
2019   Miranda Lambert                          Better In The Long Run                               PA0001805349           Sony Music Entertainment
2020   Miranda Lambert                          Bring Me Down                                        SR0000367710           Sony Music Entertainment
2021   Miranda Lambert                          Crazy Ex-Girlfriend                                  SR0000746292           Sony Music Entertainment
2022   Miranda Lambert                          Dead Flowers                                         SR0000641403           Sony Music Entertainment
2023   Miranda Lambert                          Dear Diamond                                         PA0001805349           Sony Music Entertainment
2024   Miranda Lambert                          Desperation                                          SR0000609529           Sony Music Entertainment
2025   Miranda Lambert                          Down                                                 SR0000609529           Sony Music Entertainment
2026   Miranda Lambert                          Dry Town                                             SR0000609529           Sony Music Entertainment
2027   Miranda Lambert                          Easy From Now On                                     SR0000609529           Sony Music Entertainment
2028   Miranda Lambert                          Easy Living                                          PA0001805349           Sony Music Entertainment
2029   Miranda Lambert                          Famous In A Small Town                               SR0000609529           Sony Music Entertainment
2030   Miranda Lambert                          Fastest Girl In Town                                 PA0001805349           Sony Music Entertainment
2031   Miranda Lambert                          Fine Tune                                            PA0001805349           Sony Music Entertainment
2032   Miranda Lambert                          Getting Ready                                        SR0000609529           Sony Music Entertainment
2033   Miranda Lambert                          Greyhound Bound For Nowhere                          SR0000367710           Sony Music Entertainment
2034   Miranda Lambert                          Guilty In Here                                       SR0000609529           Sony Music Entertainment
2035   Miranda Lambert                          Gunpowder & Lead                                     SR0000609529           Sony Music Entertainment
2036   Miranda Lambert                          Heart Like Mine                                      SR0000641403           Sony Music Entertainment
2037   Miranda Lambert                          Hurts To Think                                       PA0001805349           Sony Music Entertainment
2038   Miranda Lambert                          I Can't Be Bothered                                  SR0000367710           Sony Music Entertainment
2039   Miranda Lambert                          I Wanna Die                                          SR0000367710           Sony Music Entertainment
2040   Miranda Lambert                          Kerosene                                             SR0000367710           Sony Music Entertainment
2041   Miranda Lambert                          Look At Miss Ohio                                    PA0001805349           Sony Music Entertainment
2042   Miranda Lambert                          Love Is Looking For You                              SR0000367710           Sony Music Entertainment
2043   Miranda Lambert                          Love Letters                                         SR0000609529           Sony Music Entertainment
2044   Miranda Lambert                          Love Song                                            SR0000641403           Sony Music Entertainment
2045   Miranda Lambert                          Love Your Memory                                     SR0000367710           Sony Music Entertainment
2046   Miranda Lambert                          Maintain the Pain                                    SR0000641403           Sony Music Entertainment
2047   Miranda Lambert                          Makin' Plans                                         SR0000641403           Sony Music Entertainment
2048   Miranda Lambert                          Mama, I'm Alright                                    SR0000367710           Sony Music Entertainment
2049   Miranda Lambert                          Mama's Broken Heart                                  PA0001805349           Sony Music Entertainment




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                        Artist                                             Track                     Registration Number                 Plaintiff
2050   Miranda Lambert                          Me And Charlie Talking                              SR0000746293           Sony Music Entertainment
2051   Miranda Lambert                          Me and Your Cigarettes                              SR0000641403           Sony Music Entertainment
2052   Miranda Lambert                          More Like Her                                       SR0000609529           Sony Music Entertainment
2053   Miranda Lambert                          New Strings                                         SR0000367710           Sony Music Entertainment
2054   Miranda Lambert                          Nobody's Fool                                       PA0001805349           Sony Music Entertainment
2055   Miranda Lambert                          Oklahoma Sky                                        PA0001805349           Sony Music Entertainment
2056   Miranda Lambert                          Only Prettier                                       SR0000641403           Sony Music Entertainment
2057   Miranda Lambert                          Over You                                            PA0001805349           Sony Music Entertainment
2058   Miranda Lambert                          Safe                                                PA0001805349           Sony Music Entertainment
2059   Miranda Lambert                          Same Old You                                        PA0001805349           Sony Music Entertainment
2060   Miranda Lambert                          Sin For A Sin                                       SR0000641403           Sony Music Entertainment
2061   Miranda Lambert                          Somewhere Trouble Don't Go                          SR0000641403           Sony Music Entertainment
2062   Miranda Lambert                          That's the Way That the World Goes 'Round           SR0000641403           Sony Music Entertainment
2063   Miranda Lambert                          There's A Wall                                      SR0000367710           Sony Music Entertainment
2064   Miranda Lambert                          Time To Get A Gun                                   SR0000641403           Sony Music Entertainment
2065   Miranda Lambert                          Virginia Bluebell                                   SR0000641403           Sony Music Entertainment
2066   Miranda Lambert                          What About Georgia?                                 SR0000367710           Sony Music Entertainment
2067   Miranda Lambert                          White Liar                                          SR0000641403           Sony Music Entertainment
2068   Modest Mouse                             Education                                           SR0000407040           Sony Music Entertainment
2069   Modest Mouse                             Fire It Up                                          SR0000407040           Sony Music Entertainment
2070   Modest Mouse                             Florida                                             SR0000407040           Sony Music Entertainment
2071   Modest Mouse                             Fly Trapped In A Jar                                SR0000407040           Sony Music Entertainment
2072   Modest Mouse                             Invisible                                           SR0000407040           Sony Music Entertainment
2073   Modest Mouse                             Little Motel                                        SR0000407040           Sony Music Entertainment
2074   Modest Mouse                             March Into The Sea                                  SR0000407040           Sony Music Entertainment
2075   Modest Mouse                             Missed The Boat                                     SR0000407040           Sony Music Entertainment
2076   Modest Mouse                             Parting of the Sensory                              SR0000407040           Sony Music Entertainment
2077   Modest Mouse                             People As Places As People                          SR0000407040           Sony Music Entertainment
2078   Modest Mouse                             Spitting Venom                                      SR0000407040           Sony Music Entertainment
2079   Modest Mouse                             Steam Engenius                                      SR0000407040           Sony Music Entertainment
2080   Modest Mouse                             We've Got Everything                                SR0000407040           Sony Music Entertainment
2081   Monica Featuring Rick Ross               Anything (To Find You)                              SR0000700530           Sony Music Entertainment
2082   Montgomery Gentry                        Daddy Won't Sell the Farm                           SR0000266467           Sony Music Entertainment
2083   Montgomery Gentry                        Didn't I                                            PA0001079468           Sony Music Entertainment
2084   Montgomery Gentry                        Gone                                                SR0000266467           Sony Music Entertainment
2085   Montgomery Gentry                        Hell Yeah                                           SR0000314295           Sony Music Entertainment
2086   Montgomery Gentry                        Lonely And Gone                                     SR0000266467           Sony Music Entertainment
2087   Montgomery Gentry                        My Town                                             SR0000314295           Sony Music Entertainment
2088   Montgomery Gentry                        She Don't Tell Me To                                SR0000386446           Sony Music Entertainment
2089   Montgomery Gentry                        Something To Be Proud Of                            SR0000355896           Sony Music Entertainment
2090   Montgomery Gentry                        Speed                                               SR0000314295           Sony Music Entertainment
2091   Oh Land                                  Break The Chain                                     SR0000674211           Sony Music Entertainment
2092   Oh Land                                  Helicopter                                          SR0000674211           Sony Music Entertainment
2093   Oh Land                                  Human                                               SR0000674211           Sony Music Entertainment
2094   Oh Land                                  Lean                                                SR0000674211           Sony Music Entertainment
2095   Oh Land                                  Perfection                                          SR0000674211           Sony Music Entertainment
2096   Oh Land                                  Rainbow                                             SR0000674211           Sony Music Entertainment
2097   Oh Land                                  Sun Of A Gun                                        SR0000674211           Sony Music Entertainment
2098   Oh Land                                  Voodoo                                              SR0000674211           Sony Music Entertainment
2099   Oh Land                                  We Turn It Up                                       SR0000674211           Sony Music Entertainment
2100   Oh Land                                  White Nights                                        SR0000674211           Sony Music Entertainment
2101   Oh Land                                  Wolf & I                                            SR0000674211           Sony Music Entertainment
2102   One Direction                            Everything About You                                SR0000703645           Sony Music Entertainment
2103   One Direction                            Gotta Be You                                        SR0000703645           Sony Music Entertainment
2104   One Direction                            I Want                                              SR0000703645           Sony Music Entertainment
2105   One Direction                            I Wish                                              SR0000703645           Sony Music Entertainment
2106   One Direction                            Kiss You                                            SR0000714020           Sony Music Entertainment
2107   One Direction                            Moments                                             SR0000703645           Sony Music Entertainment
2108   One Direction                            More Than This                                      SR0000703645           Sony Music Entertainment
2109   One Direction                            One Thing                                           SR0000703645           Sony Music Entertainment
2110   One Direction                            Same Mistakes                                       SR0000703645           Sony Music Entertainment
2111   One Direction                            Save You Tonight                                    SR0000703645           Sony Music Entertainment
2112   One Direction                            Stand Up                                            SR0000703645           Sony Music Entertainment
2113   One Direction                            Stole My Heart                                      SR0000703645           Sony Music Entertainment
2114   One Direction                            Taken                                               SR0000703645           Sony Music Entertainment
2115   One Direction                            Tell Me A Lie                                       SR0000703645           Sony Music Entertainment
2116   One Direction                            What Makes You Beautiful                            SR0000703645           Sony Music Entertainment
2117   Otherwise                                Crimson                                             SR0000704620           Sony Music Entertainment
2118   Otherwise                                Die for You                                         SR0000704620           Sony Music Entertainment




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                        Artist                                               Track                    Registration Number                 Plaintiff
2119   Otherwise                                Don't Be Afraid                                      SR0000704620           Sony Music Entertainment
2120   Otherwise                                Full Circle                                          SR0000704620           Sony Music Entertainment
2121   Otherwise                                Heaven                                               SR0000704620           Sony Music Entertainment
2122   Otherwise                                I                                                    SR0000704620           Sony Music Entertainment
2123   Otherwise                                I Don't Apologize (1000 Pictures)                    SR0000704620           Sony Music Entertainment
2124   Otherwise                                II                                                   SR0000704620           Sony Music Entertainment
2125   Otherwise                                III                                                  SR0000704620           Sony Music Entertainment
2126   Otherwise                                Lighthouse                                           SR0000704620           Sony Music Entertainment
2127   Otherwise                                Scream Now                                           SR0000704620           Sony Music Entertainment
2128   Otherwise                                Silence Reigns                                       SR0000704620           Sony Music Entertainment
2129   Otherwise                                Soldiers                                             SR0000704620           Sony Music Entertainment
2130   Otherwise                                Vegas Girl                                           SR0000704620           Sony Music Entertainment
2131   OutKast                                  Idlewild Blue (Don'tchu Worry 'Bout Me)              SR0000747302           Sony Music Entertainment
2132   OutKast                                  Mighty "O"                                           SR0000747300           Sony Music Entertainment
2133   Ozzy Osbourne                            21st Century Schizoid Man                            SR0000388035           Sony Music Entertainment
2134   Ozzy Osbourne                            A.V.H.                                               SR0000135019           Sony Music Entertainment
2135   Ozzy Osbourne                            Back on Earth                                        SR0000247732           Sony Music Entertainment
2136   Ozzy Osbourne                            Bark At The Moon                                     SR0000053824           Sony Music Entertainment
2137   Ozzy Osbourne                            Breakin' All The Rules                               SR0000098705           Sony Music Entertainment
2138   Ozzy Osbourne                            Crazy Babies                                         SR0000098705           Sony Music Entertainment
2139   Ozzy Osbourne                            Crazy Train                                          SR0000028652           Sony Music Entertainment
2140   Ozzy Osbourne                            Desire                                               SR0000135019           Sony Music Entertainment
2141   Ozzy Osbourne                            Diary of a Madman                                    SR0000034167           Sony Music Entertainment
2142   Ozzy Osbourne                            Dreamer                                              SR0000303331           Sony Music Entertainment
2143   Ozzy Osbourne                            Gets Me Through                                      SR0000303331           Sony Music Entertainment
2144   Ozzy Osbourne                            Ghost Behind My Eyes                                 SR0000171292           Sony Music Entertainment
2145   Ozzy Osbourne                            Hellraiser                                           SR0000135019           Sony Music Entertainment
2146   Ozzy Osbourne                            I Can't Save You                                     SR0000628282           Sony Music Entertainment
2147   Ozzy Osbourne                            I Don't Wanna Stop                                   SR0000628282           Sony Music Entertainment
2148   Ozzy Osbourne                            I Don't Want to Change the World                     SR0000135019           Sony Music Entertainment
2149   Ozzy Osbourne                            I Just Want You                                      SR0000171292           Sony Music Entertainment
2150   Ozzy Osbourne                            In My Life                                           SR0000373744           Sony Music Entertainment
2151   Ozzy Osbourne                            Mama, I'm Coming Home                                SR0000135019           Sony Music Entertainment
2152   Ozzy Osbourne                            Miracle Man                                          SR0000098705           Sony Music Entertainment
2153   Ozzy Osbourne                            Mississippi Queen                                    SR0000388035           Sony Music Entertainment
2154   Ozzy Osbourne                            Mr. Crowley                                          SR0000028652           Sony Music Entertainment
2155   Ozzy Osbourne                            Mr. Tinkertrain                                      SR0000135019           Sony Music Entertainment
2156   Ozzy Osbourne                            Nightmare                                            SR0000628282           Sony Music Entertainment
2157   Ozzy Osbourne                            No Easy Way Out                                      SR0000303331           Sony Music Entertainment
2158   Ozzy Osbourne                            No More Tears                                        SR0000135019           Sony Music Entertainment
2159   Ozzy Osbourne                            Not Going Away                                       SR0000628282           Sony Music Entertainment
2160   Ozzy Osbourne                            Over The Mountain                                    SR0000034167           Sony Music Entertainment
2161   Ozzy Osbourne                            Perry Mason                                          SR0000171292           Sony Music Entertainment
2162   Ozzy Osbourne                            Road To Nowhere                                      SR0000135019           Sony Music Entertainment
2163   Ozzy Osbourne                            Shot In The Dark                                     SR0000076545           Sony Music Entertainment
2164   Ozzy Osbourne                            Thunder Underground                                  SR0000171292           Sony Music Entertainment
2165   Ozzy Osbourne                            Time After Time                                      SR0000135019           Sony Music Entertainment
2166   Ozzy Osbourne                            Won't Be Coming Home (S.I.N.)                        SR0000135019           Sony Music Entertainment
2167   Ozzy Osbourne                            Zombie Stomp                                         SR0000135019           Sony Music Entertainment
2168   P!nk                                     Chaos & Piss                                         SR0000709377           Sony Music Entertainment
2169   P!nk                                     Just Give Me A Reason                                SR0000709056           Sony Music Entertainment
2170   P!nk                                     Push You Away                                        SR0000644873           Sony Music Entertainment
2171   P!nk                                     Timebomb                                             SR0000709377           Sony Music Entertainment
2172   P!nk Featuring William Orbit             Feel Good Time                                       PA0001242238           Sony Music Entertainment
2173   Passion Pit                              Little Secrets                                       PA0001678112           Sony Music Entertainment
2174   Passion Pit                              To Kingdom Come                                      PA0001683346           Sony Music Entertainment
2175   Pearl Jam                                1/2 Full                                             SR0000324204           Sony Music Entertainment
2176   Pearl Jam                                All or None                                          SR0000324204           Sony Music Entertainment
2177   Pearl Jam                                Animal (Remastered)                                  SR0000207219           Sony Music Entertainment
2178   Pearl Jam                                Arc                                                  SR0000324204           Sony Music Entertainment
2179   Pearl Jam                                Army Reserve                                         SR0000654748           Sony Music Entertainment
2180   Pearl Jam                                Around The Bend                                      SR0000230851           Sony Music Entertainment
2181   Pearl Jam                                Aya Davanita                                         SR0000206558           Sony Music Entertainment
2182   Pearl Jam                                Big Wave                                             SR0000654748           Sony Music Entertainment
2183   Pearl Jam                                Black                                                SR0000137787           Sony Music Entertainment
2184   Pearl Jam                                Brain Of J.                                          SR0000255869           Sony Music Entertainment
2185   Pearl Jam                                Breakerfall                                          SR0000300972           Sony Music Entertainment
2186   Pearl Jam                                Bu$hleaguer                                          SR0000324204           Sony Music Entertainment
2187   Pearl Jam                                Bugs                                                 SR0000206558           Sony Music Entertainment




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                           Artist                                           Track                     Registration Number                 Plaintiff
2188   Pearl Jam                                Can't Keep                                           SR0000324204           Sony Music Entertainment
2189   Pearl Jam                                Come Back                                            SR0000654748           Sony Music Entertainment
2190   Pearl Jam                                Cropduster                                           SR0000324204           Sony Music Entertainment
2191   Pearl Jam                                Daughter                                             SR0000207219           Sony Music Entertainment
2192   Pearl Jam                                Deep                                                 SR0000137787           Sony Music Entertainment
2193   Pearl Jam                                Evacuation                                           SR0000300972           Sony Music Entertainment
2194   Pearl Jam                                Faithful                                             SR0000255869           Sony Music Entertainment
2195   Pearl Jam                                Get Right                                            SR0000324204           Sony Music Entertainment
2196   Pearl Jam                                Ghost                                                SR0000324204           Sony Music Entertainment
2197   Pearl Jam                                Gods' Dice                                           SR0000300972           Sony Music Entertainment
2198   Pearl Jam                                Gone                                                 SR0000654748           Sony Music Entertainment
2199   Pearl Jam                                Green Disease                                        SR0000324204           Sony Music Entertainment
2200   Pearl Jam                                Grievance                                            SR0000300972           Sony Music Entertainment
2201   Pearl Jam                                Habit                                                SR0000230851           Sony Music Entertainment
2202   Pearl Jam                                Help Help                                            SR0000324204           Sony Music Entertainment
2203   Pearl Jam                                I'm Open                                             SR0000230851           Sony Music Entertainment
2204   Pearl Jam                                In My Tree                                           SR0000230851           Sony Music Entertainment
2205   Pearl Jam                                Indifference (Remastered)                            SR0000207219           Sony Music Entertainment
2206   Pearl Jam                                Inside Job                                           SR0000654748           Sony Music Entertainment
2207   Pearl Jam                                Insignificance                                       SR0000300972           Sony Music Entertainment
2208   Pearl Jam                                Last Exit                                            SR0000206558           Sony Music Entertainment
2209   Pearl Jam                                Leash                                                SR0000207219           Sony Music Entertainment
2210   Pearl Jam                                Life Wasted                                          SR0000654748           Sony Music Entertainment
2211   Pearl Jam                                Love Boat Captain                                    SR0000324204           Sony Music Entertainment
2212   Pearl Jam                                Low Light                                            SR0000255869           Sony Music Entertainment
2213   Pearl Jam                                Lukin                                                SR0000230851           Sony Music Entertainment
2214   Pearl Jam                                Mankind                                              SR0000230851           Sony Music Entertainment
2215   Pearl Jam                                Marker In The Sand                                   SR0000654748           Sony Music Entertainment
2216   Pearl Jam                                MFC                                                  SR0000255869           Sony Music Entertainment
2217   Pearl Jam                                No Way                                               SR0000255869           Sony Music Entertainment
2218   Pearl Jam                                Oceans                                               SR0000137787           Sony Music Entertainment
2219   Pearl Jam                                Of The Girl                                          SR0000300972           Sony Music Entertainment
2220   Pearl Jam                                Parachutes                                           SR0000654748           Sony Music Entertainment
2221   Pearl Jam                                Parting Ways                                         SR0000300972           Sony Music Entertainment
2222   Pearl Jam                                Pilate                                               SR0000255869           Sony Music Entertainment
2223   Pearl Jam                                Porch                                                SR0000137787           Sony Music Entertainment
2224   Pearl Jam                                Present Tense                                        SR0000230851           Sony Music Entertainment
2225   Pearl Jam                                Pry, To                                              SR0000206558           Sony Music Entertainment
2226   Pearl Jam                                Push Me, Pull Me                                     SR0000255869           Sony Music Entertainment
2227   Pearl Jam                                Rats (Remastered)                                    SR0000207219           Sony Music Entertainment
2228   Pearl Jam                                Red Bar (also known as "●" or "The Color Red")       SR0000255869           Sony Music Entertainment
2229   Pearl Jam                                Red Mosquito                                         SR0000230851           Sony Music Entertainment
2230   Pearl Jam                                Release                                              SR0000137787           Sony Music Entertainment
2231   Pearl Jam                                Rival                                                SR0000300972           Sony Music Entertainment
2232   Pearl Jam                                Satan's Bed                                          SR0000206558           Sony Music Entertainment
2233   Pearl Jam                                Save You                                             SR0000324204           Sony Music Entertainment
2234   Pearl Jam                                Sleight Of Hand                                      SR0000300972           Sony Music Entertainment
2235   Pearl Jam                                Smile                                                SR0000230851           Sony Music Entertainment
2236   Pearl Jam                                Sometimes                                            SR0000230851           Sony Music Entertainment
2237   Pearl Jam                                Soon Forget                                          SR0000300972           Sony Music Entertainment
2238   Pearl Jam                                Stupidmop                                            SR0000206558           Sony Music Entertainment
2239   Pearl Jam                                Thin Air                                             SR0000300972           Sony Music Entertainment
2240   Pearl Jam                                Thumbing My Way                                      SR0000324204           Sony Music Entertainment
2241   Pearl Jam                                Tremor Christ                                        SR0000206558           Sony Music Entertainment
2242   Pearl Jam                                Unemployable                                         SR0000654748           Sony Music Entertainment
2243   Pearl Jam                                W.M.A.                                               SR0000207219           Sony Music Entertainment
2244   Pearl Jam                                Wash                                                 SR0000363498           Sony Music Entertainment
2245   Pearl Jam                                Wasted Reprise                                       SR0000654748           Sony Music Entertainment
2246   Pearl Jam                                Whipping                                             SR0000206558           Sony Music Entertainment
2247   Pearl Jam                                Why Go                                               SR0000137787           Sony Music Entertainment
2248   Pearl Jam                                World Wide Suicide                                   SR0000654748           Sony Music Entertainment
2249   Pitbull                                  Give Me Everything                                   SR0000681904           Sony Music Entertainment
2250   Pitbull                                  Hotel Room Service                                   SR0000641804           Sony Music Entertainment
2251   Pitbull                                  Pause                                                SR0000681904           Sony Music Entertainment
2252   Pitbull                                  Something For The DJs                                SR0000681904           Sony Music Entertainment
2253   Pitbull feat. Ke$ha                      Timber                                               SR0000737322           Sony Music Entertainment
2254   Pitbull Feat. Lil Jon;Shawty Lo          Krazy                                                SR0000641804           Sony Music Entertainment
2255   Pitbull featuring Akon                   Shut It Down                                         SR0000641804           Sony Music Entertainment
2256   Pitbull Featuring Akon & DJ Frank E      Mr. Right Now                                        SR0000683282           Sony Music Entertainment




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                         Artist                                             Track                     Registration Number               Plaintiff
2257 Pitbull featuring B.O.B.                   Across The World                                     SR0000641804         Sony Music Entertainment
2258 Pitbull Featuring Enrique Iglesias         Come N Go                                            SR0000681904         Sony Music Entertainment
2259 Pitbull Featuring Jamie Foxx               Where Do We Go                                       SR0000681904         Sony Music Entertainment
     Pitbull Featuring Kelly Rowland & Jamie
2260                                            Castle Made Of Sand                                  SR0000681904         Sony Music Entertainment
     Drastik
2261 Pitbull featuring Nayer & Bass III Euro    Full Of S**t                                         SR0000641804         Sony Music Entertainment
2262 Pitbull Featuring Nelly                    My Kinda Girl                                        SR0000683282         Sony Music Entertainment
     Pitbull Featuring Red Foo, Vein & David
2263                                            Took My Love                                         SR0000641804         Sony Music Entertainment
     Rush
2264 Pitbull featuring T-Pain                   Hey Baby (Drop It To The Floor)                      SR0000681904         Sony Music Entertainment
2265 Pitbull Featuring T-Pain & Sean Paul       Shake Senora                                         SR0000681904         Sony Music Entertainment
     Pitbull Featuring T-Pain, Sean Paul &
2266                                            Shake Senora Remix                                   SR0000683282         Sony Music Entertainment
     Ludacris
2267 Pitbull Featuring Vein                     Mr. Worldwide (Intro)                                SR0000681904         Sony Music Entertainment
2268 Pitbull vs. Nicola Fasano                  Oye Baby                                             SR0000683282         Sony Music Entertainment
2269 R. Kelly                                   Cookie                                               SR0000737848         Sony Music Entertainment
2270 R. Kelly                                   Every Position                                       SR0000737848         Sony Music Entertainment
2271 R. Kelly                                   Genius                                               SR0000737850         Sony Music Entertainment
2272 R. Kelly                                   Marry the P***y                                      SR0000737848         Sony Music Entertainment
2273 R. Kelly                                   Physical                                             SR0000737848         Sony Music Entertainment
2274 R. Kelly                                   Prelude                                              SR0000737848         Sony Music Entertainment
2275 R. Kelly                                   Throw This Money On You                              SR0000737848         Sony Music Entertainment
2276 R. Kelly                                   You Deserve Better                                   SR0000737848         Sony Music Entertainment
2277 R. Kelly & Usher                           Same Girl                                            SR0000726953         Sony Music Entertainment
2278 R. Kelly feat. 2 Chainz                    My Story                                             SR0000737848         Sony Music Entertainment
2279 R. Kelly feat. Future                      Tear It Up                                           SR0000737848         Sony Music Entertainment
2280 R. Kelly feat. Ludacris                    Legs Shakin'                                         SR0000737848         Sony Music Entertainment
2281 R. Kelly feat. Migos & Juicy J             Show Ya P***y                                        SR0000737848         Sony Music Entertainment
2282 Ray Charles                                Seven Spanish Angels                                 SR0000058443         Sony Music Entertainment
2283 Santana                                    All I Ever Wanted                                    SR0000013645         Sony Music Entertainment
2284 Santana                                    Aqua Marine                                          SR0000013645         Sony Music Entertainment
2285 Santana                                    Blues for Salvador                                   SR0000086429         Sony Music Entertainment
2286 Santana                                    Brightest Star                                       SR0000028839         Sony Music Entertainment
2287 Santana                                    Carnaval                                             N40322               Sony Music Entertainment
2288 Santana                                    Dance Sister Dance (Baila Mi Hermana)                N33113               Sony Music Entertainment
2289 Santana                                    Europa (Earth's Cry Heaven's Smile)                  N33113               Sony Music Entertainment
2290 Santana                                    Flor D'Luna (Moonflower)                             RE0000927177         Sony Music Entertainment
2291 Santana                                    Full Moon                                            SR0000118423         Sony Music Entertainment
2292 Santana                                    Gypsy Woman                                          SR0000118423         Sony Music Entertainment
2293 Santana                                    Hannibal                                             SR0000086429         Sony Music Entertainment
2294 Santana                                    Hold On                                              SR0000039658         Sony Music Entertainment
2295 Santana                                    How Long                                             SR0000065770         Sony Music Entertainment
2296 Santana                                    I Love You Much Too Much                             SR0000028774         Sony Music Entertainment
2297 Santana                                    I'll Be Waiting                                      N40322               Sony Music Entertainment
2298 Santana                                    La Fuente del Ritmo                                  N3383; N5328         Sony Music Entertainment
2299 Santana                                    Let the Children Play                                N40322               Sony Music Entertainment
2300 Santana                                    Mirage                                               RE0000872000         Sony Music Entertainment
2301 Santana                                    Nowhere to Run                                       SR0000039763         Sony Music Entertainment
2302 Santana                                    ONE CHAIN (DON'T MAKE NO PRISON)                     SR0000004781         Sony Music Entertainment
2303 Santana                                    Revelations                                          N40322               Sony Music Entertainment
2304 Santana                                    Say It Again                                         PA0000254926         Sony Music Entertainment
2305 Santana                                    The Sensitive Kind                                   SR0000028774         Sony Music Entertainment
2306 Santana                                    Well All Right                                       SR0000004781         Sony Music Entertainment
2307 Santana                                    Winning                                              SR0000028839         Sony Music Entertainment
2308 Santana                                    You Know That I Love You                             SR0000013645         Sony Music Entertainment
2309 Sara Bareilles                             1000 Times                                           SR0000727195         Sony Music Entertainment
2310 Sara Bareilles                             Brave                                                SR0000727192         Sony Music Entertainment
2311 Sara Bareilles                             Cassiopeia                                           SR0000727195         Sony Music Entertainment
2312 Sara Bareilles                             Chasing The Sun                                      SR0000727195         Sony Music Entertainment
2313 Sara Bareilles                             December                                             SR0000727195         Sony Music Entertainment
2314 Sara Bareilles                             Eden                                                 SR0000727195         Sony Music Entertainment
2315 Sara Bareilles                             Hercules                                             SR0000727195         Sony Music Entertainment
2316 Sara Bareilles                             I Choose You                                         SR0000727195         Sony Music Entertainment
2317 Sara Bareilles                             Islands                                              SR0000727195         Sony Music Entertainment
2318 Sara Bareilles                             Little Black Dress                                   SR0000727195         Sony Music Entertainment
2319 Sara Bareilles                             Manhattan                                            SR0000727193         Sony Music Entertainment
2320 Sara Bareilles                             Satellite Call                                       SR0000727195         Sony Music Entertainment
2321 Savage Garden                              Affirmation                                          SR0000276120         Sony Music Entertainment
2322 Savage Garden                              Crash And Burn                                       SR0000276120         Sony Music Entertainment




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                          Artist                                             Track                   Registration Number                 Plaintiff
2323   Savage Garden                            Hold Me                                             SR0000276120           Sony Music Entertainment
2324   Savage Garden                            The Animal Song                                     SR0000276120           Sony Music Entertainment
2325   Sean Kingston and Justin Bieber          Eenie Meenie                                        SR0000730824           Sony Music Entertainment
2326   Shakira                                  Devoción                                            SR0000669191           Sony Music Entertainment
2327   Shakira                                  Gordita                                             SR0000669191           Sony Music Entertainment
2328   Shakira                                  Lo Que Más                                          SR0000669191           Sony Music Entertainment
2329   Shakira                                  Loca (Featuring Dizzee Rascal)                      SR0000669191           Sony Music Entertainment
2330   Shakira                                  Loca (Featuring El Cata)                            SR0000669191           Sony Music Entertainment
2331   Shakira                                  Rabiosa                                             SR0000669191           Sony Music Entertainment
2332   Shakira                                  Waka Waka (This Time For Africa)                    SR0000669191           Sony Music Entertainment
2333   Social Distortion                        Ball And Chain                                      SR0000115085           Sony Music Entertainment
2334   Social Distortion                        Ring Of Fire                                        SR0000115085           Sony Music Entertainment
2335   Social Distortion                        Story Of My Life                                    SR0000115085           Sony Music Entertainment
2336   Stevie Ray Vaughan & Double Trouble      Boot Hill                                           SR0000138313           Sony Music Entertainment
2337   Stevie Ray Vaughan & Double Trouble      Chitlins Con Carne                                  SR0000138313           Sony Music Entertainment
2338   Stevie Ray Vaughan & Double Trouble      Close to You                                        SR0000138313           Sony Music Entertainment
2339   Stevie Ray Vaughan & Double Trouble      Empty Arms                                          SR0000138313           Sony Music Entertainment
2340   Stevie Ray Vaughan & Double Trouble      May I Have a Talk with You                          SR0000138313           Sony Music Entertainment
2341   Stevie Ray Vaughan & Double Trouble      So Excited                                          SR0000138313           Sony Music Entertainment
2342   Stevie Ray Vaughan & Double Trouble      Wham                                                SR0000138313           Sony Music Entertainment
2343   Stevie Ray Vaughan And Double Trouble    Life By The Drop                                    SR0000138313           Sony Music Entertainment
2344   Stevie Ray Vaughan And Double Trouble    Little Wing                                         SR0000138313           Sony Music Entertainment
2345   Stevie Ray Vaughan And Double Trouble    The Sky Is Crying                                   SR0000138313           Sony Music Entertainment
2346   Switchfoot                               Adding To The Noise                                 SR0000347967           Sony Music Entertainment
2347   Switchfoot                               Ammunition                                          SR0000347967           Sony Music Entertainment
2348   Switchfoot                               Gone                                                SR0000347967           Sony Music Entertainment
2349   Switchfoot                               Meant To Live                                       SR0000347967           Sony Music Entertainment
2350   Switchfoot                               More Than Fine                                      SR0000347967           Sony Music Entertainment
2351   Switchfoot                               On Fire                                             SR0000347967           Sony Music Entertainment
2352   Switchfoot                               Redemption                                          SR0000347967           Sony Music Entertainment
2353   Switchfoot                               The Beautiful Letdown                               SR0000347967           Sony Music Entertainment
2354   Switchfoot                               Twenty-four                                         SR0000347967           Sony Music Entertainment
2355   System Of A Down                         Attack                                              SR0000388170           Sony Music Entertainment
2356   System of a Down                         Dreaming                                            SR0000388170           Sony Music Entertainment
2357   System Of A Down                         Holy Mountains                                      SR0000388170           Sony Music Entertainment
2358   System Of A Down                         Hypnotize                                           SR0000748788           Sony Music Entertainment
2359   System of a Down                         Kill Rock 'n Roll                                   SR0000388170           Sony Music Entertainment
2360   System Of A Down                         Lonely Day                                          SR0000388170           Sony Music Entertainment
2361   System Of A Down                         She's Like Heroin                                   SR0000388170           Sony Music Entertainment
2362   System of a Down                         Soldier Side                                        SR0000388170           Sony Music Entertainment
2363   System Of A Down                         Stealing Society                                    SR0000388170           Sony Music Entertainment
2364   System Of A Down                         Tentative                                           SR0000388170           Sony Music Entertainment
2365   System Of A Down                         U-Fig                                               SR0000388170           Sony Music Entertainment
2366   System Of A Down                         Vicinity Of Obscenity                               SR0000388170           Sony Music Entertainment
2367   T-Pain feat. B.o.B                       Up Down (Do This All Day)                           SR0000766922           Sony Music Entertainment
2368   Teddy Pendergrass                        All I Need Is You                                   SR0000012942           Sony Music Entertainment
2369   Teddy Pendergrass                        And If I Had                                        RE0000926587           Sony Music Entertainment
2370   Teddy Pendergrass                        Be Sure                                             RE0000926587           Sony Music Entertainment
2371   Teddy Pendergrass                        Cold, Cold World                                    SR0000002510           Sony Music Entertainment
2372   Teddy Pendergrass                        Do Me                                               SR0000012942           Sony Music Entertainment
2373   Teddy Pendergrass                        Easy, Easy, Got To Take It Easy                     RE0000926587           Sony Music Entertainment
2374   Teddy Pendergrass                        Get Up, Get Down, Get Funky, Get Loose              SR0000002555           Sony Music Entertainment
2375   Teddy Pendergrass                        Girl You Know                                       SR0000019849           Sony Music Entertainment
2376   Teddy Pendergrass                        I Just Called to Say                                SR0000019849           Sony Music Entertainment
2377   Teddy Pendergrass                        I'll Never See Heaven Again                         SR0000012942           Sony Music Entertainment
2378   Teddy Pendergrass                        If You Know Like I Know                             SR0000009608           Sony Music Entertainment
2379   Teddy Pendergrass                        Is It Still Good To Ya?                             SR0000019849           Sony Music Entertainment
2380   Teddy Pendergrass                        It Don't Hurt Now                                   SR0000002510           Sony Music Entertainment
2381   Teddy Pendergrass                        Let Me Love You                                     SR0000019849           Sony Music Entertainment
2382   Teddy Pendergrass                        Life Is A Circle                                    SR0000012942           Sony Music Entertainment
2383   Teddy Pendergrass                        Life Is A Song Worth Singing                        SR0000002510           Sony Music Entertainment
2384   Teddy Pendergrass                        Set Me Free                                         SR0000012942           Sony Music Entertainment
2385   Teddy Pendergrass                        Somebody Told Me                                    RE0000926587           Sony Music Entertainment
2386   Teddy Pendergrass                        When Somebody Loves You Back                        SR0000002510           Sony Music Entertainment
2387   Teddy Pendergrass                        You Can't Hide From Yourself                        RE0000926587           Sony Music Entertainment
2388   Teddy Pendergrass & Stephanie Mills      Feel the Fire                                       SR0000019849           Sony Music Entertainment
2389   Teddy Pendergrass & Stephanie Mills      Take Me In Your Arms Tonight                        SR0000019849           Sony Music Entertainment
2390   The Clash                                Brand New Cadillac                                  SR0000016270           Sony Music Entertainment
2391   The Clash                                Clampdown                                           SR0000016270           Sony Music Entertainment




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                                                                      EXHIBIT A - SOUND RECORDINGS

                         Artist                                              Track                    Registration Number                 Plaintiff
2392   The Clash                                Death Or Glory                                       SR0000016270           Sony Music Entertainment
2393   The Clash                                Four Horsemen                                        SR0000016270           Sony Music Entertainment
2394   The Clash                                Hateful                                              SR0000016270           Sony Music Entertainment
2395   The Clash                                I'm Not Down                                         SR0000016270           Sony Music Entertainment
2396   The Clash                                Jimmy Jazz                                           SR0000016270           Sony Music Entertainment
2397   The Clash                                Koka Kola                                            SR0000016270           Sony Music Entertainment
2398   The Clash                                London Calling                                       SR0000016270           Sony Music Entertainment
2399   The Clash                                Lost In The Supermarket                              SR0000016270           Sony Music Entertainment
2400   The Clash                                Lover's Rock                                         SR0000016270           Sony Music Entertainment
2401   The Clash                                Revolution Rock                                      SR0000016270           Sony Music Entertainment
2402   The Clash                                Rudie Can't Fail                                     SR0000016270           Sony Music Entertainment
2403   The Clash                                Spanish Bombs                                        SR0000016270           Sony Music Entertainment
2404   The Clash                                The Card Cheat                                       SR0000016270           Sony Music Entertainment
2405   The Clash                                The Guns Of Brixton                                  SR0000016270           Sony Music Entertainment
2406   The Clash                                The Right Profile                                    SR0000016270           Sony Music Entertainment
2407   The Clash                                Train In Vain                                        SR0000293426           Sony Music Entertainment
2408   The Clash                                Wrong 'Em Boyo                                       SR0000016270           Sony Music Entertainment
2409   The Fugees                               Cowboys                                              SR0000222005           Sony Music Entertainment
2410   The Fugees                               Family Business                                      SR0000222005           Sony Music Entertainment
2411   The Fugees                               Killing Me Softly With His Song                      SR0000222005           Sony Music Entertainment
2412   The Fugees                               The Beast                                            SR0000222005           Sony Music Entertainment
2413   The Weather Gilrs                        It's Raining Men                                     SR0000043246           Sony Music Entertainment
2414   Three 6 Mafia                            Stay Fly                                             PA0001305910           Sony Music Entertainment
2415   Three Days Grace                         Bitter Taste                                         SR0000641798           Sony Music Entertainment
2416   Three Days Grace                         Break                                                SR0000641798           Sony Music Entertainment
2417   Three Days Grace                         Goin' Down                                           SR0000641798           Sony Music Entertainment
2418   Three Days Grace                         Last To Know                                         SR0000641798           Sony Music Entertainment
2419   Three Days Grace                         Life Starts Now                                      SR0000641798           Sony Music Entertainment
2420   Three Days Grace                         Lost In You                                          SR0000641798           Sony Music Entertainment
2421   Three Days Grace                         No More                                              SR0000641798           Sony Music Entertainment
2422   Three Days Grace                         Someone Who Cares                                    SR0000641798           Sony Music Entertainment
2423   Three Days Grace                         The Good Life                                        SR0000641798           Sony Music Entertainment
2424   Three Days Grace                         Without You                                          SR0000641798           Sony Music Entertainment
2425   Three Days Grace                         World So Cold                                        SR0000641798           Sony Music Entertainment
2426   Tony Terry                               With You                                             SR0000127422           Sony Music Entertainment
2427   Toto                                     Afraid of Love                                       SR0000034599           Sony Music Entertainment
2428   Toto                                     Good for You                                         SR0000034599           Sony Music Entertainment
2429   Toto                                     It's a Feeling                                       SR0000034599           Sony Music Entertainment
2430   Toto                                     Lovers in the Night                                  SR0000034599           Sony Music Entertainment
2431   Toto                                     Make Believe                                         SR0000034599           Sony Music Entertainment
2432   Toto                                     We Made It                                           SR0000034599           Sony Music Entertainment
2433   Train                                    50 Ways To Say Goodbye                               SR0000700152           Sony Music Entertainment
2434   Train                                    Meet Virginia                                        SR0000298334           Sony Music Entertainment
2435   Tyler Farr                               Redneck Crazy                                        SR0000729105           Sony Music Entertainment
2436   Usher                                    2nd Round                                            SR0000731104           Sony Music Entertainment
2437   Usher                                    Can't Stop Won't Stop                                SR0000731104           Sony Music Entertainment
2438   Usher                                    Climax                                               SR0000731104           Sony Music Entertainment
2439   Usher                                    Dive                                                 SR0000731104           Sony Music Entertainment
2440   Usher                                    Euphoria                                             SR0000731104           Sony Music Entertainment
2441   Usher                                    Good Kisser                                          SR0000773759           Sony Music Entertainment
2442   Usher                                    Hey Daddy (Daddy's Home)                             SR0000652023           Sony Music Entertainment
2443   Usher                                    I Care For U                                         SR0000731104           Sony Music Entertainment
2444   Usher                                    I.F.U.                                               SR0000731104           Sony Music Entertainment
2445   Usher                                    Lemme See                                            SR0000731104           Sony Music Entertainment
2446   Usher                                    Lessons For The Lover                                SR0000731104           Sony Music Entertainment
2447   Usher                                    More                                                 SR0000652023           Sony Music Entertainment
2448   Usher                                    Numb                                                 SR0000731104           Sony Music Entertainment
2449   Usher                                    Papers                                               SR0000652023           Sony Music Entertainment
2450   Usher                                    Say The Words                                        SR0000731104           Sony Music Entertainment
2451   Usher                                    Scream                                               SR0000731104           Sony Music Entertainment
2452   Usher                                    Show Me                                              SR0000731104           Sony Music Entertainment
2453   Usher                                    Sins Of My Father                                    SR0000731104           Sony Music Entertainment
2454   Usher                                    There Goes My Baby                                   SR0000652023           Sony Music Entertainment
2455   Usher                                    What Happened To U                                   SR0000731104           Sony Music Entertainment
2456   Usher feat. Nicki Minaj                  Lil Freak                                            SR0000652023           Sony Music Entertainment
2457   Usher featuring A$AP Rocky               Hot Thing                                            SR0000731104           Sony Music Entertainment
2458   Usher featuring Luke Steele              Looking 4 Myself                                     SR0000731104           Sony Music Entertainment
2459   Warrant                                  32 Pennies                                           SR0000103108           Sony Music Entertainment
2460   Warrant                                  Bed Of Roses                                         SR0000122785           Sony Music Entertainment




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                                                                      EXHIBIT A - SOUND RECORDINGS

                        Artist                                               Track                        Registration Number                 Plaintiff
2461   Warrant                                  Big Talk                                                 SR0000103108           Sony Music Entertainment
2462   Warrant                                  Cherry Pie                                               SR0000122785           Sony Music Entertainment
2463   Warrant                                  D.R.F.S.R.                                               SR0000103108           Sony Music Entertainment
2464   Warrant                                  Down Boys                                                SR0000103108           Sony Music Entertainment
2465   Warrant                                  Heaven                                                   SR0000103108           Sony Music Entertainment
2466   Warrant                                  I Saw Red                                                SR0000122785           Sony Music Entertainment
2467   Warrant                                  Mr. Rainmaker                                            SR0000122785           Sony Music Entertainment
2468   Warrant                                  Sometimes She Cries                                      SR0000103108           Sony Music Entertainment
2469   Warrant                                  Sure Feels Good to Me                                    SR0000122785           Sony Music Entertainment
2470   Warrant                                  The Hole In My Wall                                      SR0000146976           Sony Music Entertainment
2471   Warrant                                  Train, Train                                             SR0000122785           Sony Music Entertainment
2472   Warrant                                  Uncle Tom's Cabin                                        SR0000122785           Sony Music Entertainment
2473   Weird Al Yankovic                        (This Song's Just) Six Words Long                        SR0000088931           Sony Music Entertainment
2474   Weird Al Yankovic                        Alimony                                                  SR0000088931           Sony Music Entertainment
2475   Weird Al Yankovic                        Another One Rides The Bus                                SR0000046144           Sony Music Entertainment
2476 Weird Al Yankovic                          Attack Of The Radioactive Hamsters From A Planet Near Mars SR0000108100         Sony Music Entertainment

2477   Weird Al Yankovic                        Buckingham Blues                                         SR0000046320           Sony Music Entertainment
2478   Weird Al Yankovic                        Buy Me A Condo                                           SR0000054056           Sony Music Entertainment
2479   Weird Al Yankovic                        Cable TV                                                 SR0000068020           Sony Music Entertainment
2480   Weird Al Yankovic                        Christmas At Ground Zero                                 SR0000078099           Sony Music Entertainment
2481   Weird Al Yankovic                        Dare To Be Stupid                                        SR0000068020           Sony Music Entertainment
2482   Weird Al Yankovic                        Dog Eat Dog                                              SR0000078099           Sony Music Entertainment
2483   Weird Al Yankovic                        Eat It                                                   SR0000054439           Sony Music Entertainment
2484   Weird Al Yankovic                        Fat                                                      SR0000088931           Sony Music Entertainment
2485   Weird Al Yankovic                        Fun Zone                                                 SR0000108100           Sony Music Entertainment
2486   Weird Al Yankovic                        Gandhi II                                                SR0000108100           Sony Music Entertainment
2487   Weird Al Yankovic                        Generic Blues                                            SR0000108100           Sony Music Entertainment
2488   Weird Al Yankovic                        George Of The Jungle                                     SR0000068020           Sony Music Entertainment
2489   Weird Al Yankovic                        Girls Just Want To Have Lunch                            SR0000068020           Sony Music Entertainment
2490   Weird Al Yankovic                        Good Enough For Now                                      SR0000078099           Sony Music Entertainment
2491   Weird Al Yankovic                        Good Old Days                                            SR0000088931           Sony Music Entertainment
2492   Weird Al Yankovic                        Gotta Boogie                                             SR0000046144           Sony Music Entertainment
2493   Weird Al Yankovic                        Happy Birthday                                           SR0000046144           Sony Music Entertainment
2494   Weird Al Yankovic                        Here's Johnny                                            SR0000078099           Sony Music Entertainment
2495   Weird Al Yankovic                        Hooked On Polkas                                         SR0000068020           Sony Music Entertainment
2496   Weird Al Yankovic                        I Lost On Jeopardy                                       SR0000054056           Sony Music Entertainment
2497   Weird Al Yankovic                        I Love Rocky Road                                        SR0000046144           Sony Music Entertainment
2498   Weird Al Yankovic                        I Want A New Duck                                        SR0000068020           Sony Music Entertainment
2499   Weird Al Yankovic                        I'll Be Mellow When I'm Dead                             SR0000046144           Sony Music Entertainment
2500   Weird Al Yankovic                        Isle Thing                                               SR0000108100           Sony Music Entertainment
2501   Weird Al Yankovic                        King Of Suede                                            SR0000054056           Sony Music Entertainment
2502   Weird Al Yankovic                        Lasagna                                                  SR0000088931           Sony Music Entertainment
2503   Weird Al Yankovic                        Like A Surgeon                                           PA0000254936           Sony Music Entertainment
2504   Weird Al Yankovic                        Melanie                                                  SR0000088931           Sony Music Entertainment
2505   Weird Al Yankovic                        Midnight Star                                            SR0000054056           Sony Music Entertainment
2506   Weird Al Yankovic                        Money for Nothing/Beverly Hillbillies                    SR0000108100           Sony Music Entertainment
2507   Weird Al Yankovic                        Mr. Frump In The Iron Lung                               SR0000046144           Sony Music Entertainment
2508   Weird Al Yankovic                        Mr. Popeil                                               SR0000054056           Sony Music Entertainment
2509   Weird Al Yankovic                        Nature Trail To Hell                                     SR0000054056           Sony Music Entertainment
2510   Weird Al Yankovic                        One More Minute                                          SR0000068020           Sony Music Entertainment
2511   Weird Al Yankovic                        One Of Those Days                                        SR0000078099           Sony Music Entertainment
2512   Weird Al Yankovic                        Polka Party                                              SR0000078099           Sony Music Entertainment
2513   Weird Al Yankovic                        Polkas On 45                                             SR0000054056           Sony Music Entertainment
2514   Weird Al Yankovic                        Ricky                                                    SR0000046320           Sony Music Entertainment
2515   Weird Al Yankovic                        She Drives Like Crazy                                    SR0000108100           Sony Music Entertainment
2516   Weird Al Yankovic                        Spam                                                     SR0000108100           Sony Music Entertainment
2517   Weird Al Yankovic                        Spatula City                                             SR0000108100           Sony Music Entertainment
2518   Weird Al Yankovic                        Stop Draggin' My Car Around                              SR0000046144           Sony Music Entertainment
2519   Weird Al Yankovic                        Such A Groovy Guy                                        SR0000046144           Sony Music Entertainment
2520   Weird Al Yankovic                        That Boy Could Dance                                     SR0000054439           Sony Music Entertainment
2521   Weird Al Yankovic                        The Biggest Ball Of Twine In Minnesota                   SR0000108100           Sony Music Entertainment
2522   Weird Al Yankovic                        The Brady Bunch                                          SR0000054056           Sony Music Entertainment
2523   Weird Al Yankovic                        The Check's In The Mail                                  SR0000046144           Sony Music Entertainment
2524   Weird Al Yankovic                        The Hot Rocks Polka                                      SR0000108100           Sony Music Entertainment
2525   Weird Al Yankovic                        Theme From Rocky XIII                                    SR0000054056           Sony Music Entertainment
2526   Weird Al Yankovic                        This Is The Life                                         SR0000068020           Sony Music Entertainment
2527   Weird Al Yankovic                        Toothless People                                         SR0000078099           Sony Music Entertainment
2528   Weird Al Yankovic                        Twister                                                  SR0000088931           Sony Music Entertainment




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                        Artist                                               Track                    Registration Number                 Plaintiff
2529   Weird Al Yankovic                        Uhf                                                  SR0000108100           Sony Music Entertainment
2530   Weird Al Yankovic                        Velvet Elvis                                         SR0000088931           Sony Music Entertainment
2531   Weird Al Yankovic                        Yoda                                                 SR0000068020           Sony Music Entertainment
2532   Weird Al Yankovic                        You Make Me                                          SR0000088931           Sony Music Entertainment
2533   Wham                                     Careless Whisper                                     SR0000068616           Sony Music Entertainment
2534   Willie Nelson                            Always On My Mind                                    SR0000034836           Sony Music Entertainment
2535   Willie Nelson                            Angel Flying Too Close To The Ground                 SR0000033917           Sony Music Entertainment
2536   Willie Nelson                            City Of New Orleans                                  SR0000055605           Sony Music Entertainment
2537   Willie Nelson                            Forgiving You Was Easy                               SR0000064588           Sony Music Entertainment
2538   Willie Nelson                            Good Hearted Woman                                   SR0000004979           Sony Music Entertainment
2539   Willie Nelson                            Graceland                                            SR0000153066           Sony Music Entertainment
2540   Willie Nelson                            Last Thing I Needed First Thing This Morning         SR0000034842           Sony Music Entertainment
2541   Willie Nelson                            My Heroes Have Always Been Cowboys                   SR0000015871           Sony Music Entertainment
                                                                                                     PA0000084966
2542 Willie Nelson                              On The Road Again                                                           Sony Music Entertainment
                                                                                                     SR0000034019
2543   Willie Nelson with Ray Price             Faded Love                                           SR0000019676           Sony Music Entertainment
2544   Marc Anthony                             A Quién Quiero Mentirle                              SR0000654928           Sony Music Entertainment US Latin
2545   Marc Anthony                             Aguanile                                             SR0000615507           Sony Music Entertainment US Latin
2546   Marc Anthony                             Amada Amante                                         SR0000654928           Sony Music Entertainment US Latin
2547   Marc Anthony                             Che Che Colé                                         SR0000615507           Sony Music Entertainment US Latin
2548   Marc Anthony                             El Cantante                                          SR0000615507           Sony Music Entertainment US Latin
2549   Marc Anthony                             El Día de Mi Suerte                                  SR0000615507           Sony Music Entertainment US Latin
2550   Marc Anthony                             Escandalo                                            SR0000615507           Sony Music Entertainment US Latin
2551   Marc Anthony                             Qué Lío                                              SR0000615507           Sony Music Entertainment US Latin
2552   Marc Anthony                             Quítate Tú Pa' Ponerme Yo                            SR0000615507           Sony Music Entertainment US Latin
2553   Marc Anthony                             Te Lo Pido Por Favor                                 SR0000654928           Sony Music Entertainment US Latin
2554   Marc Anthony                             Todo Tiene Su Final                                  SR0000615507           Sony Music Entertainment US Latin
2555   Marc Anthony                             Y Cómo Es Él                                         SR0000654928           Sony Music Entertainment US Latin
2556   2 Chainz                                 Feds Watching                                        SR0000724645           UMG Recordings, Inc.
2557   2 Chainz                                 Ghetto Dreams                                        SR0000706415           UMG Recordings, Inc.
2558   2 Chainz                                 No Lie                                               SR0000700831           UMG Recordings, Inc.
2559   2 Chainz                                 Wut We Doin?                                         SR0000706415           UMG Recordings, Inc.
2560   2Pac                                     2 Of Amerikaz Most Wanted                            SR0000331786           UMG Recordings, Inc.
2561   2Pac                                     Brenda's Got A Baby                                  SR0000172261           UMG Recordings, Inc.
2562   2Pac                                     California Love                                      SR0000331786           UMG Recordings, Inc.
2563   2Pac                                     Can U Get Away                                       SR0000198774           UMG Recordings, Inc.
2564   2Pac                                     Changes                                              SR0000246223           UMG Recordings, Inc.
2565   2Pac                                     Dear Mama                                            SR0000198941           UMG Recordings, Inc.
2566   2Pac                                     Death Around The Corner                              SR0000198774           UMG Recordings, Inc.
2567   2Pac                                     Definition Of A Thug N***a                           SR0000260354           UMG Recordings, Inc.
2568   2Pac                                     Dopefiend's Diner                                    SR0000627960           UMG Recordings, Inc.
2569   2Pac                                     Fuck The World                                       SR0000198774           UMG Recordings, Inc.
2570   2Pac                                     Ghetto Gospel                                        SR0000366107           UMG Recordings, Inc.
2571   2Pac                                     Hail Mary                                            SR0000331786           UMG Recordings, Inc.
2572   2Pac                                     Heavy In The Game                                    SR0000198774           UMG Recordings, Inc.
2573   2Pac                                     How Do U Want It                                     SR0000331786           UMG Recordings, Inc.
2574   2Pac                                     I Ain't Mad At Cha                                   SR0000331786           UMG Recordings, Inc.
2575   2Pac                                     If I Die 2Nite                                       SR0000198774           UMG Recordings, Inc.
2576   2Pac                                     It Ain't Easy                                        SR0000198774           UMG Recordings, Inc.
2577   2Pac                                     Keep Ya Head Up                                      SR0000152641           UMG Recordings, Inc.
2578   2Pac                                     Lord Knows                                           SR0000198774           UMG Recordings, Inc.
2579   2Pac                                     Me Against The World                                 SR0000198774           UMG Recordings, Inc.
2580   2Pac                                     Never Call U B**** Again                             SR0000323532           UMG Recordings, Inc.
2581   2Pac                                     Old School                                           SR0000198774           UMG Recordings, Inc.
2582   2Pac                                     Resist The Temptation                                SR0000331786           UMG Recordings, Inc.
2583   2Pac                                     So Many Tears                                        SR0000198774           UMG Recordings, Inc.
2584   2Pac                                     Still Ballin'                                        SR0000323532           UMG Recordings, Inc.
2585   2Pac                                     Temptations                                          SR0000198774           UMG Recordings, Inc.
2586   2Pac                                     They Don't Give A F**** About Us                     SR0000323532           UMG Recordings, Inc.
2587   2Pac                                     Thugz Mansion                                        SR0000323532           UMG Recordings, Inc.
2588   2Pac                                     Trapped                                              SR0000172261           UMG Recordings, Inc.
2589   2Pac                                     Unconditional Love                                   SR0000246223           UMG Recordings, Inc.
2590   2Pac                                     Until The End Of Time                                SR0000295873           UMG Recordings, Inc.
2591   2Pac                                     When I Get Free                                      SR0000260354           UMG Recordings, Inc.
2592   2Pac                                     Young Niggaz                                         SR0000198774           UMG Recordings, Inc.
2593   3 Doors Down                             Be Like That                                         SR0000289463           UMG Recordings, Inc.
2594   3 Doors Down                             By My Side                                           SR0000289463           UMG Recordings, Inc.
2595   3 Doors Down                             Down Poison                                          SR0000289463           UMG Recordings, Inc.
2596   3 Doors Down                             Duck And Run                                         SR0000289463           UMG Recordings, Inc.




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                          Artist                                            Track                     Registration Number                Plaintiff
2597   3 Doors Down                             Kryptonite                                           SR0000289463           UMG Recordings, Inc.
2598   3 Doors Down                             Life Of My Own                                       SR0000289463           UMG Recordings, Inc.
2599   3 Doors Down                             Loser                                                SR0000289463           UMG Recordings, Inc.
2600   3 Doors Down                             Not Enough                                           SR0000289463           UMG Recordings, Inc.
2601   3 Doors Down                             Smack                                                SR0000289463           UMG Recordings, Inc.
2602   3 Doors Down                             So I Need You                                        SR0000289463           UMG Recordings, Inc.
2603   3 Doors Down                             The Better Life                                      SR0000289463           UMG Recordings, Inc.
2604   50 Cent                                  A Baltimore Love Thing                               SR0000366051           UMG Recordings, Inc.
2605   50 Cent                                  All Of Me                                            SR0000611234           UMG Recordings, Inc.
2606   50 Cent                                  Amusement Park                                       SR0000611234           UMG Recordings, Inc.
2607   50 Cent                                  Build You Up                                         SR0000366051           UMG Recordings, Inc.
2608   50 Cent                                  Candy Shop                                           SR0000366051           UMG Recordings, Inc.
2609   50 Cent                                  Come & Go                                            SR0000611234           UMG Recordings, Inc.
2610   50 Cent                                  Curtis 187                                           SR0000611234           UMG Recordings, Inc.
2611   50 Cent                                  Disco Inferno                                        SR0000366950           UMG Recordings, Inc.
2612   50 Cent                                  Fire                                                 SR0000611234           UMG Recordings, Inc.
2613   50 Cent                                  Follow My Lead                                       SR0000611234           UMG Recordings, Inc.
2614   50 Cent                                  Fully Loaded Clip                                    SR0000611234           UMG Recordings, Inc.
2615   50 Cent                                  GATman And Robbin                                    SR0000366051           UMG Recordings, Inc.
2616   50 Cent                                  Get In My Car                                        SR0000366051           UMG Recordings, Inc.
2617   50 Cent                                  God Gave Me Style                                    SR0000366051           UMG Recordings, Inc.
2618   50 Cent                                  Gunz Come Out                                        SR0000366051           UMG Recordings, Inc.
2619   50 Cent                                  Hate It Or Love It                                   SR0000366051           UMG Recordings, Inc.
2620   50 Cent                                  I Don't Need 'Em                                     SR0000366051           UMG Recordings, Inc.
2621   50 Cent                                  I Get Money                                          SR0000610389           UMG Recordings, Inc.
2622   50 Cent                                  I'll Still Kill                                      SR0000611234           UMG Recordings, Inc.
2623   50 Cent                                  I'm Supposed To Die Tonight                          SR0000366051           UMG Recordings, Inc.
2624   50 Cent                                  Intro/ 50 Cent/ The Massacre                         SR0000366051           UMG Recordings, Inc.
2625   50 Cent                                  Just A Lil Bit                                       SR0000366051           UMG Recordings, Inc.
2626   50 Cent                                  Man Down                                             SR0000611234           UMG Recordings, Inc.
2627   50 Cent                                  Movin On Up                                          SR0000611234           UMG Recordings, Inc.
2628   50 Cent                                  My Gun Go Off                                        SR0000611234           UMG Recordings, Inc.
2629   50 Cent                                  My Toy Soldier                                       SR0000366051           UMG Recordings, Inc.
2630   50 Cent                                  Outta Control                                        SR0000366051           UMG Recordings, Inc.
2631   50 Cent                                  Peep Show                                            SR0000611234           UMG Recordings, Inc.
2632   50 Cent                                  Piggy Bank                                           SR0000366051           UMG Recordings, Inc.
2633   50 Cent                                  Position Of Power                                    SR0000366051           UMG Recordings, Inc.
2634   50 Cent                                  Ryder Music                                          SR0000366051           UMG Recordings, Inc.
2635   50 Cent                                  Ski Mask Way                                         SR0000366051           UMG Recordings, Inc.
2636   50 Cent                                  So Amazing                                           SR0000366051           UMG Recordings, Inc.
2637   50 Cent                                  Straight To The Bank                                 SR0000611234           UMG Recordings, Inc.
2638   50 Cent                                  This Is 50                                           SR0000366051           UMG Recordings, Inc.
2639   50 Cent                                  Touch The Sky                                        SR0000611234           UMG Recordings, Inc.
2640   A Perfect Circle                         A Stranger                                           SR0000341312           UMG Recordings, Inc.
2641   A Perfect Circle                         Crimes                                               SR0000341312           UMG Recordings, Inc.
2642   A Perfect Circle                         Gravity                                              SR0000341312           UMG Recordings, Inc.
2643   A Perfect Circle                         Lullaby                                              SR0000341312           UMG Recordings, Inc.
2644   A Perfect Circle                         Pet                                                  SR0000341312           UMG Recordings, Inc.
2645   A Perfect Circle                         The Noose                                            SR0000341312           UMG Recordings, Inc.
2646   A Perfect Circle                         The Nurse Who Loved Me                               SR0000341312           UMG Recordings, Inc.
2647   A Perfect Circle                         Vanishing                                            SR0000341312           UMG Recordings, Inc.
2648   A Perfect Circle                         Weak And Powerless                                   SR0000341312           UMG Recordings, Inc.
2649   Akon                                     Against The Grain                                    SR0000620196           UMG Recordings, Inc.
2650   Akon                                     Be With You                                          SR0000620196           UMG Recordings, Inc.
2651   Akon                                     Beautiful                                            SR0000620196           UMG Recordings, Inc.
2652   Akon                                     Birthmark                                            SR0000620196           UMG Recordings, Inc.
2653   Akon                                     Blown Away                                           SR0000610156           UMG Recordings, Inc.
2654   Akon                                     Clap Again                                           SR0000620724           UMG Recordings, Inc.
2655   Akon                                     Freedom                                              SR0000620196           UMG Recordings, Inc.
2656   Akon                                     Gangsta Bop                                          SR0000610156           UMG Recordings, Inc.
2657   Akon                                     Holla Holla                                          SR0000620196           UMG Recordings, Inc.
2658   Akon                                     I Can't Wait                                         SR0000610156           UMG Recordings, Inc.
2659   Akon                                     I'm So Paid                                          SR0000624773           UMG Recordings, Inc.
2660   Akon                                     Keep You Much Longer                                 SR0000620196           UMG Recordings, Inc.
2661   Akon                                     Mama Africa                                          SR0000610156           UMG Recordings, Inc.
2662   Akon                                     Never Took The Time                                  SR0000610156           UMG Recordings, Inc.
2663   Akon                                     Once In A While                                      SR0000610156           UMG Recordings, Inc.
2664   Akon                                     Over The Edge                                        SR0000620196           UMG Recordings, Inc.
2665   Akon                                     Right Now (Na Na Na)                                 SR0000620197           UMG Recordings, Inc.




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                        Artist                                                 Track                  Registration Number                Plaintiff
2666   Akon                                     Shake Down                                           SR0000610156           UMG Recordings, Inc.
2667   Akon                                     Sunny Day                                            SR0000620196           UMG Recordings, Inc.
2668   Akon                                     The Rain                                             SR0000610156           UMG Recordings, Inc.
2669   Akon                                     Tired Of Runnin'                                     SR0000610156           UMG Recordings, Inc.
2670   Akon                                     Troublemaker                                         SR0000620198           UMG Recordings, Inc.
2671   Akon                                     We Don't Care                                        SR0000620196           UMG Recordings, Inc.
2672   Alex Clare                               Hands Are Clever                                     SR0000700527           UMG Recordings, Inc.
2673   Alex Clare                               Humming Bird                                         SR0000700527           UMG Recordings, Inc.
2674   Alex Clare                               I Love You                                           SR0000700527           UMG Recordings, Inc.
2675   Alex Clare                               I Won't Let You Down                                 SR0000700527           UMG Recordings, Inc.
2676   Alex Clare                               Relax My Beloved                                     SR0000700527           UMG Recordings, Inc.
2677   Alex Clare                               Sanctuary                                            SR0000700527           UMG Recordings, Inc.
2678   Alex Clare                               Treading Water                                       SR0000700527           UMG Recordings, Inc.
2679   Alex Clare                               Up All Night                                         SR0000700527           UMG Recordings, Inc.
2680   Alex Clare                               When Doves Cry                                       SR0000700527           UMG Recordings, Inc.
2681   Alex Clare                               Whispering                                           SR0000700527           UMG Recordings, Inc.
2682   Amy Winehouse                            Cupid                                                SR0000636832           UMG Recordings, Inc.
2683   Amy Winehouse                            Hey Little Rich Girl                                 SR0000636832           UMG Recordings, Inc.
2684   Amy Winehouse                            I Heard Love Is Blind (Live At Concorde)             SR0000614121           UMG Recordings, Inc.
2685   Amy Winehouse                            Love Is A Losing Game (Demo)                         SR0000636832           UMG Recordings, Inc.
2686   Amy Winehouse                            Monkey Man                                           SR0000636832           UMG Recordings, Inc.
2687   Amy Winehouse                            Mr Magic (Through The Smoke) (Janice Long Session)   SR0000614121           UMG Recordings, Inc.
2688   Amy Winehouse                            Round Midnight                                       SR0000614121           UMG Recordings, Inc.
2689   Amy Winehouse                            Some Unholy War (Down Tempo)                         SR0000636832           UMG Recordings, Inc.
2690   Amy Winehouse                            Someone To Watch Over Me                             SR0000614121           UMG Recordings, Inc.
2691   Amy Winehouse                            Stronger Than Me                                     SR0000614121           UMG Recordings, Inc.
2692   Amy Winehouse                            Stronger Than Me (Harmonic 33 Remix)                 SR0000614121           UMG Recordings, Inc.
2693   Amy Winehouse                            To Know Him Is To Love Him (Live)                    SR0000636832           UMG Recordings, Inc.
2694   Amy Winehouse                            Valerie                                              SR0000636832           UMG Recordings, Inc.
2695   Amy Winehouse                            You Know I'm No Good                                 SR0000407451           UMG Recordings, Inc.
2696   Amy Winehouse                            You're Wondering Now                                 SR0000636832           UMG Recordings, Inc.
2697   Ariana Grande                            Problem                                              SR0000743514           UMG Recordings, Inc.
2698   Ariana Grande                            The Way                                              SR0000722427           UMG Recordings, Inc.
2699   Avant                                    4 Minutes                                            SR0000379553           UMG Recordings, Inc.
2700   Avant                                    AV                                                   SR0000339561           UMG Recordings, Inc.
2701   Avant                                    Call On Me                                           SR0000308368           UMG Recordings, Inc.
2702   Avant                                    Destiny                                              SR0000281220           UMG Recordings, Inc.
2703   Avant                                    Director                                             SR0000396388           UMG Recordings, Inc.
2704   Avant                                    Don't Say No, Just Say Yes                           SR0000341102           UMG Recordings, Inc.
2705   Avant                                    Don't Take Your Love Away                            SR0000339561           UMG Recordings, Inc.
2706   Avant                                    Everything About You                                 SR0000339561           UMG Recordings, Inc.
2707   Avant                                    Exclusive                                            SR0000396388           UMG Recordings, Inc.
2708   Avant                                    Feast                                                SR0000339561           UMG Recordings, Inc.
2709   Avant                                    Flickin'                                             SR0000339561           UMG Recordings, Inc.
2710   Avant                                    Get Away                                             SR0000281220           UMG Recordings, Inc.
2711   Avant                                    GPSA (Ghetto Public Service Announcement)            SR0000396388           UMG Recordings, Inc.
2712   Avant                                    Grown Ass Man                                        SR0000396388           UMG Recordings, Inc.
2713   Avant                                    Happy                                                SR0000281220           UMG Recordings, Inc.
2714   Avant                                    Have Some Fun                                        SR0000339561           UMG Recordings, Inc.
2715   Avant                                    Heaven                                               SR0000339561           UMG Recordings, Inc.
2716   Avant                                    Hooked                                               SR0000339561           UMG Recordings, Inc.
2717   Avant                                    I Wanna Know                                         SR0000281220           UMG Recordings, Inc.
2718   Avant                                    Imagination                                          SR0000396388           UMG Recordings, Inc.
2719   Avant                                    Jack & Jill                                          SR0000308368           UMG Recordings, Inc.
2720   Avant                                    Let's Make a Deal                                    SR0000281220           UMG Recordings, Inc.
2721   Avant                                    Lie About Us                                         SR0000396388           UMG Recordings, Inc.
2722   Avant                                    Love School                                          SR0000308368           UMG Recordings, Inc.
2723   Avant                                    Makin' Good Love                                     SR0000308368           UMG Recordings, Inc.
2724   Avant                                    Mr. Dream                                            SR0000396388           UMG Recordings, Inc.
2725   Avant                                    My First Love                                        SR0000281220           UMG Recordings, Inc.
2726   Avant                                    No Limit                                             SR0000308368           UMG Recordings, Inc.
2727   Avant                                    Now You Got Someone                                  SR0000396388           UMG Recordings, Inc.
2728   Avant                                    One Way Street                                       SR0000308368           UMG Recordings, Inc.
2729   Avant                                    Ooh Aah                                              SR0000281220           UMG Recordings, Inc.
2730   Avant                                    Phone Sex (That's What's Up)                         SR0000339561           UMG Recordings, Inc.
2731   Avant                                    Private Room Intro                                   SR0000339561           UMG Recordings, Inc.
2732   Avant                                    Reaction                                             SR0000281220           UMG Recordings, Inc.
2733   Avant                                    Read Your Mind                                       SR0000344351           UMG Recordings, Inc.
2734   Avant                                    Right Place, Wrong Time                              SR0000396388           UMG Recordings, Inc.




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                          Artist                                            Track                     Registration Number                Plaintiff
2735   Avant                                    Seems To Be                                          SR0000339561           UMG Recordings, Inc.
2736   Avant                                    Separated                                            SR0000281220           UMG Recordings, Inc.
2737   Avant                                    Serious                                              SR0000281220           UMG Recordings, Inc.
2738   Avant                                    Six In Da Morning                                    SR0000308368           UMG Recordings, Inc.
2739   Avant                                    So Many Ways                                         SR0000396388           UMG Recordings, Inc.
2740   Avant                                    Sorry                                                SR0000308368           UMG Recordings, Inc.
2741   Avant                                    Suicide                                              SR0000308368           UMG Recordings, Inc.
2742   Avant                                    Thinkin' About You                                   SR0000308368           UMG Recordings, Inc.
2743   Avant                                    This Is Your Night                                   SR0000396388           UMG Recordings, Inc.
2744   Avant                                    This Time                                            SR0000281220           UMG Recordings, Inc.
2745   Avant                                    Wanna Be Close                                       SR0000339561           UMG Recordings, Inc.
2746   Avant                                    What Do You Want                                     SR0000308368           UMG Recordings, Inc.
2747   Avant                                    Why                                                  SR0000281220           UMG Recordings, Inc.
2748   Avant                                    With You                                             SR0000396388           UMG Recordings, Inc.
2749   Avant                                    You                                                  SR0000339561           UMG Recordings, Inc.
2750   Avant                                    You Ain't Right                                      SR0000308368           UMG Recordings, Inc.
2751   Avant                                    You Got Me                                           SR0000339561           UMG Recordings, Inc.
2752   Avant                                    You Know What                                        SR0000378385           UMG Recordings, Inc.
2753   Avicii                                   Levels                                               SR0000698465           UMG Recordings, Inc.
2754   Bad Meets Evil                           A Kiss                                               SR0000678636           UMG Recordings, Inc.
2755   Bad Meets Evil                           Above The Law                                        SR0000678636           UMG Recordings, Inc.
2756   Bad Meets Evil                           Echo                                                 SR0000678636           UMG Recordings, Inc.
2757   Bad Meets Evil                           Fast Lane                                            SR0000678637           UMG Recordings, Inc.
2758   Bad Meets Evil                           I'm On Everything                                    SR0000678636           UMG Recordings, Inc.
2759   Bad Meets Evil                           Lighters                                             SR0000678636           UMG Recordings, Inc.
2760   Bad Meets Evil                           Loud Noises                                          SR0000678636           UMG Recordings, Inc.
2761   Bad Meets Evil                           Take From Me                                         SR0000678636           UMG Recordings, Inc.
2762   Bad Meets Evil                           The Reunion                                          SR0000678636           UMG Recordings, Inc.
2763   Bad Meets Evil                           Welcome 2 Hell                                       SR0000678636           UMG Recordings, Inc.
2764   Bastille                                 Daniel in the Den                                    SR0000753441           UMG Recordings, Inc.
2765   Bastille                                 Durban Skies                                         SR0000728185           UMG Recordings, Inc.
2766   Bastille                                 Flaws                                                SR0000728185           UMG Recordings, Inc.
2767   Bastille                                 Flaws (Live At KOKO)                                 SR0000739260           UMG Recordings, Inc.
2768   Bastille                                 Get Home                                             SR0000753441           UMG Recordings, Inc.
2769   Bastille                                 Haunt                                                SR0000748676           UMG Recordings, Inc.
2770   Bastille                                 Icarus                                               SR0000753441           UMG Recordings, Inc.
2771   Bastille                                 Laughter Lines                                       SR0000748676           UMG Recordings, Inc.
2772   Bastille                                 Oblivion                                             SR0000753441           UMG Recordings, Inc.
2773   Bastille                                 Of The Night                                         SR0000748676           UMG Recordings, Inc.
2774   Bastille                                 Overjoyed                                            SR0000748676           UMG Recordings, Inc.
2775   Bastille                                 Poet                                                 SR0000748676           UMG Recordings, Inc.
2776   Bastille                                 Previously On Other People's Heartache...            SR0000748676           UMG Recordings, Inc.
2777   Bastille                                 Skulls                                               SR0000748676           UMG Recordings, Inc.
2778   Bastille                                 Sleepsong                                            SR0000748676           UMG Recordings, Inc.
2779   Bastille                                 The Draw                                             SR0000748676           UMG Recordings, Inc.
2780   Bastille                                 The Silence                                          SR0000748676           UMG Recordings, Inc.
2781   Bastille                                 These Streets                                        SR0000753441           UMG Recordings, Inc.
2782   Bastille                                 Things We Lost in the Fire                           SR0000753441           UMG Recordings, Inc.
2783   Bastille                                 Tuning Out...                                        SR0000748676           UMG Recordings, Inc.
2784   Bastille                                 Weight of Living, Pt. I                              SR0000753441           UMG Recordings, Inc.
2785   Bastille                                 What Would You Do                                    SR0000748676           UMG Recordings, Inc.
2786   Big Sean                                 Beware                                               SR0000730543           UMG Recordings, Inc.
2787   Big Sean                                 Celebrity                                            SR0000678630           UMG Recordings, Inc.
2788   Big Sean                                 Dance (Ass)                                          SR0000678630           UMG Recordings, Inc.
2789   Big Sean                                 Don't Tell Me You Love Me                            SR0000678630           UMG Recordings, Inc.
2790   Big Sean                                 Get It                                               SR0000678630           UMG Recordings, Inc.
2791   Big Sean                                 High                                                 SR0000678630           UMG Recordings, Inc.
2792   Big Sean                                 Intro                                                SR0000678630           UMG Recordings, Inc.
2793   Big Sean                                 Keys                                                 SR0000678630           UMG Recordings, Inc.
2794   Big Sean                                 Livin This Life                                      SR0000678630           UMG Recordings, Inc.
2795   Big Sean                                 Marvin & Chardonnay                                  SR0000678630           UMG Recordings, Inc.
2796   Big Sean                                 Memories Pt 2                                        SR0000678630           UMG Recordings, Inc.
2797   Big Sean                                 My House                                             SR0000678630           UMG Recordings, Inc.
2798   Big Sean                                 So Much More                                         SR0000678630           UMG Recordings, Inc.
2799   Big Sean                                 Wait For Me                                          SR0000678630           UMG Recordings, Inc.
2800   Big Sean                                 What Goes Around                                     SR0000678630           UMG Recordings, Inc.
2801   Billy Currington                         23 Degrees And South                                 SR0000730540           UMG Recordings, Inc.
2802   Billy Currington                         Another Day Without You                              SR0000730540           UMG Recordings, Inc.
2803   Billy Currington                         Banana Pancakes                                      SR0000730540           UMG Recordings, Inc.




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                          Artist                                            Track                       Registration Number                Plaintiff
2804   Billy Currington                         Closer Tonight                                         SR0000730540           UMG Recordings, Inc.
2805   Billy Currington                         Hallelujah                                             SR0000730540           UMG Recordings, Inc.
2806   Billy Currington                         Hard To Be A Hippie                                    SR0000730540           UMG Recordings, Inc.
2807   Billy Currington                         Hey Girl                                               SR0000730540           UMG Recordings, Inc.
2808   Billy Currington                         Let Me Down Easy                                       SR0000664523           UMG Recordings, Inc.
2809   Billy Currington                         One Way Ticket                                         SR0000730540           UMG Recordings, Inc.
2810   Billy Currington                         We Are Tonight                                         SR0000730540           UMG Recordings, Inc.
2811   Billy Currington                         Wingman                                                SR0000730540           UMG Recordings, Inc.
2812   Black Eyed Peas                          Alive                                                  SR0000633587           UMG Recordings, Inc.
2813   Black Eyed Peas                          Another Weekend                                        SR0000633584           UMG Recordings, Inc.
2814   Black Eyed Peas                          Boom Boom Pow                                          SR0000633584           UMG Recordings, Inc.
2815   Black Eyed Peas                          Don't Bring Me Down                                    SR0000633584           UMG Recordings, Inc.
2816   Black Eyed Peas                          Don't Phunk Around                                     SR0000633584           UMG Recordings, Inc.
2817   Black Eyed Peas                          Electric City                                          SR0000633584           UMG Recordings, Inc.
2818   Black Eyed Peas                          I Gotta Feeling                                        SR0000633584           UMG Recordings, Inc.
2819   Black Eyed Peas                          I Gotta Feeling (FMIF Remix Edit)                      SR0000652380           UMG Recordings, Inc.
2820   Black Eyed Peas                          Imma Be                                                SR0000633585           UMG Recordings, Inc.
2821   Black Eyed Peas                          Let's Get Re-Started                                   SR0000633584           UMG Recordings, Inc.
2822   Black Eyed Peas                          Mare                                                   SR0000633584           UMG Recordings, Inc.
2823   Black Eyed Peas                          Meet Me Halfway                                        SR0000633584           UMG Recordings, Inc.
2824   Black Eyed Peas                          Missing You                                            SR0000633584           UMG Recordings, Inc.
2825   Black Eyed Peas                          Now Generation                                         SR0000633584           UMG Recordings, Inc.
2826   Black Eyed Peas                          One Tribe                                              SR0000633584           UMG Recordings, Inc.
2827   Black Eyed Peas                          Out Of My Head                                         SR0000633584           UMG Recordings, Inc.
2828   Black Eyed Peas                          Party All The Time                                     SR0000633584           UMG Recordings, Inc.
2829   Black Eyed Peas                          Pump It Harder                                         SR0000633584           UMG Recordings, Inc.
2830   Black Eyed Peas                          Ring-A-Ling                                            SR0000633584           UMG Recordings, Inc.
2831   Black Eyed Peas                          Rock That Body                                         SR0000633584           UMG Recordings, Inc.
2832   Black Eyed Peas                          Rockin To The Beat                                     SR0000633584           UMG Recordings, Inc.
2833   Black Eyed Peas                          Showdown                                               SR0000633584           UMG Recordings, Inc.
2834   Black Eyed Peas                          Shut Up                                                SR0000347870           UMG Recordings, Inc.
2835   Black Eyed Peas                          Simple Little Melody                                   SR0000633584           UMG Recordings, Inc.
2836   Black Eyed Peas                          That's The Joint                                       SR0000633584           UMG Recordings, Inc.
2837   Black Eyed Peas                          Where Ya Wanna Go                                      SR0000633584           UMG Recordings, Inc.
2838   Blue October                             18th Floor Balcony                                     SR0000388117           UMG Recordings, Inc.
2839   Blue October                             Congratulations                                        SR0000388117           UMG Recordings, Inc.
2840   Blue October                             Drilled A Wire Through My Cheek                        SR0000388117           UMG Recordings, Inc.
2841   Blue October                             Everlasting Friend                                     SR0000388117           UMG Recordings, Inc.
2842   Blue October                             Hate Me                                                SR0000388117           UMG Recordings, Inc.
2843   Blue October                             Into The Ocean                                         SR0000388117           UMG Recordings, Inc.
2844   Blue October                             Let It Go                                              SR0000388117           UMG Recordings, Inc.
2845   Blue October                             Overweight                                             SR0000388117           UMG Recordings, Inc.
2846   Blue October                             She's My Ride Home                                     SR0000388117           UMG Recordings, Inc.
2847   Blue October                             Sound Of Pulling Heaven Down                           SR0000388117           UMG Recordings, Inc.
2848   Blue October                             What If We Could                                       SR0000388117           UMG Recordings, Inc.
2849   Blue October                             X-Amount Of Words                                      SR0000388117           UMG Recordings, Inc.
2850   Blue October                             You Make Me Smile                                      SR0000615154           UMG Recordings, Inc.
2851   Bob Marley                               Buffalo Soldier                                        SR0000045126           UMG Recordings, Inc.
2852   Bob Marley                               Could You Be Loved                                     SR0000020594           UMG Recordings, Inc.
2853   Bob Marley                               Mr Brown                                               SR0000152585           UMG Recordings, Inc.
2854   Bob Marley                               One Love                                               RE0000926868           UMG Recordings, Inc.
                                                                                                       N48538
2855 Bob Marley                                 Three Little Birds                                                            UMG Recordings, Inc.
                                                                                                       RE0000926868
                                                                                                       N48538
2856 Bob Marley & The Wailers                   Exodus                                                                        UMG Recordings, Inc.
                                                                                                       RE0000926868
                                                                                                       NF137
2857 Bob Marley & The Wailers                   Get Up, Stand Up                                                              UMG Recordings, Inc.
                                                                                                       RE0000931699
                                                                                                       N48538
2858 Bob Marley & The Wailers                   Jamming                                                                       UMG Recordings, Inc.
                                                                                                       RE0000926868
2859 Bob Marley & The Wailers                   Misty Morning                                          SR0000001122           UMG Recordings, Inc.
                                                                                                       NF2048
2860 Bob Marley & The Wailers                   No Woman, No Cry                                                              UMG Recordings, Inc.
                                                                                                       RE0000906116
2861 Bob Marley & The Wailers                   Rebel Music (3 O'Clock Roadblock)                      RE0000906116           UMG Recordings, Inc.
2862 Bob Marley & The Wailers                   Redemption Song                                        SR0000019502           UMG Recordings, Inc.
2863 Bob Marley & The Wailers                   Satisfy My Soul                                        SR0000001122           UMG Recordings, Inc.
                                                                                                       N48538
2864 Bob Marley & the Wailers                   So Much Things To Say                                                         UMG Recordings, Inc.
                                                                                                       RE0000926868
                                                                                                       N8793
2865 Bob Marley & the Wailers                   Stir It Up                                                                    UMG Recordings, Inc.
                                                                                                       RE0000860333




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                     Artist                                               Track                      Registration Number                Plaintiff
2866 Bob Marley & The Wailers                   Time Will Tell                                      SR0000001122           UMG Recordings, Inc.
                                                                                                    N48538
2867 Bob Marley & The Wailers                   Waiting In Vain                                                            UMG Recordings, Inc.
                                                                                                    RE0000926868
2868   Bob Marley & The Wailers                 Who The Cap Fit                                     SR0000323536           UMG Recordings, Inc.
2869   Carly Rae Jepsen                         Beautiful                                           SR0000738473           UMG Recordings, Inc.
2870   Carly Rae Jepsen                         Curiosity                                           SR0000738473           UMG Recordings, Inc.
2871   Carly Rae Jepsen                         Drive                                               SR0000738473           UMG Recordings, Inc.
2872   Carly Rae Jepsen                         Guitar String / Wedding Ring                        SR0000738473           UMG Recordings, Inc.
2873   Carly Rae Jepsen                         Hurt So Good                                        SR0000738473           UMG Recordings, Inc.
2874   Carly Rae Jepsen                         I Know You Have A Girlfriend                        SR0000738473           UMG Recordings, Inc.
2875   Carly Rae Jepsen                         More Than A Memory                                  SR0000738473           UMG Recordings, Inc.
2876   Carly Rae Jepsen                         Sweetie                                             SR0000738473           UMG Recordings, Inc.
2877   Carly Rae Jepsen                         This Kiss                                           SR0000738473           UMG Recordings, Inc.
2878   Carly Rae Jepsen                         Tiny Little Bows                                    SR0000738473           UMG Recordings, Inc.
2879   Carly Rae Jepsen                         Tonight I'm Getting Over You                        SR0000738473           UMG Recordings, Inc.
2880   Carly Rae Jepsen                         Turn Me Up                                          SR0000738473           UMG Recordings, Inc.
2881   Carly Rae Jepsen                         Wrong Feels So Right                                SR0000738473           UMG Recordings, Inc.
2882   Carly Rae Jepsen                         Your Heart Is A Muscle                              SR0000738473           UMG Recordings, Inc.
2883   Chamillionaire                           Bad Guy                                             SR0000385655           UMG Recordings, Inc.
2884   Chamillionaire                           Fly As The Sky                                      SR0000381901           UMG Recordings, Inc.
2885   Chamillionaire                           Frontin'                                            SR0000381901           UMG Recordings, Inc.
2886   Chamillionaire                           Grown and Sexy                                      SR0000381901           UMG Recordings, Inc.
2887   Chamillionaire                           In The Trunk                                        SR0000381901           UMG Recordings, Inc.
2888   Chamillionaire                           No Snitchin'                                        SR0000381901           UMG Recordings, Inc.
2889   Chamillionaire                           Outro                                               SR0000381901           UMG Recordings, Inc.
2890   Chamillionaire                           Peepin' Me                                          SR0000381901           UMG Recordings, Inc.
2891   Chamillionaire                           Picture Perfect                                     SR0000381901           UMG Recordings, Inc.
2892   Chamillionaire                           Radio Interruption                                  SR0000381901           UMG Recordings, Inc.
2893   Chamillionaire                           Rain                                                SR0000381901           UMG Recordings, Inc.
2894   Chamillionaire                           Ridin'                                              SR0000381901           UMG Recordings, Inc.
2895   Chamillionaire                           Southern Takeover                                   SR0000381901           UMG Recordings, Inc.
2896   Chamillionaire                           Think I'm Crazy                                     SR0000381901           UMG Recordings, Inc.
2897   Chamillionaire                           Turn It Up                                          SR0000381901           UMG Recordings, Inc.
2898   Chamillionaire                           Void In My Life                                     SR0000381901           UMG Recordings, Inc.
2899   Colbie Caillat                           Battle                                              SR0000620297           UMG Recordings, Inc.
2900   Colbie Caillat                           Brand New Me                                        SR0000619237           UMG Recordings, Inc.
2901   Colbie Caillat                           Bubbly                                              SR0000620297           UMG Recordings, Inc.
2902   Colbie Caillat                           Capri                                               SR0000620297           UMG Recordings, Inc.
2903   Colbie Caillat                           Circles                                             SR0000619237           UMG Recordings, Inc.
2904   Colbie Caillat                           Don't Hold Me Down                                  SR0000637479           UMG Recordings, Inc.
2905   Colbie Caillat                           Dreams Collide                                      SR0000620297           UMG Recordings, Inc.
2906   Colbie Caillat                           Feelings Show                                       SR0000620297           UMG Recordings, Inc.
2907   Colbie Caillat                           Hold Your Head High                                 SR0000637479           UMG Recordings, Inc.
2908   Colbie Caillat                           Hoy Me Voy                                          SR0000619237           UMG Recordings, Inc.
2909   Colbie Caillat                           Magic                                               SR0000620297           UMG Recordings, Inc.
2910   Colbie Caillat                           Midnight Bottle                                     SR0000620297           UMG Recordings, Inc.
2911   Colbie Caillat                           Never Let You Go                                    SR0000637479           UMG Recordings, Inc.
2912   Colbie Caillat                           One Fine Wire                                       SR0000620297           UMG Recordings, Inc.
2913   Colbie Caillat                           Out of My Mind                                      SR0000637479           UMG Recordings, Inc.
2914   Colbie Caillat                           Oxygen                                              SR0000620297           UMG Recordings, Inc.
2915   Colbie Caillat                           Realize                                             SR0000620297           UMG Recordings, Inc.
2916   Colbie Caillat                           Somethin' Special                                   SR0000615614           UMG Recordings, Inc.
2917   Colbie Caillat                           Stay With Me                                        SR0000637479           UMG Recordings, Inc.
2918   Colbie Caillat                           Tailor Made                                         SR0000620297           UMG Recordings, Inc.
2919   Colbie Caillat                           Tell Him                                            SR0000619237           UMG Recordings, Inc.
2920   Colbie Caillat                           The Little Things                                   SR0000620297           UMG Recordings, Inc.
2921   Colbie Caillat                           Tied Down                                           SR0000620297           UMG Recordings, Inc.
2922   Colbie Caillat                           Turn Your Lights Down Low                           SR0000619237           UMG Recordings, Inc.
2923   Colbie Caillat                           What I Wanted to Say                                SR0000637479           UMG Recordings, Inc.
2924   Disclosure                               Latch                                               SR0000724303           UMG Recordings, Inc.
2925   Dr. Dre                                  I Need A Doctor                                     SR0000674469           UMG Recordings, Inc.
2926   Easton Corbin                            A Thing For You                                     SR0000709974           UMG Recordings, Inc.
2927   Easton Corbin                            All Over The Road                                   SR0000709974           UMG Recordings, Inc.
2928   Easton Corbin                            Are You With Me                                     SR0000709974           UMG Recordings, Inc.
2929   Easton Corbin                            Dance Real Slow                                     SR0000709974           UMG Recordings, Inc.
2930   Easton Corbin                            Hearts Drawn In The Sand                            SR0000709972           UMG Recordings, Inc.
2931   Easton Corbin                            I Think Of You                                      SR0000709974           UMG Recordings, Inc.
2932   Easton Corbin                            Only A Girl                                         SR0000710243           UMG Recordings, Inc.
2933   Easton Corbin                            That's Gonna Leave A Memory                         SR0000709974           UMG Recordings, Inc.




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                        Artist                                              Track                      Registration Number                Plaintiff
2934   Easton Corbin                            This Feels A Lot Like Love                            SR0000709974           UMG Recordings, Inc.
2935   Easton Corbin                            Tulsa Texas                                           SR0000709974           UMG Recordings, Inc.
2936   Eli Young Band                           Every Other Memory                                    SR0000684024           UMG Recordings, Inc.
2937   Eli Young Band                           How Quickly You Forget                                SR0000684024           UMG Recordings, Inc.
2938   Eli Young Band                           Life At Best                                          SR0000684024           UMG Recordings, Inc.
2939   Eli Young Band                           My Old Man's Son                                      SR0000684024           UMG Recordings, Inc.
2940   Eli Young Band                           On My Way                                             SR0000684024           UMG Recordings, Inc.
2941   Eli Young Band                           Recover                                               SR0000684024           UMG Recordings, Inc.
2942   Eli Young Band                           Say Goodnight                                         SR0000684024           UMG Recordings, Inc.
2943   Eli Young Band                           The Falling                                           SR0000684024           UMG Recordings, Inc.
2944   Eli Young Band                           War On A Desperate Man                                SR0000684024           UMG Recordings, Inc.
2945   Ellie Goulding                           Anything Could Happen                                 SR0000709961           UMG Recordings, Inc.
2946   Ellie Goulding                           Atlantis                                              SR0000709960           UMG Recordings, Inc.
2947   Ellie Goulding                           Dead In The Water                                     SR0000709960           UMG Recordings, Inc.
2948   Ellie Goulding                           Don't Say A Word                                      SR0000709960           UMG Recordings, Inc.
2949   Ellie Goulding                           Explosions                                            SR0000709960           UMG Recordings, Inc.
2950   Ellie Goulding                           Figure 8                                              SR0000709960           UMG Recordings, Inc.
2951   Ellie Goulding                           Halcyon                                               SR0000709960           UMG Recordings, Inc.
2952   Ellie Goulding                           Hanging On                                            SR0000709960           UMG Recordings, Inc.
2953   Ellie Goulding                           I Know You Care                                       SR0000709960           UMG Recordings, Inc.
2954   Ellie Goulding                           In My City                                            SR0000709960           UMG Recordings, Inc.
2955   Ellie Goulding                           Joy                                                   SR0000709960           UMG Recordings, Inc.
2956   Ellie Goulding                           My Blood                                              SR0000709960           UMG Recordings, Inc.
2957   Ellie Goulding                           Only You                                              SR0000709960           UMG Recordings, Inc.
2958   Ellie Goulding                           Ritual                                                SR0000709960           UMG Recordings, Inc.
2959   Ellie Goulding                           Roscoe                                                SR0000752677           UMG Recordings, Inc.
2960   Ellie Goulding                           The End                                               SR0000752677           UMG Recordings, Inc.
2961   Ellie Goulding                           Without Your Love                                     SR0000709960           UMG Recordings, Inc.
2962   Elliott Smith                            A Question Mark                                       SR0000241677           UMG Recordings, Inc.
2963   Elliott Smith                            Amity                                                 SR0000241677           UMG Recordings, Inc.
2964   Elliott Smith                            Baby Britain                                          SR0000241677           UMG Recordings, Inc.
2965   Elliott Smith                            Better Be Quiet Now                                   SR0000280584           UMG Recordings, Inc.
2966   Elliott Smith                            Bled White                                            SR0000241677           UMG Recordings, Inc.
2967   Elliott Smith                            Bottle Up And Explode!                                SR0000241677           UMG Recordings, Inc.
2968   Elliott Smith                            Bye                                                   SR0000280584           UMG Recordings, Inc.
2969   Elliott Smith                            Can't Make A Sound                                    SR0000280584           UMG Recordings, Inc.
2970   Elliott Smith                            Colorbars                                             SR0000280584           UMG Recordings, Inc.
2971   Elliott Smith                            Easy Way Out                                          SR0000280584           UMG Recordings, Inc.
2972   Elliott Smith                            Everybody Cares, Everybody Understands                SR0000241677           UMG Recordings, Inc.
2973   Elliott Smith                            Everything Reminds Me Of Her                          SR0000280584           UMG Recordings, Inc.
2974   Elliott Smith                            I Didn't Understand                                   SR0000241677           UMG Recordings, Inc.
2975   Elliott Smith                            In The Lost And Found (Honky Bach)/The Roost          SR0000280584           UMG Recordings, Inc.
2976   Elliott Smith                            Independence Day                                      SR0000241677           UMG Recordings, Inc.
2977   Elliott Smith                            Junk Bond Trader                                      SR0000280584           UMG Recordings, Inc.
2978   Elliott Smith                            Oh Well, okay                                         SR0000241677           UMG Recordings, Inc.
2979   Elliott Smith                            Pitseleh                                              SR0000241677           UMG Recordings, Inc.
2980   Elliott Smith                            Pretty Mary K                                         SR0000280584           UMG Recordings, Inc.
2981   Elliott Smith                            Somebody That I Used To Know                          SR0000280584           UMG Recordings, Inc.
2982   Elliott Smith                            Stupidity Tries                                       SR0000280584           UMG Recordings, Inc.
2983   Elliott Smith                            Sweet Adeline                                         SR0000241677           UMG Recordings, Inc.
2984   Elliott Smith                            Tomorrow Tomorrow                                     SR0000241677           UMG Recordings, Inc.
2985   Elliott Smith                            Waltz #1                                              SR0000241677           UMG Recordings, Inc.
2986   Elliott Smith                            Wouldn't Mama Be Proud?                               SR0000280584           UMG Recordings, Inc.
2987   Elton John                               Bennie And The Jets                                   N10950                 UMG Recordings, Inc.
2988   Elton John                               Bennie And The Jets (Live)                            SR0000622999           UMG Recordings, Inc.
2989   Elton John                               Crocodile Rock                                        N6758                  UMG Recordings, Inc.
                                                                                                      N0511
2990 Elton John                                 Don't Let The Sun Go Down On Me                                              UMG Recordings, Inc.
                                                                                                      RE0000866913
2991 Elton John                                 I Guess That's Why They Call It The Blues             SR0000045784           UMG Recordings, Inc.
2992 Elton John                                 I Want Love                                           SR0000303795           UMG Recordings, Inc.
                                                                                                      N22622
2993 Elton John                                 Philadelphia Freedom                                                         UMG Recordings, Inc.
                                                                                                      RE0000887755
2994   Elton John                               Saturday Night's Alright For Fighting                 N10950                 UMG Recordings, Inc.
2995   Elton John                               Tinderbox                                             SR0000396047           UMG Recordings, Inc.
2996   Eminem                                   25 To Life                                            SR0000653572           UMG Recordings, Inc.
2997   Eminem                                   3 a.m.                                                SR0000633152           UMG Recordings, Inc.
2998   Eminem                                   8 Mile                                                SR0000322706           UMG Recordings, Inc.
2999   Eminem                                   Almost Famous                                         SR0000653572           UMG Recordings, Inc.
3000   Eminem                                   Ass Like That                                         SR0000364769           UMG Recordings, Inc.




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                        Artist                                           Track                      Registration Number                Plaintiff
3001   Eminem                                   Bagpipes From Baghdad                              SR0000633152           UMG Recordings, Inc.
3002   Eminem                                   Beautiful                                          SR0000633152           UMG Recordings, Inc.
3003   Eminem                                   Berzerk                                            SR0000729822           UMG Recordings, Inc.
3004   Eminem                                   Big Weenie                                         SR0000364769           UMG Recordings, Inc.
3005   Eminem                                   Business                                           SR0000317924           UMG Recordings, Inc.
3006   Eminem                                   Cinderella Man                                     SR0000653572           UMG Recordings, Inc.
3007   Eminem                                   Cleanin' Out My Closet                             SR0000317924           UMG Recordings, Inc.
3008   Eminem                                   Cold Wind Blows                                    SR0000653572           UMG Recordings, Inc.
3009   Eminem                                   Crack A Bottle                                     SR0000642488           UMG Recordings, Inc.
3010   Eminem                                   Crazy In Love                                      SR0000364769           UMG Recordings, Inc.
3011   Eminem                                   Curtains Close (Skit)                              SR0000317924           UMG Recordings, Inc.
3012   Eminem                                   Curtains Up                                        SR0000364769           UMG Recordings, Inc.
3013   Eminem                                   Deja Vu                                            SR0000633152           UMG Recordings, Inc.
3014   Eminem                                   Dr. West                                           SR0000633152           UMG Recordings, Inc.
3015   Eminem                                   Drips                                              SR0000317924           UMG Recordings, Inc.
3016   Eminem                                   Em Calls Paul                                      SR0000364769           UMG Recordings, Inc.
3017   Eminem                                   Encore                                             SR0000364769           UMG Recordings, Inc.
3018   Eminem                                   Encore/Curtains Down                               SR0000364769           UMG Recordings, Inc.
3019   Eminem                                   Evil Deeds                                         SR0000364769           UMG Recordings, Inc.
3020   Eminem                                   FACK                                               SR0000382840           UMG Recordings, Inc.
3021   Eminem                                   Final Thought (Skit)                               SR0000364769           UMG Recordings, Inc.
3022   Eminem                                   Go To Sleep                                        SR0000327127           UMG Recordings, Inc.
3023   Eminem                                   Going Through Changes                              SR0000653572           UMG Recordings, Inc.
3024   Eminem                                   Guilty Conscience                                  SR0000262686           UMG Recordings, Inc.
3025   Eminem                                   Hailie's Song                                      SR0000317924           UMG Recordings, Inc.
3026   Eminem                                   Hello                                              SR0000633152           UMG Recordings, Inc.
3027   Eminem                                   Insane                                             SR0000633152           UMG Recordings, Inc.
3028   Eminem                                   Intro                                              SR0000382840           UMG Recordings, Inc.
3029   Eminem                                   Jimmy Crack Corn                                   SR0000405877           UMG Recordings, Inc.
3030   Eminem                                   Just Don't Give A Fuck                             SR0000262686           UMG Recordings, Inc.
3031   Eminem                                   Just Lose It                                       SR0000362082           UMG Recordings, Inc.
3032   Eminem                                   Like Toy Soldiers                                  SR0000364769           UMG Recordings, Inc.
3033   Eminem                                   Lose Yourself                                      SR0000322706           UMG Recordings, Inc.
3034   Eminem                                   Love The Way You Lie                               SR0000653572           UMG Recordings, Inc.
3035   Eminem                                   Love You More                                      SR0000364769           UMG Recordings, Inc.
3036   Eminem                                   Medicine Ball                                      SR0000633152           UMG Recordings, Inc.
3037   Eminem                                   Mockingbird                                        SR0000364769           UMG Recordings, Inc.
3038   Eminem                                   Mosh                                               SR0000364769           UMG Recordings, Inc.
3039   Eminem                                   Mr. Mathers                                        SR0000633152           UMG Recordings, Inc.
3040   Eminem                                   Must Be The Ganja                                  SR0000633152           UMG Recordings, Inc.
3041   Eminem                                   My 1st Single                                      SR0000364769           UMG Recordings, Inc.
3042   Eminem                                   My Dad's Gone Crazy                                SR0000317924           UMG Recordings, Inc.
3043   Eminem                                   My Fault                                           SR0000262686           UMG Recordings, Inc.
3044   Eminem                                   My Mom                                             SR0000633152           UMG Recordings, Inc.
3045   Eminem                                   Never Enough                                       SR0000364769           UMG Recordings, Inc.
3046   Eminem                                   No Apologies                                       SR0000401289           UMG Recordings, Inc.
3047   Eminem                                   No Love                                            SR0000653572           UMG Recordings, Inc.
3048   Eminem                                   Not Afraid                                         SR0000653571           UMG Recordings, Inc.
3049   Eminem                                   Old Time's Sake                                    SR0000633157           UMG Recordings, Inc.
3050   Eminem                                   On Fire                                            SR0000653572           UMG Recordings, Inc.
3051   Eminem                                   One Shot 2 Shot                                    SR0000364769           UMG Recordings, Inc.
3052   Eminem                                   Paul                                               SR0000364769           UMG Recordings, Inc.
3053   Eminem                                   Public Enemy #1                                    SR0000401289           UMG Recordings, Inc.
3054   Eminem                                   Puke                                               SR0000364769           UMG Recordings, Inc.
3055   Eminem                                   Rabbit Run                                         SR0000322706           UMG Recordings, Inc.
3056   Eminem                                   Rain Man                                           SR0000364769           UMG Recordings, Inc.
3057   Eminem                                   Ricky Ticky Toc                                    SR0000364769           UMG Recordings, Inc.
3058   Eminem                                   Ridaz                                              SR0000659181           UMG Recordings, Inc.
3059   Eminem                                   Same Song & Dance                                  SR0000633152           UMG Recordings, Inc.
3060   Eminem                                   Say Goodbye Hollywood                              SR0000317924           UMG Recordings, Inc.
3061   Eminem                                   Say What You Say                                   SR0000317924           UMG Recordings, Inc.
3062   Eminem                                   Seduction                                          SR0000653572           UMG Recordings, Inc.
3063   Eminem                                   Session One                                        SR0000659181           UMG Recordings, Inc.
3064   Eminem                                   Shake That                                         SR0000382840           UMG Recordings, Inc.
3065   Eminem                                   Sing For The Moment                                SR0000317924           UMG Recordings, Inc.
3066   Eminem                                   So Bad                                             SR0000653572           UMG Recordings, Inc.
3067   Eminem                                   Soldier                                            SR0000317924           UMG Recordings, Inc.
3068   Eminem                                   Space Bound                                        SR0000653572           UMG Recordings, Inc.
3069   Eminem                                   Spend Some Time                                    SR0000262686           UMG Recordings, Inc.




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                        Artist                                              Track                       Registration Number                Plaintiff
3070   Eminem                                   Square Dance                                           SR0000317924           UMG Recordings, Inc.
3071   Eminem                                   Stan (Live)                                            SR0000382840           UMG Recordings, Inc.
3072   Eminem                                   Stay Wide Awake                                        SR0000642488           UMG Recordings, Inc.
3073   Eminem                                   Still Don't Give                                       SR0000262686           UMG Recordings, Inc.
3074   Eminem                                   Superman                                               SR0000317924           UMG Recordings, Inc.
3075   Eminem                                   Talkin' 2 Myself                                       SR0000653572           UMG Recordings, Inc.
3076   Eminem                                   The Kiss (Skit)                                        SR0000317924           UMG Recordings, Inc.
3077   Eminem                                   The Monster                                            SR0000735449           UMG Recordings, Inc.
3078   Eminem                                   The Re-Up                                              SR0000401289           UMG Recordings, Inc.
3079   Eminem                                   The Real Slim Shady                                    SR0000293541           UMG Recordings, Inc.
3080   Eminem                                   The Way I Am                                           SR0000287944           UMG Recordings, Inc.
3081   Eminem                                   Till I Collapse                                        SR0000317924           UMG Recordings, Inc.
3082   Eminem                                   Tonya                                                  SR0000633152           UMG Recordings, Inc.
3083   Eminem                                   Underground                                            SR0000633152           UMG Recordings, Inc.
3084   Eminem                                   Untitled                                               SR0000653572           UMG Recordings, Inc.
3085   Eminem                                   W.T.P.                                                 SR0000653572           UMG Recordings, Inc.
3086   Eminem                                   We As Americans                                        SR0000364769           UMG Recordings, Inc.
3087   Eminem                                   We Made You                                            SR0000642488           UMG Recordings, Inc.
3088   Eminem                                   When I'm Gone                                          SR0000382840           UMG Recordings, Inc.
3089   Eminem                                   When The Music Stops                                   SR0000317924           UMG Recordings, Inc.
3090   Eminem                                   White America                                          SR0000317924           UMG Recordings, Inc.
3091   Eminem                                   Without Me                                             SR0000317924           UMG Recordings, Inc.
3092   Eminem                                   Won't Back Down                                        SR0000653572           UMG Recordings, Inc.
3093   Eminem                                   Yellow Brick Road                                      SR0000364769           UMG Recordings, Inc.
3094   Eminem                                   You Don't Know                                         SR0000400225           UMG Recordings, Inc.
3095   Eminem                                   You're Never Over                                      SR0000653572           UMG Recordings, Inc.
3096   Eric Clapton                             Cocaine                                                SR0000001112           UMG Recordings, Inc.
3097   Eric Clapton                             I Shot The Sheriff                                     SR0000742060           UMG Recordings, Inc.
3098   Eric Clapton                             Knockin' On Heaven's Door                              SR0000742060           UMG Recordings, Inc.
                                                                                                       N16809
3099 Eric Clapton                               Let It Grow                                                                   UMG Recordings, Inc.
                                                                                                       RE0000866829
3100   Eric Clapton                             Promises                                               SR0000630877           UMG Recordings, Inc.
3101   Eric Clapton                             Swing Low Sweet Chariot                                SR0000613979           UMG Recordings, Inc.
3102   Fall Out Boy                             27                                                     SR0000620008           UMG Recordings, Inc.
3103   Fall Out Boy                             (Coffee's For Closers)                                 SR0000620008           UMG Recordings, Inc.
3104   Fall Out Boy                             20 Dollar Nose Bleed                                   SR0000620008           UMG Recordings, Inc.
3105   Fall Out Boy                             Alone Together                                         SR0000720423           UMG Recordings, Inc.
3106   Fall Out Boy                             America's Suitehearts                                  SR0000620002           UMG Recordings, Inc.
3107   Fall Out Boy                             Beat It                                                SR0000612454           UMG Recordings, Inc.
3108   Fall Out Boy                             Death Valley                                           SR0000720423           UMG Recordings, Inc.
3109   Fall Out Boy                             Disloyal Order Of Water Buffaloes                      SR0000620008           UMG Recordings, Inc.
3110   Fall Out Boy                             Headfirst Slide Into Cooperstown On A Bad Bet          SR0000620008           UMG Recordings, Inc.
3111   Fall Out Boy                             Just One Yesterday                                     SR0000720423           UMG Recordings, Inc.
3112   Fall Out Boy                             Miss Missing You                                       SR0000720423           UMG Recordings, Inc.
3113   Fall Out Boy                             My Songs Know What You Did In The Dark (Light Em Up)   SR0000720423           UMG Recordings, Inc.
3114   Fall Out Boy                             Pavlove                                                SR0000620008           UMG Recordings, Inc.
3115   Fall Out Boy                             Rat A Tat                                              SR0000720423           UMG Recordings, Inc.
3116   Fall Out Boy                             Save Rock And Roll                                     SR0000720423           UMG Recordings, Inc.
3117   Fall Out Boy                             She's My Winona                                        SR0000620008           UMG Recordings, Inc.
3118   Fall Out Boy                             The (Shipped) Gold Standard                            SR0000620008           UMG Recordings, Inc.
3119   Fall Out Boy                             The Mighty Fall                                        SR0000720423           UMG Recordings, Inc.
3120   Fall Out Boy                             The Phoenix                                            SR0000720423           UMG Recordings, Inc.
3121   Fall Out Boy                             Tiffany Blews                                          SR0000620008           UMG Recordings, Inc.
3122   Fall Out Boy                             w.a.m.s.                                               SR0000620008           UMG Recordings, Inc.
3123   Fall Out Boy                             West Coast Smoker                                      SR0000620008           UMG Recordings, Inc.
3124   Fall Out Boy                             What A Catch, Donnie                                   SR0000620003           UMG Recordings, Inc.
3125   Fall Out Boy                             Where Did The Party Go                                 SR0000720423           UMG Recordings, Inc.
3126   Fall Out Boy                             Young Volcanoes                                        SR0000720423           UMG Recordings, Inc.
3127   Far East Movement                        Like A G6                                              SR0000658290           UMG Recordings, Inc.
3128   Feist                                    Gatekeeper                                             SR0000374394           UMG Recordings, Inc.
3129   Feist                                    Inside And Out                                         SR0000374394           UMG Recordings, Inc.
3130   Feist                                    Leisure Suite                                          SR0000374394           UMG Recordings, Inc.
3131   Feist                                    Let It Die                                             SR0000374394           UMG Recordings, Inc.
3132   Feist                                    Lonely Lonely                                          SR0000374394           UMG Recordings, Inc.
3133   Feist                                    Mushaboom                                              SR0000388836           UMG Recordings, Inc.
3134   Feist                                    Now At Last                                            SR0000374394           UMG Recordings, Inc.
3135   Feist                                    One Evening                                            SR0000374394           UMG Recordings, Inc.
3136   Feist                                    Secret Heart                                           SR0000374394           UMG Recordings, Inc.
3137   Feist                                    Tout Doucement                                         SR0000374394           UMG Recordings, Inc.




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                         Artist                                                 Track               Registration Number                Plaintiff
3138   Feist                                    When I Was A Young Girl                            SR0000374394           UMG Recordings, Inc.
3139   Fergie                                   All That I Got (The Make Up Song)                  SR0000393675           UMG Recordings, Inc.
3140   Fergie                                   Barracuda                                          SR0000613597           UMG Recordings, Inc.
3141   Fergie                                   Big Girls Don't Cry (Personal)                     SR0000393675           UMG Recordings, Inc.
3142   Fergie                                   Clumsy                                             SR0000393675           UMG Recordings, Inc.
3143   Fergie                                   Fergalicious                                       SR0000393675           UMG Recordings, Inc.
3144   Fergie                                   Finally                                            SR0000393675           UMG Recordings, Inc.
3145   Fergie                                   Glamorous                                          SR0000393675           UMG Recordings, Inc.
3146   Fergie                                   Here I Come                                        SR0000393675           UMG Recordings, Inc.
3147   Fergie                                   Labels Or Love                                     SR0000613598           UMG Recordings, Inc.
3148   Fergie                                   London Bridge                                      SR0000399946           UMG Recordings, Inc.
3149   Fergie                                   Losing My Ground                                   SR0000393675           UMG Recordings, Inc.
3150   Fergie                                   Mary Jane Shoes                                    SR0000393675           UMG Recordings, Inc.
3151   Fergie                                   Pedestal                                           SR0000393675           UMG Recordings, Inc.
3152   Fergie                                   Velvet                                             SR0000393675           UMG Recordings, Inc.
3153   Fergie                                   Voodoo Doll                                        SR0000393675           UMG Recordings, Inc.
3154   Florence + The Machine                   Between Two Lungs                                  SR0000645045           UMG Recordings, Inc.
3155   Florence + The Machine                   Blinding                                           SR0000645045           UMG Recordings, Inc.
3156   Florence + The Machine                   Cosmic Love                                        SR0000645045           UMG Recordings, Inc.
3157   Florence + The Machine                   Dog Days Are Over                                  SR0000645045           UMG Recordings, Inc.
3158   Florence + The Machine                   Girl With One Eye                                  SR0000645045           UMG Recordings, Inc.
3159   Florence + The Machine                   Howl                                               SR0000645045           UMG Recordings, Inc.
3160   Florence + The Machine                   Hurricane Drunk                                    SR0000645045           UMG Recordings, Inc.
3161   Florence + The Machine                   I'm Not Calling You A Liar                         SR0000645045           UMG Recordings, Inc.
3162   Florence + The Machine                   My Boy Builds Coffins                              SR0000645045           UMG Recordings, Inc.
3163   Florence + The Machine                   Rabbit Heart (Raise It Up)                         SR0000645045           UMG Recordings, Inc.
3164   Florence + The Machine                   You've Got The Love                                SR0000645045           UMG Recordings, Inc.
3165   Florida Georgia Line                     Angel                                              SR0000760519           UMG Recordings, Inc.
3166   Florida Georgia Line                     Bumpin' The Night                                  SR0000760522           UMG Recordings, Inc.
3167   Florida Georgia Line                     Dirt                                               SR0000760519           UMG Recordings, Inc.
3168   Frank Ocean                              Super Rich Kids                                    SR0000704928           UMG Recordings, Inc.
3169   Frank Ocean                              Sweet Life                                         SR0000704928           UMG Recordings, Inc.
3170   George Strait                            A Fire I Can't Put Out                             SR0000213745           UMG Recordings, Inc.
3171   George Strait                            Ace In The Hole                                    SR0000100975           UMG Recordings, Inc.
3172   George Strait                            Adalida                                            SR0000278184           UMG Recordings, Inc.
3173   George Strait                            All My Ex's Live In Texas                          SR0000358502           UMG Recordings, Inc.
3174   George Strait                            Am I Blue (Yes I'm Blue)                           SR0000213745           UMG Recordings, Inc.
3175   George Strait                            Amarillo By Morning                                SR0000213745           UMG Recordings, Inc.
3176   George Strait                            Baby Blue                                          SR0000358502           UMG Recordings, Inc.
3177   George Strait                            Baby's Gotten Good At Goodbye                      SR0000100975           UMG Recordings, Inc.
3178   George Strait                            Blue Clear Sky                                     SR0000358502           UMG Recordings, Inc.
3179   George Strait                            Carried Away                                       SR0000358502           UMG Recordings, Inc.
3180   George Strait                            Carrying Your Love With Me                         SR0000358502           UMG Recordings, Inc.
3181   George Strait                            Check Yes Or No                                    SR0000213745           UMG Recordings, Inc.
3182   George Strait                            Cowboys Like Us                                    SR0000333733           UMG Recordings, Inc.
3183   George Strait                            Desperately                                        SR0000334394           UMG Recordings, Inc.
3184   George Strait                            Does Fort Worth Ever Cross Your Mind               SR0000213745           UMG Recordings, Inc.
3185   George Strait                            Don't Make Me Come Over There And Love You         SR0000270094           UMG Recordings, Inc.
3186   George Strait                            Down And Out                                       SR0000030829           UMG Recordings, Inc.
3187   George Strait                            Drinking Champagne                                 SR0000213745           UMG Recordings, Inc.
3188   George Strait                            Easy Come, Easy Go                                 SR0000213745           UMG Recordings, Inc.
3189   George Strait                            Famous Last Words Of A Fool                        SR0000358502           UMG Recordings, Inc.
3190   George Strait                            Fool Hearted Memory                                SR0000213745           UMG Recordings, Inc.
3191   George Strait                            Go On                                              SR0000270094           UMG Recordings, Inc.
3192   George Strait                            Gone As A Girl Can Get                             SR0000141229           UMG Recordings, Inc.
3193   George Strait                            Good News, Bad News                                SR0000372131           UMG Recordings, Inc.
3194   George Strait                            Heartland                                          SR0000213745           UMG Recordings, Inc.
3195   George Strait                            How 'Bout Them Cowgirls                            SR0000398524           UMG Recordings, Inc.
3196   George Strait                            I Can Still Make Cheyenne                          SR0000358502           UMG Recordings, Inc.
3197   George Strait                            I Cross My Heart                                   SR0000213745           UMG Recordings, Inc.
3198   George Strait                            I Hate Everything                                  SR0000358502           UMG Recordings, Inc.
3199   George Strait                            I Just Want To Dance With You                      SR0000252101           UMG Recordings, Inc.
3200   George Strait                            I Know She Still Loves Me                          SR0000358502           UMG Recordings, Inc.
3201   George Strait                            I'd Like To Have That One Back                     SR0000178495           UMG Recordings, Inc.
3202   George Strait                            I've Come To Expect It From You                    SR0000358502           UMG Recordings, Inc.
3203   George Strait                            If I Know Me                                       SR0000358502           UMG Recordings, Inc.
3204   George Strait                            If You Ain't Lovin' (You Ain't Livin')             SR0000213745           UMG Recordings, Inc.
3205   George Strait                            If You Can Do Anything Else                        SR0000270094           UMG Recordings, Inc.




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                        Artist                                                Track                          Registration Number                 Plaintiff
                                                If You're Thinking You Want A Stranger (There's One Coming
3206 George Strait                                                                                           SR0000030829          UMG Recordings, Inc.
                                                Home)
3207   George Strait                            It Ain't Cool To Be Crazy About You                          SR0000358502          UMG Recordings, Inc.
3208   George Strait                            Lead On                                                      SR0000358502          UMG Recordings, Inc.
3209   George Strait                            Let's Fall To Pieces Together                                SR0000358502          UMG Recordings, Inc.
3210   George Strait                            Living And Living Well                                       SR0000309691          UMG Recordings, Inc.
3211   George Strait                            Love Without End, Amen                                       SR0000358502          UMG Recordings, Inc.
3212   George Strait                            Marina Del Rey                                               SR0000066434          UMG Recordings, Inc.
3213   George Strait                            Meanwhile                                                    SR0000263154          UMG Recordings, Inc.
3214   George Strait                            Nobody In His Right Mind Would've Left Her                   SR0000077926          UMG Recordings, Inc.
3215   George Strait                            Ocean Front Property                                         SR0000079124          UMG Recordings, Inc.
3216   George Strait                            One Night At A Time                                          SR0000358502          UMG Recordings, Inc.
3217   George Strait                            Overnight Success                                            SR0000100975          UMG Recordings, Inc.
3218   George Strait                            Right Or Wrong                                               SR0000358502          UMG Recordings, Inc.
3219   George Strait                            Round About Way                                              SR0000358502          UMG Recordings, Inc.
3220   George Strait                            Run                                                          SR0000358502          UMG Recordings, Inc.
3221   George Strait                            She Let Herself Go                                           SR0000801476          UMG Recordings, Inc.
3222   George Strait                            She'll Leave You With A Smile                                SR0000358502          UMG Recordings, Inc.
3223   George Strait                            So Much Like My Dad                                          SR0000358502          UMG Recordings, Inc.
3224   George Strait                            The Best Day                                                 SR0000278800          UMG Recordings, Inc.
3225   George Strait                            The Big One                                                  SR0000358502          UMG Recordings, Inc.
3226   George Strait                            The Chair                                                    SR0000073980          UMG Recordings, Inc.
3227   George Strait                            The Chill Of An Early Fall                                   SR0000128640          UMG Recordings, Inc.
3228   George Strait                            The Cowboy Rides Away                                        SR0000213745          UMG Recordings, Inc.
3229   George Strait                            The Fireman                                                  SR0000213745          UMG Recordings, Inc.
3230   George Strait                            The Love Bug                                                 SR0000178495          UMG Recordings, Inc.
3231   George Strait                            The Man In Love With You                                     SR0000178495          UMG Recordings, Inc.
3232   George Strait                            The Seashores Of Old Mexico                                  SR0000801476          UMG Recordings, Inc.
3233   George Strait                            Today My World Slipped Away                                  SR0000278184          UMG Recordings, Inc.
3234   George Strait                            True                                                         SR0000801476          UMG Recordings, Inc.
3235   George Strait                            Unwound                                                      SR0000030829          UMG Recordings, Inc.
3236   George Strait                            We Really Shouldn't Be Doing This                            SR0000278184          UMG Recordings, Inc.
3237   George Strait                            What Do You Say To That                                      SR0000263154          UMG Recordings, Inc.
3238   George Strait                            What's Going On In Your World                                SR0000100975          UMG Recordings, Inc.
3239   George Strait                            When Did You Stop Loving Me                                  SR0000146421          UMG Recordings, Inc.
3240   George Strait                            Write This Down                                              SR0000801476          UMG Recordings, Inc.
3241   George Strait                            You Can't Make A Heart Love Somebody                         SR0000358502          UMG Recordings, Inc.
3242   George Strait                            You Know Me Better Than That                                 SR0000213745          UMG Recordings, Inc.
3243   George Strait                            You Look So Good In Love                                     SR0000213745          UMG Recordings, Inc.
3244   George Strait                            You'll Be There                                              SR0000376078          UMG Recordings, Inc.
3245   George Strait                            You're Something Special To Me                               SR0000073980          UMG Recordings, Inc.
3246   Gotye                                    Bronte                                                       SR0000692982          UMG Recordings, Inc.
3247   Gotye                                    Don't Worry, We'll Be Watching You                           SR0000692982          UMG Recordings, Inc.
3248   Gotye                                    Easy Way Out                                                 SR0000692982          UMG Recordings, Inc.
3249   Gotye                                    Eyes Wide Open                                               SR0000692982          UMG Recordings, Inc.
3250   Gotye                                    Giving Me A Chance                                           SR0000692982          UMG Recordings, Inc.
3251   Gotye                                    I Feel Better                                                SR0000692982          UMG Recordings, Inc.
3252   Gotye                                    In Your Light                                                SR0000692982          UMG Recordings, Inc.
3253   Gotye                                    Making Mirrors                                               SR0000692982          UMG Recordings, Inc.
3254   Gotye                                    Save Me                                                      SR0000692982          UMG Recordings, Inc.
3255   Gotye                                    Smoke And Mirrors                                            SR0000692982          UMG Recordings, Inc.
3256   Gotye                                    Somebody That I Used To Know                                 SR0000692982          UMG Recordings, Inc.
3257   Gotye                                    State Of The Art                                             SR0000692982          UMG Recordings, Inc.
3258   Gwen Stefani                             4 In The Morning                                             SR0000400614          UMG Recordings, Inc.
3259   Gwen Stefani                             Breakin' Up                                                  SR0000400614          UMG Recordings, Inc.
3260   Gwen Stefani                             Bubble Pop Electric                                          SR0000364759          UMG Recordings, Inc.
3261   Gwen Stefani                             Cool                                                         SR0000364759          UMG Recordings, Inc.
3262   Gwen Stefani                             Crash                                                        SR0000364759          UMG Recordings, Inc.
3263   Gwen Stefani                             Danger Zone                                                  SR0000364759          UMG Recordings, Inc.
3264   Gwen Stefani                             Don't Get It Twisted                                         SR0000400614          UMG Recordings, Inc.
3265   Gwen Stefani                             Early Winter                                                 SR0000400614          UMG Recordings, Inc.
3266   Gwen Stefani                             Fluorescent                                                  SR0000400614          UMG Recordings, Inc.
3267   Gwen Stefani                             Harajuku Girls                                               SR0000364759          UMG Recordings, Inc.
3268   Gwen Stefani                             Hollaback Girl                                               SR0000364759          UMG Recordings, Inc.
3269   Gwen Stefani                             Long Way To Go                                               SR0000364759          UMG Recordings, Inc.
3270   Gwen Stefani                             Luxurious                                                    SR0000364759          UMG Recordings, Inc.
3271   Gwen Stefani                             Now That You Got It                                          SR0000400614          UMG Recordings, Inc.
3272   Gwen Stefani                             Orange County Girl                                           SR0000400614          UMG Recordings, Inc.
3273   Gwen Stefani                             Rich Girl                                                    SR0000364759          UMG Recordings, Inc.




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                         Artist                                            Track                     Registration Number                Plaintiff
3274   Gwen Stefani                             Serious                                             SR0000364759           UMG Recordings, Inc.
3275   Gwen Stefani                             The Real Thing                                      SR0000364759           UMG Recordings, Inc.
3276   Gwen Stefani                             The Sweet Escape                                    SR0000400614           UMG Recordings, Inc.
3277   Gwen Stefani                             U Started It                                        SR0000400614           UMG Recordings, Inc.
3278   Gwen Stefani                             What You Waiting For?                               SR0000364759           UMG Recordings, Inc.
3279   Gwen Stefani                             Wind It Up                                          SR0000400613           UMG Recordings, Inc.
3280   Gwen Stefani                             Yummy                                               SR0000400614           UMG Recordings, Inc.
3281   Hinder                                   Bed Of Roses                                        SR0000617110           UMG Recordings, Inc.
3282   Hinder                                   Better Than Me                                      SR0000379192           UMG Recordings, Inc.
3283   Hinder                                   Bliss (I Don't Wanna Know)                          SR0000379192           UMG Recordings, Inc.
3284   Hinder                                   Born To Be Wild                                     SR0000617110           UMG Recordings, Inc.
3285   Hinder                                   By The Way                                          SR0000379192           UMG Recordings, Inc.
3286   Hinder                                   Far From Home                                       SR0000622802           UMG Recordings, Inc.
3287   Hinder                                   Get Stoned                                          SR0000379192           UMG Recordings, Inc.
3288   Hinder                                   Heartless                                           SR0000619828           UMG Recordings, Inc.
3289   Hinder                                   Heaven Sent                                         SR0000622802           UMG Recordings, Inc.
3290   Hinder                                   Homecoming Queen                                    SR0000379192           UMG Recordings, Inc.
3291   Hinder                                   How Long                                            SR0000379192           UMG Recordings, Inc.
3292   Hinder                                   Last Kiss Goodbye                                   SR0000622802           UMG Recordings, Inc.
3293   Hinder                                   Lips Of An Angel                                    SR0000379192           UMG Recordings, Inc.
3294   Hinder                                   Live For Today                                      SR0000622802           UMG Recordings, Inc.
3295   Hinder                                   Loaded and Alone                                    SR0000622802           UMG Recordings, Inc.
3296   Hinder                                   Lost In The Sun                                     SR0000622802           UMG Recordings, Inc.
3297   Hinder                                   Nothin' Good About Goodbye                          SR0000379192           UMG Recordings, Inc.
3298   Hinder                                   One Night Stand                                     SR0000619828           UMG Recordings, Inc.
3299   Hinder                                   Room 21                                             SR0000379192           UMG Recordings, Inc.
3300   Hinder                                   Running In The Rain                                 SR0000622802           UMG Recordings, Inc.
3301   Hinder                                   Shoulda                                             SR0000379192           UMG Recordings, Inc.
3302   Hinder                                   Take It To The Limit                                SR0000622802           UMG Recordings, Inc.
3303   Hinder                                   Take Me Home Tonight                                SR0000617110           UMG Recordings, Inc.
3304   Hinder                                   The Best is Yet to Come                             SR0000622802           UMG Recordings, Inc.
3305   Hinder                                   Thing For You                                       SR0000622802           UMG Recordings, Inc.
3306   Hinder                                   Thunderstruck                                       SR0000622802           UMG Recordings, Inc.
3307   Hinder                                   Up All Night                                        SR0000379192           UMG Recordings, Inc.
3308   Hinder                                   Use Me                                              SR0000614599           UMG Recordings, Inc.
3309   Hinder                                   Without You                                         SR0000619215           UMG Recordings, Inc.
3310   Iggy Azalea                              Work                                                SR0000748652           UMG Recordings, Inc.
3311   Imagine Dragons                          America                                             SR0000717800           UMG Recordings, Inc.
3312   Imagine Dragons                          Demons                                              SR0000695196           UMG Recordings, Inc.
3313   Imagine Dragons                          Fallen                                              SR0000706680           UMG Recordings, Inc.
3314   Imagine Dragons                          Selene                                              SR0000707482           UMG Recordings, Inc.
3315   Imagine Dragons                          The River                                           SR0000707482           UMG Recordings, Inc.
3316   Imagine Dragons                          Working Man                                         SR0000706680           UMG Recordings, Inc.
3317   Jadakiss                                 Air It Out                                          SR0000356267           UMG Recordings, Inc.
3318   Jadakiss                                 Bring You Down                                      SR0000356267           UMG Recordings, Inc.
3319   Jadakiss                                 Hot Sauce To Go                                     SR0000356267           UMG Recordings, Inc.
3320   Jadakiss                                 I'm Goin Back                                       SR0000356267           UMG Recordings, Inc.
3321   Jadakiss                                 Real Hip Hop                                        SR0000356267           UMG Recordings, Inc.
3322   Jadakiss                                 Shine                                               SR0000356267           UMG Recordings, Inc.
3323   Jadakiss                                 Still Feel Me                                       SR0000356267           UMG Recordings, Inc.
3324   Jadakiss                                 Welcome To D-Block                                  SR0000356267           UMG Recordings, Inc.
3325   James Blake                              Give Me My Month                                    SR0000673339           UMG Recordings, Inc.
3326   James Blake                              I Mind                                              SR0000673339           UMG Recordings, Inc.
3327   James Blake                              I Never Learnt To Share                             SR0000673339           UMG Recordings, Inc.
3328   James Blake                              Limit To Your Love                                  SR0000673339           UMG Recordings, Inc.
3329   James Blake                              Lindisfarne II                                      SR0000673339           UMG Recordings, Inc.
3330   James Blake                              Measurements                                        SR0000673339           UMG Recordings, Inc.
3331   James Blake                              To Care (Like You)                                  SR0000673339           UMG Recordings, Inc.
3332   James Blake                              Unluck                                              SR0000673339           UMG Recordings, Inc.
3333   James Blake                              Why Don't You Call Me?                              SR0000673339           UMG Recordings, Inc.
3334   JAY Z                                    Gotta Have It                                       SR0000683714           UMG Recordings, Inc.
3335   JAY Z                                    Made In America                                     SR0000683714           UMG Recordings, Inc.
3336   JAY Z                                    Murder To Excellence                                SR0000683714           UMG Recordings, Inc.
3337   JAY Z                                    New Day                                             SR0000683714           UMG Recordings, Inc.
3338   JAY Z                                    Ni**as In Paris                                     SR0000683714           UMG Recordings, Inc.
3339   JAY Z                                    No Church In The Wild                               SR0000683714           UMG Recordings, Inc.
3340   JAY Z                                    Otis                                                SR0000683713           UMG Recordings, Inc.
3341   JAY Z                                    Renegade                                            SR0000305948           UMG Recordings, Inc.
3342   JAY Z                                    That's My Bitch                                     SR0000683714           UMG Recordings, Inc.




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                         Artist                                            Track                     Registration Number                Plaintiff
3343   JAY Z                                    Welcome To The Jungle                               SR0000683714           UMG Recordings, Inc.
3344   JAY Z                                    Who Gon Stop Me                                     SR0000683714           UMG Recordings, Inc.
3345   JAY Z                                    Why I Love You                                      SR0000683714           UMG Recordings, Inc.
3346   Jennifer Lopez                           I'm Into You                                        SR0000751797           UMG Recordings, Inc.
3347   Jeremih                                  Down On Me                                          SR0000664544           UMG Recordings, Inc.
3348   Jimmy Eat World                          Drugs Or Me                                         SR0000366508           UMG Recordings, Inc.
3349   Jimmy Eat World                          Futures                                             SR0000366508           UMG Recordings, Inc.
3350   Jimmy Eat World                          Just Tonight                                        SR0000366508           UMG Recordings, Inc.
3351   Jimmy Eat World                          Kill                                                SR0000366508           UMG Recordings, Inc.
3352   Jimmy Eat World                          Night Drive                                         SR0000366508           UMG Recordings, Inc.
3353   Jimmy Eat World                          Nothing Wrong                                       SR0000366508           UMG Recordings, Inc.
3354   Jimmy Eat World                          Polaris                                             SR0000366508           UMG Recordings, Inc.
3355   Jimmy Eat World                          The World You Love                                  SR0000366508           UMG Recordings, Inc.
3356   Josh Turner                              All Over Me                                         SR0000645586           UMG Recordings, Inc.
3357   Josh Turner                              Angels Fall Sometimes                               SR0000386947           UMG Recordings, Inc.
3358   Josh Turner                              Another Try                                         SR0000615283           UMG Recordings, Inc.
3359   Josh Turner                              As Fast As I Could                                  SR0000645586           UMG Recordings, Inc.
3360   Josh Turner                              Baby, I Go Crazy                                    SR0000621056           UMG Recordings, Inc.
3361   Josh Turner                              Baby's Gone Home To Mama                            SR0000386947           UMG Recordings, Inc.
3362   Josh Turner                              Everything Is Fine                                  SR0000621055           UMG Recordings, Inc.
3363   Josh Turner                              Eye Candy                                           SR0000645586           UMG Recordings, Inc.
3364   Josh Turner                              Firecracker                                         SR0000621055           UMG Recordings, Inc.
3365   Josh Turner                              Friday Paycheck                                     SR0000645586           UMG Recordings, Inc.
3366   Josh Turner                              Gravity                                             SR0000381628           UMG Recordings, Inc.
3367   Josh Turner                              Haywire                                             SR0000645586           UMG Recordings, Inc.
3368   Josh Turner                              I Wouldn't Be A Man                                 SR0000645586           UMG Recordings, Inc.
3369   Josh Turner                              I'll Be There                                       SR0000645586           UMG Recordings, Inc.
3370   Josh Turner                              Let's Find A Church                                 SR0000645586           UMG Recordings, Inc.
3371   Josh Turner                              Lord Have Mercy On A Country Boy                    SR0000386947           UMG Recordings, Inc.
3372   Josh Turner                              Loretta Lynn's Lincoln                              SR0000386947           UMG Recordings, Inc.
3373   Josh Turner                              Lovin' You On My Mind                               SR0000645586           UMG Recordings, Inc.
3374   Josh Turner                              Me And God                                          SR0000386947           UMG Recordings, Inc.
3375   Josh Turner                              No Rush                                             SR0000386947           UMG Recordings, Inc.
3376   Josh Turner                              Nowhere Fast                                        SR0000621055           UMG Recordings, Inc.
3377   Josh Turner                              One Woman Man                                       SR0000621055           UMG Recordings, Inc.
3378   Josh Turner                              So Not My Baby                                      SR0000621055           UMG Recordings, Inc.
3379   Josh Turner                              Soulmate                                            SR0000621055           UMG Recordings, Inc.
3380   Josh Turner                              South Carolina Low Country                          SR0000621055           UMG Recordings, Inc.
3381   Josh Turner                              The Answer                                          SR0000645586           UMG Recordings, Inc.
3382   Josh Turner                              The Longer The Waiting                              SR0000621055           UMG Recordings, Inc.
3383   Josh Turner                              The Way He Was Raised                               SR0000621055           UMG Recordings, Inc.
3384   Josh Turner                              This Kind Of Love                                   SR0000645586           UMG Recordings, Inc.
3385   Josh Turner                              Trailerhood                                         SR0000621055           UMG Recordings, Inc.
3386   Josh Turner                              Way Down South                                      SR0000386947           UMG Recordings, Inc.
3387   Josh Turner                              White Noise                                         SR0000386947           UMG Recordings, Inc.
3388   Josh Turner                              Why Don't We Just Dance                             SR0000635058           UMG Recordings, Inc.
3389   Josh Turner                              Would You Go With Me                                SR0000615305           UMG Recordings, Inc.
3390   Josh Turner                              Your Man                                            SR0000386947           UMG Recordings, Inc.
3391   Josh Turner                              Your Smile                                          SR0000645586           UMG Recordings, Inc.
3392   Justin Bieber                            All Around The World                                SR0000710074           UMG Recordings, Inc.
3393   Justin Bieber                            As Long As You Love Me                              SR0000710074           UMG Recordings, Inc.
3394   Justin Bieber                            Be Alright                                          SR0000710074           UMG Recordings, Inc.
3395   Justin Bieber                            Beauty And A Beat                                   SR0000710074           UMG Recordings, Inc.
3396   Justin Bieber                            Catching Feelings                                   SR0000710074           UMG Recordings, Inc.
3397   Justin Bieber                            Die In Your Arms                                    SR0000705165           UMG Recordings, Inc.
3398   Justin Bieber                            Fall                                                SR0000710074           UMG Recordings, Inc.
3399   Justin Bieber                            Maria                                               SR0000710074           UMG Recordings, Inc.
3400   Justin Bieber                            One Love                                            SR0000710074           UMG Recordings, Inc.
3401   Justin Bieber                            Out Of Town Girl                                    SR0000710074           UMG Recordings, Inc.
3402   Justin Bieber                            Right Here                                          SR0000710074           UMG Recordings, Inc.
3403   Justin Bieber                            She Don't Like The Lights                           SR0000710074           UMG Recordings, Inc.
3404   Justin Bieber                            Take You                                            SR0000710074           UMG Recordings, Inc.
3405   Justin Bieber                            Thought Of You                                      SR0000710074           UMG Recordings, Inc.
3406   K Camp                                   Cut Her Off                                         SR0000741940           UMG Recordings, Inc.
3407   Kanye West                               Bad News                                            SR0000620203           UMG Recordings, Inc.
3408   Kanye West                               Barry Bonds                                         SR0000615020           UMG Recordings, Inc.
3409   Kanye West                               Big Brother                                         SR0000615020           UMG Recordings, Inc.
3410   Kanye West                               Bittersweet Poetry                                  SR0000615020           UMG Recordings, Inc.
3411   Kanye West                               Breathe In Breathe Out                              SR0000347391           UMG Recordings, Inc.




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                        Artist                                                Track                   Registration Number                Plaintiff
3412   Kanye West                               Champion                                             SR0000615020           UMG Recordings, Inc.
3413   Kanye West                               Clique                                               SR0000763373           UMG Recordings, Inc.
3414   Kanye West                               Cold.1                                               SR0000683430           UMG Recordings, Inc.
3415   Kanye West                               Coldest Winter                                       SR0000620203           UMG Recordings, Inc.
3416   Kanye West                               Don't Like.1                                         SR0000683430           UMG Recordings, Inc.
3417   Kanye West                               Drunk And Hot Girls                                  SR0000615020           UMG Recordings, Inc.
3418   Kanye West                               Everything I Am                                      SR0000615020           UMG Recordings, Inc.
3419   Kanye West                               Get Em High                                          SR0000347391           UMG Recordings, Inc.
3420   Kanye West                               Good Morning                                         SR0000615020           UMG Recordings, Inc.
3421   Kanye West                               Graduation Day                                       SR0000347391           UMG Recordings, Inc.
3422   Kanye West                               I Wonder                                             SR0000615020           UMG Recordings, Inc.
3423   Kanye West                               I'll Fly Away                                        SR0000347391           UMG Recordings, Inc.
3424   Kanye West                               Last Call                                            SR0000347391           UMG Recordings, Inc.
3425   Kanye West                               Lil Jimmy Skit                                       SR0000347391           UMG Recordings, Inc.
3426   Kanye West                               Mercy                                                SR0000699408           UMG Recordings, Inc.
3427   Kanye West                               Mercy.1                                              SR0000683430           UMG Recordings, Inc.
3428   Kanye West                               Monster                                              SR0000683430           UMG Recordings, Inc.
3429   Kanye West                               Never Let Me Down                                    SR0000347391           UMG Recordings, Inc.
3430   Kanye West                               New God Flow.1                                       SR0000683430           UMG Recordings, Inc.
3431   Kanye West                               Pinocchio Story (Freestyle Live From Singapore)      SR0000620203           UMG Recordings, Inc.
3432   Kanye West                               Runaway                                              SR0000683430           UMG Recordings, Inc.
3433   Kanye West                               Say You Will                                         SR0000620203           UMG Recordings, Inc.
3434   Kanye West                               School Spirit                                        SR0000347391           UMG Recordings, Inc.
3435   Kanye West                               School Spirit Skit 1                                 SR0000347391           UMG Recordings, Inc.
3436   Kanye West                               See You In My Nightmares                             SR0000620203           UMG Recordings, Inc.
3437   Kanye West                               Spaceship                                            SR0000347391           UMG Recordings, Inc.
3438   Kanye West                               Street Lights                                        SR0000620203           UMG Recordings, Inc.
3439   Kanye West                               Stronger                                             SR0000615019           UMG Recordings, Inc.
3440   Kanye West                               The Glory                                            SR0000615020           UMG Recordings, Inc.
3441   Kanye West                               The One                                              SR0000763373           UMG Recordings, Inc.
3442   Kanye West                               To The World                                         SR0000763373           UMG Recordings, Inc.
3443   Kanye West                               Two Words                                            SR0000347391           UMG Recordings, Inc.
3444   Kanye West                               Way Too Cold                                         SR0000699415           UMG Recordings, Inc.
3445   Kanye West                               We Don't Care                                        SR0000347391           UMG Recordings, Inc.
3446   Kanye West                               Workout Plan                                         SR0000347391           UMG Recordings, Inc.
3447   Keane                                    Snowed Under                                         SR0000637459           UMG Recordings, Inc.
3448   Keane                                    Somewhere Only We Know                               SR0000355429           UMG Recordings, Inc.
3449   Keane                                    Walnut Tree                                          SR0000737377           UMG Recordings, Inc.
3450   Kelly Rowland                            Heaven & Earth                                       SR0000681564           UMG Recordings, Inc.
3451   Kelly Rowland                            Motivation                                           SR0000677261           UMG Recordings, Inc.
3452   Keri Hilson                              Alienated                                            SR0000629123           UMG Recordings, Inc.
3453   Keri Hilson                              Change Me                                            SR0000629123           UMG Recordings, Inc.
3454   Keri Hilson                              Energy                                               SR0000612858           UMG Recordings, Inc.
3455   Keri Hilson                              Get Your Money Up                                    SR0000629123           UMG Recordings, Inc.
3456   Keri Hilson                              How Does It Feel                                     SR0000629123           UMG Recordings, Inc.
3457   Keri Hilson                              Intro                                                SR0000629123           UMG Recordings, Inc.
3458   Keri Hilson                              Intuition                                            SR0000629123           UMG Recordings, Inc.
3459   Keri Hilson                              Knock You Down                                       SR0000629123           UMG Recordings, Inc.
3460   Keri Hilson                              Make Love                                            SR0000629123           UMG Recordings, Inc.
3461   Keri Hilson                              Return The Favor                                     SR0000619820           UMG Recordings, Inc.
3462   Keri Hilson                              Slow Dance                                           SR0000629123           UMG Recordings, Inc.
3463   Keri Hilson                              Tell Him The Truth                                   SR0000629123           UMG Recordings, Inc.
3464   Keri Hilson                              Turnin Me On                                         SR0000621818           UMG Recordings, Inc.
3465   Keri Hilson                              Where Did He Go                                      SR0000629123           UMG Recordings, Inc.
3466   Kid Cudi                                 Alive (nightmare)                                    SR0000637865           UMG Recordings, Inc.
3467   Kid Cudi                                 All Along                                            SR0000696989           UMG Recordings, Inc.
3468   Kid Cudi                                 Ashin' Kusher                                        SR0000696989           UMG Recordings, Inc.
3469   Kid Cudi                                 Creepers                                             SR0000763373           UMG Recordings, Inc.
3470   Kid Cudi                                 Cudi Zone                                            SR0000637865           UMG Recordings, Inc.
3471   Kid Cudi                                 Day 'N' Nite                                         SR0000641952           UMG Recordings, Inc.
3472   Kid Cudi                                 Day 'N' Nite (Club mix)                              SR0000641952           UMG Recordings, Inc.
3473   Kid Cudi                                 Day 'N' Nite (Nightmare)                             SR0000637865           UMG Recordings, Inc.
3474   Kid Cudi                                 Don't Play This Song                                 SR0000696989           UMG Recordings, Inc.
3475   Kid Cudi                                 Enter Galactic (Love Connection Part I)              SR0000637865           UMG Recordings, Inc.
3476   Kid Cudi                                 GHOST!                                               SR0000696989           UMG Recordings, Inc.
3477   Kid Cudi                                 Heart Of A Lion (Kid Cudi Theme Music)               SR0000637865           UMG Recordings, Inc.
3478   Kid Cudi                                 Hyyerr                                               SR0000637865           UMG Recordings, Inc.
3479   Kid Cudi                                 In My Dreams (Cudder Anthem)                         SR0000637865           UMG Recordings, Inc.
3480   Kid Cudi                                 Is There Any Love                                    SR0000637865           UMG Recordings, Inc.




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                        Artist                                               Track                    Registration Number                Plaintiff
3481   Kid Cudi                                 Make Her Say                                         SR0000641951           UMG Recordings, Inc.
3482   Kid Cudi                                 MANIAC                                               SR0000696989           UMG Recordings, Inc.
3483   Kid Cudi                                 Marijuana                                            SR0000696989           UMG Recordings, Inc.
3484   Kid Cudi                                 Mojo So Dope                                         SR0000696989           UMG Recordings, Inc.
3485   Kid Cudi                                 Mr. Rager                                            SR0000695775           UMG Recordings, Inc.
3486   Kid Cudi                                 My World                                             SR0000637865           UMG Recordings, Inc.
3487   Kid Cudi                                 Pursuit Of Happiness                                 SR0000637865           UMG Recordings, Inc.
3488   Kid Cudi                                 Revolution (Revofev)                                 SR0000696989           UMG Recordings, Inc.
3489   Kid Cudi                                 Scott Mescudi Vs. The World                          SR0000696989           UMG Recordings, Inc.
3490   Kid Cudi                                 Simple As...                                         SR0000637865           UMG Recordings, Inc.
3491   Kid Cudi                                 Sky Might Fall                                       SR0000637865           UMG Recordings, Inc.
3492   Kid Cudi                                 Solo Dolo (nightmare)                                SR0000637865           UMG Recordings, Inc.
3493   Kid Cudi                                 Soundtrack 2 My Life                                 SR0000637865           UMG Recordings, Inc.
3494   Kid Cudi                                 T.G.I.F.                                             SR0000637865           UMG Recordings, Inc.
3495   Kid Cudi                                 The End                                              SR0000696989           UMG Recordings, Inc.
3496   Kid Cudi                                 The Mood                                             SR0000696989           UMG Recordings, Inc.
3497   Kid Cudi                                 These Worries                                        SR0000696989           UMG Recordings, Inc.
3498   Kid Cudi                                 Trapped In My Mind                                   SR0000696989           UMG Recordings, Inc.
3499   Kid Cudi                                 Up Up & Away                                         SR0000637865           UMG Recordings, Inc.
3500   Kid Cudi                                 We Aite (Wake Your Mind Up)                          SR0000696989           UMG Recordings, Inc.
3501   Kid Cudi                                 Wyld'n Cuz I'm Young                                 SR0000696989           UMG Recordings, Inc.
3502   Lady Gaga                                Alejandro                                            SR0000642917           UMG Recordings, Inc.
3503   Lady Gaga                                Bad Romance                                          SR0000642919           UMG Recordings, Inc.
3504   Lady GaGa                                Beautiful, Dirty, Rich                               SR0000617842           UMG Recordings, Inc.
3505   Lady Gaga                                Born This Way                                        SR0000678406           UMG Recordings, Inc.
3506   Lady GaGa                                Brown Eyes                                           SR0000617841           UMG Recordings, Inc.
3507   Lady Gaga                                Christmas Tree                                       SR0000621816           UMG Recordings, Inc.
3508   Lady Gaga                                Dance In The Dark                                    SR0000642917           UMG Recordings, Inc.
3509   Lady GaGa                                Disco Heaven                                         SR0000642917           UMG Recordings, Inc.
3510   Lady Gaga                                Eh, Eh (Nothing Else I Can Say)                      SR0000617841           UMG Recordings, Inc.
3511   Lady Gaga                                Fashion                                              SR0000737557           UMG Recordings, Inc.
3512   Lady GaGa                                I Like It Rough                                      SR0000617841           UMG Recordings, Inc.
3513   Lady GaGa                                Just Dance                                           SR0000613221           UMG Recordings, Inc.
3514   Lady GaGa                                LoveGame                                             SR0000617841           UMG Recordings, Inc.
3515   Lady GaGa                                Money Honey                                          SR0000617841           UMG Recordings, Inc.
3516   Lady Gaga                                Monster                                              SR0000642917           UMG Recordings, Inc.
3517   Lady Gaga                                Paparazzi                                            SR0000617841           UMG Recordings, Inc.
3518   Lady GaGa                                Paper Gangsta                                        SR0000617841           UMG Recordings, Inc.
3519   Lady GaGa                                Poker Face                                           SR0000617843           UMG Recordings, Inc.
3520   Lady Gaga                                Retro, Dance, Freak                                  SR0000642917           UMG Recordings, Inc.
3521   Lady Gaga                                So Happy I Could Die                                 SR0000642917           UMG Recordings, Inc.
3522   Lady Gaga                                Speechless                                           SR0000642917           UMG Recordings, Inc.
3523   Lady GaGa                                Starstruck                                           SR0000617841           UMG Recordings, Inc.
3524   Lady GaGa                                Summerboy                                            SR0000617841           UMG Recordings, Inc.
3525   Lady Gaga                                Teeth                                                SR0000642917           UMG Recordings, Inc.
3526   Lady Gaga                                Telephone                                            SR0000642917           UMG Recordings, Inc.
3527   Lady GaGa                                The Fame                                             SR0000617841           UMG Recordings, Inc.
3528   Lady Gaga                                You And I                                            SR0000678406           UMG Recordings, Inc.
3529   Lana Del Rey                             American                                             SR0000412524           UMG Recordings, Inc.
3530   Lana Del Rey                             Bel Air                                              SR0000712342           UMG Recordings, Inc.
3531   Lana Del Rey                             Blue Velvet                                          SR0000712342           UMG Recordings, Inc.
3532   Lana Del Rey                             Body Electric                                        SR0000412524           UMG Recordings, Inc.
3533   Lana Del Rey                             Burning Desire                                       SR0000711860           UMG Recordings, Inc.
3534   Lana Del Rey                             Cola                                                 SR0000712342           UMG Recordings, Inc.
3535   Lana Del Rey                             Gods & Monsters                                      SR0000412524           UMG Recordings, Inc.
3536   Lana Del Rey                             Ride                                                 SR0000711860           UMG Recordings, Inc.
3537   Lana Del Rey                             Yayo                                                 SR0000412524           UMG Recordings, Inc.
3538   Ledisi                                   BGTY                                                 SR0000611046           UMG Recordings, Inc.
3539   Ledisi                                   Bravo                                                SR0000611046           UMG Recordings, Inc.
3540   Ledisi                                   Coffee                                               SR0000611046           UMG Recordings, Inc.
3541   Ledisi                                   Hate Me                                              SR0000611046           UMG Recordings, Inc.
3542   Ledisi                                   I Gotta Get To You                                   SR0000611046           UMG Recordings, Inc.
3543   Ledisi                                   I Miss You Now                                       SR0000611046           UMG Recordings, Inc.
3544   Ledisi                                   Pieces Of Me                                         SR0000611046           UMG Recordings, Inc.
3545   Ledisi                                   Raise Up                                             SR0000678487           UMG Recordings, Inc.
3546   Ledisi                                   Shine                                                SR0000678487           UMG Recordings, Inc.
3547   Ledisi                                   Shut Up                                              SR0000611046           UMG Recordings, Inc.
3548   Ledisi                                   So Into You                                          SR0000611046           UMG Recordings, Inc.
3549   Ledisi                                   Stay Together                                        SR0000678487           UMG Recordings, Inc.




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                         Artist                                               Track                   Registration Number                Plaintiff
3550   Lee Ann Womack                           After I Fall                                         SR0000281198           UMG Recordings, Inc.
3551   Lee Ann Womack                           Ashes By Now                                         SR0000281198           UMG Recordings, Inc.
3552   Lee Ann Womack                           Does My Ring Burn Your Finger                        SR0000281198           UMG Recordings, Inc.
3553   Lee Ann Womack                           I Feel Like I'm Forgetting Something                 SR0000281198           UMG Recordings, Inc.
3554   Lee Ann Womack                           I Hope You Dance                                     SR0000281261           UMG Recordings, Inc.
3555   Lee Ann Womack                           I Know Why The River Runs                            SR0000281261           UMG Recordings, Inc.
3556   Lee Ann Womack                           Lonely Too                                           SR0000281198           UMG Recordings, Inc.
3557   Lee Ann Womack                           Lord I Hope This Day Is Good                         SR0000281198           UMG Recordings, Inc.
3558   Lee Ann Womack                           Stronger Than I Am                                   SR0000281198           UMG Recordings, Inc.
3559   Lee Ann Womack                           The Healing Kind                                     SR0000281261           UMG Recordings, Inc.
3560   Lee Ann Womack                           Thinkin' With My Heart Again                         SR0000281198           UMG Recordings, Inc.
3561   Lee Ann Womack                           Why They Call It Falling                             SR0000281198           UMG Recordings, Inc.
3562   Lifehouse                                All In All                                           SR0000370643           UMG Recordings, Inc.
3563   Lifehouse                                Am I Ever Gonna Find Out                             SR0000321812           UMG Recordings, Inc.
3564   Lifehouse                                Anchor                                               SR0000321812           UMG Recordings, Inc.
3565   Lifehouse                                Better Luck Next Time                                SR0000370643           UMG Recordings, Inc.
3566   Lifehouse                                Breathing                                            SR0000289389           UMG Recordings, Inc.
3567   Lifehouse                                Chapter One                                          SR0000370643           UMG Recordings, Inc.
3568   Lifehouse                                Cling And Clatter                                    SR0000289389           UMG Recordings, Inc.
3569   Lifehouse                                Come Back Down                                       SR0000370643           UMG Recordings, Inc.
3570   Lifehouse                                Days Go By                                           SR0000615314           UMG Recordings, Inc.
3571   Lifehouse                                Empty Space                                          SR0000321812           UMG Recordings, Inc.
3572   Lifehouse                                Everything                                           SR0000321812           UMG Recordings, Inc.
3573   Lifehouse                                How Long                                             SR0000321812           UMG Recordings, Inc.
3574   Lifehouse                                Into The Sun                                         SR0000370643           UMG Recordings, Inc.
3575   Lifehouse                                Just Another Name                                    SR0000321812           UMG Recordings, Inc.
3576   Lifehouse                                My Precious                                          SR0000321812           UMG Recordings, Inc.
3577   Lifehouse                                Only One                                             SR0000289389           UMG Recordings, Inc.
3578   Lifehouse                                Out Of Breath                                        SR0000321812           UMG Recordings, Inc.
3579   Lifehouse                                Quasimodo                                            SR0000289389           UMG Recordings, Inc.
3580   Lifehouse                                Sick Cycle Carousel                                  SR0000289389           UMG Recordings, Inc.
3581   Lifehouse                                Simon                                                SR0000289389           UMG Recordings, Inc.
3582   Lifehouse                                Sky Is Falling                                       SR0000321812           UMG Recordings, Inc.
3583   Lifehouse                                Someone Else's Song                                  SR0000289389           UMG Recordings, Inc.
3584   Lifehouse                                Somewhere In Between                                 SR0000289389           UMG Recordings, Inc.
3585   Lifehouse                                Spin                                                 SR0000321812           UMG Recordings, Inc.
3586   Lifehouse                                Stanley Climbfall                                    SR0000321812           UMG Recordings, Inc.
3587   Lifehouse                                Take Me Away                                         SR0000321812           UMG Recordings, Inc.
3588   Lifehouse                                The Beginning                                        SR0000321812           UMG Recordings, Inc.
3589   Lifehouse                                The End Has Only Begun                               SR0000370643           UMG Recordings, Inc.
3590   Lifehouse                                Trying                                               SR0000289389           UMG Recordings, Inc.
3591   Lifehouse                                Undone                                               SR0000370643           UMG Recordings, Inc.
3592   Lifehouse                                Unknown                                              SR0000289389           UMG Recordings, Inc.
3593   Lifehouse                                Walking Away                                         SR0000370643           UMG Recordings, Inc.
3594   Lifehouse                                Wash                                                 SR0000321812           UMG Recordings, Inc.
3595   Lifehouse                                We'll Never Know                                     SR0000370643           UMG Recordings, Inc.
3596   Little Big Town                          Pontoon                                              SR0000709014           UMG Recordings, Inc.
3597   Lloyd                                    Certified                                            SR0000391940           UMG Recordings, Inc.
3598   Lloyd                                    Get It Shawty                                        SR0000391940           UMG Recordings, Inc.
3599   Lloyd                                    Hazel                                                SR0000391940           UMG Recordings, Inc.
3600   Lloyd                                    I Don't Mind                                         SR0000391940           UMG Recordings, Inc.
3601   Lloyd                                    I Want You                                           SR0000391940           UMG Recordings, Inc.
3602   Lloyd                                    Incredible                                           SR0000391940           UMG Recordings, Inc.
3603   Lloyd                                    Killing Me                                           SR0000391940           UMG Recordings, Inc.
3604   Lloyd                                    Lloyd (Intro)                                        SR0000391940           UMG Recordings, Inc.
3605   Lloyd                                    One For Me                                           SR0000391940           UMG Recordings, Inc.
3606   Lloyd                                    Player's Prayer                                      SR0000391940           UMG Recordings, Inc.
3607   Lloyd                                    StreetLove                                           SR0000391940           UMG Recordings, Inc.
3608   Lloyd                                    Take You Home                                        SR0000391940           UMG Recordings, Inc.
3609   Lloyd                                    Valentine                                            SR0000391940           UMG Recordings, Inc.
3610   Lloyd                                    What You Wanna Do                                    SR0000391940           UMG Recordings, Inc.
3611   Lloyd                                    You (Edited)                                         SR0000391940           UMG Recordings, Inc.
3612   LMFAO                                    I'm In Miami Bitch                                   SR0000621810           UMG Recordings, Inc.
3613   LMFAO                                    Party Rock Anthem                                    SR0000671268           UMG Recordings, Inc.
3614   LMFAO                                    Reminds Me Of You                                    SR0000678646           UMG Recordings, Inc.
3615   LMFAO                                    Take It To The Hole                                  SR0000678646           UMG Recordings, Inc.
3616   LMFAO                                    We Came Here To Party                                SR0000678646           UMG Recordings, Inc.
3617   Lorde                                    Biting Down                                          SR0000724529           UMG Recordings, Inc.
3618   Lorde                                    Bravado                                              SR0000724529           UMG Recordings, Inc.




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                        Artist                                             Track                     Registration Number                Plaintiff
3619   Lorde                                    Million Dollar Bills                                SR0000724529           UMG Recordings, Inc.
3620   Lorde                                    No Better                                           SR0000736121           UMG Recordings, Inc.
3621   Lorde                                    Royals                                              SR0000724529           UMG Recordings, Inc.
3622   Lorde                                    Swingin Party                                       SR0000726964           UMG Recordings, Inc.
3623   Lorde                                    The Love Club                                       SR0000724529           UMG Recordings, Inc.
3624   M.I.A.                                   Attention                                           SR0000736308           UMG Recordings, Inc.
3625   M.I.A.                                   Bad Girls                                           SR0000698452           UMG Recordings, Inc.
3626   M.I.A.                                   Boom Skit                                           SR0000736308           UMG Recordings, Inc.
3627   M.I.A.                                   Come Walk With Me                                   SR0000736307           UMG Recordings, Inc.
3628   M.I.A.                                   Double Bubble Trouble                               SR0000736308           UMG Recordings, Inc.
3629   M.I.A.                                   Karmageddon                                         SR0000736308           UMG Recordings, Inc.
3630   M.I.A.                                   Know It Ain't Right                                 SR0000736308           UMG Recordings, Inc.
3631   M.I.A.                                   Lights                                              SR0000736308           UMG Recordings, Inc.
3632   M.I.A.                                   MATANGI                                             SR0000736308           UMG Recordings, Inc.
3633   M.I.A.                                   Only 1                                              SR0000736308           UMG Recordings, Inc.
3634   M.I.A.                                   Refugee-In-Tent                                     SR0000736308           UMG Recordings, Inc.
3635   M.I.A.                                   Sexodus                                             SR0000736308           UMG Recordings, Inc.
3636   M.I.A.                                   Sexodus (Hitboy Version)                            SR0000736308           UMG Recordings, Inc.
3637   M.I.A.                                   Warriors                                            SR0000736308           UMG Recordings, Inc.
3638   M.I.A.                                   Y.A.L.A.                                            SR0000736309           UMG Recordings, Inc.
3639   Macy Gray                                Everybody                                           SR0000395382           UMG Recordings, Inc.
3640   Macy Gray                                Get Out                                             SR0000395382           UMG Recordings, Inc.
3641   Macy Gray                                Glad You're Here                                    SR0000395382           UMG Recordings, Inc.
3642   Macy Gray                                Help Me                                             SR0000657731           UMG Recordings, Inc.
3643   Macy Gray                                Kissed It                                           SR0000657731           UMG Recordings, Inc.
3644   Macy Gray                                Lately                                              SR0000657731           UMG Recordings, Inc.
3645   Macy Gray                                Let You Win                                         SR0000657731           UMG Recordings, Inc.
3646   Macy Gray                                Lost                                                SR0000715841           UMG Recordings, Inc.
3647   Macy Gray                                Okay                                                SR0000395382           UMG Recordings, Inc.
3648   Macy Gray                                On & On                                             SR0000657731           UMG Recordings, Inc.
3649   Macy Gray                                One For Me                                          SR0000395382           UMG Recordings, Inc.
3650   Macy Gray                                Real Love                                           SR0000657731           UMG Recordings, Inc.
3651   Macy Gray                                Slowly                                              SR0000395382           UMG Recordings, Inc.
3652   Macy Gray                                Stalker                                             SR0000657731           UMG Recordings, Inc.
3653   Macy Gray                                Still Hurts                                         SR0000657731           UMG Recordings, Inc.
3654   Macy Gray                                Strange Behavior                                    SR0000395382           UMG Recordings, Inc.
3655   Macy Gray                                That Man                                            SR0000657731           UMG Recordings, Inc.
3656   Macy Gray                                The Comeback                                        SR0000657731           UMG Recordings, Inc.
3657   Macy Gray                                The Sellout                                         SR0000657731           UMG Recordings, Inc.
3658   Macy Gray                                Treat Me Like Your Money                            SR0000395382           UMG Recordings, Inc.
3659   Macy Gray                                What I Gotta Do                                     SR0000395382           UMG Recordings, Inc.
3660   Mariah Carey                             #Beautiful                                          SR0000750755           UMG Recordings, Inc.
3661   Mariah Carey                             Touch My Body                                       SR0000612879           UMG Recordings, Inc.
3662   Maroon 5                                 Beautiful Goodbye                                   SR0000705167           UMG Recordings, Inc.
3663   Maroon 5                                 Daylight                                            SR0000705167           UMG Recordings, Inc.
3664   Maroon 5                                 Doin' Dirt                                          SR0000705167           UMG Recordings, Inc.
3665   Maroon 5                                 Figure It Out                                       SR0000627938           UMG Recordings, Inc.
3666   Maroon 5                                 Fortune Teller                                      SR0000705167           UMG Recordings, Inc.
3667   Maroon 5                                 Harder To Breathe                                   SR0000702833           UMG Recordings, Inc.
3668   Maroon 5                                 Hello                                               SR0000393024           UMG Recordings, Inc.
3669   Maroon 5                                 Kiss                                                SR0000705167           UMG Recordings, Inc.
3670   Maroon 5                                 Ladykiller                                          SR0000705167           UMG Recordings, Inc.
3671   Maroon 5                                 Love Somebody                                       SR0000705167           UMG Recordings, Inc.
3672   Maroon 5                                 Lucky Strike                                        SR0000705167           UMG Recordings, Inc.
3673   Maroon 5                                 Miss You Love You                                   SR0000627938           UMG Recordings, Inc.
3674   Maroon 5                                 Moves Like Jagger                                   SR0000680542           UMG Recordings, Inc.
3675   Maroon 5                                 Must Get Out                                        SR0000702833           UMG Recordings, Inc.
3676   Maroon 5                                 Must Get Out (Live)                                 SR0000393024           UMG Recordings, Inc.
3677   Maroon 5                                 Not Coming Home                                     SR0000702833           UMG Recordings, Inc.
3678   Maroon 5                                 Not Coming Home (Live)                              SR0000393024           UMG Recordings, Inc.
3679   Maroon 5                                 One More Night (Sticky K Remix)                     SR0000705167           UMG Recordings, Inc.
3680   Maroon 5                                 Payphone                                            SR0000705168           UMG Recordings, Inc.
3681   Maroon 5                                 Rag Doll                                            SR0000702833           UMG Recordings, Inc.
3682   Maroon 5                                 Sad                                                 SR0000705167           UMG Recordings, Inc.
3683   Maroon 5                                 Secret                                              SR0000702833           UMG Recordings, Inc.
3684   Maroon 5                                 Secret/Ain't No Sunshine                            SR0000393024           UMG Recordings, Inc.
3685   Maroon 5                                 She Will Be Loved                                   SR0000674174           UMG Recordings, Inc.
3686   Maroon 5                                 Shiver                                              SR0000702833           UMG Recordings, Inc.
3687   Maroon 5                                 Sunday Morning                                      SR0000702833           UMG Recordings, Inc.




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                        Artist                                                 Track                    Registration Number                Plaintiff
3688   Maroon 5                                 Sweetest Goodbye                                       SR0000664148           UMG Recordings, Inc.
3689   Maroon 5                                 Sweetest Goodbye (Live)                                SR0000393024           UMG Recordings, Inc.
3690   Maroon 5                                 Tangled                                                SR0000702833           UMG Recordings, Inc.
3691   Maroon 5                                 The Man Who Never Lied                                 SR0000705167           UMG Recordings, Inc.
3692   Maroon 5                                 The Sun                                                SR0000702833           UMG Recordings, Inc.
3693   Maroon 5                                 This Love                                              SR0000348508           UMG Recordings, Inc.
3694   Maroon 5                                 Through With You                                       SR0000702833           UMG Recordings, Inc.
3695   Maroon 5                                 Through With You (Live)                                SR0000393024           UMG Recordings, Inc.
3696   Maroon 5                                 Tickets                                                SR0000705167           UMG Recordings, Inc.
3697   Maroon 5                                 Wasted Years                                           SR0000705167           UMG Recordings, Inc.
3698   Maroon 5                                 Wipe Your Eyes                                         SR0000705167           UMG Recordings, Inc.
3699   Marvin Gaye                              Anger                                                  SR0000005020           UMG Recordings, Inc.
                                                                                                       N08961
3700 Marvin Gaye                                Come Get To This                                                              UMG Recordings, Inc.
                                                                                                       RE0000860289
3701 Marvin Gaye                                Ego Tripping Out                                       SR0000012844           UMG Recordings, Inc.
3702 Marvin Gaye                                Got To Give It Up                                      N42204                 UMG Recordings, Inc.
3703 Marvin Gaye                                Praise                                                 SR0000024441           UMG Recordings, Inc.
                                                                                                       N03735
3704 Marvin Gaye                                You're The Man - Pts. I & II                                                  UMG Recordings, Inc.
                                                                                                       RE0000852280
3705   Mary J. Blige                            Someone To Love Me (Naked)                             SR0000676435           UMG Recordings, Inc.
3706   Maze Featuring Frankie Beverly           Time Is On My Side                                     SR0000349929           UMG Recordings, Inc.
3707   Mumford & Sons                           Babel                                                  SR0000800862           UMG Recordings, Inc.
3708   Mumford & Sons                           Below My Feet                                          SR0000800862           UMG Recordings, Inc.
3709   Mumford & Sons                           Broken Crown                                           SR0000800862           UMG Recordings, Inc.
3710   Mumford & Sons                           For Those Below                                        SR0000800862           UMG Recordings, Inc.
3711   Mumford & Sons                           Ghosts That We Knew                                    SR0000800862           UMG Recordings, Inc.
3712   Mumford & Sons                           Holland Road                                           SR0000800862           UMG Recordings, Inc.
3713   Mumford & Sons                           Hopeless Wanderer                                      SR0000800862           UMG Recordings, Inc.
3714   Mumford & Sons                           I Will Wait                                            SR0000800862           UMG Recordings, Inc.
3715   Mumford & Sons                           Lover Of The Light                                     SR0000800862           UMG Recordings, Inc.
3716   Mumford & Sons                           Lovers' Eyes                                           SR0000800862           UMG Recordings, Inc.
3717   Mumford & Sons                           Not With Haste                                         SR0000800862           UMG Recordings, Inc.
3718   Mumford & Sons                           Reminder                                               SR0000800862           UMG Recordings, Inc.
3719   Mumford & Sons                           Where Are You Now                                      SR0000800862           UMG Recordings, Inc.
3720   Mumford & Sons                           Whispers In The Dark                                   SR0000800862           UMG Recordings, Inc.
3721   Ne-Yo                                    Addicted                                               SR0000394385           UMG Recordings, Inc.
3722   Ne-Yo                                    Ain't Thinking About You                               SR0000394385           UMG Recordings, Inc.
3723   Ne-Yo                                    Angel                                                  SR0000668445           UMG Recordings, Inc.
3724   Ne-Yo                                    Because Of You                                         SR0000394385           UMG Recordings, Inc.
3725   Ne-Yo                                    Can We Chill                                           SR0000394385           UMG Recordings, Inc.
3726   Ne-Yo                                    Crazy                                                  SR0000394385           UMG Recordings, Inc.
3727   Ne-Yo                                    Do You                                                 SR0000394385           UMG Recordings, Inc.
3728   Ne-Yo                                    Go On Girl                                             SR0000394385           UMG Recordings, Inc.
3729   Ne-Yo                                    Leaving Tonight                                        SR0000394385           UMG Recordings, Inc.
3730   Ne-Yo                                    Let Me Love You (Until You Learn To Love Yourself)     SR0000705073           UMG Recordings, Inc.
3731   Ne-Yo                                    Make It Work                                           SR0000394385           UMG Recordings, Inc.
3732   Ne-Yo                                    Say It                                                 SR0000394385           UMG Recordings, Inc.
3733   Ne-Yo                                    Sex With My Ex                                         SR0000394385           UMG Recordings, Inc.
3734   Nelly                                    Just A Dream                                           SR0000662586           UMG Recordings, Inc.
3735   Nelly Furtado                            Afraid                                                 SR0000387509           UMG Recordings, Inc.
3736   Nelly Furtado                            All Good Things                                        SR0000387509           UMG Recordings, Inc.
3737   Nelly Furtado                            Do It                                                  SR0000387509           UMG Recordings, Inc.
3738   Nelly Furtado                            Maneater                                               SR0000387509           UMG Recordings, Inc.
3739   Nelly Furtado                            No Hay Igual                                           SR0000387509           UMG Recordings, Inc.
3740   Nelly Furtado                            Promiscuous                                            SR0000391617           UMG Recordings, Inc.
3741   Nelly Furtado                            Say It Right                                           SR0000387509           UMG Recordings, Inc.
3742   Nelly Furtado                            Showtime                                               SR0000387509           UMG Recordings, Inc.
3743   Nelly Furtado                            Somebody To Love                                       SR0000387509           UMG Recordings, Inc.
3744   Nelly Furtado                            Te Busqué                                              SR0000387509           UMG Recordings, Inc.
3745   Nelly Furtado                            Wait For You                                           SR0000387509           UMG Recordings, Inc.
3746   Nelly Furtado                            What I Wanted                                          SR0000387509           UMG Recordings, Inc.
3747   Neon Trees                               Sleeping With A Friend                                 SR0000737412           UMG Recordings, Inc.
3748   Nirvana                                  About A Girl                                           SR0000320325           UMG Recordings, Inc.
3749   Nirvana                                  All Apologies                                          SR0000178690           UMG Recordings, Inc.
3750   Nirvana                                  Been A Son                                             SR0000148333           UMG Recordings, Inc.
3751   Nirvana                                  Come As You Are                                        SR0000178690           UMG Recordings, Inc.
3752   Nirvana                                  Heart Shaped Box                                       SR0000172276           UMG Recordings, Inc.
3753   Nirvana                                  Lithium                                                SR0000135335           UMG Recordings, Inc.
3754   Nirvana                                  Pennyroyal Tea                                         SR0000172276           UMG Recordings, Inc.




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                        Artist                                             Track                    Registration Number                Plaintiff
3755   Nirvana                                  Rape Me                                            SR0000172276           UMG Recordings, Inc.
3756   Nirvana                                  Sliver                                             SR0000148333           UMG Recordings, Inc.
3757   Nirvana                                  Smells Like Teen Spirit                            SR0000134601           UMG Recordings, Inc.
3758   Nirvana                                  The Man Who Sold The World (Live, MTV Unplugged)   SR0000178690           UMG Recordings, Inc.
3759   Nirvana                                  You Know You're Right                              SR0000320325           UMG Recordings, Inc.
3760   No Doubt                                 Settle Down                                        SR0000708747           UMG Recordings, Inc.
3761   Obie Trice                               Adrenaline Rush (Explicit)                         SR0000322706           UMG Recordings, Inc.
3762   Obie Trice                               Average Man                                        SR0000341637           UMG Recordings, Inc.
3763   Obie Trice                               Bad Bitch                                          SR0000341637           UMG Recordings, Inc.
3764   Obie Trice                               Cheers                                             SR0000341637           UMG Recordings, Inc.
3765   Obie Trice                               Don't Come Down (Explicit)                         SR0000341637           UMG Recordings, Inc.
3766   Obie Trice                               Follow My Life                                     SR0000341637           UMG Recordings, Inc.
3767   Obie Trice                               Got Some Teeth (Explicit)                          SR0000341637           UMG Recordings, Inc.
3768   Obie Trice                               Hands On You                                       SR0000341637           UMG Recordings, Inc.
3769   Obie Trice                               Hoodrats                                           SR0000341637           UMG Recordings, Inc.
3770   Obie Trice                               Lady                                               SR0000341637           UMG Recordings, Inc.
3771   Obie Trice                               Look In My Eyes                                    SR0000341637           UMG Recordings, Inc.
3772   Obie Trice                               Never Forget Ya                                    SR0000341637           UMG Recordings, Inc.
3773   Obie Trice                               Oh!                                                SR0000341637           UMG Recordings, Inc.
3774   Obie Trice                               Outro (Obie Trice/ Cheers)                         SR0000341637           UMG Recordings, Inc.
3775   Obie Trice                               Rap Name (Explicit)                                SR0000322706           UMG Recordings, Inc.
3776   Obie Trice                               Shit Hits The Fan                                  SR0000341637           UMG Recordings, Inc.
3777   Obie Trice                               Spread Yo Shit                                     SR0000341637           UMG Recordings, Inc.
3778   Obie Trice                               The Setup                                          SR0000339737           UMG Recordings, Inc.
3779   Obie Trice                               We All Die One Day                                 SR0000341637           UMG Recordings, Inc.
3780   Of Monsters and Men                      Little Talks                                       SR0000694984           UMG Recordings, Inc.
3781   Of Monsters and Men                      Your Bones                                         SR0000698589           UMG Recordings, Inc.
3782   OneRepublic                              All Fall Down                                      SR0000614111           UMG Recordings, Inc.
3783   OneRepublic                              All We Are                                         SR0000614111           UMG Recordings, Inc.
3784   OneRepublic                              Come Home                                          SR0000632435           UMG Recordings, Inc.
3785   OneRepublic                              Goodbye, Apathy                                    SR0000614111           UMG Recordings, Inc.
3786   OneRepublic                              Prodigal                                           SR0000614111           UMG Recordings, Inc.
3787   OneRepublic                              Someone To Save You                                SR0000614111           UMG Recordings, Inc.
3788   OneRepublic                              Stop And Stare                                     SR0000614111           UMG Recordings, Inc.
3789   OneRepublic                              Won't Stop                                         SR0000614111           UMG Recordings, Inc.
3790   Phillip Phillips                         A Fool's Dance                                     SR0000712841           UMG Recordings, Inc.
3791   Phillip Phillips                         Can't Go Wrong                                     SR0000712841           UMG Recordings, Inc.
3792   Phillip Phillips                         Drive Me                                           SR0000712841           UMG Recordings, Inc.
3793   Phillip Phillips                         Get Up Get Down                                    SR0000712841           UMG Recordings, Inc.
3794   Phillip Phillips                         Gone, Gone, Gone                                   SR0000712841           UMG Recordings, Inc.
3795   Phillip Phillips                         Hazel                                              SR0000712841           UMG Recordings, Inc.
3796   Phillip Phillips                         Hold On                                            SR0000712841           UMG Recordings, Inc.
3797   Phillip Phillips                         Home                                               SR0000712859           UMG Recordings, Inc.
3798   Phillip Phillips                         Man On The Moon                                    SR0000712841           UMG Recordings, Inc.
3799   Phillip Phillips                         So Easy                                            SR0000712841           UMG Recordings, Inc.
3800   Phillip Phillips                         Tell Me A Story                                    SR0000712841           UMG Recordings, Inc.
3801   Phillip Phillips                         Wanted Is Love                                     SR0000712841           UMG Recordings, Inc.
3802   Phillip Phillips                         Where We Came From                                 SR0000712841           UMG Recordings, Inc.
3803   Phillip Phillips                         Wicked Game                                        SR0000712841           UMG Recordings, Inc.
3804   Pusha T                                  New God Flow                                       SR0000703870           UMG Recordings, Inc.
3805   Quincy Jones                             It's My Party                                      SR0000669281           UMG Recordings, Inc.
3806   Raffi                                    Swing Low Sweet Chariot                            SR0000133411           UMG Recordings, Inc.
3807   Rammstein                                Adios                                              SR0000295849           UMG Recordings, Inc.
3808   Rammstein                                Ashe Zu Ashe                                       SR0000273781           UMG Recordings, Inc.
3809   Rammstein                                Benzin                                             SR0000387866           UMG Recordings, Inc.
3810   Rammstein                                Bestrafe Mich                                      SR0000282692           UMG Recordings, Inc.
3811   Rammstein                                Bück Dich                                          SR0000282692           UMG Recordings, Inc.
3812   Rammstein                                Du Hast                                            SR0000273781           UMG Recordings, Inc.
3813   Rammstein                                Du Riechst So Gut                                  SR0000273781           UMG Recordings, Inc.
3814   Rammstein                                Eifersucht                                         SR0000282692           UMG Recordings, Inc.
3815   Rammstein                                Engel                                              SR0000282692           UMG Recordings, Inc.
3816   Rammstein                                Feuer Und Wasser                                   SR0000387866           UMG Recordings, Inc.
3817   Rammstein                                Heirate Mich                                       SR0000273781           UMG Recordings, Inc.
3818   Rammstein                                Herzeleid                                          SR0000273781           UMG Recordings, Inc.
3819   Rammstein                                Hilf Mir                                           SR0000387866           UMG Recordings, Inc.
3820   Rammstein                                Klavier                                            SR0000282692           UMG Recordings, Inc.
3821   Rammstein                                Laichzeit                                          SR0000273781           UMG Recordings, Inc.
3822   Rammstein                                Mein Herz Brennt                                   SR0000295849           UMG Recordings, Inc.
3823   Rammstein                                Mutter                                             SR0000295849           UMG Recordings, Inc.




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                        Artist                                                 Track                  Registration Number                Plaintiff
3824   Rammstein                                Nebel                                                SR0000295849           UMG Recordings, Inc.
3825   Rammstein                                Rein Raus                                            SR0000295849           UMG Recordings, Inc.
3826   Rammstein                                Rosenrot                                             SR0000387866           UMG Recordings, Inc.
3827   Rammstein                                Seemann                                              SR0000273781           UMG Recordings, Inc.
3828   Rammstein                                Sehnsucht                                            SR0000282692           UMG Recordings, Inc.
3829   Rammstein                                Sonne                                                SR0000295849           UMG Recordings, Inc.
3830   Rammstein                                Spiel Mit Mir                                        SR0000282692           UMG Recordings, Inc.
3831   Rammstein                                Spieluhr                                             SR0000295849           UMG Recordings, Inc.
3832   Rammstein                                Spring                                               SR0000387866           UMG Recordings, Inc.
3833   Rammstein                                Stirb Nicht Vor Mir                                  SR0000387866           UMG Recordings, Inc.
3834   Rammstein                                Stripped                                             SR0000282692           UMG Recordings, Inc.
3835   Rammstein                                Te Quiero Puta!                                      SR0000387866           UMG Recordings, Inc.
3836   Rammstein                                Tier                                                 SR0000282692           UMG Recordings, Inc.
3837   Rammstein                                Weisses Fleisch                                      SR0000273781           UMG Recordings, Inc.
3838   Rammstein                                Wilder Wein                                          SR0000273781           UMG Recordings, Inc.
3839   Rammstein                                Wo Bist Du                                           SR0000387866           UMG Recordings, Inc.
3840   Rammstein                                Wollt Ihr Das Bett In Flammen Sehen?                 SR0000273781           UMG Recordings, Inc.
3841   Rammstein                                Zerstören                                            SR0000387866           UMG Recordings, Inc.
3842   Rammstein                                Zwitter                                              SR0000295849           UMG Recordings, Inc.
3843   Rick Ross                                911                                                  SR0000706411           UMG Recordings, Inc.
3844   Rick Ross                                9 Piece                                              SR0000677844           UMG Recordings, Inc.
3845   Rick Ross                                All I Have In This World                             SR0000642144           UMG Recordings, Inc.
3846   Rick Ross                                All I Really Want                                    SR0000631749           UMG Recordings, Inc.
3847   Rick Ross                                Billionaire                                          SR0000642144           UMG Recordings, Inc.
3848   Rick Ross                                Cross That Line                                      SR0000394154           UMG Recordings, Inc.
3849   Rick Ross                                DJ Khaled Interlude                                  SR0000642144           UMG Recordings, Inc.
3850   Rick Ross                                Here I Am                                            SR0000627325           UMG Recordings, Inc.
3851   Rick Ross                                Hustlin'                                             SR0000387156           UMG Recordings, Inc.
3852   Rick Ross                                I'm Only Human                                       SR0000642144           UMG Recordings, Inc.
3853   Rick Ross                                Ice Cold                                             SR0000706411           UMG Recordings, Inc.
3854   Rick Ross                                Luxury Tax                                           SR0000642144           UMG Recordings, Inc.
3855   Rick Ross                                Mafia Music                                          SR0000631749           UMG Recordings, Inc.
3856   Rick Ross                                Magnificent                                          SR0000631749           UMG Recordings, Inc.
3857   Rick Ross                                Maybach Music                                        SR0000642144           UMG Recordings, Inc.
3858   Rick Ross                                Money Make Me Come                                   SR0000642144           UMG Recordings, Inc.
3859   Rick Ross                                Push It                                              SR0000394154           UMG Recordings, Inc.
3860   Rick Ross                                Reppin My City                                       SR0000642144           UMG Recordings, Inc.
3861   Rick Ross                                Speedin'                                             SR0000627979           UMG Recordings, Inc.
3862   Rick Ross                                Street Life                                          SR0000394154           UMG Recordings, Inc.
3863   Rick Ross                                The Boss                                             SR0000642192           UMG Recordings, Inc.
3864   Rick Ross                                This Is The Life                                     SR0000642144           UMG Recordings, Inc.
3865   Rick Ross                                This Me                                              SR0000642144           UMG Recordings, Inc.
3866   Rick Ross                                Trilla Intro                                         SR0000642144           UMG Recordings, Inc.
3867   Rick Ross                                Triple Beam Dream                                    SR0000706411           UMG Recordings, Inc.
3868   Rick Ross                                We Shinin'                                           SR0000642144           UMG Recordings, Inc.
3869   Rick Ross                                You The Boss                                         SR0000689369           UMG Recordings, Inc.
3870   Rihanna                                  A Girl Like Me                                       SR0000387137           UMG Recordings, Inc.
3871   Rihanna                                  A Million Miles Away                                 SR0000387137           UMG Recordings, Inc.
3872   Rihanna                                  Birthday Cake                                        SR0000689431           UMG Recordings, Inc.
3873   Rihanna                                  Break It Off                                         SR0000387137           UMG Recordings, Inc.
3874   Rihanna                                  Cockiness (Love It)                                  SR0000689431           UMG Recordings, Inc.
3875   Rihanna                                  Crazy Little Thing Called Love                       SR0000387137           UMG Recordings, Inc.
3876   Rihanna                                  Dem Haters                                           SR0000387137           UMG Recordings, Inc.
3877   Rihanna                                  Disturbia                                            SR0000616718           UMG Recordings, Inc.
3878   Rihanna                                  Do Ya Thang                                          SR0000689431           UMG Recordings, Inc.
3879   Rihanna                                  Don't Stop The Music                                 SR0000615178           UMG Recordings, Inc.
3880   Rihanna                                  Drunk On Love                                        SR0000689431           UMG Recordings, Inc.
3881   Rihanna                                  Farewell                                             SR0000689431           UMG Recordings, Inc.
3882   Rihanna                                  Final Goodbye                                        SR0000387137           UMG Recordings, Inc.
3883   Rihanna                                  Fool In Love                                         SR0000689431           UMG Recordings, Inc.
3884   Rihanna                                  Haunted                                              SR0000629434           UMG Recordings, Inc.
3885   Rihanna                                  Here I Go Again                                      SR0000372611           UMG Recordings, Inc.
3886   Rihanna                                  If It's Lovin' That You Want - Part 2                SR0000387137           UMG Recordings, Inc.
3887   Rihanna                                  Kisses Don't Lie                                     SR0000387137           UMG Recordings, Inc.
3888   Rihanna                                  Let Me                                               SR0000372611           UMG Recordings, Inc.
3889   Rihanna                                  Music Of The Sun                                     SR0000372611           UMG Recordings, Inc.
3890   Rihanna                                  Now I Know                                           SR0000372611           UMG Recordings, Inc.
3891   Rihanna                                  Only Girl (In The World)                             SR0000669316           UMG Recordings, Inc.
3892   Rihanna                                  P.S. (I'm Still Not Over You)                        SR0000387137           UMG Recordings, Inc.




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                        Artist                                             Track                      Registration Number                Plaintiff
3893   Rihanna                                  Pon de Replay                                        SR0000378134           UMG Recordings, Inc.
3894   Rihanna                                  Rehab                                                SR0000635072           UMG Recordings, Inc.
3895   Rihanna                                  Roc Me Out                                           SR0000689431           UMG Recordings, Inc.
3896   Rihanna                                  Rude Boy                                             SR0000644571           UMG Recordings, Inc.
3897   Rihanna                                  Rush                                                 SR0000372611           UMG Recordings, Inc.
3898   Rihanna                                  S&M                                                  SR0000684805           UMG Recordings, Inc.
3899   Rihanna                                  Selfish Girl                                         SR0000387137           UMG Recordings, Inc.
3900   Rihanna                                  Shut Up and Drive                                    SR0000616718           UMG Recordings, Inc.
3901   Rihanna                                  SOS                                                  SR0000385674           UMG Recordings, Inc.
3902   Rihanna                                  Take A Bow                                           SR0000616718           UMG Recordings, Inc.
3903   Rihanna                                  Talk That Talk                                       SR0000689431           UMG Recordings, Inc.
3904   Rihanna                                  That La, La, La                                      SR0000372611           UMG Recordings, Inc.
3905   Rihanna                                  The Last Time                                        SR0000372611           UMG Recordings, Inc.
3906   Rihanna                                  There's A Thug In My Life                            SR0000372611           UMG Recordings, Inc.
3907   Rihanna                                  Umbrella                                             SR0000615487           UMG Recordings, Inc.
3908   Rihanna                                  Unfaithful                                           SR0000387137           UMG Recordings, Inc.
3909   Rihanna                                  Watch N Learn                                        SR0000689431           UMG Recordings, Inc.
3910   Rihanna                                  We All Want Love                                     SR0000689431           UMG Recordings, Inc.
3911   Rihanna                                  We Found Love                                        SR0000684805           UMG Recordings, Inc.
3912   Rihanna                                  We Ride                                              SR0000387137           UMG Recordings, Inc.
3913   Rihanna                                  What's My Name?                                      SR0000669319           UMG Recordings, Inc.
3914   Rihanna                                  Where Have You Been                                  SR0000689431           UMG Recordings, Inc.
3915   Rihanna                                  Willing To Wait                                      SR0000372611           UMG Recordings, Inc.
3916   Rihanna                                  You Da One                                           SR0000689433           UMG Recordings, Inc.
3917   Rihanna                                  You Don't Love Me (No, No, No)                       SR0000372611           UMG Recordings, Inc.
3918   Rise Against                             A Gentlemen's Coup                                   SR0000671827           UMG Recordings, Inc.
3919   Rise Against                             Architects                                           SR0000671826           UMG Recordings, Inc.
3920   Rise Against                             Audience Of One                                      SR0000617587           UMG Recordings, Inc.
3921   Rise Against                             Broken Mirrors                                       SR0000671827           UMG Recordings, Inc.
3922   Rise Against                             Collapse (Post-Amerika)                              SR0000617587           UMG Recordings, Inc.
3923   Rise Against                             Disparity By Design                                  SR0000671827           UMG Recordings, Inc.
3924   Rise Against                             Endgame                                              SR0000671827           UMG Recordings, Inc.
3925   Rise Against                             Entertainment                                        SR0000617587           UMG Recordings, Inc.
3926   Rise Against                             From Heads Unworthy                                  SR0000617587           UMG Recordings, Inc.
3927   Rise Against                             Hairline Fracture                                    SR0000617587           UMG Recordings, Inc.
3928   Rise Against                             Help Is On The Way                                   SR0000671825           UMG Recordings, Inc.
3929   Rise Against                             Hero Of War                                          SR0000617587           UMG Recordings, Inc.
3930   Rise Against                             Kotov Syndrome                                       SR0000617587           UMG Recordings, Inc.
3931   Rise Against                             Long Forgotten Sons                                  SR0000617587           UMG Recordings, Inc.
3932   Rise Against                             Make It Stop (September's Children)                  SR0000671827           UMG Recordings, Inc.
3933   Rise Against                             Midnight Hands                                       SR0000671827           UMG Recordings, Inc.
3934   Rise Against                             Re-Education (Through Labor)                         SR0000617586           UMG Recordings, Inc.
3935   Rise Against                             Satellite                                            SR0000671827           UMG Recordings, Inc.
3936   Rise Against                             Savior                                               SR0000617587           UMG Recordings, Inc.
3937   Rise Against                             Survivor Guilt                                       SR0000671827           UMG Recordings, Inc.
3938   Rise Against                             The Dirt Whispered                                   SR0000617587           UMG Recordings, Inc.
3939   Rise Against                             The Strength To Go On                                SR0000617587           UMG Recordings, Inc.
3940   Rise Against                             This Is Letting Go                                   SR0000671827           UMG Recordings, Inc.
3941   Rise Against                             Wait For Me                                          SR0000671827           UMG Recordings, Inc.
3942   Rise Against                             Whereabouts Unknown                                  SR0000617587           UMG Recordings, Inc.
3943   Robin Thicke                             Cry No More                                          SR0000617389           UMG Recordings, Inc.
3944   Robin Thicke                             Dreamworld                                           SR0000617389           UMG Recordings, Inc.
3945   Robin Thicke                             Ebb and Flow                                         SR0000618754           UMG Recordings, Inc.
3946   Robin Thicke                             Everybody's A Star                                   SR0000618754           UMG Recordings, Inc.
3947   Robin Thicke                             Hard On My Love                                      SR0000617389           UMG Recordings, Inc.
3948   Robin Thicke                             I'm Coming Home                                      SR0000618754           UMG Recordings, Inc.
3949   Robin Thicke                             Lost Without U                                       SR0000398513           UMG Recordings, Inc.
3950   Robin Thicke                             Loverman                                             SR0000617389           UMG Recordings, Inc.
3951   Robin Thicke                             Magic                                                SR0000622566           UMG Recordings, Inc.
3952   Robin Thicke                             Magic Touch                                          SR0000618707           UMG Recordings, Inc.
3953   Robin Thicke                             Ms. Harmony                                          SR0000617389           UMG Recordings, Inc.
3954   Robin Thicke                             Sex Therapy                                          SR0000644567           UMG Recordings, Inc.
3955   Robin Thicke                             Shadow of Doubt                                      SR0000617389           UMG Recordings, Inc.
3956   Robin Thicke                             Sidestep                                             SR0000617389           UMG Recordings, Inc.
3957   Robin Thicke                             Something Else                                       SR0000617389           UMG Recordings, Inc.
3958   Robin Thicke                             The Sweetest Love                                    SR0000617386           UMG Recordings, Inc.
3959   Robin Thicke                             Tie My Hands                                         SR0000617389           UMG Recordings, Inc.
3960   Robin Thicke                             You're My Baby                                       SR0000617389           UMG Recordings, Inc.
3961   Saving Abel                              18 Days                                              SR0000639174           UMG Recordings, Inc.




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                       Artist                                                  Track                 Registration Number                Plaintiff
3962   Saving Abel                              Addicted                                            SR0000639174           UMG Recordings, Inc.
3963   Saving Abel                              Beautiful Day                                       SR0000639174           UMG Recordings, Inc.
3964   Saving Abel                              Beautiful You                                       SR0000639174           UMG Recordings, Inc.
3965   Saving Abel                              Drowning (Face Down)                                SR0000639174           UMG Recordings, Inc.
3966   Saving Abel                              In God's Eyes                                       SR0000639174           UMG Recordings, Inc.
3967   Saving Abel                              New Tatoo                                           SR0000639174           UMG Recordings, Inc.
3968   Saving Abel                              Out Of My Face                                      SR0000639174           UMG Recordings, Inc.
3969   Saving Abel                              Running From You                                    SR0000639174           UMG Recordings, Inc.
3970   Saving Abel                              Sailed Away                                         SR0000639174           UMG Recordings, Inc.
3971   Saving Abel                              She Got Over Me                                     SR0000639174           UMG Recordings, Inc.
3972   ScHoolboy Q                              Man Of The Year                                     SR0000733738           UMG Recordings, Inc.
3973   ScHoolboy Q                              Studio                                              SR0000740379           UMG Recordings, Inc.
3974   Scissor Sisters                          Better Luck Next Time                               SR0000355220           UMG Recordings, Inc.
3975   Scissor Sisters                          Filthy/Gorgeous                                     SR0000355220           UMG Recordings, Inc.
3976   Scissor Sisters                          Get It Get It                                       SR0000355220           UMG Recordings, Inc.
3977   Scissor Sisters                          It Can't Come Quickly Enough                        SR0000355220           UMG Recordings, Inc.
3978   Scissor Sisters                          Laura                                               SR0000355220           UMG Recordings, Inc.
3979   Scissor Sisters                          Lovers In The Backseat                              SR0000355220           UMG Recordings, Inc.
3980   Scissor Sisters                          Mary                                                SR0000355220           UMG Recordings, Inc.
3981   Scissor Sisters                          Music Is The Victim                                 SR0000355220           UMG Recordings, Inc.
3982   Scissor Sisters                          Return To Oz                                        SR0000355220           UMG Recordings, Inc.
3983   Scissor Sisters                          Take Your Mama                                      SR0000355220           UMG Recordings, Inc.
3984   Scissor Sisters                          Tits On The Radio                                   SR0000355220           UMG Recordings, Inc.
3985   Scotty McCreery                          Before Midnight                                     SR0000735611           UMG Recordings, Inc.
3986   Scotty McCreery                          Blue Jean Baby                                      SR0000735611           UMG Recordings, Inc.
3987   Scotty McCreery                          Buzzin'                                             SR0000735611           UMG Recordings, Inc.
3988   Scotty McCreery                          Can You Feel It                                     SR0000735611           UMG Recordings, Inc.
3989   Scotty McCreery                          Carolina Eyes                                       SR0000735611           UMG Recordings, Inc.
3990   Scotty McCreery                          Carolina Moon                                       SR0000735611           UMG Recordings, Inc.
3991   Scotty McCreery                          Feel Good Summer Song                               SR0000735611           UMG Recordings, Inc.
3992   Scotty McCreery                          Feelin' It                                          SR0000735611           UMG Recordings, Inc.
3993   Scotty McCreery                          Forget To Forget You                                SR0000735611           UMG Recordings, Inc.
3994   Scotty McCreery                          Get Gone With You                                   SR0000735611           UMG Recordings, Inc.
3995   Scotty McCreery                          I Don't Wanna Be Your Friend                        SR0000735611           UMG Recordings, Inc.
3996   Scotty McCreery                          Roll Your Window Down                               SR0000735611           UMG Recordings, Inc.
3997   Scotty McCreery                          See You Tonight                                     SR0000735611           UMG Recordings, Inc.
3998   Scotty McCreery                          Something More                                      SR0000735611           UMG Recordings, Inc.
3999   Scotty McCreery                          The Dash                                            SR0000735611           UMG Recordings, Inc.
4000   Snow Patrol                              Disaster Button                                     SR0000618124           UMG Recordings, Inc.
4001   Snow Patrol                              Engines                                             SR0000618124           UMG Recordings, Inc.
4002   Snow Patrol                              If There's a Rocket Tie Me To It                    SR0000618124           UMG Recordings, Inc.
4003   Snow Patrol                              Lifeboats                                           SR0000618124           UMG Recordings, Inc.
4004   Snow Patrol                              Please Just Take These Photos From My Hands         SR0000618124           UMG Recordings, Inc.
4005   Snow Patrol                              Set Down Your Glass                                 SR0000618124           UMG Recordings, Inc.
4006   Snow Patrol                              The Golden Floor                                    SR0000618124           UMG Recordings, Inc.
4007   Snow Patrol                              The Planets Bend Between Us                         SR0000618124           UMG Recordings, Inc.
4008   Sting                                    Brand New Day                                       SR0000271015           UMG Recordings, Inc.
4009   Sting                                    Desert Rose                                         SR0000271015           UMG Recordings, Inc.
4010   Sting                                    Englishman In New York                              SR0000658285           UMG Recordings, Inc.
4011   Sting                                    Fields Of Gold                                      SR0000174453           UMG Recordings, Inc.
4012   Sting                                    Fragile                                             SR0000085672           UMG Recordings, Inc.
4013   Sting                                    If I Ever Lose My Faith In You                      SR0000175546           UMG Recordings, Inc.
4014   Sting                                    If You Love Somebody Set Them Free                  SR0000063226           UMG Recordings, Inc.
4015   Sting                                    Seven Days                                          SR0000174453           UMG Recordings, Inc.
4016   Sting                                    When We Dance                                       SR0000658285           UMG Recordings, Inc.
4017   Taio Cruz                                Higher                                              SR0000670254           UMG Recordings, Inc.
4018   The Band Perry                           All Your Life                                       SR0000653353           UMG Recordings, Inc.
4019   The Band Perry                           Double Heart                                        SR0000664551           UMG Recordings, Inc.
4020   The Band Perry                           Hip To My Heart                                     SR0000637103           UMG Recordings, Inc.
4021   The Band Perry                           If I Die Young                                      SR0000653353           UMG Recordings, Inc.
4022   The Band Perry                           Independence                                        SR0000664551           UMG Recordings, Inc.
4023   The Band Perry                           Lasso                                               SR0000664551           UMG Recordings, Inc.
4024   The Band Perry                           Miss You Being Gone                                 SR0000664551           UMG Recordings, Inc.
4025   The Band Perry                           Postcard From Paris                                 SR0000653353           UMG Recordings, Inc.
4026   The Band Perry                           Quittin? You                                        SR0000653353           UMG Recordings, Inc.
4027   The Band Perry                           Walk Me Down the Middle                             SR0000664551           UMG Recordings, Inc.
4028   The Band Perry                           You Lie                                             SR0000664551           UMG Recordings, Inc.
4029   The Gabe Dixon Band                      All Will Be Well                                    SR0000618294           UMG Recordings, Inc.
4030   The Gabe Dixon Band                      And The World Turned                                SR0000618294           UMG Recordings, Inc.




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                         Artist                                               Track                         Registration Number                Plaintiff
4031   The Gabe Dixon Band                      Baby Doll                                                  SR0000618294           UMG Recordings, Inc.
4032   The Gabe Dixon Band                      Disappear                                                  SR0000618294           UMG Recordings, Inc.
4033   The Gabe Dixon Band                      Ever After You                                             SR0000618294           UMG Recordings, Inc.
4034   The Gabe Dixon Band                      Far From Home                                              SR0000618294           UMG Recordings, Inc.
4035   The Gabe Dixon Band                      Find My Way                                                SR0000618294           UMG Recordings, Inc.
4036   The Gabe Dixon Band                      Five More Hours                                            SR0000618294           UMG Recordings, Inc.
4037   The Gabe Dixon Band                      Further The Sky                                            SR0000618294           UMG Recordings, Inc.
4038   The Gabe Dixon Band                      Sirens                                                     SR0000618294           UMG Recordings, Inc.
4039   The Gabe Dixon Band                      Till You're Gone                                           SR0000618294           UMG Recordings, Inc.
4040   The Police                               Can't Stand Losing You                                     SR0000006942           UMG Recordings, Inc.
4041   The Police                               De Do Do Do, De Da Da Da                                   SR0000021466           UMG Recordings, Inc.
4042   The Police                               Every Little Thing She Does Is Magic                       SR0000030222           UMG Recordings, Inc.
4043   The Police                               Message In A Bottle                                        SR0000013166           UMG Recordings, Inc.
4044   The Police                               Roxanne                                                    SR0000004190           UMG Recordings, Inc.
4045   The Police                               So Lonely                                                  SR0000006942           UMG Recordings, Inc.
4046   The Pussycat Dolls                       Stickwitu                                                  SR0000377102           UMG Recordings, Inc.
4047   Timbaland                                Apologize                                                  SR0000623039           UMG Recordings, Inc.
4048   Timbaland                                Can You Feel It                                            SR0000636223           UMG Recordings, Inc.
4049   Timbaland                                Carry Out                                                  SR0000636223           UMG Recordings, Inc.
4050   Timbaland                                Ease Off The Liquor                                        SR0000636223           UMG Recordings, Inc.
4051   Timbaland                                If We Ever Meet Again                                      SR0000636223           UMG Recordings, Inc.
4052   Timbaland                                Intro By DJ Felli Fel                                      SR0000636223           UMG Recordings, Inc.
4053   Timbaland                                Long Way Down                                              SR0000636223           UMG Recordings, Inc.
4054   Timbaland                                Lose Control                                               SR0000636223           UMG Recordings, Inc.
4055   Timbaland                                Meet In Tha Middle                                         SR0000636223           UMG Recordings, Inc.
4056   Timbaland                                Morning After Dark                                         SR0000636223           UMG Recordings, Inc.
4057   Timbaland                                Say Something                                              SR0000636223           UMG Recordings, Inc.
4058   Timbaland                                Symphony                                                   SR0000636223           UMG Recordings, Inc.
4059   Timbaland                                The One I Love                                             SR0000636223           UMG Recordings, Inc.
4060   Timbaland                                Timothy Where You Been                                     SR0000636223           UMG Recordings, Inc.
4061   Timbaland                                Tomorrow In The Bottle                                     SR0000636223           UMG Recordings, Inc.
4062   Timbaland                                Undertow                                                   SR0000636223           UMG Recordings, Inc.
4063   Timbaland                                We Belong To The Music                                     SR0000636223           UMG Recordings, Inc.
4064   Toby Keith                               Beer For My Horses                                         SR0000808555           UMG Recordings, Inc.
4065   Toby Keith                               Country Comes To Town                                      SR0000278495           UMG Recordings, Inc.
4066   Toby Keith                               Courtesy Of The Red, White And Blue (The Angry American)   SR0000307469           UMG Recordings, Inc.
4067   Toby Keith                               Go With Her                                                SR0000363112           UMG Recordings, Inc.
4068   Toby Keith                               How Do You Like Me Now?!                                   SR0000768442           UMG Recordings, Inc.
4069   Toby Keith                               I Wanna Talk About Me                                      SR0000301479           UMG Recordings, Inc.
4070   Toby Keith                               I'm Just Talkin' About Tonight                             SR0000301479           UMG Recordings, Inc.
4071   Toby Keith                               Mockingbird                                                SR0000363112           UMG Recordings, Inc.
4072   Toby Keith                               Should've Been A Cowboy                                    SR0000152653           UMG Recordings, Inc.
4073   Toby Keith                               Stays In Mexico                                            SR0000613330           UMG Recordings, Inc.
4074   Toby Keith                               Who's Your Daddy?                                          SR0000307469           UMG Recordings, Inc.
4075   Toby Keith                               You Ain't Much Fun                                         SR0000200006           UMG Recordings, Inc.
4076   Toby Keith                               You Shouldn't Kiss Me Like This                            SR0000278495           UMG Recordings, Inc.
4077   Warren G                                 Do You See                                                 SR0000629800           UMG Recordings, Inc.
4078   Warren G                                 Gangsta Sermon                                             SR0000629800           UMG Recordings, Inc.
4079   Warren G                                 Recognize                                                  SR0000629800           UMG Recordings, Inc.
4080   Warren G                                 Regulate                                                   SR0000629797           UMG Recordings, Inc.
4081   Warren G                                 Super Soul Sis                                             SR0000629800           UMG Recordings, Inc.
4082   Warren G                                 This D.J.                                                  SR0000765079           UMG Recordings, Inc.
4083   Warren G                                 What's Next                                                SR0000629800           UMG Recordings, Inc.
4084   Weezer                                   Buddy Holly                                                SR0000187644           UMG Recordings, Inc.
4085   Weezer                                   Holiday                                                    SR0000350888           UMG Recordings, Inc.
4086   Weezer                                   In The Garage                                              SR0000187644           UMG Recordings, Inc.
4087   Weezer                                   My Name Is Jonas                                           SR0000350888           UMG Recordings, Inc.
4088   Weezer                                   No One Else                                                SR0000187644           UMG Recordings, Inc.
4089   Weezer                                   Only In Dreams                                             SR0000350888           UMG Recordings, Inc.
4090   Weezer                                   Say It Ain't So                                            SR0000187644           UMG Recordings, Inc.
4091   Weezer                                   Surf Wax America                                           SR0000187644           UMG Recordings, Inc.
4092   Weezer                                   The World Has Turned And Left Me Here                      SR0000187644           UMG Recordings, Inc.
4093   Weezer                                   Undone -- The Sweater Song                                 SR0000187644           UMG Recordings, Inc.
4094   YG                                       Who Do You Love?                                           SR0000745799           UMG Recordings, Inc.
4095   Young Jeezy                              Amazin'                                                    SR0000616586           UMG Recordings, Inc.
4096   Young Jeezy                              By The Way                                                 SR0000616586           UMG Recordings, Inc.
4097   Young Jeezy                              Circulate                                                  SR0000616586           UMG Recordings, Inc.
4098   Young Jeezy                              Crazy World                                                SR0000616586           UMG Recordings, Inc.
4099   Young Jeezy                              Don't Do It                                                SR0000616586           UMG Recordings, Inc.




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                         Artist                                            Track                    Registration Number                  Plaintiff
4100   Young Jeezy                              Don't You Know                                     SR0000616586           UMG Recordings, Inc.
4101   Young Jeezy                              Everything                                         SR0000616586           UMG Recordings, Inc.
4102   Young Jeezy                              Get Allot                                          SR0000616586           UMG Recordings, Inc.
4103   Young Jeezy                              Hustlaz Ambition                                   SR0000616586           UMG Recordings, Inc.
4104   Young Jeezy                              My President                                       SR0000616586           UMG Recordings, Inc.
4105   Young Jeezy                              Put On                                             SR0000615616           UMG Recordings, Inc.
4106   Young Jeezy                              Takin' It There                                    SR0000616586           UMG Recordings, Inc.
4107   Young Jeezy                              The Recession                                      SR0000616586           UMG Recordings, Inc.
4108   Young Jeezy                              The Recession (Intro)                              SR0000616586           UMG Recordings, Inc.
4109   Young Jeezy                              Vacation                                           SR0000616586           UMG Recordings, Inc.
4110   Young Jeezy                              Welcome Back                                       SR0000616586           UMG Recordings, Inc.
4111   Young Jeezy                              What They Want                                     SR0000616586           UMG Recordings, Inc.
4112   Young Jeezy                              Who Dat                                            SR0000616586           UMG Recordings, Inc.
4113   Young Jeezy                              Word Play                                          SR0000616586           UMG Recordings, Inc.
4114   Zedd                                     Clarity                                            SR0000736147           UMG Recordings, Inc.
4115   Zedd                                     Epos                                               SR0000745858           UMG Recordings, Inc.
4116   Zedd                                     Fall Into The Sky                                  SR0000745858           UMG Recordings, Inc.
4117   Zedd                                     Follow You Down                                    SR0000709927           UMG Recordings, Inc.
4118   Zedd                                     Hourglass                                          SR0000736147           UMG Recordings, Inc.
4119   Zedd                                     Lost At Sea                                        SR0000744174           UMG Recordings, Inc.
4120   Zedd                                     Shave It Up                                        SR0000709927           UMG Recordings, Inc.
4121   Zedd                                     Spectrum                                           SR0000736147           UMG Recordings, Inc.
4122   Zedd                                     Stache                                             SR0000745858           UMG Recordings, Inc.
4123   Weird Al Yankovic                        A Complicated Song                                 SR0000331347           Volcano Entertainment III, LLC
4124   Weird Al Yankovic                        Achy Breaky Song                                   SR0000184456           Volcano Entertainment III, LLC
4125   Weird Al Yankovic                        Airline Amy                                        SR0000251666           Volcano Entertainment III, LLC
4126   Weird Al Yankovic                        Amish Paradise                                     SR0000225008           Volcano Entertainment III, LLC
4127   Weird Al Yankovic                        Angry White Boy Polka                              SR0000331347           Volcano Entertainment III, LLC
4128   Weird Al Yankovic                        Bedrock Anthem                                     SR0000184456           Volcano Entertainment III, LLC
4129   Weird Al Yankovic                        Bob                                                SR0000331347           Volcano Entertainment III, LLC
4130   Weird Al Yankovic                        Bohemian Polka                                     SR0000184456           Volcano Entertainment III, LLC
4131   Weird Al Yankovic                        Callin' In Sick                                    SR0000225008           Volcano Entertainment III, LLC
4132   Weird Al Yankovic                        Cavity Search                                      SR0000225008           Volcano Entertainment III, LLC
4133   Weird Al Yankovic                        Couch Potato                                       SR0000331347           Volcano Entertainment III, LLC
4134   Weird Al Yankovic                        Ebay                                               SR0000331347           Volcano Entertainment III, LLC
4135   Weird Al Yankovic                        Everything You Know Is Wrong                       SR0000225008           Volcano Entertainment III, LLC
4136   Weird Al Yankovic                        Frank's 2000" TV                                   SR0000184456           Volcano Entertainment III, LLC
4137   Weird Al Yankovic                        Genius In France                                   SR0000331347           Volcano Entertainment III, LLC
4138   Weird Al Yankovic                        Gump                                               SR0000225008           Volcano Entertainment III, LLC
4139   Weird Al Yankovic                        Hardware Store                                     SR0000331347           Volcano Entertainment III, LLC
4140   Weird Al Yankovic                        I Can't Watch This                                 SR0000251666           Volcano Entertainment III, LLC
4141   Weird Al Yankovic                        I Remember Larry                                   SR0000225008           Volcano Entertainment III, LLC
4142   Weird Al Yankovic                        I Was Only Kidding                                 SR0000251666           Volcano Entertainment III, LLC
4143   Weird Al Yankovic                        I'm So Sick Of You                                 SR0000225008           Volcano Entertainment III, LLC
4144   Weird Al Yankovic                        Jurassic Park                                      SR0000184456           Volcano Entertainment III, LLC
4145   Weird Al Yankovic                        Livin' In The Fridge                               SR0000184456           Volcano Entertainment III, LLC
4146   Weird Al Yankovic                        Ode To A Superhero                                 SR0000331347           Volcano Entertainment III, LLC
4147   Weird Al Yankovic                        Party At The Leper Colony                          SR0000331347           Volcano Entertainment III, LLC
4148   Weird Al Yankovic                        Phony Calls                                        SR0000225008           Volcano Entertainment III, LLC
4149   Weird Al Yankovic                        Polka Your Eyes Out                                SR0000251666           Volcano Entertainment III, LLC
4150   Weird Al Yankovic                        She Never Told Me She Was A Mime                   SR0000184456           Volcano Entertainment III, LLC
4151   Weird Al Yankovic                        Smells Like Nirvana                                SR0000251666           Volcano Entertainment III, LLC
4152   Weird Al Yankovic                        Spy Hard                                           SR0000251798           Volcano Entertainment III, LLC
4153   Weird Al Yankovic                        Syndicated Inc.                                    SR0000225008           Volcano Entertainment III, LLC
4154   Weird Al Yankovic                        Taco Grande                                        SR0000251666           Volcano Entertainment III, LLC
4155   Weird Al Yankovic                        Talk Soup                                          SR0000184456           Volcano Entertainment III, LLC
4156   Weird Al Yankovic                        The Alternative Polka                              SR0000225008           Volcano Entertainment III, LLC
4157   Weird Al Yankovic                        The Night Santa Went Crazy                         SR0000225008           Volcano Entertainment III, LLC
4158   Weird Al Yankovic                        The Plumbing Song                                  SR0000251666           Volcano Entertainment III, LLC
4159   Weird Al Yankovic                        The White Stuff                                    SR0000251666           Volcano Entertainment III, LLC
4160   Weird Al Yankovic                        Traffic Jam                                        SR0000184456           Volcano Entertainment III, LLC
4161   Weird Al Yankovic                        Trash Day                                          SR0000331347           Volcano Entertainment III, LLC
4162   Weird Al Yankovic                        Trigger Happy                                      SR0000251666           Volcano Entertainment III, LLC
4163   Weird Al Yankovic                        Waffle King                                        SR0000184456           Volcano Entertainment III, LLC
4164   Weird Al Yankovic                        Wanna B Ur Lovr                                    SR0000331347           Volcano Entertainment III, LLC
4165   Weird Al Yankovic                        Why Does This Always Happen To Me?                 SR0000331347           Volcano Entertainment III, LLC
4166   Weird Al Yankovic                        You Don't Love Me Anymore                          SR0000251666           Volcano Entertainment III, LLC
4167   Weird Al Yankovic                        Young, Dumb & Ugly                                 SR0000184456           Volcano Entertainment III, LLC
4168   Alanis Morissette                        Crazy (James Michael Mix)                          SR0000382587           Warner Bros. Records Inc.




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                         Artist                                            Track                     Registration Number                 Plaintiff
4169   Alanis Morissette                        Eight Easy Steps                                    SR0000356595           Warner Bros. Records Inc.
4170   Alanis Morissette                        Everything                                          SR0000356595           Warner Bros. Records Inc.
4171   Alanis Morissette                        Hand In My Pocket                                   SR0000213545           Warner Bros. Records Inc.
4172   Alanis Morissette                        Hands Clean                                         SR0000315266           Warner Bros. Records Inc.
4173   Alanis Morissette                        Head Over Feet                                      SR0000213545           Warner Bros. Records Inc.
4174   Alanis Morissette                        Ironic                                              SR0000213545           Warner Bros. Records Inc.
4175   Alanis Morissette                        Princes Familiar                                    SR0000276685           Warner Bros. Records Inc.
4176   Alanis Morissette                        Simple Together                                     SR0000314676           Warner Bros. Records Inc.
4177   Alanis Morissette                        Sister Blister                                      SR0000315266           Warner Bros. Records Inc.
4178   Alanis Morissette                        Still                                               SR0000276563           Warner Bros. Records Inc.
4179   Alanis Morissette                        Thank U                                             SR0000228847           Warner Bros. Records Inc.
4180   Alanis Morissette                        That I Would Be Good                                SR0000228847           Warner Bros. Records Inc.
4181   Alanis Morissette                        Uninvited                                           SR0000252550           Warner Bros. Records Inc.
4182   Alanis Morissette                        You Learn                                           SR0000213545           Warner Bros. Records Inc.
4183   Alanis Morissette                        You Oughta Know                                     SR0000213545           Warner Bros. Records Inc.
4184   Avenged Sevenfold                        Bat Country                                         SR0000374368           Warner Bros. Records Inc.
4185   Avenged Sevenfold                        Beast And The Harlot                                SR0000374368           Warner Bros. Records Inc.
4186   Avenged Sevenfold                        Betrayed                                            SR0000374368           Warner Bros. Records Inc.
4187   Avenged Sevenfold                        Blinded In Chains                                   SR0000374368           Warner Bros. Records Inc.
4188   Avenged Sevenfold                        Burn It Down                                        SR0000374368           Warner Bros. Records Inc.
4189   Avenged Sevenfold                        M.I.A.                                              SR0000374368           Warner Bros. Records Inc.
4190   Avenged Sevenfold                        Seize The Day                                       SR0000374368           Warner Bros. Records Inc.
4191   Avenged Sevenfold                        Sidewinder                                          SR0000374368           Warner Bros. Records Inc.
4192   Avenged Sevenfold                        Strength Of The World                               SR0000374368           Warner Bros. Records Inc.
4193   Avenged Sevenfold                        The Wicked End                                      SR0000374368           Warner Bros. Records Inc.
4194   Avenged Sevenfold                        Trashed And Scattered                               SR0000374368           Warner Bros. Records Inc.
4195   Blake Shelton                            All About Tonight                                   SR0000668677           Warner Bros. Records Inc.
4196   Blake Shelton                            Austin                                              SR0000299678           Warner Bros. Records Inc.
4197   Blake Shelton                            Boys 'Round Here                                    SR0000721082           Warner Bros. Records Inc.
4198   Blake Shelton                            Country On The Radio                                SR0000721082           Warner Bros. Records Inc.
4199   Blake Shelton                            Do You Remember                                     SR0000721082           Warner Bros. Records Inc.
4200   Blake Shelton                            Doin' What She Likes                                SR0000721082           Warner Bros. Records Inc.
4201   Blake Shelton                            Don't Make Me                                       SR0000406834           Warner Bros. Records Inc.
4202   Blake Shelton                            Drink On It                                         SR0000693085           Warner Bros. Records Inc.
4203   Blake Shelton                            Get Some                                            SR0000693085           Warner Bros. Records Inc.
4204   Blake Shelton                            God Gave Me You                                     SR0000693085           Warner Bros. Records Inc.
4205   Blake Shelton                            Good Ole Boys                                       SR0000693085           Warner Bros. Records Inc.
4206   Blake Shelton                            Goodbye Time                                        SR0000359309           Warner Bros. Records Inc.
4207   Blake Shelton                            Granddaddy's Gun                                    SR0000721082           Warner Bros. Records Inc.
4208   Blake Shelton                            Hey                                                 SR0000693085           Warner Bros. Records Inc.
4209   Blake Shelton                            Hillbilly Bone                                      SR0000685229           Warner Bros. Records Inc.
4210   Blake Shelton                            Honey Bee                                           SR0000693085           Warner Bros. Records Inc.
4211   Blake Shelton                            I Still Got A Finger                                SR0000721082           Warner Bros. Records Inc.
4212   Blake Shelton                            I'm Sorry                                           SR0000693085           Warner Bros. Records Inc.
4213   Blake Shelton                            Kiss My Country Ass                                 SR0000685229           Warner Bros. Records Inc.
4214   Blake Shelton                            Lay Low                                             SR0000721082           Warner Bros. Records Inc.
4215   Blake Shelton                            Mine Would Be You                                   SR0000721082           Warner Bros. Records Inc.
4216   Blake Shelton                            My Eyes                                             SR0000721082           Warner Bros. Records Inc.
4217   Blake Shelton                            Nobody But Me                                       SR0000359309           Warner Bros. Records Inc.
4218   Blake Shelton                            Ol' Red                                             SR0000300565           Warner Bros. Records Inc.
4219   Blake Shelton                            Over                                                SR0000693085           Warner Bros. Records Inc.
4220   Blake Shelton                            Playboys Of The Southwestern World                  SR0000331177           Warner Bros. Records Inc.
4221   Blake Shelton                            Ready To Roll                                       SR0000693085           Warner Bros. Records Inc.
4222   Blake Shelton                            Red River Blue                                      SR0000693085           Warner Bros. Records Inc.
4223   Blake Shelton                            She Wouldn't Be Gone                                SR0000659650           Warner Bros. Records Inc.
4224   Blake Shelton                            Small Town Big Time                                 SR0000721082           Warner Bros. Records Inc.
4225   Blake Shelton                            Some Beach                                          SR0000359307           Warner Bros. Records Inc.
4226   Blake Shelton                            Sunny In Seattle                                    SR0000693085           Warner Bros. Records Inc.
4227   Blake Shelton                            Sure Be Cool If You Did                             SR0000721082           Warner Bros. Records Inc.
4228   Blake Shelton                            Ten Times Crazier                                   SR0000721082           Warner Bros. Records Inc.
4229   Blake Shelton                            The More I Drink                                    SR0000406834           Warner Bros. Records Inc.
4230   Blake Shelton                            Who Are You When I'm Not Looking                    SR0000668677           Warner Bros. Records Inc.
4231   Disturbed                                Criminal                                            SR0000647297           Warner Bros. Records Inc.
4232   Disturbed                                Deceiver                                            SR0000647297           Warner Bros. Records Inc.
4233   Disturbed                                Devour                                              SR0000316958           Warner Bros. Records Inc.
4234   Disturbed                                Divide                                              SR0000647297           Warner Bros. Records Inc.
4235   Disturbed                                Enough                                              SR0000647297           Warner Bros. Records Inc.
4236   Disturbed                                Facade                                              SR0000647297           Warner Bros. Records Inc.
4237   Disturbed                                Haunted                                             SR0000647297           Warner Bros. Records Inc.




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                        Artist                                                Track                        Registration Number                 Plaintiff
4238   Disturbed                                Indestructible                                            SR0000647297           Warner Bros. Records Inc.
4239   Disturbed                                Inside The Fire                                           SR0000647297           Warner Bros. Records Inc.
4240   Disturbed                                Just Stop                                                 SR0000380289           Warner Bros. Records Inc.
4241   Disturbed                                Parasite                                                  SR0000695381           Warner Bros. Records Inc.
4242   Disturbed                                Perfect Insanity                                          SR0000647297           Warner Bros. Records Inc.
4243   Disturbed                                Run                                                       SR0000695381           Warner Bros. Records Inc.
4244   Disturbed                                Stricken                                                  SR0000380288           Warner Bros. Records Inc.
4245   Disturbed                                Stupify                                                   SR0000280324           Warner Bros. Records Inc.
4246   Disturbed                                The Curse                                                 SR0000647297           Warner Bros. Records Inc.
4247   Disturbed                                The Night                                                 SR0000647297           Warner Bros. Records Inc.
4248   Disturbed                                Torn                                                      SR0000647297           Warner Bros. Records Inc.
4249   Eric Clapton                             (I) Get Lost                                              SR0000276566           Warner Bros. Records Inc.
4250   Eric Clapton                             Riding With The King                                      SR0000285808           Warner Bros. Records Inc.
4251   Faith Hill                               A Man's Home Is His Castle                                SR0000169102           Warner Bros. Records Inc.
4252   Faith Hill                               A Room In My Heart                                        SR0000169102           Warner Bros. Records Inc.
4253   Faith Hill                               Baby You Belong                                           SR0000321377           Warner Bros. Records Inc.
4254   Faith Hill                               Back To You                                               SR0000321377           Warner Bros. Records Inc.
4255   Faith Hill                               Beautiful                                                 SR0000321377           Warner Bros. Records Inc.
4256   Faith Hill                               Bed Of Roses                                              SR0000169102           Warner Bros. Records Inc.
4257   Faith Hill                               Better Days                                               SR0000253752           Warner Bros. Records Inc.
4258   Faith Hill                               Breathe                                                   SR0000276629           Warner Bros. Records Inc.
4259   Faith Hill                               Bringing Out The Elvis                                    SR0000276629           Warner Bros. Records Inc.
4260   Faith Hill                               But I Will                                                SR0000182853           Warner Bros. Records Inc.
4261   Faith Hill                               Cry                                                       SR0000321377           Warner Bros. Records Inc.
4262   Faith Hill                               Dearly Beloved                                            SR0000374377           Warner Bros. Records Inc.
4263   Faith Hill                               Fireflies                                                 SR0000374377           Warner Bros. Records Inc.
4264   Faith Hill                               Go The Distance                                           SR0000182853           Warner Bros. Records Inc.
4265   Faith Hill                               I Can't Do That Anymore                                   SR0000169102           Warner Bros. Records Inc.
4266   Faith Hill                               I Got My Baby                                             SR0000276629           Warner Bros. Records Inc.
4267   Faith Hill                               I Love You                                                SR0000253752           Warner Bros. Records Inc.
4268   Faith Hill                               I Think I Will                                            SR0000321377           Warner Bros. Records Inc.
4269   Faith Hill                               I Want You                                                SR0000374377           Warner Bros. Records Inc.
4270   Faith Hill                               I Would Be Stronger Than That                             SR0000182853           Warner Bros. Records Inc.
4271   Faith Hill                               I've Got This Friend (With Larry Stewart)                 SR0000182853           Warner Bros. Records Inc.
4272   Faith Hill                               If I Should Fall Behind                                   SR0000276629           Warner Bros. Records Inc.
4273   Faith Hill                               If I'm Not In Love                                        SR0000276629           Warner Bros. Records Inc.
4274   Faith Hill                               If My Heart Had Wings                                     SR0000276629           Warner Bros. Records Inc.
4275   Faith Hill                               If This Is The End                                        SR0000321377           Warner Bros. Records Inc.
4276   Faith Hill                               If You Ask                                                SR0000374377           Warner Bros. Records Inc.
4277   Faith Hill                               If You're Gonna Fly Away                                  SR0000321377           Warner Bros. Records Inc.
4278   Faith Hill                               It Matters To Me                                          SR0000169102           Warner Bros. Records Inc.
4279   Faith Hill                               It Will Be Me                                             SR0000276629           Warner Bros. Records Inc.
4280   Faith Hill                               Just About Now                                            SR0000182853           Warner Bros. Records Inc.
4281   Faith Hill                               Just Around The Eyes                                      SR0000182853           Warner Bros. Records Inc.
4282   Faith Hill                               Just To Hear You Say That You Love Me (with Tim McGraw)   SR0000253752           Warner Bros. Records Inc.
4283   Faith Hill                               Keep Walkin' On                                           SR0000169102           Warner Bros. Records Inc.
4284   Faith Hill                               Let Me Let Go                                             SR0000253752           Warner Bros. Records Inc.
4285   Faith Hill                               Let's Go To Vegas                                         SR0000169102           Warner Bros. Records Inc.
4286   Faith Hill                               Life's Too Short To Love Like That                        SR0000182853           Warner Bros. Records Inc.
4287   Faith Hill                               Like We Never Loved At All                                SR0000374377           Warner Bros. Records Inc.
4288   Faith Hill                               Love Ain't Like That                                      SR0000253752           Warner Bros. Records Inc.
4289   Faith Hill                               Love Is A Sweet Thing                                     SR0000276629           Warner Bros. Records Inc.
4290   Faith Hill                               Me                                                        SR0000253752           Warner Bros. Records Inc.
4291   Faith Hill                               Mississippi Girl                                          SR0000374378           Warner Bros. Records Inc.
4292   Faith Hill                               My Wild Frontier                                          SR0000253752           Warner Bros. Records Inc.
4293   Faith Hill                               One                                                       SR0000321377           Warner Bros. Records Inc.
4294   Faith Hill                               Piece Of My Heart                                         SR0000182853           Warner Bros. Records Inc.
4295   Faith Hill                               Somebody Stand By Me                                      SR0000253752           Warner Bros. Records Inc.
4296   Faith Hill                               Someone Else's Dream                                      SR0000169102           Warner Bros. Records Inc.
4297   Faith Hill                               Stealing Kisses                                           SR0000374377           Warner Bros. Records Inc.
4298   Faith Hill                               Stronger                                                  SR0000321377           Warner Bros. Records Inc.
4299   Faith Hill                               Sunshine & Summertime                                     SR0000374377           Warner Bros. Records Inc.
4300   Faith Hill                               Take Me As I Am                                           SR0000182853           Warner Bros. Records Inc.
4301   Faith Hill                               That's How Love Moves                                     SR0000276629           Warner Bros. Records Inc.
4302   Faith Hill                               The Hard Way                                              SR0000253752           Warner Bros. Records Inc.
4303   Faith Hill                               The Lucky One                                             SR0000374377           Warner Bros. Records Inc.
4304   Faith Hill                               The Secret Of Life                                        SR0000253752           Warner Bros. Records Inc.
4305   Faith Hill                               The Way You Love Me                                       SR0000276629           Warner Bros. Records Inc.
4306   Faith Hill                               There Will Come A Day                                     SR0000276629           Warner Bros. Records Inc.




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                         Artist                                              Track                   Registration Number                 Plaintiff
4307   Faith Hill                               This Is Me                                          SR0000321377           Warner Bros. Records Inc.
4308   Faith Hill                               This Kiss (Pop Remix a.k.a. Radio Version)          SR0000253752           Warner Bros. Records Inc.
4309   Faith Hill                               Unsaveable                                          SR0000321377           Warner Bros. Records Inc.
4310   Faith Hill                               We've Got Nothing But Love To Prove                 SR0000374377           Warner Bros. Records Inc.
4311   Faith Hill                               What's In It For Me                                 SR0000276629           Warner Bros. Records Inc.
4312   Faith Hill                               When The Lights Go Down                             SR0000321377           Warner Bros. Records Inc.
4313   Faith Hill                               Wild One                                            SR0000182853           Warner Bros. Records Inc.
4314   Faith Hill                               Wish For You                                        SR0000374377           Warner Bros. Records Inc.
4315   Faith Hill                               You Can't Lose Me                                   SR0000169102           Warner Bros. Records Inc.
4316   Faith Hill                               You Give Me Love                                    SR0000253752           Warner Bros. Records Inc.
4317   Faith Hill                               You Stay With Me                                    SR0000374377           Warner Bros. Records Inc.
4318   Faith Hill                               You Will Be Mine                                    SR0000169102           Warner Bros. Records Inc.
4319   Faith Hill                               You're Still Here                                   SR0000321377           Warner Bros. Records Inc.
4320   Faith Hill & Tim McGraw                  Let's Make Love                                     SR0000276629           Warner Bros. Records Inc.
4321   Green Day                                ¡Viva La Gloria!                                    SR0000762131           Warner Bros. Records Inc.
4322   Green Day                                American Eulogy: Mass Hysteria / Modern World       SR0000762131           Warner Bros. Records Inc.
4323   Green Day                                Before The Lobotomy                                 SR0000762131           Warner Bros. Records Inc.
4324   Green Day                                Christian's Inferno                                 SR0000762131           Warner Bros. Records Inc.
4325   Green Day                                Horseshoes and Handgrenades                         SR0000762131           Warner Bros. Records Inc.
4326   Green Day                                Last Night On Earth                                 SR0000762131           Warner Bros. Records Inc.
4327   Green Day                                Murder City                                         SR0000762131           Warner Bros. Records Inc.
4328   Green Day                                Peacemaker                                          SR0000762131           Warner Bros. Records Inc.
4329   Green Day                                Restless Heart Syndrome                             SR0000762131           Warner Bros. Records Inc.
4330   Green Day                                See The Light                                       SR0000762131           Warner Bros. Records Inc.
4331   Green Day                                Song Of The Century                                 SR0000762131           Warner Bros. Records Inc.
4332   Green Day                                The Static Age                                      SR0000762131           Warner Bros. Records Inc.
4333   James Taylor                             Don't Let Me Be Lonely Tonight                      N3810                  Warner Bros. Records Inc.
4334   James Taylor                             Golden Moments                                      N35786                 Warner Bros. Records Inc.
4335   Jason Derulo                             Marry Me                                            SR0000763207           Warner Bros. Records Inc.
4336   Jason Derulo                             Stupid Love                                         SR0000763207           Warner Bros. Records Inc.
4337   Jason Derulo                             Trumpets                                            SR0000763207           Warner Bros. Records Inc.
4338   Jason Derulo                             Vertigo                                             SR0000763207           Warner Bros. Records Inc.
4339   Jason Derulo                             Whatcha Say                                         SR0000685175           Warner Bros. Records Inc.
4340   Jason Derulo                             With The Lights On                                  SR0000763207           Warner Bros. Records Inc.
4341   John Williams                            Theme from Superman                                 SR0000006230           Warner Bros. Records Inc.
4342   Linkin Park                              1stp Klosr                                          SR0000316952           Warner Bros. Records Inc.
4343   Linkin Park                              A Place For My Head                                 SR0000288402           Warner Bros. Records Inc.
4344   Linkin Park                              BURN IT DOWN                                        SR0000708311           Warner Bros. Records Inc.
4345   Linkin Park                              By Myself                                           SR0000288402           Warner Bros. Records Inc.
4346   Linkin Park                              By_Myslf                                            SR0000316952           Warner Bros. Records Inc.
4347   Linkin Park                              CASTLE OF GLASS                                     SR0000708311           Warner Bros. Records Inc.
4348   Linkin Park                              Crawling (Live In Texas)                            SR0000350998           Warner Bros. Records Inc.
4349   Linkin Park                              Cure For The Itch                                   SR0000288402           Warner Bros. Records Inc.
4350   Linkin Park                              Don't Stay                                          SR0000346247           Warner Bros. Records Inc.
4351   Linkin Park                              Easier To Run                                       SR0000346247           Warner Bros. Records Inc.
4352   Linkin Park                              Enth E Nd                                           SR0000316952           Warner Bros. Records Inc.
4353   Linkin Park                              Faint                                               SR0000346247           Warner Bros. Records Inc.
4354   Linkin Park                              Figure.09                                           SR0000346247           Warner Bros. Records Inc.
4355   Linkin Park                              Forgotten                                           SR0000288402           Warner Bros. Records Inc.
4356   Linkin Park                              Frgt/10                                             SR0000316952           Warner Bros. Records Inc.
4357   Linkin Park                              H! Vltg3                                            SR0000316952           Warner Bros. Records Inc.
4358   Linkin Park                              Hit The Floor                                       SR0000346247           Warner Bros. Records Inc.
4359   Linkin Park                              I'LL BE GONE                                        SR0000708311           Warner Bros. Records Inc.
4360   Linkin Park                              IN MY REMAINS                                       SR0000708311           Warner Bros. Records Inc.
4361   Linkin Park                              In The End (Live In Texas)                          SR0000350998           Warner Bros. Records Inc.
4362   Linkin Park                              Krwlng                                              SR0000316952           Warner Bros. Records Inc.
4363   Linkin Park                              Kyur4 Th Ich                                        SR0000316952           Warner Bros. Records Inc.
4364   Linkin Park                              LIES GREED MISERY                                   SR0000708311           Warner Bros. Records Inc.
4365   Linkin Park                              My<Dsmbr                                            SR0000316952           Warner Bros. Records Inc.
4366   Linkin Park                              Nobody's Listening                                  SR0000346247           Warner Bros. Records Inc.
4367   Linkin Park                              One Step Closer (Live In Texas)                     SR0000350998           Warner Bros. Records Inc.
4368   Linkin Park                              P5hng Me A*wy (Live in Texas)                       SR0000350998           Warner Bros. Records Inc.
4369   Linkin Park                              Papercut                                            SR0000288402           Warner Bros. Records Inc.
4370   Linkin Park                              Plc.4 Mie Haed                                      SR0000316952           Warner Bros. Records Inc.
4371   Linkin Park                              Points Of Authority                                 SR0000288402           Warner Bros. Records Inc.
4372   Linkin Park                              POWERLESS                                           SR0000708311           Warner Bros. Records Inc.
4373   Linkin Park                              PPr:Kut                                             SR0000316952           Warner Bros. Records Inc.
4374   Linkin Park                              Pts.OF.Athrty                                       SR0000316952           Warner Bros. Records Inc.
4375   Linkin Park                              Rnw@y                                               SR0000316952           Warner Bros. Records Inc.




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                          Artist                                              Track                   Registration Number                 Plaintiff
4376   Linkin Park                              ROADS UNTRAVELED                                     SR0000708311           Warner Bros. Records Inc.
4377   Linkin Park                              Runaway                                              SR0000288402           Warner Bros. Records Inc.
4378   Linkin Park                              Session                                              SR0000346247           Warner Bros. Records Inc.
4379   Linkin Park                              SKIN TO BONE                                         SR0000708311           Warner Bros. Records Inc.
4380   Linkin Park                              Somewhere I Belong                                   SR0000346247           Warner Bros. Records Inc.
4381   Linkin Park                              TINFOIL                                              SR0000708311           Warner Bros. Records Inc.
4382   Linkin Park                              UNTIL IT BREAKS                                      SR0000708311           Warner Bros. Records Inc.
4383   Linkin Park                              VICTIMIZED                                           SR0000708311           Warner Bros. Records Inc.
4384   Linkin Park                              With You                                             SR0000288402           Warner Bros. Records Inc.
4385   Linkin Park                              Wth>You                                              SR0000316952           Warner Bros. Records Inc.
4386   Linkin Park                              X-Ecutioner Style                                    SR0000316952           Warner Bros. Records Inc.
4387   Linkin Park & Jay-Z                      Dirt Off Your Shoulder / Lying From You              SR0000362315           Warner Bros. Records Inc.
4388   Linkin Park & Jay-Z                      Numb / Encore                                        SR0000362316           Warner Bros. Records Inc.
4389   Madonna                                  Revolver                                             SR0000662296           Warner Bros. Records Inc.
4390   Maze featuring Frankie Beverly           Africa                                               SR0000107982           Warner Bros. Records Inc.
4391   Maze featuring Frankie Beverly           All Night Long                                       SR0000171913           Warner Bros. Records Inc.
4392   Maze featuring Frankie Beverly           Can't Get Over You                                   SR0000107982           Warner Bros. Records Inc.
4393   Maze featuring Frankie Beverly           Change Our Ways                                      SR0000107982           Warner Bros. Records Inc.
4394   Maze featuring Frankie Beverly           Don't Wanna Lose Your Love                           SR0000171913           Warner Bros. Records Inc.
4395   Maze featuring Frankie Beverly           In Time                                              SR0000171913           Warner Bros. Records Inc.
4396   Maze featuring Frankie Beverly           Just Us                                              SR0000107982           Warner Bros. Records Inc.
4397   Maze featuring Frankie Beverly           Laid Back Girl                                       SR0000171913           Warner Bros. Records Inc.
4398   Maze featuring Frankie Beverly           Love Is                                              SR0000171913           Warner Bros. Records Inc.
4399   Maze featuring Frankie Beverly           Love's On The Run                                    SR0000107982           Warner Bros. Records Inc.
4400   Maze featuring Frankie Beverly           Mandela                                              SR0000107982           Warner Bros. Records Inc.
4401   Maze featuring Frankie Beverly           Midnight                                             SR0000107982           Warner Bros. Records Inc.
4402   Maze featuring Frankie Beverly           Nobody Knows What You Feel Inside                    SR0000171913           Warner Bros. Records Inc.
4403   Maze featuring Frankie Beverly           Silky Soul                                           SR0000107982           Warner Bros. Records Inc.
4404   Maze featuring Frankie Beverly           Somebody Else's Arms                                 SR0000107982           Warner Bros. Records Inc.
4405   Maze featuring Frankie Beverly           Songs Of Love                                        SR0000107982           Warner Bros. Records Inc.
4406   Maze featuring Frankie Beverly           The Morning After                                    SR0000171913           Warner Bros. Records Inc.
4407   Maze featuring Frankie Beverly           Twilight                                             SR0000171913           Warner Bros. Records Inc.
4408   Maze featuring Frankie Beverly           What Goes Up                                         SR0000171913           Warner Bros. Records Inc.
4409   Muse                                     Cave                                                 SR0000273528           Warner Bros. Records Inc.
4410   Muse                                     Muscle Museum                                        SR0000273528           Warner Bros. Records Inc.
4411   Muse                                     Sunburn                                              SR0000273528           Warner Bros. Records Inc.
4412   Muse                                     Unintended                                           SR0000273528           Warner Bros. Records Inc.
4413   Muse                                     Uno                                                  SR0000273528           Warner Bros. Records Inc.
4414   My Chemical Romance                      Blood                                                SR0000651990           Warner Bros. Records Inc.
4415   My Chemical Romance                      Bulletproof Heart                                    SR0000681139           Warner Bros. Records Inc.
4416   My Chemical Romance                      Bury Me In Black (Demo)                              SR0000360198           Warner Bros. Records Inc.
4417   My Chemical Romance                      Cancer                                               SR0000399985           Warner Bros. Records Inc.
4418   My Chemical Romance                      Cancer (Live In Mexico)                              SR0000651990           Warner Bros. Records Inc.
4419   My Chemical Romance                      Cemetery Drive                                       SR0000360197           Warner Bros. Records Inc.
4420   My Chemical Romance                      Cemetery Drive (Live Version)                        SR0000400291           Warner Bros. Records Inc.
4421   My Chemical Romance                      Dead!                                                SR0000399985           Warner Bros. Records Inc.
4422   My Chemical Romance                      Dead! (Live In Mexico)                               SR0000651990           Warner Bros. Records Inc.
4423   My Chemical Romance                      Desert Song                                          SR0000400291           Warner Bros. Records Inc.
4424   My Chemical Romance                      Disenchanted                                         SR0000399985           Warner Bros. Records Inc.
4425   My Chemical Romance                      Disenchanted (Live In Mexico)                        SR0000651990           Warner Bros. Records Inc.
4426   My Chemical Romance                      Famous Last Words                                    SR0000399985           Warner Bros. Records Inc.
4427   My Chemical Romance                      Famous Last Words (Live In Mexico)                   SR0000651990           Warner Bros. Records Inc.
4428   My Chemical Romance                      Give 'Em Hell, Kid                                   SR0000360197           Warner Bros. Records Inc.
4429   My Chemical Romance                      Give 'Em Hell, Kid (Live Version)                    SR0000400291           Warner Bros. Records Inc.
4430   My Chemical Romance                      Hang 'Em High                                        SR0000360197           Warner Bros. Records Inc.
4431   My Chemical Romance                      Headfirst For Halos (Live Version)                   SR0000400291           Warner Bros. Records Inc.
4432   My Chemical Romance                      Helena                                               SR0000360197           Warner Bros. Records Inc.
4433   My Chemical Romance                      House Of Wolves                                      SR0000399985           Warner Bros. Records Inc.
4434   My Chemical Romance                      House Of Wolves (Live in Mexico)                     SR0000651990           Warner Bros. Records Inc.
4435   My Chemical Romance                      I Don't Love You                                     SR0000399985           Warner Bros. Records Inc.
4436   My Chemical Romance                      I Don't Love You (Live In Mexico)                    SR0000651990           Warner Bros. Records Inc.
4437   My Chemical Romance                      I Never Told You What I Do For A Living              SR0000360197           Warner Bros. Records Inc.
4438   My Chemical Romance                      I Never Told You What I Do For A Living (Demo)       SR0000400291           Warner Bros. Records Inc.
4439   My Chemical Romance                      I'm Not Okay (I Promise)                             SR0000360197           Warner Bros. Records Inc.
4440   My Chemical Romance                      Interlude                                            SR0000360197           Warner Bros. Records Inc.
4441   My Chemical Romance                      Interlude (Live In Mexico)                           SR0000651990           Warner Bros. Records Inc.
4442   My Chemical Romance                      It's Not A Fashion Statement, It's A Deathwish       SR0000360197           Warner Bros. Records Inc.
4443   My Chemical Romance                      Mama                                                 SR0000399985           Warner Bros. Records Inc.
4444   My Chemical Romance                      Mama (Live In Mexico)                                SR0000651990           Warner Bros. Records Inc.




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                       Artist                                                  Track                               Registration Number                 Plaintiff
4445   My Chemical Romance                      Na Na Na (Na Na Na Na Na Na Na Na Na)                             SR0000681139           Warner Bros. Records Inc.
4446   My Chemical Romance                      Planetary (GO!)                                                   SR0000681139           Warner Bros. Records Inc.
4447   My Chemical Romance                      Save Yourself, I'll Hold Them Back                                SR0000681139           Warner Bros. Records Inc.
4448   My Chemical Romance                      Sleep                                                             SR0000399985           Warner Bros. Records Inc.
4449   My Chemical Romance                      Sleep (Live In Mexico)                                            SR0000651990           Warner Bros. Records Inc.
4450   My Chemical Romance                      Teenagers                                                         SR0000399985           Warner Bros. Records Inc.
4451   My Chemical Romance                      Teenagers (Live In Mexico)                                        SR0000651990           Warner Bros. Records Inc.
4452   My Chemical Romance                      Thank You For The Venom                                           SR0000360197           Warner Bros. Records Inc.
4453   My Chemical Romance                      Thank You For The Venom (Live Version)                            SR0000400291           Warner Bros. Records Inc.
4454   My Chemical Romance                      The Black Parade Is Dead (Live In Mexico)                         SR0000651990           Warner Bros. Records Inc.
4455   My Chemical Romance                      The End.                                                          SR0000399985           Warner Bros. Records Inc.
4456   My Chemical Romance                      The End. (Live In Mexico)                                         SR0000651990           Warner Bros. Records Inc.
4457   My Chemical Romance                      The Ghost Of You                                                  SR0000360197           Warner Bros. Records Inc.
4458   My Chemical Romance                      The Jetset Life Is Gonna Kill You                                 SR0000360197           Warner Bros. Records Inc.
4459   My Chemical Romance                      The Kids From Yesterday                                           SR0000681139           Warner Bros. Records Inc.
4460   My Chemical Romance                      The Only Hope For Me Is You                                       SR0000681139           Warner Bros. Records Inc.
4461   My Chemical Romance                      The Sharpest Lives                                                SR0000399985           Warner Bros. Records Inc.
4462   My Chemical Romance                      The Sharpest Lives (Live In Mexico)                               SR0000651990           Warner Bros. Records Inc.
4463   My Chemical Romance                      This Is How I Disappear                                           SR0000399985           Warner Bros. Records Inc.
4464   My Chemical Romance                      This Is How I Disappear (Live In Mexico)                          SR0000651990           Warner Bros. Records Inc.
4465   My Chemical Romance                      To The End                                                        SR0000360197           Warner Bros. Records Inc.
4466   My Chemical Romance                      Vampire Money                                                     SR0000681139           Warner Bros. Records Inc.
4467   My Chemical Romance                      Welcome To The Black Parade                                       SR0000399985           Warner Bros. Records Inc.
4468   My Chemical Romance                      Welcome To The Black Parade (Live in Mexico)                      SR0000651990           Warner Bros. Records Inc.
4469   My Chemical Romance                      You Know What They Do To Guys Like Us In Prison                   SR0000360197           Warner Bros. Records Inc.
4470   Prince                                   1999                                                              SR0000039818           Warner Bros. Records Inc.
4471   Prince                                   200 Balloons                                                      SR0000112253           Warner Bros. Records Inc.
4472   Prince                                   4 The Tears In Your Eyes                                          SR0000172034           Warner Bros. Records Inc.
4473   Prince                                   Adore                                                             SR0000082403           Warner Bros. Records Inc.
4474   Prince                                   Alphabet St.                                                      SR0000085595           Warner Bros. Records Inc.
4475   Prince                                   Controversy                                                       SR0000029922           Warner Bros. Records Inc.
4476   Prince                                   Delirious                                                         SR0000041035           Warner Bros. Records Inc.
4477   Prince                                   Dirty Mind                                                        SR0000021996           Warner Bros. Records Inc.
4478   Prince                                   Do Me, Baby                                                       SR0000030445           Warner Bros. Records Inc.
4479   Prince                                   Escape                                                            SR0000094291           Warner Bros. Records Inc.
4480   Prince                                   Feel U Up                                                         SR0000109054           Warner Bros. Records Inc.
4481   Prince                                   Gotta Stop (Messin' About)                                        SR0000172034           Warner Bros. Records Inc.
4482   Prince                                   Head                                                              SR0000021996           Warner Bros. Records Inc.
4483   Prince                                   Horny Toad                                                        SR0000049498           Warner Bros. Records Inc.
4484   Prince                                   How Come U Don't Call Me Anymore                                  SR0000039818           Warner Bros. Records Inc.
4485   Prince                                   I Could Never Take The Place Of Your Man                          SR0000082403           Warner Bros. Records Inc.
4486   Prince                                   I Feel for You                                                    SR0000014281           Warner Bros. Records Inc.
4487   Prince                                   I Love U In Me                                                    SR0000113649           Warner Bros. Records Inc.
4488   Prince                                   If I Was Your Girlfriend                                          SR0000082403           Warner Bros. Records Inc.
4489   Prince                                   Irresistible Bitch                                                SR0000050859           Warner Bros. Records Inc.
4490   Prince                                   La, La, La, He, He, Hee                                           SR0000078909           Warner Bros. Records Inc.
4491   Prince                                   Peach                                                             SR0000172034           Warner Bros. Records Inc.
4492   Prince                                   Pink Cashmere                                                     SR0000172034           Warner Bros. Records Inc.
4493   Prince                                   Pope                                                              SR0000172034           Warner Bros. Records Inc.
4494   Prince                                   Power Fantastic                                                   SR0000172034           Warner Bros. Records Inc.
4495   Prince                                   Scarlet Pussy                                                     SR0000102073           Warner Bros. Records Inc.
4496   Prince                                   Shockadelica                                                      SR0000082213           Warner Bros. Records Inc.
4497   Prince                                   Sign 'O' The Times                                                SR0000078909           Warner Bros. Records Inc.
4498   Prince                                   Soft And Wet                                                      SR0000000839           Warner Bros. Records Inc.
4499   Prince                                   Thieves In The Temple                                             SR0000139907           Warner Bros. Records Inc.
4500   Prince                                   Uptown                                                            SR0000021987           Warner Bros. Records Inc.
4501   Prince                                   When Doves Cry                                                    SR0000054684           Warner Bros. Records Inc.
4502   Prince                                   When You Were Mine                                                SR0000021996           Warner Bros. Records Inc.
4503   Prince                                   Why You Wanna Treat Me So Bad                                     SR0000014281           Warner Bros. Records Inc.
4504   Prince & The New Power Generation        7                                                                 SR0000146900           Warner Bros. Records Inc.
4505   Prince & The New Power Generation        Cream                                                             SR0000135489           Warner Bros. Records Inc.
4506   Prince & The New Power Generation        Gett Off                                                          SR0000135873           Warner Bros. Records Inc.
4507   Prince & The New Power Generation        Nothing Compares 2 U                                              SR0000172034           Warner Bros. Records Inc.
4508   Prince & The New Power Generation        Sexy M.F.                                                         SR0000146900           Warner Bros. Records Inc.
                                                17 Days (the rain will come down, then U will have 2 choose. If
4509 Prince And The Revolution                                                                                    SR0000054684           Warner Bros. Records Inc.
                                                U believe, look 2 the dawn and U shall never lose)
4510 Prince And The Revolution                  Another Lonely Christmas                                          SR0000058458           Warner Bros. Records Inc.
4511 Prince And The Revolution                  Erotic City                                                       SR0000055739           Warner Bros. Records Inc.
4512 Prince And The Revolution                  Girl                                                              SR0000066585           Warner Bros. Records Inc.




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                      Artist                                                  Track                    Registration Number                 Plaintiff
4513 Prince And The Revolution                  God                                                   SR0000057169           Warner Bros. Records Inc.
4514 Prince And The Revolution                  Hello                                                 SR0000064741           Warner Bros. Records Inc.
4515 Prince And The Revolution                  Kiss                                                  SR0000069888           Warner Bros. Records Inc.
                                                                                                      SR0000054679
4516 Prince And The Revolution                  Let's Go Crazy                                                               Warner Bros. Records Inc.
                                                                                                      SR0000055615
4517   Prince And The Revolution                Pop Life                                              SR0000062059           Warner Bros. Records Inc.
4518   Prince And The Revolution                Purple Rain (Short Version)                           SR0000057169           Warner Bros. Records Inc.
4519   Prince And The Revolution                Raspberry Beret                                       SR0000062059           Warner Bros. Records Inc.
4520   Prince And The Revolution                She's Always In My Hair                               SR0000062682           Warner Bros. Records Inc.
4521   Randy Travis                             Forever And Ever, Amen                                SR0000080879           Warner Bros. Records Inc.
4522   The Cure                                 Let's Go To Bed                                       SR0000045130           Warner Bros. Records Inc.
4523   The Cure                                 The Caterpillar                                       SR0000054339           Warner Bros. Records Inc.
                                                                                                      SRu000573811
4524 Coldplay                                   A Message                                                                    WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4525 Coldplay                                   Fix You                                                                      WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4526 Coldplay                                   Low                                                                          WEA International Inc.
                                                                                                      SR0000376828
4527 Coldplay                                   Speed Of Sound                                        SRu000573811           WEA International Inc.
                                                                                                      SRu000573811
4528 Coldplay                                   Square One                                                                   WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4529 Coldplay                                   Swallowed In The Sea                                                         WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4530 Coldplay                                   Talk                                                                         WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4531 Coldplay                                   The Hardest Part                                                             WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4532 Coldplay                                   Til Kingdom Come                                                             WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4533 Coldplay                                   Twisted Logic                                                                WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4534 Coldplay                                   What If                                                                      WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4535 Coldplay                                   White Shadows                                                                WEA International Inc.
                                                                                                      SR0000376828
                                                                                                      SRu000573811
4536 Coldplay                                   X&Y                                                                          WEA International Inc.
                                                                                                      SR0000376828
4537   David Guetta                             Choose                                                SR0000643286           WEA International Inc.
4538   David Guetta                             Crank It Up                                           SR0000683523           WEA International Inc.
4539   David Guetta                             Everytime We Touch                                    SR0000660688           WEA International Inc.
4540   David Guetta                             Gettin' Over                                          SR0000649229           WEA International Inc.
4541   David Guetta                             How Soon Is Now                                       SR0000701482           WEA International Inc.
4542   David Guetta                             I Can Only Imagine                                    SR0000683523           WEA International Inc.
4543   David Guetta                             I Just Wanna F.                                       SR0000683523           WEA International Inc.
4544   David Guetta                             I Wanna Go Crazy                                      SR0000643286           WEA International Inc.
4545   David Guetta                             In My Head                                            SR0000712148           WEA International Inc.
4546   David Guetta                             It's The Way You Love Me                              SR0000643286           WEA International Inc.
4547   David Guetta                             Just One Last Time                                    SR0000712148           WEA International Inc.
4548   David Guetta                             Little Bad Girl                                       SR0000683522           WEA International Inc.
4549   David Guetta                             Love Is Gone (Fred Rister & Joachim Garraud Remix)    SR0000655935           WEA International Inc.
4550   David Guetta                             Memories                                              SR0000643286           WEA International Inc.
4551   David Guetta                             Metropolis (Edit)                                     SR0000712148           WEA International Inc.
4552   David Guetta                             Missing You                                           SR0000643286           WEA International Inc.
4553   David Guetta                             Night Of Your Life                                    SR0000683519           WEA International Inc.
4554   David Guetta                             Nothing Really Matters                                SR0000683523           WEA International Inc.
4555   David Guetta                             On The Dancefloor                                     SR0000678057           WEA International Inc.
4556   David Guetta                             Play Hard                                             SR0000712148           WEA International Inc.
4557   David Guetta                             Repeat                                                SR0000683523           WEA International Inc.
4558   David Guetta                             She Wolf (Falling to Pieces)                          SR0000712148           WEA International Inc.
4559   David Guetta                             Sound Of Letting Go                                   SR0000643286           WEA International Inc.
4560   David Guetta                             Sweat                                                 SR0000683521           WEA International Inc.
4561   David Guetta                             The World Is Mine                                     SR0000665798           WEA International Inc.
4562   David Guetta                             Titanium                                              SR0000683518           WEA International Inc.
4563   David Guetta                             What the F***                                         SR0000712148           WEA International Inc.
4564   David Guetta                             When Love Takes Over                                  SR0000643600           WEA International Inc.
4565   David Guetta                             Where Them Girls At                                   SR0000683517           WEA International Inc.
4566   David Guetta                             Without You                                           SR0000683523           WEA International Inc.
4567   Ed Sheeran                               Drunk                                                 SR0000704259           WEA International Inc.
4568   Ed Sheeran                               Give Me Love                                          SR0000704259           WEA International Inc.




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                        Artist                                             Track                      Registration Number                 Plaintiff
4569   Ed Sheeran                               Grade 8                                              SR0000704259           WEA International Inc.
4570   Ed Sheeran                               Lego House                                           SR0000704259           WEA International Inc.
4571   Ed Sheeran                               Small Bump                                           SR0000704259           WEA International Inc.
4572   Ed Sheeran                               The A Team                                           SR0000704259           WEA International Inc.
4573   Ed Sheeran                               The City                                             SR0000704259           WEA International Inc.
4574   Ed Sheeran                               This                                                 SR0000704259           WEA International Inc.
4575   Ed Sheeran                               U.N.I.                                               SR0000704259           WEA International Inc.
4576   Ed Sheeran                               Wake Me Up                                           SR0000704259           WEA International Inc.
4577   Ed Sheeran                               You Need Me, I Don't Need You                        SR0000704259           WEA International Inc.
4578   Gorillaz                                 5/4                                                  SR0000409208           WEA International Inc.
4579   Gorillaz                                 19-2000                                              SR0000409208           WEA International Inc.
                                                                                                     SR0000379135
4580 Gorillaz                                   All Alone                                                                   WEA International Inc.
                                                                                                     SRu000573812
4581 Gorillaz                                   Clint Eastwood                                       SR0000409208           WEA International Inc.
                                                                                                     SR0000379135
4582 Gorillaz                                   DARE                                                                        WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135
4583 Gorillaz                                   Demon Days                                                                  WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135
4584 Gorillaz                                   Dirty Harry                                                                 WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135
4585 Gorillaz                                   Don't Get Lost In Heaven                                                    WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135
4586 Gorillaz                                   El Mañana                                                                   WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135
4587 Gorillaz                                   Every Planet We Reach Is Dead                                               WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379134
4588 Gorillaz                                   Feel Good Inc.                                                              WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135
4589 Gorillaz                                   Fire Coming Out Of The Monkey's Head                                        WEA International Inc.
                                                                                                     SRu000573812
4590 Gorillaz                                   Hong Kong                                            SR0000614363           WEA International Inc.
                                                                                                     SR0000379135
4591 Gorillaz                                   Kids With Guns                                                              WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135
4592 Gorillaz                                   Last Living Souls                                                           WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135
4593 Gorillaz                                   November Has Come                                                           WEA International Inc.
                                                                                                     SRu000573812
                                                                                                     SR0000379135
4594 Gorillaz                                   O Green World                                                               WEA International Inc.
                                                                                                     SRu000573812
4595   Gorillaz                                 On Melancholy Hill                                   SR0000650312           WEA International Inc.
4596   Gorillaz                                 People                                               SR0000614363           WEA International Inc.
4597   Gorillaz                                 Re-Hash                                              SR0000409208           WEA International Inc.
4598   Gorillaz                                 Rhinestone Eyes                                      SR0000650312           WEA International Inc.
4599   Gorillaz                                 Rock The House                                       SR0000371589           WEA International Inc.
4600   Gorillaz                                 Rockit                                               SR0000614363           WEA International Inc.
4601   Gorillaz                                 Stylo                                                SR0000650310           WEA International Inc.
4602   Gorillaz                                 Superfast Jellyfish                                  SR0000650312           WEA International Inc.
4603   Gorillaz                                 Tomorrow Comes Today                                 SR0000373824           WEA International Inc.
                                                                                                     SR0000379135
4604 Gorillaz                                   White Light                                                                 WEA International Inc.
                                                                                                     SRu000573812
4605   Muse                                     Assassin                                             SR0000400299           WEA International Inc.
4606   Muse                                     Bliss                                                SR0000383074           WEA International Inc.
4607   Muse                                     Citizen Erased                                       SR0000383074           WEA International Inc.
4608   Muse                                     City Of Delusion                                     SR0000400299           WEA International Inc.
4609   Muse                                     Exo-Politics                                         SR0000400299           WEA International Inc.
4610   Muse                                     Feeling Good                                         SR0000383074           WEA International Inc.
4611   Muse                                     Hoodoo                                               SR0000400299           WEA International Inc.
4612   Muse                                     Hyper Music                                          SR0000383074           WEA International Inc.
4613   Muse                                     Invincible                                           SR0000400299           WEA International Inc.
4614   Muse                                     Knights Of Cydonia                                   SR0000400299           WEA International Inc.
4615   Muse                                     Map Of The Problematique                             SR0000400299           WEA International Inc.
4616   Muse                                     Megalomania                                          SR0000383074           WEA International Inc.
4617   Muse                                     Micro Cuts                                           SR0000383074           WEA International Inc.
4618   Muse                                     New Born                                             SR0000383074           WEA International Inc.
4619   Muse                                     Plug In Baby                                         SR0000383074           WEA International Inc.
4620   Muse                                     Prelude                                              SR0000721619           WEA International Inc.
4621   Muse                                     Soldier's Poem                                       SR0000400299           WEA International Inc.
4622   Muse                                     Starlight                                            SR0000400299           WEA International Inc.
4623   Muse                                     Supermassive Black Hole                              SR0000400298           WEA International Inc.




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                           Artist                                           Track                     Registration Number                 Plaintiff
4624   Muse                                     The 2nd Law: Unsustainable                           SR0000721619           WEA International Inc.
4625   Muse                                     United States Of Eurasia (+Collateral Damage)        SR0000682053           WEA International Inc.
4626   Space Monkeyz vs. Gorillaz               Lil' Dub Chefin'                                     SR0000336541           WEA International Inc.
4627   Britney Spears                           Amnesia                                              SR0000620789           Zomba Recording LLC
4628   Britney Spears                           Blur                                                 SR0000620789           Zomba Recording LLC
4629   Britney Spears                           Circus                                               SR0000620789           Zomba Recording LLC
4630   Britney Spears                           If U Seek Amy                                        SR0000620789           Zomba Recording LLC
4631   Britney Spears                           Kill The Lights                                      SR0000620789           Zomba Recording LLC
4632   Britney Spears                           Lace and Leather                                     SR0000620789           Zomba Recording LLC
4633   Britney Spears                           Mannequin                                            SR0000620789           Zomba Recording LLC
4634   Britney Spears                           Mmm Papi                                             SR0000620789           Zomba Recording LLC
4635   Britney Spears                           My Baby                                              SR0000620789           Zomba Recording LLC
4636   Britney Spears                           Out From Under                                       SR0000620789           Zomba Recording LLC
4637   Britney Spears                           Phonography                                          SR0000620789           Zomba Recording LLC
4638   Britney Spears                           Radar                                                SR0000609604           Zomba Recording LLC
4639   Britney Spears                           Rock Me In                                           SR0000620789           Zomba Recording LLC
4640   Britney Spears                           Shattered Glass                                      SR0000609604           Zomba Recording LLC
4641   Britney Spears                           Unusual You                                          SR0000620789           Zomba Recording LLC
4642   Britney Spears                           Womanizer                                            PA0001619000           Zomba Recording LLC
4643   Chris Brown                              Damage                                               SR0000630132           Zomba Recording LLC
4644   Chris Brown                              Down                                                 SR0000630132           Zomba Recording LLC
4645   Chris Brown                              Forever                                              SR0000613921           Zomba Recording LLC
4646   Chris Brown                              Gimme Whatcha Got                                    SR0000630132           Zomba Recording LLC
4647   Chris Brown                              Heart Ain't A Brain                                  SR0000613921           Zomba Recording LLC
4648   Chris Brown                              Help Me                                              SR0000630132           Zomba Recording LLC
4649   Chris Brown                              Hold Up                                              SR0000630132           Zomba Recording LLC
4650   Chris Brown                              I Wanna Be                                           SR0000630132           Zomba Recording LLC
4651   Chris Brown                              I'll Call Ya                                         SR0000630132           Zomba Recording LLC
4652   Chris Brown                              Kiss Kiss                                            SR0000630132           Zomba Recording LLC
4653   Chris Brown                              Lottery                                              SR0000630132           Zomba Recording LLC
4654   Chris Brown                              Nice                                                 SR0000630132           Zomba Recording LLC
4655   Chris Brown                              Picture Perfect                                      SR0000630132           Zomba Recording LLC
4656   Chris Brown                              Superhuman                                           SR0000613921           Zomba Recording LLC
4657   Chris Brown                              Take You Down                                        SR0000630132           Zomba Recording LLC
4658   Chris Brown                              Throwed                                              SR0000630132           Zomba Recording LLC
4659   Chris Brown                              Wall To Wall                                         PA0001634637           Zomba Recording LLC
4660   Chris Brown                              With You                                             SR0000630132           Zomba Recording LLC
4661   Chris Brown                              You                                                  SR0000630132           Zomba Recording LLC
4662   Ciara                                    And I                                                SR0000355316           Zomba Recording LLC
4663   Ciara                                    Crazy                                                SR0000355316           Zomba Recording LLC
4664   Ciara                                    Goodies                                              SR0000355316           Zomba Recording LLC
4665   Ciara                                    Hotline                                              SR0000355316           Zomba Recording LLC
4666   Ciara                                    Lookin' At You                                       SR0000355316           Zomba Recording LLC
4667   Ciara                                    Ooh Baby                                             SR0000355316           Zomba Recording LLC
4668   Ciara                                    Other Chicks                                         SR0000355316           Zomba Recording LLC
4669   Ciara                                    Pick Up The Phone                                    SR0000355316           Zomba Recording LLC
4670   Ciara                                    The Title                                            SR0000355316           Zomba Recording LLC
4671   Ciara                                    Thug Style                                           SR0000355316           Zomba Recording LLC
4672   Ciara feat. Missy Elliott                One, Two Step                                        SR0000355316           Zomba Recording LLC
4673   Ciara feat. R. Kelly                     Next To You                                          SR0000355316           Zomba Recording LLC
4674   Justin Timberlake                        (Another Song) All Over Again                        SR0000395943           Zomba Recording LLC
4675   Justin Timberlake                        Chop Me Up                                           SR0000395943           Zomba Recording LLC
4676   Justin Timberlake                        FutureSex / LoveSound                                SR0000395943           Zomba Recording LLC
4677   Justin Timberlake                        Losing My Way                                        SR0000395943           Zomba Recording LLC
4678   Justin Timberlake                        Lovestoned/I Think She Knows                         SR0000395943           Zomba Recording LLC
4679   Justin Timberlake                        Medley: Sexy Ladies / Let Me Talk to You (Prelude)   SR0000395943           Zomba Recording LLC
4680   Justin Timberlake                        My Love                                              SR0000395943           Zomba Recording LLC
4681   Justin Timberlake                        Sexy Ladies                                          SR0000395943           Zomba Recording LLC
4682   Justin Timberlake                        Summer Love                                          SR0000395943           Zomba Recording LLC
4683   Justin Timberlake                        Until The End Of Time                                SR0000395943           Zomba Recording LLC
4684   Justin Timberlake                        What Goes Around... Comes Around                     SR0000395943           Zomba Recording LLC
4685   Justin Timberlake                        What Goes Around... Comes Around (Interlude)         SR0000395943           Zomba Recording LLC
4686   Justin Timberlake                        Damn Girl                                            SR0000395943           Zomba Recording LLC
4687   Three Days Grace                         Born Like This                                       SR0000338429           Zomba Recording LLC
4688   Three Days Grace                         Burn                                                 SR0000338429           Zomba Recording LLC
4689   Three Days Grace                         Drown                                                SR0000338429           Zomba Recording LLC
4690   Three Days Grace                         I Hate Everything About You                          SR0000338429           Zomba Recording LLC
4691   Three Days Grace                         Just Like You                                        SR0000338429           Zomba Recording LLC
4692   Three Days Grace                         Let You Down                                         SR0000338429           Zomba Recording LLC




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                        Artist                                               Track                   Registration Number                Plaintiff
4693   Three Days Grace                         Now or Never                                        SR0000338429           Zomba Recording LLC
4694   Three Days Grace                         Overrated                                           SR0000338429           Zomba Recording LLC
4695   Three Days Grace                         Scared                                              SR0000338429           Zomba Recording LLC
4696   Three Days Grace                         Take Me Under                                       SR0000338429           Zomba Recording LLC
4697   Three Days Grace                         Wake Up                                             SR0000338429           Zomba Recording LLC
4698   UGK (Underground Kingz)                  Int'l Players Anthem (I Choose You)                 PA0001634651           Zomba Recording LLC
4699   Usher                                    Confessions Part II (Remix)                         SR0000352165           Zomba Recording LLC
4700   Usher                                    My Boo                                              SR0000352165           Zomba Recording LLC
4701   Usher                                    Red Light                                           SR0000352165           Zomba Recording LLC
4702   Usher                                    Seduction                                           SR0000352165           Zomba Recording LLC
4703   Weird Al Yankovic                        Albuquerque                                         SR0000275219           Zomba Recording LLC
4704   Weird Al Yankovic                        Germs                                               SR0000275219           Zomba Recording LLC
4705   Weird Al Yankovic                        Grapefruit Diet                                     SR0000275219           Zomba Recording LLC
4706   Weird Al Yankovic                        It's All About The Pentiums                         SR0000275219           Zomba Recording LLC
4707   Weird Al Yankovic                        Jerry Springer                                      SR0000275219           Zomba Recording LLC
4708   Weird Al Yankovic                        My Baby's In Love With Eddie Vedder                 SR0000275219           Zomba Recording LLC
4709   Weird Al Yankovic                        Polka Power!                                        SR0000275219           Zomba Recording LLC
4710   Weird Al Yankovic                        Pretty Fly For A Rabbi                              SR0000275219           Zomba Recording LLC
4711   Weird Al Yankovic                        The Saga Begins                                     SR0000275219           Zomba Recording LLC
4712   Weird Al Yankovic                        The Weird Al Show Theme                             SR0000275219           Zomba Recording LLC
4713   Weird Al Yankovic                        Truck Drivin' Song                                  SR0000275219           Zomba Recording LLC
4714   Weird Al Yankovic                        Your Horoscope For Today                            SR0000275219           Zomba Recording LLC




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